  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 1 of 222




Veronica Escobar             Raúl M. Grijalva             Hakeem Jeffries
Member of Congress           Member of Congress           Member of Congress




Mondaire Jones               Carolyn
                             C   l B B. M
                                        Maloney
                                          l               JJames P
                                                                 P. M
                                                                    McGovern
                                                                      G
Member of Congress           Member of Congress           Member of Congress




Grace Meng                   Jerrold Nadler               Marie Newman
Member of Congress           Member of Congress           Member of Congress




Chellie Pingree              Ayanna Pressley              Mike Quigley
Member of Congress           Member of Congress           Member of Congress




Jamie Raskin                 Jan Schakowsky               Albio Sires
Member of Congress           Member of Congress           Member of Congress




Juan Vargas                  Nydia Velázquez
Member of Congress           Member of Congress




                                                                               2

                                                           Venezuela AR_000095
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 2 of 222




                                                         Venezuela AR_000096
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 3 of 222
SENSITIVE BUT UNCLASSIFIED



   (U) DEPARTMENT OF STATE RECOMMENDATION
                  REGARDING
TEMPORARY PROTECTED STATUS (TPS) FOR VENEZUELA
                   APRIL 2022

 I.     Statutory Basis for Designation

Have the conditions under which the foreign state was designated for
TPS ceased to exist?

        (U) No. The conditions under which Venezuela was designated
        for TPS continue to exist.

A. Armed conflict

      1. Is the foreign state still involved in an ongoing, internal, armed
         conflict?

        (U) N/A.

      2. If so, would the return of nationals of the foreign state to that
         state (or to the part of the state) still pose a serious threat to
         their personal safety?

        (U) N/A.

B. Environmental Disaster

      1. Does there continue to be a substantial, but temporary,
         disruption of living conditions in the foreign state affected by
         an earthquake, flood, drought, epidemic, or other
         environmental disaster?

        (U) N/A.


                             SENSITIVE BUT UNCLASSIFIED
                                                             Venezuela AR_000097
                             SENSITIVE BUT UNCLASSIFIED
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 4 of 222
                         SENSITIVE BUT UNCLASSIFIED
                                     -2-


  2. Is the foreign state still unable, temporarily, to handle
     adequately the return to the state of nationals of the state?

     (U) N/A.

  3. Does the foreign state continue to support the TPS designation
     for its nationals in the United States?

     (U) N/A.

C. Extraordinary and Temporary Conditions

  1. Has the foreign state continued to experience extraordinary
     and temporary conditions that prevent nationals of the state
     from returning to the state in safety?

     (SBU) Yes. The manmade disaster induced and perpetuated by the
     Maduro regime has forced approximately 6 million Venezuelans to
     flee their country. A complex political, humanitarian, and
     economic crisis, the presence of non-state armed groups,
     repression, and a crumbling infrastructure mean Venezuelans still
     cannot return to their country in safety. These conditions are the
     cumulative result of the factors described below. Venezuelans
     who return to their country continue to face the possibility of
     torture, extrajudicial killings, forced disappearances, human
     trafficking, unjust detentions, and politically motivated reprisals.

     (SBU) Violence: Citizens of Venezuela are subject to ongoing
     violence at a tremendous scale that has contributed directly to the
     mass exodus of citizens from the country. Episodes of localized
     violence are frequent, unpredictable, and are not adequately
     prevented or addressed. Parts of the country experience violence
     from armed groups because of a deterioration of the rule of law,
     the long-term presence of non-state armed groups, and illicit
     economic activities.

                         SENSITIVE BUT UNCLASSIFIED
                                                           Venezuela AR_000098
                         SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 5 of 222
                       SENSITIVE BUT UNCLASSIFIED
                                   -3-


   (SBU) The current homicide rate in the country stands at 40.9
   violent deaths per 100,000 inhabitants according to the NGO
   Observatorio Venezolano de Violencia, creating an insecure and
   uncertain environment for Venezuelan citizens remaining in or
   returning to the country. The 2021 International Narcotics Control
   Strategy Report (INCSR) notes that the Maduro regime’s
   practically nonexistent international drug control cooperation;
   appropriation of the judiciary and military services for its own
   illicit ends; corruption; and cooperation with criminal elements
   provide ideal conditions for drug trafficking and associated
   violence. The regime increasingly depends on narcotrafficking
   funds, among other illicit revenue streams, to sustain its patronage
   network and maintain power. The Maduro regime provides a
   permissive environment for terrorist groups including the
   Revolutionary Armed Forces of Colombia – People’s Army
   (FARC-EP), Segunda Marquetalia, and the Colombian-origin
   National Liberation Army (ELN). The ELN continues to expand
   its presence beyond its historic base in the border zone with
   Colombia and consolidate its social control. According to local
   and international media, the ELN was present in 12 of Venezuela’s
   24 states (with strength in Anzoátegui, Amazonas, Apure, Bolívar,
   Zulia, and Táchira states). With the complicity of the regime in
   some regions, and due to the Maduro regime’s lack of territorial
   control in others, these narcotrafficking and terrorist groups repress
   – sometimes violently – populations residing in areas that fall
   under their control. In 2021, the Maduro regime provided support
   to the Revolutionary Armed Forces of Colombia – Dissidents and
   the National Liberation Army, non-state armed groups that
   recruited or used child soldiers. In other areas, Venezuelan
   security forces confront narcotrafficking and terrorist groups,
   creating more violence and instability.




                       SENSITIVE BUT UNCLASSIFIED
                                                         Venezuela AR_000099
                       SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 6 of 222
                       SENSITIVE BUT UNCLASSIFIED
                                   -4-


   (SBU) Deteriorating Humanitarian Situation: Because of the
   economic collapse and political crisis, the UN and humanitarian
   organizations have been coordinating Humanitarian Response
   Plans (HRP) for Venezuela since 2019. The 2021 Global
   Humanitarian Needs Overview noted that more than seven million
   people in Venezuela (of a total population of 28.4 million) required
   humanitarian assistance. To date, approximately 6 million
   Venezuelans have left the country, making it the second largest
   refugee and migrant crisis in the world. The IOM and UNHCR
   project 8.9 million Venezuelans will have left Venezuela by the
   end of 2022.

   (SBU) Persistent operational constraints inside Venezuela imposed
   by the Maduro regime, including harassment and open hostility
   toward humanitarian workers, are obstructing the international
   community’s relief efforts. The Maduro regime has created a
   constrained humanitarian space, leading to the freezing of NGO
   registration, obstruction of import permits, and refusal to grant
   visas for humanitarian workers. State and USAID implementing
   partners have reported harassment by the regime and its supporters
   who have also prevented other humanitarian actors from operating
   in Venezuela.

   (SBU) The COVID-19 pandemic exacerbated conditions already
   intensified by the humanitarian crisis, including gender-based
   violence and violence against children. NGO surveys on the
   situation inside Venezuela show marked increases in forced labor,
   child labor, and gender-based violence because of the pandemic,
   with Utopix registering 239 femicides in 2021, a 43 percent
   increase since 2019.




                       SENSITIVE BUT UNCLASSIFIED
                                                         Venezuela AR_000100
                       SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 7 of 222
                       SENSITIVE BUT UNCLASSIFIED
                                   -5-


   (SBU) Severe Economic Crisis: Venezuela’s economy is in
   shambles following years of mismanagement and corruption, the
   persistent and widespread impacts of the COVID-19 pandemic, a
   hollowing out of the private sector, and hyperinflation. According
   to the IMF, Venezuela’s GDP growth precipitously declined by
   more than 80 percent since its 2014 peak. Venezuela’s GDP fell
   30 percent in 2020 and another 5 percent in 2021.

   (SBU) Oil revenues, the Maduro regime’s largest source of
   income, are estimated to have fallen more than 90 percent from
   their 2014 highs. As a result, the Venezuelan Central Bank’s
   reserves have fallen over 48 percent since 2016 and now hover just
   below $6 billion. Venezuela may have the highest value of
   government debt as a percentage of GDP of any country in the
   world. The World Bank estimates the country’s external debt is
   $190 billion, equivalent to 267 percent of GDP, as of February
   2022. Foreign currency shortages, combined with rampant public
   spending, have set off waves of hyperinflation, topping out at over
   two million percent in 2018 and “slowing” to 686 percent in 2021.

   (U) The collapse of the country’s sovereign currency, the Bolivar,
   means that the minimum wage in Venezuela stands at just over $2
   per month. Consequently, the percentage of transactions in foreign
   currency has dramatically increased. Today, foreign currency is
   used in between 60 and 70 percent of all transactions, most of
   which are in U.S. dollars.

   (U) Food Insecurity and Malnutrition: Access to adequate and
   nutritious food is an increasing challenge for vulnerable
   Venezuelans due to continued hyperinflation and price
   fluctuations. Venezuela’s population is primarily urban and relies
   heavily on food imports, making it especially vulnerable to supply
   and price shocks.



                       SENSITIVE BUT UNCLASSIFIED
                                                         Venezuela AR_000101
                       SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 8 of 222
                       SENSITIVE BUT UNCLASSIFIED
                                   -6-


   (U) In August 2019, the Maduro regime halted most of its food
   imports and allowed the private sector to take over, however, food
   insecurity is worsening under the weight of increased corruption,
   fuel shortages, and hyperinflation. Imported food items are
   available in supermarkets but priced in dollars and out of the reach
   of most Venezuelans. In July 2021, the WFP started distributing
   food supplies to children enrolled in pre-schools and to school staff
   in areas identified by WFP as most affected by food insecurity.

   (SBU) Agriculture accounts for less than five percent of
   Venezuela’s GDP and a small percentage of the labor force. Fuel
   shortages, compromised infrastructure, restricted access to credit,
   and agricultural input scarcity make agricultural development
   challenging. Uncertain land tenure and a legacy of nationalizations
   discourage agricultural entrepreneurship and investment.

   (SBU) Reduced economic activity due to COVID-19 mitigation
   measures further decreased household incomes, particularly in the
   informal sector, and in the first seven months of quarantine, food
   inflation reached 671.8 percent. Remittances have declined as the
   diaspora’s employment levels and purchasing power decreased,
   further increasing humanitarian needs among Venezuelans in
   country, as well as among Venezuelan refugees and migrants.

   (SBU) The Maduro regime has prevented a comprehensive
   assessment of the state of hunger in Venezuela since 2019 by
   imposing restrictive visa measures on humanitarian workers and by
   implementing obstructive financial auditing and logistical
   measures for aid groups inside Venezuela. However, humanitarian
   organizations report that families are increasingly unable to meet
   their daily food needs. A 2020 WFP report placed Venezuela
   among the top four countries suffering from food insecurity.
   Global Acute Malnutrition (GAM) has reached catastrophic levels
   in some communities. Malnutrition has jeopardized the next
   generation and reversing its effects could take decades.

                       SENSITIVE BUT UNCLASSIFIED
                                                         Venezuela AR_000102
                       SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 9 of 222
                       SENSITIVE BUT UNCLASSIFIED
                                   -7-


   (SBU) The country’s traditional remedial measures for providing
   food have shown increased signs of strain. The regime has long
   relied on subsidized food rations, known as CLAP boxes, to
   alleviate food scarcity while buying loyalty from its citizens by
   politicizing eligibility, for example, by distributing CLAP boxes
   based on express loyalty to Maduro or his political parties and
   allies. The quality, quantity, and timeliness of these boxes has
   deteriorated significantly over recent years for several reasons.
   First, pro-regime armed groups in many instances play a role in the
   distribution of the boxes. Second, corrupt distribution networks
   skimmed funds from the program. Due to corruption, which
   reduced the money spent on actual food, the quality of the CLAP
   boxes declined dramatically, often lacking animal-based protein,
   infested with mold or vermin, and much smaller than they were
   historically. Surveys by Venezuelan NGOs Convite and
   Ciudadania en Accion indicate that the percentage of families
   receiving CLAP boxes dropped from 38 percent in 2020 to 16
   percent in 2021.

   (U) Lack of Access to Lifesaving Health Services: The 2020 UN
   Humanitarian Response Plan indicates that the state of health
   infrastructure in Venezuela remains poor, and there continues to be
   a lack of qualified health professionals, medicine, and essential
   supplies. According to the Venezuelan Medical Federation, as of
   August 2021, 40,000 Venezuelan doctors have left the country.
   Health workers who stayed in Venezuela earned between $4 and
   $18 a month, and many have had to walk to work, sometimes for
   over ten kilometers, as they cannot afford transport. The COVID-
   19 pandemic further exacerbated this crisis. According to the
   Interim Government and local NGOs, the number of COVID-19
   related deaths among health care workers in Venezuela remains the
   highest in Latin America at approximately 30 percent of all
   COVID-19 deaths nationwide. Local health facilities have limited
   capacity to address growing needs.


                       SENSITIVE BUT UNCLASSIFIED
                                                         Venezuela AR_000103
                       SENSITIVE BUT UNCLASSIFIED
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 10 of 222
                                        SENSITIVE BUT UNCLASSIFIED
                                                    -8-


           (SBU) According to the Venezuelan Medical Federation, many
           hospitals are unable to offer services because they only have 3-4
           percent of necessary medicines available. A health union
           announced in November 2021 that Venezuela’s public hospitals
           had a 40 percent shortage of masks and a 46 percent shortage of
           gloves. Outbreaks of communicable diseases, including yellow
           fever, measles, and diphtheria are persistent threats. Health
           infrastructure in Venezuela is primarily managed by the Maduro
           regime and has therefore been subject to years of neglect and
           disrepair.

           (SBU) Human Rights Abuses: NGOs and international
           organizations have long reported human rights abuses committed
           by the Maduro regime, its associates, and aligned armed groups.
           According to their reports, security forces regularly engage in
           torture, extrajudicial killings, forced disappearances, unjust
           detentions, and politically motivated reprisals. The UN Human
           Rights Council’s Independent International Fact-Finding Mission
           on the Bolivarian Republic of Venezuela (IIFFM) found in its
           September 2020 report, “reasonable grounds to believe that
           Venezuelan authorities and security forces have since 2014
           planned and executed serious human rights violations, some of
           which – including arbitrary killings and the systematic use of
           torture – amount to crimes against humanity.”1 According to Ms.
           Marta Valiñas, chairperson of the Mission, “these crimes were
           coordinated and committed pursuant to State policies, with the
           knowledge or direct support of commanding officers and senior
           government officials.”. As noted in the Department’s Country
           Report on Human Rights Practices, NGOs reported 33 forced
           disappearances through May 2021 with 14 people still missing as
           of November 2021. NGOs report 240 political prisoners in
           custody as of February 14.


1
    OHCHR | Venezuela: UN report urges accountability for crimes against humanity 16 Sept. 2020.


                                        SENSITIVE BUT UNCLASSIFIED
                                                                                         Venezuela AR_000104
                                        SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 11 of 222
                        SENSITIVE BUT UNCLASSIFIED
                                    -9-


   (SBU) Targets of violence include opposition politicians,
   journalists, students, civil society activists, and anyone perceived
   to be at odds with the Maduro regime. According to these reports,
   once in custody, security agents subject detainees to torture, sexual
   abuse, and other cruel, inhuman, or degrading treatment or
   punishment, sometimes leading to the detainee’s death. Human
   trafficking remains a serious concern. Traffickers exploit and
   subject Venezuelans, including those fleeing the country, to
   egregious forms of exploitation, including sex trafficking and
   forced labor. Non-state armed groups that operate in the country
   with impunity subject Venezuelans to forced labor, forced
   criminality, and recruit child soldiers. These groups lure children
   in vulnerable conditions and dire economic circumstances with
   gifts and promises of basic sustenance for themselves and their
   families to later recruit them into their ranks. Please see the
   Department’s Country Report on Human Rights Practices 2021,
   the 2021 Trafficking in Persons Report, and the IIFFM reports on
   Venezuela, dated September 16, 2020, and 16 September 2021, for
   additional detail on human rights abuses in the country.

   (U) Extrajudicial Killings: A 2020 IIFFM report concluded that
   there are reasonable grounds to believe that Venezuelan security
   forces committed extrajudicial killings, with the knowledge and
   tacit approval of high-level regime authorities. According to
   reports from Human Rights Watch, police and security forces in
   Venezuela killed roughly 19,000 people between 2016 and 2019.
   NGO Observatorio Venezolano de Violencia reported 2,332
   killings committed by regime security forces in 2021. NGO
   Control Ciudadano reported regime security forces killed at least
   106 people in January 2022. Control Ciudadano assured the
   majority of these cases had characteristics consistent with
   extrajudicial killings. In January 2022, the Inter-American
   Commission on Human Rights (IACHR) condemned extrajudicial
   killings in Venezuela of young men living in poverty.


                        SENSITIVE BUT UNCLASSIFIED
                                                          Venezuela AR_000105
                        SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 12 of 222
                        SENSITIVE BUT UNCLASSIFIED
                                    -10-


   (U) According to these NGOs, raids conducted by the Bolivarian
   National Guard, the Bolivarian National Police (PNB), the
   Bolivarian National Intelligence Service (SEBIN), and state police
   resulted in allegations of extrajudicial killings, arbitrary detentions,
   destruction of homes, and mistreatment of detainees.

   (SBU) Absence of Rule of Law: The Maduro regime-controlled
   judiciary lacks any semblance of independence and transparency.
   NGOs and international organizations reported allegations of
   corruption and political interference resulting in judicial decisions
   in favor of the regime. A variety of independent domestic and
   international human rights groups operate in Venezuela with undue
   restrictions imposed by the Maduro regime. Additionally, the
   Maduro regime condones or supports criminal non-state armed
   groups throughout the country, including in areas in which it does
   not have territorial control. The regime’s tolerance of these groups
   leads to high levels of physical insecurity, human trafficking, and
   environmental degradation, with outsized impacts on vulnerable
   populations such as women, children, and indigenous peoples.

2. Would permitting nationals of the foreign state to remain
   temporarily in the United States be contrary to the national
   interest of the United States?

   (U) No. Permitting eligible Venezuelan nationals to remain
   temporarily in the United States advances the national interest by
   assuring our resolve to offer haven for those fleeing the conditions
   detailed in this report. As President Biden said in his February 4,
   2021, remarks at the Department, such actions are part of this
   Administration’s effort to restore U.S. moral leadership, and in the
   past have served as an example to push other countries to assist
   such populations. In his October 20, 2021, remarks the Secretary
   highlighted the situation with Venezuelan refugees and migrants as
   particularly urgent and called for directing resources to
   communities hosting migrants and refugees from Venezuela.

                        SENSITIVE BUT UNCLASSIFIED
                                                          Venezuela AR_000106
                        SENSITIVE BUT UNCLASSIFIED
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 13 of 222
                          SENSITIVE BUT UNCLASSIFIED
                                      -11-



II.   Discretionary Factors

What, if any, additional information relevant to this decision should
be brought to the attention of the Department of Homeland
Security?

      Adverse Impact on Regional Stability

      (SBU) Venezuela poses a clear threat to regional stability and its
      economic collapse could drag down key U.S. allies in Latin
      America. According to the UN Refugee Agency and IOM, over 6
      million Venezuelans have fled to other countries due to the
      humanitarian crisis, with approximately 5 million spread
      throughout Latin America. The joint UN and IOM R4V Regional
      Refugee and Migrant Response Plan (RMRP) projects 8.9 million
      Venezuelans will have left Venezuela by the end of 2022. The
      United States remains the largest donor responding to the regional
      humanitarian crisis. Since 2017, the United States has provided
      more than $1.9 billion in humanitarian, economic, development,
      and health assistance to help Venezuelans in Venezuela, those who
      have fled, and the communities hosting Venezuelan migrants and
      refugees.

      (SBU) Colombia remains the country most affected by the crisis in
      the region, hosting nearly 2 million Venezuelan refugees and
      vulnerable migrants. The sheer number of Venezuelans strains the
      Colombian government’s capacity to respond, especially in the
      areas of health and social services, and compounds the difficulties
      Colombia faces in its efforts to address the needs of more than 8
      million Colombians internally displaced due to violence by illegal
      armed groups.




                          SENSITIVE BUT UNCLASSIFIED
                                                            Venezuela AR_000107
                          SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 14 of 222
                        SENSITIVE BUT UNCLASSIFIED
                                    -12-


   (SBU) Since the crisis began, Colombia took iterative steps to
   confer status on Venezuelans, for the purposes of working in the
   formal sector, accessing education and healthcare, and integrating
   into Colombian society, but these measures did not reach a
   majority of the Venezuelan refugees and vulnerable migrants in the
   country. Recognizing the need for a more comprehensive
   approach, Colombia announced on February 8, 2021, a 10-year
   temporary protective status for Venezuelans that had entered the
   country prior to January 31, 2021. To date, over 1.8 million
   Venezuelans in Colombia have completed pre-registration to
   access temporary status and more than 628,000 temporary
   protective status permits have been approved, with substantial
   State/PRM and USAID assistance for printers, identification cards,
   staffing, and equipment. The provision of this status to
   Venezuelans by Colombia allows them to access public services,
   including healthcare, education, and the financial system, and
   assists in their socio-economic integration in the country.

   (SBU) Brazil, Chile, Ecuador, and Peru combined host an
   additional 2.5 million Venezuelan refugees and migrants. More
   than 1.3 million Venezuelans currently reside in Peru, the second
   largest number in the region behind Colombia, placing an immense
   strain on the country’s social services including its health system.
   Peru hosts approximately 22 percent of Venezuelan migrants and
   refugees worldwide and the largest population of Venezuelan
   asylum seekers in the region. On average, more than 1,500
   Venezuelans enter Peru daily from Ecuador. The RMRP projects
   by the end of 2022, the number of Venezuelans in Peru will rise to
   1.45 million. The Peruvian government implemented two
   alternative regularization processes: the Temporary Permanence
   Permit Card and the humanitarian residency permit, directed
   towards the 530,000 asylum-seekers. Peru, like many other
   countries, closed its borders due to the COVID-19 pandemic,
   which gave rise to criminal networks smuggling and trafficking
   Venezuelans through irregular entry points.

                        SENSITIVE BUT UNCLASSIFIED
                                                          Venezuela AR_000108
                        SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 15 of 222
                        SENSITIVE BUT UNCLASSIFIED
                                    -13-


   (SBU) Ecuador hosts the third-highest population of Venezuelans
   in the region. Of the more than 508,000 Venezuelans residing
   there, approximately half possess a valid migration status in the
   country. The government of Ecuador pledged in 2021 and 2022 to
   announce a new effort to regularize Venezuelans in the country,
   but those plans had not materialized as of February 2022. As
   many as 1,500 Venezuelans continue to enter Ecuador daily, with
   the majority intending to transit to Chile or Peru. Chile hosts over
   448,100 Venezuelan migrants and refugees, the fourth-largest
   population in the region. UNHCR notes this figure does not
   include the 400 and 500 refugees and migrants entering Chile daily
   since November 2021 via irregular border crossings. The RMRP
   reports that communities along Chile’s northern border that serve
   as sites of first reception struggle to meet the emergency shelter,
   health, and food needs of new arrivals. Brazil, with 261,400
   Venezuelans, hosts the fifth-largest population in the region. The
   Brazilian government provided documentation and integration
   support to more than 261,000 Venezuelan migrants in Brazil as of
   February 2022. Brazil has granted refugee status to more than
   49,000 Venezuelans, the largest recognized Venezuelan refugee
   population in the region.

   Regional Migration Management

   (SBU) In FY 2021, encounters with Venezuelans increased over
   1,225 percent (47,753) compared to the previous five fiscal years
   combined (3,604), according to CBP data. Venezuelan migrant
   encounters at the U.S. southern border further spiked in November
   and December 2021, with Venezuelans the top nationality
   encountered after Mexicans. DHS reports that 80 percent of
   Venezuelans encountered arrived from Colombia and other South
   American countries, reflecting a growing secondary migration
   trend. Venezuelans account for 30 percent of arrivals in Panama
   through the Darien as of March, marking a sharp increase in
   Venezuelans taking the dangerous journey through the jungle.

                        SENSITIVE BUT UNCLASSIFIED
                                                          Venezuela AR_000109
                        SENSITIVE BUT UNCLASSIFIED
   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 16 of 222
                           SENSITIVE BUT UNCLASSIFIED
                                       -14-


   (SBU) Extending the current TPS protection would maintain
   protected status for those Venezuelans physically present in the
   United States before March 8, 2021. By contrast, re-designation of
   TPS would extend coverage to Venezuelans who entered the United
   States after March 8, 2021, and signal that the arduous and dangerous
   journey will lead to admittance and regularized status in the United
   States. Re-designation of TPS would undermine ongoing U.S. efforts
   to stabilize existing migrant populations in other Western Hemisphere
   countries (including specifically, Colombia, Peru, and Ecuador for
   Venezuelan nationals), to prevent secondary movements, and to
   encourage partner governments to take a more active role in regional
   migration management, stabilization, and creation and expansion of
   legal migration pathways. An extension of the current TPS
   designation for eligible Venezuelan nationals in the United States
   before March 8, 2021, however, in conjunction with collaborative
   regional migration management efforts, would best serve to
   disincentivize irregular migration and illegal immigration at the U.S.
   southern border, while continuing to provide protected status to
   vulnerable and eligible Venezuelans.

III.   Recommendation

       (SBU) For the reasons described herein, the Department (1)
       recommends that Venezuela’s TPS designation be extended for 18
       months on the basis of extraordinary and temporary conditions and
       (2) does not recommend a re-designation of TPS.




                           SENSITIVE BUT UNCLASSIFIED
                                                             Venezuela AR_000110
                           SENSITIVE BUT UNCLASSIFIED
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 17 of 222




                                                          Venezuela AR_000111
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 18 of 222




                                                         Venezuela AR_000112
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 19 of 222




                                                         Venezuela AR_000113
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 20 of 222




                                                          Venezuela AR_000114
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 21 of 222




                                                          Venezuela AR_000115
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 22 of 222




                                                          Venezuela AR_000116
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 23 of 222




                                                          Venezuela AR_000117
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 24 of 222




                                                          Venezuela AR_000118
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 25 of 222




                                                          Venezuela AR_000119
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 26 of 222




                                                          Venezuela AR_000120
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 27 of 222




                                                          Venezuela AR_000121
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 28 of 222




                                                          Venezuela AR_000122
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 29 of 222




                                                          Venezuela AR_000123
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 30 of 222




                                                          Venezuela AR_000124
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 31 of 222




                                                          Venezuela AR_000125
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 32 of 222




                                                          Venezuela AR_000126
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 33 of 222




                                                          Venezuela AR_000127
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 34 of 222




                                                          Venezuela AR_000128
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 35 of 222




                                                          Venezuela AR_000129
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 36 of 222




                                                          Venezuela AR_000130
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 37 of 222




                                                          Venezuela AR_000131
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 38 of 222




                                                          Venezuela AR_000132
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 39 of 222




                                                          Venezuela AR_000133
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 40 of 222




                                                          Venezuela AR_000134
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 41 of 222




                                                          Venezuela AR_000135
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 42 of 222




                                                          Venezuela AR_000136
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 43 of 222




                                                          Venezuela AR_000137
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 44 of 222




                                                          Venezuela AR_000138
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 45 of 222




                                                          Venezuela AR_000139
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 46 of 222




                                                          Venezuela AR_000140
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 47 of 222




                                                          Venezuela AR_000141
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 48 of 222




                                                          Venezuela AR_000142
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 49 of 222




                                                          Venezuela AR_000143
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 50 of 222




                                                          Venezuela AR_000144
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 51 of 222




                                                          Venezuela AR_000145
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 52 of 222




                                                          Venezuela AR_000146
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 53 of 222




                                                          Venezuela AR_000147
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 54 of 222




                                                          Venezuela AR_000148
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 55 of 222




                                                          Venezuela AR_000149
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 56 of 222




                                                          Venezuela AR_000150
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 57 of 222




                                                          Venezuela AR_000151
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 58 of 222




                                         August 21, 2022


                                        INFORMATION


MEMORANDUM FOR THE SECRETARY
                                                            Digitally signed by JOHN W
                                                JOHN W
THROUGH:                      John W. Priddy PRIDDY IV
                                                            PRIDDY IV
                                                            Date: 2022.08.21 16:01:39
                                                            -04'00'

                              Acting Director, Joint Task Force – East (JTF-E)

                              John K. Tien
                              Deputy Secretary, U.S. Department of Homeland Security
                                                                         MCPHERSON.BRENDA Digitally signed by

FROM:                         RADM Brendan C. McPherson N.C.1030028623                    MCPHERSON.BRENDAN.C.1030028623
                                                                                                 Date: 2022.08.21 14:49:08 -04'00'


                              Director, Homeland Security Task Force – Southeast (HSTF-SE)

SUBJECT:                      OPERATION VIGILANT SENTRY (OVS) Phase 1B

REFERENCE:                    (a) Homeland Security Act of 2002, P.L. 107-296
                              (b) DHS MASS MIGRATION PLAN (DMMP), dtd 8 SEP 2011
                              (c) OPERATION VIGILANT SENTRY, Rev. 5 dtd 13 JUL 2021

1. This memorandum provides formal notification that I have directed the HSTF-SE Unified
Command to transition from Operation Vigilant Sentry (OVS) Phase 1a (Steady State -
Preparation) to Phase 1b (Surge - Prevention), in accordance with references (a) through (c). I
directed this change in order to enhance our collective preparedness to effectively address a
marked, enduring increase in irregular maritime migration flow within the Caribbean area of
operations in recent months, most notably originating from Cuba and Haiti. The current
conditions in Cuba and Haiti remain fragile and conducive to seeing additional foreign nationals
taking to the sea, in significant numbers, with the intent of reaching the United States.

2. HSTF-SE will immediately implement operational and tactical level plans and activities to
deter and prevent any threat of maritime mass migration. The principal objectives of this
operation will focus on: effective deterrence; early interdiction; safe, efficient and humane care
and processing of migrants; and direct repatriation of migrants rescued and interdicted at sea in
support of U.S. national security interests. Ultimately, the mission of HSTF-SE is to save lives
and secure our borders.

3. HSTF-SE will coordinate all interagency requests for assistance, requests for forces,
recommendations for suspension of protection screening (if deemed necessary and appropriate),
determination for state and local assistance, or other operational matters with JTF-E and the DHS
Office of the Military Advisor.


                                          1
                         UNCLASSIFIED//FOR OFFICIAL USE ONLY
                                                                                              Venezuela AR_000152
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 59 of 222

                       UNCLASSIFIED//FOR OFFICIAL USE ONLY


4. HSTF-SE will maintain OVS Phase 1b (Surge) until operational conditions permit a timely
transition back to OVS Phase 1a (Steady State).

5. All DHS components are responsible for their own costs in support of HSTF-SE. Each
component is responsible for establishing appropriate mechanisms for capturing and
documenting costs in support of HSTF-SE operations. The Under Secretary for Management
will centrally collect cost information from across all DHS agencies. The Under Secretary for
Management and Chief Financial Officer will also periodically review the situation and make
adjustments accordingly.

Attach: Graphic - Operation Vigilant Sentry (OVS) Phases and Command Structure

cc:    Commandant, U.S. Coast Guard
       Commissioner, U.S. Customs and Border Protection
       Acting Director, U.S. Immigration and Customs Enforcement
       Administrator, Federal Emergency Management Agency
       DHS, Under Secretary for Management
       DHS, Director of Operations Coordination
       DHS, Office of the Military Advisor
       HSTF-SE Unified Command
       Commander, U.S. Southern Command
       Commander, U.S. Northern Command




                                        2
                       UNCLASSIFIED//FOR OFFICIAL USE ONLY
                                                                           Venezuela AR_000153
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 60 of 222




                                                        Venezuela AR_000154
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 61 of 222




This memorandum provides more details on how DHS is leading the execution of a whole-of-
government plan to prepare for and manage increased encounters of noncitizens at our Southwest
Border. Many elements of this plan are already being implemented as we manage a historic
number of encounters, including a record number of noncitizens trying to enter the United States
multiple times. Others are elements that we are prepared to implement once the Title 42
termination goes into effect. The six pillars of our plan are as follows:

Border Security Pillar 1: We are surging resources, including personnel, transportation,
medical support, and facilities to support border operations.

U.S. Customs and Border Protection (CBP) currently has 23,000 Agents and Officers working
along the Southwest Border, which includes a recent increase of 600 personnel and support of
law enforcement officers and agents from other government agencies. Additionally,
approximately 500 Agents have been returned to the vital border security mission as a result of
increased civilian processing personnel to perform those functions, as well as processing
efficiency. By May 23, we will be prepared to hold approximately 18,000 noncitizens in CBP
custody at any given time, up from 13,000 at the beginning of 2021, and we have doubled our
ability to transport noncitizens on a daily basis, with flexibility to increase further. In order to
safeguard public health and the safety of our workforce, noncitizens, and border communities,
our efforts also include medical support and COVID-19 mitigation protocols, including testing
and administering age-appropriate COVID-19 vaccines in 24 CBP sites by May 23, building on
our existing vaccination program for those in Immigration and Customs Enforcement (ICE)
custody.

Border Security Pillar 2: We are increasing CBP processing efficiency and moving with
deliberate speed to mitigate potential overcrowding at Border Patrol stations and to
alleviate the burden on the surrounding border communities.

This includes launching three new initiatives, which will support these decompression efforts,
while ensuring the continued integrity of our security screening processes: Enhanced Central
Processing Centers; en route processing; and streamlined processing. CBP is also working to
increase processing efficiency at Ports of Entry (POEs) to further facilitate safe and orderly
inspection of noncitizens.

Border Security Pillar 3: We are administering consequences for unlawful entry, including
removal, detention, and prosecution.

Core to this plan is our commitment to continue to strictly enforce our immigration laws. This
includes increased use of Expedited Removal, detaining single adults when appropriate, referring
for prosecution those whose conduct warrants it, and accelerating asylum adjudications that
enable us to more quickly process and remove from the United States those who do not qualify
for relief under our laws.

Border Security Pillar 4: We are bolstering the capacity of non-governmental organizations
(NGOs) to receive noncitizens after they have been processed by CBP and are awaiting the
results of their immigration removal proceedings. And, we are ensuring appropriate

                                               2 of 20

                                                                               Venezuela AR_000155
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 62 of 222




coordination with and support for state, local, and community leaders to help mitigate
increased impacts to their communities.

Our goal is to help communities alleviate the pressures they experience by expanding NGO
capacity, through communication and coordination with all relevant partners, and other
assistance such as the Emergency Food and Shelter Program (EFSP), a Federal Emergency
Management Agency (FEMA) grant program that supplements and expands ongoing work of
local NGOs to meet the needs of local agencies.

Border Security Pillar 5: We are targeting and disrupting the transnational criminal
organizations (TCOs) and smugglers who take advantage of and profit from vulnerable
migrants, and who seek to traffic drugs into our country.

In April 2022, DHS and other federal agencies intensified our disruption efforts, marshalling the
largest surge of resources and disruptive activities against human smuggling networks in recent
memory. The immediate result has been over 2,500 arrests, investigations, and disruptions of
smuggling infrastructure, such as buses and safe houses. The federal government has also
established a new intelligence unit to coordinate and strengthen the capability for early warning
of migrant movements.

Border Security Pillar 6: We are deterring irregular migration south of our border, in
partnership with the Department of State (DOS), other federal agencies, and nations
throughout the Western Hemisphere, to ensure that we are sharing the responsibility
throughout the region.

In the past two months, we have signed new migration agreements with Costa Rica and Panama
and continue close cooperation with Mexico. We are also sending a clear message in the region
to counteract misinformation from smugglers, including that the termination of the Title 42
public health Order does not mean that the U.S. border is open. As we execute this work, our
objective continues to be the safe, orderly, and humane processing of noncitizens, consistent with
our laws, while protecting national security and public safety. Across all of our work in this
space, we are ensuring we can uphold our laws and our values in treating noncitizens in a
humane way, as we did last year when we rapidly addressed the acute needs of unaccompanied
children at the Southwest Border.

Conclusion
Our outdated immigration system was not built to manage the current levels and types of
migratory flows that we are experiencing and is already under strain. This is true at the federal
level, as well as for state, local, and NGO partners. However, we have been able to manage
increased encounters because of prudent planning and execution, and the talent and unwavering
dedication of the DHS workforce and our state, local, and community partners.

Despite these efforts, a significant increase in migrant encounters will substantially strain our
system even further. We will address this challenge successfully, but it will take time, and we
need the partnership of Congress, state and local officials, NGOs, and communities to do so. We
are operating within a fundamentally broken immigration system that only Congress can fix.

                                             3 of 20

                                                                             Venezuela AR_000156
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 63 of 222




BACKGROUND
After inheriting a broken and dismantled immigration system, the Biden-Harris
Administration is securing the border and building a fair, orderly, and humane
immigration system, with demonstrable results since January 2021.

The Biden-Harris Administration inherited a broken and dismantled immigration system. On
January 20, 2021, the President sent the U.S. Citizenship Act of 2021 to Congress with a call for
urgent action. At DHS, we are working every day, despite that broken system, to secure our
borders and build a more just immigration system.

Securing the Border
DHS works tirelessly to secure the Southwest Border through a combination of highly trained
personnel, sophisticated ground and aerial monitoring systems, and robust intelligence and
information sharing networks. Through this layered border security network, we have a better
understanding of who is attempting to enter the country than ever before and can focus our
enforcement efforts more effectively to address potential threats.

The greatest asset in our border security network is the DHS workforce. There are currently over
23,000 CBP Agents and Officers working along the Southwest Border. Over the past year, DHS
has supplemented permanent staff by overseeing the deployment of more than 10,000 additional
federal personnel to the Southwest Border in multiple rotations. This includes CBP Agents and
Officers; other agency law enforcement personnel; personnel from the Department of Defense
(DOD), which has supporting CBP operations since 2006, and the DHS Volunteer Force.
Personnel have been added to increase patrols along the Southwest Border to prevent the entry of
people and goods between POEs, enhance processing efficiency, and increase humanitarian
capacity. DHS also has worked to train thousands of additional agents and officers and execute
contracts for processing assistance to further augment border security efforts.

DHS has been investing in technology and installing new systems to enhance border security and
the effectiveness of our operations, including advanced automated surveillance towers, ground
movement detection systems, and new aerial platforms. These efforts have delivered concrete
results, as further described below.

With support from Congress, DHS has been applying appropriated financial resources to support
our efforts. In the Fiscal Year (FY) 2022 budget, DHS secured additional resources: $100
million to strengthen Border Patrol Agent hiring programs and contract for processors to work in
Border Patrol stations; more than $250 million in funding for border security technology; over
$85 million for non-intrusive inspection technology to scan vehicles and goods entering the
country; and more than $70 million for additional aircraft and sensors. In addition, Congress
allocated $1.4 billion to support contingency operations on the Southwest Border.

Building a More Just Immigration System
Along with our efforts to secure the border, over the past 15 months, we implemented critical
reforms that ended cruel and unjust policies of the prior Administration. We have issued new
guidelines regarding immigration enforcement priorities that focus the Department’s resources

                                             4 of 20

                                                                             Venezuela AR_000157
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 64 of 222




on the apprehension and removal of noncitizens who pose a threat to our national security,
border security, or public safety. These guidelines mark a new approach to enforcement as they
focus resources on those who pose the greatest threat. The most recent guidelines also enable the
Department’s experienced personnel to use their discretion and focus DHS enforcement
resources in a more targeted way, while protecting civil rights and civil liberties.

The results speak for themselves. ICE Enforcement and Removal Operations (ERO) arrested an
average of 1,034 aggravated felons per month from February through September 2021, a 53
percent increase over the monthly average during 2016 and a 51 percent increase over the period
2017-2020. During the same period in 2021, ICE removed an average of 937 aggravated felons
per month, the highest level ever recorded and the greatest public safety impact since ICE began
collecting detailed criminality data. From February-September 2021, 46 percent of ICE
removals were of serious criminals overall (persons convicted of felonies or aggravated
felonies), compared to 17 percent during 2016 and 18 percent during 2017-2020.

The Department is committed to protecting vulnerable populations and has taken several
significant steps to advance our efforts on this front. A few examples:
    x We have implemented actions to promote a fair labor market by focusing our
        enforcement on unscrupulous employers, thereby supporting more effective enforcement
        of wage protections, workplace safety, labor rights, and other employment laws and
        standards.
    x We have issued a new, comprehensive policy that provides an expanded and non-
        exhaustive list of Protected Areas – such as courthouses, places of worship, and disaster
        or emergency relief sites – to ensure that enforcement actions, to the fullest extent
        possible, are not taken at or near a location that would restrain people’s access to
        essential services or engagement in essential activities.
    x We have made significant strides in improving the conditions of care in detention
        facilities including implementing trauma-informed care in CBP facilities, hiring
        additional child welfare and medical providers to work in CBP facilities, implementing
        new policies establishing standards of care for vulnerable individuals, and closing
        facilities that repeatedly have failed to maintain safe conditions.
    x In partnership with DOS, we reimplemented and expanded the Central American Minors
        program to increase the pool of qualified candidates who can access this safe, orderly
        pathway. For example, the expansion now allows legal guardians in the United States
        with a pending asylum application or U visa petition to sponsor their children for
        resettlement consideration.
    x In partnership with the Department of Health and Human Services (HHS), we ensured the
        safe and humane treatment of unaccompanied children in our custody by quickly
        reducing the average time to transfer a child into HHS care and the number of
        unaccompanied children in Border Patrol facilities.
    x And critically, we have reunited more than 200 families who were cruelly and unjustly
        separated at the U.S.-Mexico border by the prior Administration and are working to
        reunite many more.




                                             5 of 20

                                                                           Venezuela AR_000158
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 65 of 222




STATE OF MIGRATION
The United States is experiencing an increase in migration, consistent with larger global
trends. There are currently more people in the world displaced from their homes than at
any time since World War II, including in the Western Hemisphere.

Over the past few years, irregular migration along the Southwest Border has increased to
unprecedented levels and presents new challenges that affect our processing and complicate
removals. In the past three weeks, CBP has encountered an average of over 7,800 migrants per
day across the Southwest Border. This is compared to a historical average of 1,600 per day in
the pre-pandemic years (2014-2019). In addition to this exponential increase, DHS has seen a
pronounced shift in the demographics and nationalities of noncitizens encountered at and
between land ports of entry – with more single adults claiming fear, varying levels of family
units, and a steady flow of unaccompanied children, who have unique vulnerabilities and needs.
Migrants from Cuba, Venezuela, and Nicaragua have steadily increased, accounting for 37
percent of FY 2022 non-Mexican encounters to-date, up from 8 percent between 2014-2019.
And due to the sharp increase in encounters of Ukrainians at the Southwest Border in the wake
of the Russian invasion of Ukraine, we have established a new program for processing
Ukrainians in Europe that will substantially reduce incentives to seek admission via Mexico.

The United States is not alone in experiencing an increase in migration. There are currently
more people displaced from their homes across the world than at any time since World War II.
In our hemisphere, violence, food insecurity, severe poverty, corruption, climate change, the
COVID-19 pandemic, and dire economic conditions all contribute to the increase. More than 6
million Venezuelan refugees and migrants have fled their homes, making this the second-largest
external displacement crisis in the world. Seventeen countries in Latin America and the
Caribbean generously host approximately 80 percent of this Venezuelan diaspora, including an
estimated 1.8 million in Colombia, 1.3 million in Peru, and large numbers in Ecuador, Chile,
Brazil and elsewhere. Costa Rica, a country of only 5 million people, is hosting approximately
150,000 Nicaraguan migrants.

Noncitizens making their way to the Southwest Border travel via air, land, and sea into Mexico
and up to Mexico’s northern states. These movements into and through Mexico are often
facilitated by numerous human smuggling organizations that exploit them for profit, and involve
crossing inhospitable jungles, rugged mountains, and raging rivers, often with small children in
tow. Upon reaching the border area, noncitizens seeking to enter the United States without going
through the POEs pay cartels to guide them along the final miles of their journey. This cartel-
controlled movement of people across the border is a billion-dollar criminal enterprise. The
cartels willfully place noncitizens in danger during their journey. Tragically, a significant
number of individuals perish along the way. The depth of suffering these migrants are willing to
endure speaks to the desperation they feel about their prospects in their home countries.

When the Title 42 public health Order is lifted, we anticipate migration levels will increase
further, as smugglers will seek to take advantage of and profit from vulnerable migrants.
We will continue to remove individuals without legal claims under Title 8, consistent with
our laws.

                                            6 of 20

                                                                          Venezuela AR_000159
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 66 of 222




Following the lifting of CDC’s Title 42 public health Order, we expect increased border flows, in
light of exploitation by smugglers, continued demand for access to the United States from people
fleeing violence and economic turmoil in their home countries, and other factors discussed
above. In preparation for this, DHS operational agencies and partners have planned for multiple
scenarios to ensure preparedness and the safe, orderly, and humane processing of individuals,
consistent with our laws.

Migration Authorities
As noted above, we have been managing historic levels of migration: 1.72 million encounters by
CBP in FY 2021. DHS completed 1.2 million repatriations in FY 2021, via a combination of
immigration enforcement removals pursuant to Title 8 and public health expulsions pursuant to
Title 42. This was the highest number of repatriations since 2006.

Since March 2020, CDC’s Title 42 public health Order has required the immediate expulsion of
noncitizen single adults and families at the Southwest Border to mitigate risk to the American
public due to COVID-19. As a result, a significant percentage of all noncitizens encountered at
the Southwest Border are currently expelled pursuant to Title 42. The large number of
expulsions during the pandemic has contributed to a higher-than-usual number of noncitizens
making repeated border crossing attempts: more than one in three encounters at the Southwest
Border are repeat entrants, including almost half of single adult encounters. Thus, while total
enforcement encounters increased 82 percent between 2019 (the last pre-pandemic year) and
2021, the number of unique individuals encountered at the border increased by 30 percent.

In light of CDC’s decision to terminate Title 42, beginning on May 23, 2022, families and single
adults who cross the border without legal authorization will be placed into Title 8 removal
proceedings. Under Title 8 authorities, noncitizens without a viable asylum claim or unable to
establish a legal basis to remain in the United States are removed to their home countries.
Economic need and flight from generalized violence are not a basis for asylum in the United
States. Only those with a well-founded fear of persecution based on protected grounds are
eligible for asylum. Expedited Removal is a tool to quickly remove individuals who do not
express a fear of return to their home country, following an assessment of asylum claims. In
addition, Mexican migrants can be quickly removed under Voluntary Removal, a process that in
practice takes about the same amount of time as an expulsion pursuant to Title 42. There are
consequences to entering without authorization. Recent arrivals ordered for removal or subject
to Expedited Removal are generally subject to a five-year bar on admission to the United States,
and reentry within this five-year period after removal is subject to felony prosecution.

Of note, our border security efforts also address irregular maritime migration, which is always
dangerous and often deadly. The termination of Title 42 will not impact the U.S. Coast Guard’s
(USCG) ability to rescue and intercept individuals attempting this dangerous journey.
Individuals interdicted at sea who are attempting to enter the United States irregularly are, and
will continue to be, subject to repatriation to their home country. DHS continues to maintain its
readiness in the maritime domain and has longstanding plans and procedures that govern how to
respond to any potential increase in maritime migration.



                                             7 of 20

                                                                            Venezuela AR_000160
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 67 of 222




Border Processing
CBP Agents and Officers work tirelessly to detect and interdict noncitizens who cross the border.
Upon encountering individuals who have entered between POEs, Border Patrol Agents transport
them to stations for processing. This includes verifying their identities through a review of their
documents and biographic information, as well as the collection of biometric records. Each
individual processed by CBP is screened against numerous records systems, including the FBI’s
Terrorist Screening Database, to determine whether or not they pose a national security or public
safety threat. After initial identity verification and record checks, CBP Agents and Officers
determine the appropriate processing pathway from the available options, which are determined
based on an individual’s nationality, age, family status, and results of security screening and
vetting. This process, including final processing for each pathway, takes, on average, one to two
hours per individual.

Adults and families commonly spend 48 to 72 hours in CBP custody awaiting processing and
then transfer or release. During this time, individuals are provided food, water, medical care,
clothing, and other necessities to ensure their safety. Upon completion of CBP processing,
certain noncitizens may be quickly removed and others may be transferred to ICE for continued
detention. Unaccompanied children must be transferred to HHS. Noncitizens not transferred to
other government agencies are processed for release during the pendency of their removal
proceedings. This often includes enrollment in an ICE Alternatives to Detention (ATD) program
and coordination with NGOs to assist with planning for travel away from the border and the
provision of other basic services. Noncitizens placed into proceedings will have an opportunity
to present their case before an Asylum Officer or Immigration Judge who will review their
claims and either order their removal or grant them asylum or other relief in accordance with
law.

Our broken immigration system was not built to manage the migration levels and types we
are currently experiencing and is already under strain. However, we have been able to
effectively manage these encounters because of prudent planning and execution, the talent
and unwavering dedication of the DHS workforce, and our state, local, and community
partners.

Congress designed the U.S. border management system over 25 years ago. At the time, the
migrant population largely consisted of single adult males who were seeking employment
opportunities. As described above, the populations DHS now encounters at the border are
substantially different, including many families and unaccompanied children who are seeking
humanitarian relief. The current system is outdated, was further dismantled by the last
Administration, and was not built to contend with these demands. Further, social media and
other online platforms have increased smugglers’ access to potential migrants, creating an
environment ripe for manipulation of information with respect to migration policies at the
border.

As noted above, we are already managing a high volume of migrant encounters (on average
7,800 over the past three weeks), which is significantly higher than our system was built to
manage and process effectively. While CBP, ICE, and our community partners are all strained
under current operations, we are processing individuals in a safe, humane, and orderly manner as

                                             8 of 20

                                                                             Venezuela AR_000161
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 68 of 222




a result of improvements we have made over the past year and thanks to the collaboration of
outside partners. DHS efforts include capacity building, strengthened logistics and processing
(including the deployment of soft-sided facilities and virtual processing), and decompression
tactics to ensure U.S. Border Patrol sectors can most efficiently support one another.

BORDER SECURITY PLAN
Building on lessons learned and in preparation for the termination of CDC’s Title 42 public
health Order, DHS commenced planning exercises in Fall 2021. In February 2022, DHS
formally launched the Southwest Border Coordination Center (SBCC), which is coordinating a
whole-of-government response to the anticipated increase in border encounters. I designated a
Senior Coordinating Official (SCO) to oversee the SBCC, who reports directly to me.

The SBCC has centralized coordination among key government agencies within a single
structure to ensure effective, holistic planning and execution. It is staffed by dozens of
experienced professionals from across DHS and contains subject matter expert representatives
from throughout the federal government. In addition to the full complement of DHS agencies
and offices, several federal agencies are supporting the whole-of-government response,
including:

   x   DOS is continuing intensive diplomacy throughout the region designed to limit irregular
       migration to the Southwest Border;
   x   DOD will provide, as needed, rapid contracting support for air and ground transportation,
       as well as land for the establishment of temporary facilities for migrant processing and
       lodging for housing federal employees near the Southwest Border;
   x   The Department of Justice (DOJ) is providing transportation support and law
       enforcement personnel from the Bureau of Prisons and U.S. Marshals Service, and
       prosecuting smugglers, repeat offenders, and others whose conduct warrants such a
       response;
   x   HHS continues to accept the transfer of unaccompanied children from CBP custody, as
       well as adjudicate requests for medical support via the ESF-8 council, which governs the
       allocation of Federal medical responses; and,
   x   The Office of the Director of National Intelligence (ODNI) is providing intelligence
       coordination and support to strengthen the capability for early warning of migrant surges
       at the Southwest Border.

Building on work to date and informed by input from our partners, we developed and are
currently executing the DHS Border Security plan, described below. Our objective
continues to be the safe, orderly, and humane processing of noncitizens consistent with our
laws to ensure national security and public safety.

The plan has six pillars: surge resources; increase efficiency to reduce strain on the border;
employ an aggressive consequence regime; bolster the capacity of NGOs and partner with state
and local partners; go after cartels and smugglers; and work with our regional partners. This
comprehensive plan leverages a whole-of-government approach to prepare for and manage the
current and anticipated increases in encounters of noncitizens at our Southwest Border.
                                             9 of 20

                                                                           Venezuela AR_000162
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 69 of 222




Across each of the lines of effort, DHS has undertaken a deliberate and methodical approach to
readiness prior to and for May 23. Following months of planning based on multiple potential
scenarios, we are pre-positioning and expanding available resources. We are also conducting
extensive testing of processes that have not been used at scale since the implementation of Title
42 and new approaches like an en route processing capability, which will be explained below.
Finally, our preparations culminate with us scaling to meet migration levels as they increase over
time by accessing additional resources through interagency agreements and contracts.

Border Security Pillar 1: We are surging resources, including personnel,
transportation, medical support, and facilities to support border operations.

Increased Personnel
Over the past several months, we have deployed additional personnel in support of several key
functions. First and foremost, we are working to maximize the number of CBP Agents and
Officers in the field. As of April 25, CBP has over 23,000 Agents and Officers working along
the Southwest Border, over 600 of whom have deployed since February 1 in response to
increasing operational demands. The SBCC will continue to augment CBP’s operations by
bringing in law enforcement agents and officers from other parts of the country as needed.

Additionally, there are currently over 300 civilian Border Patrol Processing Coordinators who
work in Border Patrol stations to complete processing duties; the volume of processing has
required some Border Patrol Agents to be assigned to processing. Over the next few months, we
are on track to deploy over 500 additional full-time and contract processors, which relieves
Border Patrol Agents to return to the field and continue their tireless work to secure the border.
President Biden’s FY 2023 Budget request to Congress proposes hiring an additional 300 Border
Patrol Agents and an additional 300 Border Patrol Processing Coordinators. If enacted, this
would be the first increase in the number of Border Patrol Agents since 2011.

The SBCC is augmenting CBP’s operations by bringing in law enforcement officers and agents
from other parts of the country. We are also hiring, contracting for, and soliciting volunteers for
administrative processing support to enable law enforcement officers and agents to focus on
front-line work.

Increased Transportation Capacity
CBP utilizes air and ground transportation to prevent Border Patrol facilities from becoming
overcrowded. This long-standing process enables increased efficiency, while better protecting
the health and safety of our workforce and noncitizens. Building on this approach, the SBCC is
expanding the capacity for lateral movements of noncitizens within and between Border Patrol
sectors to help relieve overcrowded sectors quickly. For example, CBP will complete a blanket
purchase agreement to contract for 394 additional bus movements per day by April 29. CBP can
currently move about 4,900 people per day and this additional capacity will enable the
movement of an additional 4,100 people per day, almost double, with the potential for further
expansion. The SBCC has secured eight U.S. Bureau of Prisons buses with supporting personnel
to replace buses and drivers currently staffed by Border Patrol Agents. Those Border Patrol
Agents currently staffing buses will then be able to return to the field and perform their critical

                                             10 of 20

                                                                              Venezuela AR_000163
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 70 of 222




law enforcement and border security missions. The SBCC is also finalizing an interagency
agreement with ICE for contracted ground transportation resources for an additional 40 bus
movements per day and air movements for family units.

Additional Medical Support
It is among DHS’s top priorities to ensure the health, safety, and well-being of those in DHS care
and custody, the DHS workforce, and surrounding communities. To this end, we have invested
in ensuring that we have appropriate and accessible medical care, including for those with unique
vulnerabilities, medical conditions, and for tender-aged children. The SBCC is working to make
medical resources available by the end of April to provide urgent clinical care for a planning
scenario of 18,000 noncitizens in CBP custody at any given time. The SBCC has developed a
medical support plan, which has been reviewed by interagency medical experts, and is currently
determining which federal agencies can provide support through an interagency agreement
signed with DOD, HHS, USCG, and FEMA.

Beginning in 2021, DHS rapidly scaled its COVID-19 vaccine program to noncitizens in ICE
custody. The provision of vaccines, coupled with the testing of noncitizens on intake and
rigorous isolation and quarantine protocols, has led to markedly low morbidity and mortality in
ICE facilities. Separately, on March 28, 2022, DHS expanded its COVID-19 vaccine program to
include noncitizens in CBP custody with a goal to expand to 24 sites by May 23. All Title 8,
age-eligible, non-citizens are eligible for the CBP COVID-19 vaccine program and receive their
first dose prior to onward travel. Additionally, at the highest-volume CBP sectors,
unaccompanied children are tested on intake for COVID-19 and, if positive, are triaged for
immediate movement to HHS facilities. These mitigation measures at CBP and ICE have kept
COVID-19 rates among noncitizens at or lower than surrounding communities during most of
2021 and 2022.

Increased CBP’s Border Holding Capacity
We have worked to increase CBP’s holding capacity, currently at over 17,000 compared to less
than 13,000 in January 2021. This includes three soft-sided facility expansions totaling
approximately 1,300 in holding capacity initiated in the past two months and one that will be
completed in mid-May. There are additional facility expansions still in the planning phase. By
April 27, CBP will also complete its assessment of DOD sites for potential additional temporary
facilities.

Border Security Pillar 2: We are increasing CBP processing efficiency and
moving with deliberate speed to mitigate potential overcrowding at Border
Patrol stations and alleviate the burden on the surrounding border
communities.

As noted above, CBP’s goal at Border Patrol stations is to hold noncitizens in a safe, orderly, and
humane environment; ensure appropriate security screening; and to quickly process and transfer
screened noncitizens out of CBP custody to ensure that facilities do not become overcrowded,
while facilitating the lawful trade and travel that is critical to our economy. CBP, which initially
encounters and apprehends migrants, does not have sufficient capacity or resources in its short-
term facilities to hold individuals for over 72 hours. In the case of unaccompanied children, CBP

                                             11 of 20

                                                                              Venezuela AR_000164
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 71 of 222




must, by law, transfer these children to the custody of the HHS Office of Refugee Resettlement
(ORR) within 72 hours of encounter.

CBP will continue to achieve these goals by employing several strategies, such as transferring
noncitizens from stations that are over capacity to those that have capacity and transferring them
to ICE ERO for Expedited Removal and detention, where appropriate. The SBCC is also
launching the following three new initiatives to support decompression efforts, which ensure the
continued integrity of our security screening processes: enhanced central processing center, en
route processing, and streamlined processing. Further, CBP is working to increase processing
efficiency at POEs to allow noncitizens to present for inspection in a safe and orderly manner.

Enhanced Central Processing Centers (ECPC)
Processing a noncitizen upon apprehension and entering them into immigration removal
proceedings involves multiple steps, multiple electronic systems, and, often, multiple federal
agencies. Specific issues include the referral process from CBP to ICE, coordination between
CBP and ICE on custody and transportation of noncitizens, and coordination between CBP and
HHS on the transfer of unaccompanied children. To address these challenges, the SBCC is
testing and rapidly developing a model that will co-locate CBP, ICE, NGOs, and possibly other
entities at ECPCs to eliminate any inefficiencies and more rapidly process noncitizens. This
innovative model will allow CBP to quickly triage noncitizens it encounters based on risk,
ensuring that higher risk individuals are held in secure, hardened facilities until they are placed in
detention, while lower risk individuals are processed quickly and humanely at facilities that do
not require as significant a law enforcement presence.

This will allow the Border Patrol to focus more of its agents on its priority mission to secure our
border rather than processing and administrative duties. ICE personnel will be on-site in order to
minimize delays associated with referrals, and NGOs will be present as well to provide legal
orientation services and onward transportation for those low-risk individuals who are ultimately
released on ATD. The first ECPC will be operational in Laredo, Texas effective April 29.
Informed by this experience, the SBCC will complete a plan for the development of additional
enhanced central processing centers beyond Laredo.

En Route Processing
As noted above, processing of noncitizens at CBP facilities can be time intensive. When
noncitizens are transported to alleviate overcrowding, the time in transit is an opportunity to
process those being transported. By testing and refining operational plans to complete
processing of noncitizens while in transit, the SBCC can move noncitizens out of CBP facilities
faster, while retaining the integrity of biometric and biographic screening processes and ensuring
noncitizens apprehended at the border are placed expeditiously into removal proceedings.

As part of DHS’s strategic use of existing Title 8 processing pathways, this processing would be
reserved for family units, especially from countries that do not accept repatriations quickly or at
all. The SBCC is actively engaging with cities that are located within a six-hour drive of the
border and will employ en route processing to relieve pressure on Border Patrol facilities and
border communities. The SBCC is working closely with local governments, including law



                                              12 of 20

                                                                               Venezuela AR_000165
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 72 of 222




enforcement, in these cities to ensure that local governments and receiving NGOs have the
support and resources they need, as described further below.

The SBCC is testing en route processing and is continuing to develop options to expand its
capacity further. In particular:
x Del Rio to Laredo: The SBCC has developed a concept of operations for en route processing
   from Del Rio to Laredo that has already been successfully tested.
x Bus Technology: Border Patrol is outfitting buses with necessary technology to support
   processing requirements while in transit.

Streamlining Processing Methods
Processing a single noncitizen for a Notice to Appear (NTA) can take two to three hours,
including the time to complete the processing documents and subsequent review between CBP
and ICE to ensure accuracy. An NTA is a charging document, issued by ICE or CBP, which
initiates removal proceedings against a noncitizen, and specifies the date and time for the
noncitizen to appear in immigration court. Last year, DHS launched the Southwest Border
Technology Integration Program to digitize and automate noncitizen processing. Today, over 70
percent of Title 8 cases are reviewed and signed digitally by CBP. We project this has saved
over 20,000 hours of processing time already.

The SBCC is identifying and implementing further technological and administrative
improvements to reduce overall processing time of noncitizens, while also maintaining security.
For example, the SBCC is focused on expanding digital processing towards a fully digital “A-
File,” which is shared across CBP, ICE, U.S. Citizenship and Immigration Services (USCIS),
and DOJ throughout the immigration lifecycle. Digital A-Files for voluntary returns and digital
review and signatures for other disposition types will be implemented by May 23. DHS will
continue to focus on digitizing all other elements of the A-File to maximize efficiency. In
addition, the SBCC is eliminating administrative redundancy by identifying and removing
certain forms in the document exchange between CBP and ICE.

Port of Entry Processing
The imposition of the Title 42 public health Order severely restricted the ability of
undocumented noncitizens to present at POEs for inspection and processing under Title 8. The
closure of this immigration pathway for much of the time Title 42 has been in effect has driven
people between POEs at the hands of the cartels. Returning to robust POE processing is an
essential part of DHS border security efforts. Beginning in the summer of 2021, DHS restarted
processing vulnerable individuals through POEs under Title 8, on a case-by-case basis for
humanitarian reasons, pursuant to the exception criteria laid out in CDC’s Title 42 Order. These
efforts, which we have recently expanded, offer individuals in vulnerable situations a safe and
orderly method to submit their information in advance and present at POEs for inspection and
subsequent immigration processing under Title 8. We also have enhanced Title 8 POE
processing through the development of the CBP One mobile application, which powers advanced
information submission and appointment scheduling prior to an individual presenting at a POE.
We will make this tool publicly available and continue to expand its use to facilitate orderly
immigration processing at POEs.



                                            13 of 20

                                                                           Venezuela AR_000166
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 73 of 222




Border Security Pillar 3: We are administering consequences for unlawful
entry, including removal, detention, and prosecution.

Attempting to enter the United States without authorization carries potential long-term
consequences, including removal from the United States, bars on subsequent admission, and
criminal liability. By expeditiously removing individuals who do not have a lawful basis to stay
in our country, the United States is making clear that while we are a nation of immigrants, we are
also a nation of laws. We will continue fully enforcing those laws, employing a combination of
Expedited Removal and removal proceedings before an immigration judge, detaining single
adults where appropriate, and referring for prosecution border-related criminal activity.

Expedited Removal
DHS is preparing to maximize the use of Expedited Removal for populations where removal is
possible or likely, consistent with the law, and is working to streamline Expedited Removal
processes across relevant federal agencies, with an eye towards quickly removing those who
receive a negative credible fear finding while in ICE custody. DHS is increasing the availability
of interview facilities and USCIS officers to conduct credible fear interviews, creating an
electronic process to refer appeals of negative fear findings to the DOJ Executive Office for
Immigration Review (EOIR), and working with partner countries throughout the hemisphere to
significantly improve our ability to quickly remove and repatriate individuals with final orders of
removal.

Increased use of Expedited Removal serves key law enforcement and operational goals. It is a
fair and effective means of efficiently removing those with no lawful basis to remain in the
United States. Those subject to Expedited Removal also face a five-year bar on admission from
the date of removal and potential criminal prosecution if they seek to unlawfully re-enter, thus
serving to deter would-be border crossers.

Single adults placed in Expedited Removal are generally detained throughout the process,
making the capacity to detain critical to its effectiveness and to increasing its use. DHS utilizes a
network of detention facilities across the country to detain noncitizens who are subject to
Expedited Removal, who pose a threat to public safety or national security, to ensure presence at
immigration proceedings, and to effectuate removals. As COVID-19 physical distancing
restrictions are revised, DHS will regain additional bed space within its existing facility
footprint.

Asylum Office Rule
Individuals in Expedited Removal who establish a credible fear of persecution or torture are
currently referred to an immigration court for full consideration of their applications for asylum
and related protection. Under the new Asylum Office rule, effective May 31, DHS can instead
refer these cases to USCIS for significantly more expeditious adjudication. The new rule will
allow DHS and DOJ to conclude certain asylum cases in months instead of years, meaning that
those deemed ineligible for asylum can be removed more quickly. While full implementation
will take time, this will have a transformative impact on the asylum system.



                                              14 of 20

                                                                              Venezuela AR_000167
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 74 of 222




Timely Immigration Court Proceedings
For families not processed through Expedited Removal and who are instead placed in removal
proceedings, DOJ and DHS have jointly established a new, more efficient process known as the
Dedicated Docket to conduct speedier immigration court proceedings that comport with due
process. DHS is utilizing the Dedicated Docket for certain family unit members who arrive
between POEs at the Southwest Border and are traveling to one of 11 destination cities. Families
placed on the Dedicated Docket are prioritized for adjudication and are generally expected to
receive final decisions in their cases within 300 days of initiation, as opposed to several years.
The Dedicated Docket includes a Family Group Legal Orientation Program in which nonprofit
organizations explain the immigration court process and provide referrals to pro bono legal
services to support families placed on this Docket.

In addition to the Dedicated Docket, DOJ will continue to operate its long-standing detained
docket for individuals in ICE custody, moving cases through the immigration court system in a
matter of months, rather than years.

Prosecuting Border-Related Criminal Activity
DHS will continue to refer border-related criminal activity to DOJ for prosecution where
warranted, including that of smugglers, repeat offenders, and other noncitizens whose conduct
warrants such law enforcement action. We also continue to enforce CBP’s Repeat Offender
initiative to target recidivism. This enforcement regime has improved DHS’s ability to leverage
legal consequences to deter irregular migration while conserving limited processing resources.

Border Security Pillar 4: We are bolstering the capacity of NGOs to receive
noncitizens after they have been processed by CBP and are awaiting the
results of their immigration removal proceedings. And, we are ensuring
appropriate coordination with and support for state, local, and community
leaders to help mitigate increased impacts to their communities.

Increased migration levels put additional pressure not only on DHS personnel and resources, but
also on border communities and NGO partners who play a critical role in helping noncitizens
who are released from DHS custody for the pendency of their removal proceedings. Noncitizens
who are not subject to ICE detention are screened by CBP as described above, entered into
immigration removal proceedings, and permitted to travel to onward destinations, where they are
subject to ongoing supervision. Once a noncitizen is released from custody by DHS, the
Department is no longer operationally engaged in their transportation, medical care, or shelter.
Nonetheless, our goal is to help communities alleviate the pressures they experience by
expanding NGO capacity, through communication and coordination, and grants through the
Emergency Food and Shelter Program (EFSP). We are also exploring other ways to provide
assistance to communities and welcome the ongoing dialogue we have with local leaders to that
end.

Bolstering NGO Capacity
NGOs play a critical role in providing care and support with onward travel to noncitizens who
are entered into immigration removal proceedings, not subject to detention, and released from

                                            15 of 20

                                                                            Venezuela AR_000168
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 75 of 222




CBP custody. The SBCC has assessed and is tracking NGO capacity and sharing information to
ensure there is a common operating picture across all relevant parties, to include gaps that can be
remediated with external assistance.

The EFSP, administered by DHS through FEMA, supplements and expands ongoing work of
local NGOs to meet the urgent needs of local agencies assisting the unique and vulnerable
migration population encountered by DHS. In FY 2022, Congress authorized $150 million for
EFSP Southwest Border support, and this month, FEMA has taken necessary steps to ensure
these funds can be accessed by eligible partners in short order. We are working to ensure the
eligibility criteria for EFSP can cover the broadest set of possible needs and will provide more
information for entities that are not familiar with EFSP by the end of April.

For the subset of non-citizens who may be released from custody directly into a community (i.e.,
those who cannot be released in coordination with an NGO due to capacity constraints or other
issues), DHS is defining required criteria for CBP leadership to reference when determining
whether and how to release individuals. This is particularly important given the potential for
increases in this population going forward. The criteria will include safety checks, notification to
local officials, information on local resources and legal services, and required documentation.
The SBCC will complete an operational checklist, informed by feedback from our local
stakeholders including law enforcement partners, also by the end of April.

Additionally, by the beginning of May, the SBCC will complete an updated information package
to distribute to all noncitizens released from federal custody. The update was designed to ensure
individuals more clearly understand their obligations and requirements for compliance with the
enforcement and removal process.

Communication with State, Local, and Community Leaders
To ensure close operational coordination and support ongoing local planning efforts, the SBCC
and CBP leaders continue to engage extensively with state and local governments, including law
enforcement entities, public health authorities, and NGOs, including in California, Arizona, New
Mexico, and Texas, as well as other locations as needed. This regular coordination includes a
focus on noncitizen transport and capacity planning, resolving logistical challenges, and
addressing community concerns through shared solutions. These and other coordination sessions
will increase as operations necessitate.

Border Security Pillar 5: We are targeting and disrupting the transnational
criminal organizations (TCOs) and smugglers who take advantage of and
profit from vulnerable migrants, and who seek to traffic drugs into our
country.
DHS works at home and abroad to identify, investigate, and interdict the TCOs that smuggle
people and drugs into our country. Human smuggling organizations peddle misinformation that
the border is open, in order to profit from the vulnerability of migrants. DHS is targeting these
organizations, in close collaboration with other federal agencies, state and local law enforcement,
and international partners. While this has been a consistent priority, our efforts have intensified
in recent months.

                                             16 of 20

                                                                              Venezuela AR_000169
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 76 of 222




Migration Intelligence
Building on the Intelligence Community’s existing work to monitor migration activity in the
Western Hemisphere, in April, ODNI stood up a Migration Intelligence Cell with the goal of
providing advanced geographic and time-based warning of large human smuggling movements
in the region and analysis and targeting information for disruption activities. The Migration
Intelligence Cell has highlighted to the entire Intelligence Community the priority of human
smuggling to prompt additional focus. This intelligence will be used for disruption activities as
well as border security and management actions.

Disrupting Smuggling Networks
Building on existing efforts, in April 2022 DHS surged disruption efforts in partnership with
other federal agencies along six coordinated and interconnected lines of effort. These include:
   x Operation Expanded Impact led by Homeland Security Investigations (HSI), a division of
        ICE. HSI is focusing its investigative efforts along the Southwest Border to launch
        additional criminal investigations of the organizations taking advantage of vulnerable
        individuals, working to detect, disrupt, and dismantle TCOs involved in narcotics, human
        smuggling, and human trafficking. HSI has assigned approximately 250 special agents
        and criminal analysts to carry out investigations in the United States;
   x Operation Sentinel, which is an interagency counter-network operation targeting TCOs
        affiliated with the smuggling of migrants;
   x Joint Task Force Alpha, a DOJ-led effort to target smuggling and trafficking groups;
   x Blue Indigo, led by DOJ and DHS to disrupt cartel operations and illicit networks in
        South Texas;
   x Financial disruption conducted by the Treasury Department; and,
   x The ODNI cell referenced above.

This is the largest surge of resources and disruptive activities against human smuggling networks
in recent memory. So far this month, these lines of effort produced over 2,500 arrests,
investigations, and disruptions of smuggling infrastructure, such as buses and safe houses,
among other actions, and have slowed, stopped, or reversed the flows of thousands of migrants.
This activity represents a dramatic increase in human smuggling network-related disruption
events in FY 2022 compared to the same time and in the same region in FY 2021.

Partnerships with Mexican and Central American counterparts have resulted in multiple
significant enforcement actions against human smuggling and trafficking groups operating in
Mexico, Guatemala, El Salvador, and Honduras. In Guatemala, efforts have focused on the
indictments and extraditions of Guatemalan human smugglers to face prosecution. In Honduras,
DHS has provided robust support to Operation Scorpion, a border surge initiative of the
Honduran National Police that targets human smugglers and traffickers.

Drug Seizures and Enforcement
DHS has increased efforts to stem the flow of illegal drugs into the United States. In FY 2021,
HSI Special Agents conducted 12,920 criminal arrests and seized over 2.4 million pounds of
narcotics, which included 14,530 pounds of fentanyl. This compares to FY 2020 seizures of
more than 1.4 million pounds. In addition, HSI Special Agents seized more than $188 million in


                                             17 of 20

                                                                             Venezuela AR_000170
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 77 of 222




total currency and assets. In FY 2021, CBP seized 900,000 pounds of narcotics, a significant
increase over the previous year.

DHS employs a multi-layered approach to countering narcotics trafficking, in close partnership
with other federal and partner government agencies. CBP’s National Targeting Center uses
advanced analytics and targeting capabilities to identify critical logistics, financial, and
communication nodes and exploit areas of weakness in opioid trafficking networks. ICE HSI
Special Agents exchange information, coordinate investigations, and facilitate enforcement
actions with law enforcement partners abroad to deter the ability of TCOs to smuggle drugs,
people, and contraband into and out of the United States.

Border Security Pillar 6: We are deterring irregular migration south of our
border, in partnership with the Department of State, other federal agencies,
and nations throughout the Western Hemisphere, to ensure that we are
sharing the responsibility throughout the region.

Deterring migrants who will not meet the criteria for asylum is an important tool to alleviate
pressure at the border. As described earlier, that is a challenge. Across the world, more people
are displaced from their homes than at any time since World War II. While the United States is a
destination country for those fleeing their homes, we do not experience the phenomenon alone.
Colombia, Costa Rica, Ecuador, and many other countries in the region are experiencing
increases in migration, especially of Venezuelans, but of other nationalities as well. In light of
the increased levels we are experiencing, DHS, working with DOS and other partners, has
intensified our work to manage and deter irregular migration throughout the region.

New Bilateral Arrangements on Migration and Protection
On March 15, I traveled to Costa Rica and joined President Alvarado in announcing a bilateral
Migration Arrangement, which outlines our shared commitment to both manage migrant flows
and promote economic growth in the region. On April 19, the U.S. government signed a
Bilateral Arrangement on Migration and Protection with the Government of Panama, similarly
detailing our collaborative commitments to improve migration management, expand stabilization
efforts, and increase access to legal pathways and protection for those in the region. DHS and
DOS are actively engaged with other countries in the region to advance similar bilateral
arrangements, as well as a Hemispheric Declaration on Migration and Protection to be completed
at the upcoming Summit of the Americas in June 2022.

Partnership with the Government of Mexico
The Biden-Harris Administration continues to maintain a close partnership with the Government
of Mexico to stem irregular migration, which includes creating viable legal pathways, facilitating
lawful trade and travel, and combating the shared dangers of transnational organized crime. Last
month, I made my fourth official visit to Mexico City where I met with President López Obrador
to intensify our shared commitment to promoting lawful trade and travel and developing a
regional approach to migration management.




                                            18 of 20

                                                                            Venezuela AR_000171
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 78 of 222




In-Region Messaging
DHS coordinates closely with DOS to track trends, share research, and coordinate messaging to
counter disinformation that smugglers use to victimize vulnerable migrants. Our approach has
included paid advertising on radio and digital platforms and press conferences and media
interviews in source and transit countries. These messages counter disinformation propagated by
human smugglers and warn migrants of the dangers of being exploited and facing death at the
hands of unscrupulous criminal organizations.

CONCLUSION
Despite the efforts of our dedicated DHS workforce and our partners executing this
comprehensive plan, a significant increase in migrant encounters will substantially strain
our system even further. We will address this challenge, but it will take time, and we need
partnership and support to do so successfully. We are also operating within a
fundamentally broken immigration system that only Congress can fix.

As described above, DHS and its federal and community partners have been taking steps for
months to prepare for the lifting of Title 42, while operating within a system that is not designed
to handle the current volume of migrants nor the increased volume we expect over the coming
months. The preparations and deliberate planning detailed in this memorandum will enable us to
manage and mitigate known and unanticipated challenges more effectively, while protecting the
safety and security of our communities. But notwithstanding the efforts described in this paper,
a significant increase will substantially strain our system even further.

We are especially mindful of the following challenges and potential developments at higher
levels of encounters:

   x   For several months, CBP, ICE, NGOs, and other critical partners have been managing
       levels beyond the capacity for which their infrastructure was designed and resourced,
       meaning additional increases will create further pressure and potential overcrowding in
       specific locations along the border.
   x   With NGOs strained, there is a potential for a higher number of single adults and families
       to be released into communities without NGO or other sponsor support. The federal
       government has few tools or authorities to support the related impacts on local
       communities, though we are actively working to develop more.
   x   Depending on levels, land ports of entry could experience processing delays and
       disruptions at specific points in time.
   x   Communication and coordination across state, local, and community leaders requires
       good faith engagement of all parties, to help ensure we can effectively manage these
       developments together.

We welcome partners’ support in mitigating these risks and challenges. We appreciate
Congress’ support in FY 2022, appropriating $1.4 billion for DHS to manage an increase in
Southwest Border encounters. DHS is currently managing these resources responsibly and has
submitted the required spend plan to Congress. DHS expenditures for the $1.4 billion
appropriated in FY 2022 include but are not limited to: soft-sided facilities; medical contracts;
                                             19 of 20

                                                                             Venezuela AR_000172
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 79 of 222




transportation; and support for NGOs through the EFSP. DHS will also need to utilize its limited
transfer and reprogramming authority once the $1.4 billion is exhausted. Should additional
resources be necessary to manage a sustained increase in encounters, DHS will engage Congress
on any potential need for supplemental appropriations.

Over the past 15 months, the Department of Homeland Security has demonstrated time and time
again our ability to tackle significant challenges, while operating consistent with our laws and
our values. From responding to unprecedented levels of migration and ensuring the safety of
individuals in our care to vetting and processing tens of thousands of evacuees from Afghanistan
and Ukraine, we have consistently risen to the challenge in extremely difficult circumstances.
We will continue to work tirelessly on behalf of the American people, but there is broad
agreement that our immigration system is fundamentally broken. As it has since its first day in
office, the Biden-Harris Administration continues to call on Congress to pass legislation that
holistically addresses the root causes of migration, strengthens border security, fixes our
immigration system, and improves legal pathways.




                                            20 of 20

                                                                           Venezuela AR_000173
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 80 of 222




                                                          Venezuela AR_000174
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 81 of 222




On August 13, 2021, the U.S. District Court for the Northern District of Texas determined that
the June 1 memo was not issued in compliance with the Administrative Procedure Act (APA)
because it failed to address all the relevant considerations. See Texas v. Biden, No. 2:21-cv-067,
2021 WL 3603341 (N.D. Tex. Aug. 13, 2021). As a result, the District Court vacated the June 1
memo in its entirety and remanded the matter to the Department for further consideration. Id. at
*27. The District Court additionally ordered DHS to “enforce and implement MPP in good faith”
until certain conditions are satisfied, including that MPP be “lawfully rescinded in compliance
with the APA.” Id. (emphasis in original). The Department is fully complying with the District
Court’s order. At the same time, the Department has filed a notice of appeal and continues to
vigorously contest several of the District Court’s conclusions.

Pursuant to the District Court’s remand and in continuing compliance with the President’s
direction in EO 14010, I have once more assessed whether MPP should be maintained,
terminated, or modified in a variety of different ways. In conducting my review, I have studied
multiple court decisions, filings, and declarations related to MPP; considered relevant data
regarding enrollments in MPP, encounters at the border, and outcomes in removal proceedings;
reviewed previous Departmental assessments of MPP, as well as news reports and publicly
available sources of information pertaining to conditions in Mexico; met with a broad and diverse
array of internal and external stakeholders, including officials from across the federal government
working on border management, state and local elected officials from across the border region,
border sheriffs and other local law enforcement officials, and representatives from nonprofit
organizations providing legal access and humanitarian aid across the southwest border; and
considered the impact of other Administration initiatives related to immigration and the southern
border. I also examined considerations that the District Court determined were insufficiently
addressed in the June 1 memo, including claims that MPP discouraged unlawful border crossings,
decreased the filing of non-meritorious asylum claims, and facilitated more timely relief for
asylum seekers, as well as predictions that termination of MPP would lead to a border surge,
cause the Department to fail to comply with alleged detention obligations under the Immigration
and Nationality Act, impose undue costs on states, and put a strain on U.S.-Mexico relations.

After carefully considering the arguments, evidence, and perspectives presented by those who
support re-implementation of MPP, those who support terminating the program, and those who
have argued for continuing MPP in a modified form, I have determined that MPP should be
terminated. In reaching this conclusion, I recognize that MPP likely contributed to reduced
migratory flows. But it did so by imposing substantial and unjustifiable human costs on the
individuals who were exposed to harm while waiting in Mexico. The Biden-Harris
Administration, by contrast, is pursuing a series of policies that disincentivize irregular migration
while incentivizing safe, orderly, and humane pathways. These policies—including the ongoing
efforts to reform our asylum system and address the root causes of migration in the region—seek
to tackle longstanding problems that have plagued our immigration system for decades and
achieve systemic change. Once fully implemented, I believe these policies will address
migratory flows as effectively, in fact more effectively, while holding true to our nation’s values.

To reiterate what the President has stated previously, the United States is a nation with borders
and laws that must be enforced. It is also a nation of immigrants. This Administration is, as a
result, committed to the twin goals of securing our borders and offering protection to those
fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for achieving
                                                                                                        2

                                                                              Venezuela AR_000175
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 82 of 222




either of these goals. Significant evidence indicates that individuals awaiting their court hearings
in Mexico under MPP were subject to extreme violence and insecurity at the hands of
transnational criminal organizations that profited by exploiting migrants’ vulnerabilities. It is
possible that such humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.
Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

In reaching my determination, I have carefully considered what I deem to be the strongest
argument in favor of retaining MPP: namely, the significant decrease in border encounters
following the determination to implement MPP across the southern border. Of course,
correlation does not equal causation and, even here, the evidence is not conclusive. I have
nonetheless presumed, for the sake of this review, that MPP resulted in a significant decrease in
irregular border crossings and persons approaching the U.S. border to pursue non-meritorious
asylum claims. I still conclude that the benefits do not justify the costs, particularly given the
way in which MPP detracts from other regional and domestic goals, foreign-policy objectives,
and domestic policy initiatives that better align with this Administration’s values.

Importantly, the effective management of migratory flows requires that we work with our
regional partners to address the root causes that drive migrants to leave their countries and to
tackle this challenge before it arrives at our border. This is a shared responsibility of all countries
across the region. MPP distracts from these regional efforts, focusing resources and attention on
this singular program rather than on the work that is needed to implement broader and more
enduring solutions.

Efforts to implement MPP have played a particularly outsized role in diplomatic engagements
with Mexico, diverting attention from more productive efforts to fight transnational criminal and
smuggling networks and address the root causes of migration. This was true under the previous
implementation of MPP, and it is even more true today given the shared belief that the program
should not be implemented without, at the very least, significant improvements. Notably,
Mexico has made clear that it will not agree to accept those the United States seeks to return to
Mexico under MPP unless substantial improvements are made to the program. But these much-
needed efforts to enhance humanitarian protections for those placed in MPP are resource-
intensive, exacerbating one of the flaws of the program: the concentration of resources,
personnel, and aid efforts on the northern border of Mexico rather than on broader regional
assistance efforts that would more effectively and systematically address the problem of irregular
migration and better protect our border.

Moreover, the personnel required to adequately screen MPP enrollees to ensure they are not
returned to persecution or torture in Mexico, process them for court hearings, and manage their
cases pulls resources from other priority efforts, including the ongoing efforts to implement
effective, fair, and durable asylum reforms that reduce adjudication delays and tackle the
immigration court backlog. Both the Dedicated Docket, designed so that immigration judges can
adjudicate cases within 300 days, and the proposed Asylum Officer Rule, which would transfer
the initial responsibility for adjudicating asylum claims from immigration judges to USCIS
asylum officers to produce timely and fair decision-making, are expected to yield transformative
                                                                                                          3

                                                                                Venezuela AR_000176
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 83 of 222




and lasting changes to the asylum system. MPP, which can require unproductive, redundant
screenings per case given the many different times individuals are returned to Mexico during the
pendency of a single removal proceeding, diverts asylum officers and immigration judges away
from these priority efforts. MPP not only undercuts the Administration’s ability to implement
critically needed and foundational changes to the immigration system, but it also fails to provide
the fair process and humanitarian protections that all persons deserve.

Having assessed the benefits and costs of the previous implementation of MPP, including how
the program could potentially be improved, I have concluded that there are inherent problems
with the program that no amount of resources can sufficiently fix. Others cannot be addressed
without detracting from key Administration priorities and more enduring solutions.

It is, as a result, my judgment that the benefits of MPP are far outweighed by the costs of
continuing to use the program on a programmatic basis, in whatever form. For the reasons
detailed more fully in the attached memorandum, the contents of which are adopted and
incorporated into the decision contained here, I am hereby terminating MPP. Effective
immediately, I hereby supersede and rescind the June 1 memorandum, Secretary Nielsen’s
January 25, 2019 memorandum, and any other guidance or other documents prepared by the
Department to implement MPP. The Department will continue complying with the Texas
injunction requiring good-faith implementation and enforcement of MPP. But the termination of
MPP will be implemented as soon as practicable after a final judicial decision to vacate the Texas
injunction.




                                                                                                     4

                                                                             Venezuela AR_000177
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 84 of 222




                                                          Venezuela AR_000178
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 85 of 222




more than 89,000 individuals had registered and over 22,000 have already received their
temporary residency visa. PLCY continues to explain that Phase Three will open February 17,
2023, to an estimated 350,000 Venezuelans who entered irregularly.

PLCY outlines the parameters of the new amnesty program, according to reporting from U.S.
Embassy Belmopan. This program will include asylum applicants who had previously been
denied as long as they were registered in Belize by March 31, 2020. Among other categories that
qualify under this amnesty program are individuals who resided in Belize before December 31,
2016. Total beneficiaries are estimated to range between 6,000-8,000 and will receive permanent
residency and a path to citizenship.

PLCY mentions how the Government of Mexico would not accept more noncitizens returned to
Mexico via the Migrant Protection Protocols (MPP) than local shelters had the capacity for,
which was limited. Additionally, reporting from U.S. Embassy Mexico City that describes how
MPP returns were paused in San Diego for an extended amount of time in the summer of 2022
due to a lack of shelter space in Tijuana.

PLCY describes concern from international partners, as conveyed by Embassy reporting, about
the potential consequences of lifting Title 42, as was originally planned on May 23, 2022.
Specifically, partners expressed concern that the end of Title 42 would be perceived by
migrants—and messaged by smugglers—as an opening of the U.S. border, which could cause a
dramatic and overwhelming increase in migration flows through partner countries. Another
potential pull factor cited by partners was the perception that U.S. immigration officials release
migrants into the community. Additionally, one partner expressed concern that in the past,
rumors alone of the end of Title 42 had spurred the creation of caravans moving towards the
border. In conversations, another foreign partner noted that the lack of consequences at our
border is a driver for irregular migration.

PLCY describes conversations with international partners, as relayed in a meeting readout from
the Department of State, in which at least one country encouraged the U.S. Government to
expand the Venezuela parole process to other nationalities as a pathway for individuals to reach
the United States without making the dangerous journey through the hemisphere. PLCY relays
information from other conversations with international partners in which they worry that these
pathways will be undermined when the Centers for Disease Control and Prevention’s Title 42
Order is no longer being implemented.

PLCY describes conversations with international partners in which they conveyed that their
willingness to receive increased returns of migrants was contingent on expanding the model
provided by U4U and the Venezuela process, which decreased irregular migration throughout the
hemisphere by increasing options for lawful pathways and adding consequences for noncitizens
who bypass those opportunities to travel irregularly to the United States. In general, international
partners have been active participants in carrying out actions related to stabilizing populations,
expanding lawful pathways and humanely managing borders, as per the Los Angeles Declaration
on Migration and Protection. However, our foreign partners regularly express concern about
having to divert resources from other priorities to respond to the ongoing surge in migration, and
believe that the U.S. Government should be doing more, particularly now, to reduce these
irregular flows and channel them into safe and orderly processes.


                                                 2                            Venezuela AR_000179
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 86 of 222




PLCY reports that the Venezuela process was predicated on returning nationals of that country to
Mexico under Title 42 authorities, and Mexico has historically not accepted the return under
Title 8 of third-country nationals with final orders of removal.

PLCY describes conversations with at least one international partner that refused to entertain
negotiating a Safe Third Country Agreement with the United States, claiming it is not a
politically viable option for them.

Finally, PLCY considered reporting from U.S. Embassy Panama City stating that 59,800
irregular migrants crossed the Darien Gap in October 2022, which was a 130 percent increase
over October 2021. However, there was a sharp decline in migrants crossing from Colombia into
Panama after DHS announced the process for Venezuela on October 12. The daily average
dropped from 2,500 migrants in the first two weeks of October 2022 to about 1,000 migrants in
the last two weeks. Embassy Panama City cited a seasonal decrease from October to November
2021. However, in the same period in 2022, the overall number of Venezuelan migrants crossing
has decreased, whereas the overall the number of Ecuadorians and Haitians saw much smaller
variation.




                                                3                           Venezuela AR_000180
012002334ÿ6788ÿ9Case 6:23-cv-00007
                        ÿÿÿDocument
                                          ÿ ÿ95-2
                                                        ÿ80ÿFiled
                                                                ÿÿonÿ
                                                                                 !ÿ"#in#TXSD
                                                                               03/24/23             ÿÿ$%Page
                                                                                                              ÿ
                                                                                                                       87
                                                                                                                          of
                                                                                                                           222
                                                                                                                                ÿ#ÿ&  ! ÿ'
                                   ./01ÿ3ÿ4156ÿ748ÿ94:/;07<9/4ÿ3ÿ=;166ÿ;1>17616ÿ3ÿ<.1ÿ?49<18ÿ6<7<16ÿ744/?4@16ÿ0/;1ÿ<.74ÿABCDÿ09>>9/4ÿ94ÿ415
                                   76696<74@1ÿ:/;ÿE141F?1>746ÿ748ÿ/<.1;ÿ09G;74<6ÿ7<ÿ<.1ÿ6?009<ÿ/:ÿ<.1ÿ701;9@76

HIJÿLMNHJOÿPHQHJPÿQMMRLMSJPÿTRUJÿHIQMÿVWXYÿTNZZNRMÿNMÿMJ[
PHQ\NZN]QHNRMÿJ^^RUHPÿQMOÿILTQMNHQUNQMÿQPPNPHQMSJÿ^RU
_JMJ]LJZQMPÿQMOÿRHIJUÿTN`UQMHPÿQHÿHIJÿPLTTNHÿR^ÿHIJ
QTJUNSQP
^abÿNccdefghdÿUdidgjd
klmnopqÿstuvÿwxqÿyxyy
z{m|vÿ}~ÿlvÿvom}u
lv tomn}
tlmuÿvÿtmÿ}~ÿvÿvlm|oqÿlvmnvuÿmnvuÿouu}tu|vnÿuvÿv{}lÿpÿvÿvolvuÿ}~ÿovÿounÿÿoÿmÿom
tuvlovÿlv~tvvÿounÿmlouÿo|l}ÿvÿlvm}uqÿmu|tnmuÿ}vÿnmo|vnÿ~l}ÿvÿ}mm|oÿounÿv|}u}m|ÿ|lmmÿmuÿvuvtv
ounÿtoumolmouÿomou|vÿ~}lÿtuvlovÿvuvtvouÿmuÿvuvtvo
VYÿTfiifaÿfÿLPQNOÿOddiacdhÿ^ef
     mÿÿmm}uÿmuÿkÿyxywÿvv}vuÿmou|vÿ¡¢qÿ£|}u}m|ÿt}lÿktunÿ¡£k¢qÿounÿ¤}oÿ¥voÿl}lo¦
     ÿ~tunÿ~}lÿ}tÿvlm|oqÿmu|tnmuÿmuÿlomqÿ§}}moqÿ£|ton}lqÿounÿvltqÿÿmÿl}}vÿvÿ}|moÿounÿv|}u}
     muvlom}uÿ}~ÿvÿmm}uÿ}~ÿvuvtvouÿmlouÿl}tÿ}m|pÿlv~}lqÿoopÿ~}lÿvoÿotqÿl}~vm}uoÿ|vlm~m|om}
     ¨}ÿlomumuÿounÿo|vvuqÿm|l}vuvllmvÿ|lvom}uqÿo||vÿ}ÿ~muou|moÿvlm|vqÿounÿ}vlÿ}|m}©v|}u}m|ÿmuvlom}u
     v{}l
     uÿ§vuloÿvlm|oqÿmÿªwÿmm}uÿmuÿkÿyxw«ÿounÿkÿyxwÿ£kqÿÿmÿv¬ounÿmuvlom}uÿv{}lÿmuÿvmvqÿ§}oÿm|oq
     ounÿouooqÿ}ÿt}lÿvÿnmum~mvnÿ}|moÿounÿv|}u}m|ÿmuvlom}uÿ}~ÿmlnÿ|}tulpÿmlouÿ~l}ÿ­m|olotoqÿoÿvÿo
     ~l}ÿvuvtvoqÿ¥ommqÿounÿ}vlÿ|}tulmvÿol}tunÿvÿlvm}u
VX®XÿTfiifaÿLPQNOÿIcgfhgbfgÿ^ef
     ¯mÿuvÿ~tunmuÿmÿl}mnvÿnmlv|ÿlvmv~ÿ}ÿtuvlovÿvuvtvouÿ}ÿovÿlvomuvnÿmmuÿvÿ|}tulpqÿmu|tnmu
     vo|olvqÿ~}}nqÿutlmm}uqÿovlÿounÿoumom}uqÿounÿl}v|m}uÿvlm|vÿ̄vÿuvÿ~tunmuÿmÿo}ÿvÿvuvtvouÿmlou
     ounÿlv~tvvÿ}ÿovÿ~vnÿ}ÿlomqÿ§}}moqÿ£|ton}lqÿounÿvltÿpÿl}mnmuÿvvlvu|pÿ~}}nÿomou|vÿmÿ
     t}lqÿoluvlÿomÿ}ÿonnlvÿo|tvÿ~}}nÿmuv|tlmpÿo}uÿvuvtvouÿmlouÿounÿlv~tvvÿmuÿvvÿ~}tlÿ|}tulmvÿp
     l}mnmuÿvÿmÿ}ÿvoqÿ|oÿlou~vlqÿ~}}nÿ}t|vlqÿounÿ~}}nÿ°m
Mdgbi±ÿVXWÿTfiifaÿOdgbhcdhÿa²ÿPhghdÿIcgfhgbfgÿ^ef
     ¯mÿuvÿ~tunmuÿl}tÿvÿovÿvolvu³ÿtlvotÿ}~ÿ}tom}uqÿv~tvvqÿounÿ́mlom}uÿ¡´¢ÿt}lÿoÿmnvÿlou
     }~ÿm~v©omuÿtoumolmouÿl}loÿ~}lÿvuvtvouÿlv~tvvÿounÿmlouqÿt|ÿoÿvvlvu|pÿvvlµÿo||vÿ}ÿvoÿ|o
     ovlqÿoumom}uqÿounÿpmvuvÿtmvµÿmu|lvovnÿo||vÿ}ÿvnt|om}uµÿt}lÿ~}lÿmvm}}nµÿ§z©wÿt}lqÿoun
     l}v|m}uÿ~}lÿtuvlovÿl}tÿmu|tnmuÿ}vuqÿp}tqÿ¶¤¯·¸qÿounÿmunmvu}tÿv}vÿmuÿvvuvvuÿ|}tulmvÿmu|tnmu
     lvumuoqÿltoqÿlomqÿ§mvqÿ§}}moqÿ§}oÿm|oqÿ§tlo|o}qÿ}mum|ouÿvtm|qÿ£|ton}lqÿ¤tpouoqÿ́v¬m|}qÿouooq
     olotopqÿvltqÿ̄lmumnonÿounÿ̄}o}qÿlttopqÿounÿvuvtvo


                                                                                                          Venezuela AR_000181
 (722))*+2 ,#%2(,2-,01,3133,,,,%,80,%, , !,##,+ !           023
012002334ÿ6788ÿ9Case 6:23-cv-00007
                        ÿÿÿDocument
                                         ÿ ÿ95-2
                                                    ÿ80ÿFiled
                                                           ÿÿonÿ
                                                                            !ÿ"#in#TXSD
                                                                          03/24/23             ÿÿ$%Page
                                                                                                         ÿ
                                                                                                                  88
                                                                                                                     of
                                                                                                                      222
                                                                                                                           ÿ#ÿ&  ! ÿ'
89:;ÿ=>?9;@?AÿB@>;@CD@EÿFGHÿFIFF
./012ÿ4/5.ÿ6072




                                                                                                        Venezuela AR_000182
 (722))*+2 ,#%2(,2-,01,3133,,,,%,80,%, , !,##,+ !       323
01231405ÿ24740ÿ89Case 6:23-cv-00007
                         ÿÿÿDocument
                                         ÿ ÿ095-2
                                                       3ÿ9Filed
                                                                 ÿÿon
                                                                          03/24/23
                                                                              ÿ!inÿTXSD
                                                                                                ÿ"Page
                                                                                                           ÿ8 #ÿ$
                                                                                                                   $of
                                                                                                                  89 ÿ222
                                                                                                                        %ÿ ÿ&''ÿ()
       <5ÿ=O6?6:BÿW2^;672ÿ=Yÿ712ÿ456728ÿ97:72;ÿR=\2A5K257
       J2A2c;ÿ1=WÿC=>ÿd5=W




   012ÿ456728ÿ97:72;ÿ<55=>5?2;ÿ@2:ABC
   DEFGÿH6BB6=5ÿI5ÿ<88676=5:B
   J>K:567:A6:5ÿ<;;6;7:5?2ÿL=AÿM2=NB2
   <O2?728ÿPCÿ012ÿQ5R=65RÿSA6;6;ÿI5
   T252U>2B:ÿ<58ÿ012ÿV2R6=5
   J=K2 ÿ@2W;ÿXÿI5Y=AK:76=5 ÿMA2;;ÿV2B2:;2; ÿ012ÿ456728ÿ97:72;ÿ<55=>5?2;ÿ@2:ABCÿDEFGÿH6BB6=5ÿI5
   <88676=5:BÿJ>K:567:A6:5ÿ<;;6;7:5?2ÿL=AÿM2=NB2ÿZZZ

         L=AÿIKK286:72ÿV2B2:;2
         QO6?2ÿ=YÿMA2;;ÿV2B:76=5;
         NA2;;[>;:68ZR=\
         01>A;8:C]ÿ92N72K^2Aÿ__]ÿ_`__

         MA2;;ÿV2B2:;2
         0=8:Cÿ712ÿ456728ÿ97:72;]ÿ71A=>R1ÿ712ÿ4Z9Zÿ<R25?CÿY=AÿI572A5:76=5:Bÿa2\2B=NK257]ÿ:55=>5?28
         52:ABCÿDEFGÿK6BB6=5ÿ65ÿ:88676=5:Bÿ1>K:567:A6:5ÿ:;;6;7:5?2ÿY=AÿN2=NB2ÿ:O2?728ÿ^Cÿ712ÿT252U>2B:
         A2R6=5:Bÿ?A6;6;Zÿ012ÿ1>K:567:A6:5ÿ7=BBÿYA=Kÿ716;ÿN=B676?:Bÿ:58ÿ2?=5=K6?ÿ?A6;6;ÿ65ÿT252U>2B:ÿA2K:65;
         86A2ZÿH=A2ÿ71:5ÿFZFÿK6BB6=5ÿN2=NB2ÿ65ÿT252U>2B:ÿ5228ÿ6KK286:72ÿ1>K:567:A6:5ÿ:;;6;7:5?2ÿ:58
         K=A2ÿ71:5ÿGZbÿK6BB6=5ÿT252U>2B:5;ÿ1:\2ÿYB28ÿ7126Aÿ1=K2ÿ?=>57ACÿ65ÿ;2:A?1ÿ=Yÿ^2772Aÿ=NN=A7>56762;
         :58ÿB6\2B61==8;]ÿA2;>B765Rÿ65ÿ=52ÿ=Yÿ712ÿB:AR2;7ÿK6RA:57ÿ:58ÿA2Y>R22ÿ?A6;2;ÿ65ÿ712ÿW=AB8Z
                                                                                                      Venezuela AR_000183
 #711***++',1 *-$!1#-1#-44-4.44- --- -03-!--!--$-# ) 21/
01231405ÿ24740ÿ89Case 6:23-cv-00007
                         ÿÿÿDocument
                                         ÿ ÿ095-2
                                                       3ÿ9Filed
                                                                 ÿÿon
                                                                          03/24/23
                                                                              ÿ!inÿTXSD
                                                                                                ÿ"Page
                                                                                                           ÿ8 #ÿ$
                                                                                                                   $of
                                                                                                                  90 ÿ222
                                                                                                                        %ÿ ÿ&''ÿ()
         01234ÿ2667689:8ÿ8;ÿ8<=ÿ2>?7:768@98;@ÿ19@9<ÿA<9@B=6ÿ9:>ÿ4=CD8Eÿ2667689:8ÿ1=F@=89@Eÿ;Gÿ1898=ÿG;@ÿ8<=
         HD@=9Dÿ;GÿI;CDB987;:JÿK=GDL==6Jÿ9:>ÿM7L@987;:ÿN9:7:=ÿOE::=ÿ?9>=ÿ8<=ÿ9::;D:F=?=:8ÿ;:ÿ8<=
         ?9@L7:6ÿ;Gÿ8<=ÿ0:78=>ÿP987;:6ÿQ=:=@9Bÿ266=?RBESÿA;:6768=:8ÿT78<ÿ0S1SÿF;??78?=:86ÿD:>=@ÿ8<=
         U;6ÿ2:L=B=6ÿ4=FB9@987;:ÿ;:ÿM7L@987;:ÿ9:>ÿI@;8=F87;:Jÿ8<=ÿ9>>787;:9Bÿ<D?9:789@79:ÿGD:>7:LJÿT<7F<
         7:FBD>=6ÿ?;@=ÿ8<9:ÿVWXYÿ?7BB7;:ÿ8<@;DL<ÿ01234ÿ9:>ÿ?;@=ÿ8<9:ÿVWZWÿ?7BB7;:ÿ8<@;DL<ÿ8<=ÿ0S1S
         4=C9@8?=:8ÿ;Gÿ1898=JÿT7BBÿC@;[7>=ÿ=66=:879Bÿ6DCC;@8ÿG;@ÿ[DB:=@9RB=ÿ\=:=]D=B9:6ÿ7:67>=ÿ\=:=]D=B9J
         96ÿT=BBÿ96ÿD@L=:8BEÿ:==>=>ÿ9667689:F=ÿG;@ÿ?7L@9:86Jÿ@=GDL==6Jÿ9:>ÿ8<=ÿL=:=@;D6ÿ<;68ÿF;??D:787=6
         9F@;66ÿ8<=ÿ@=L7;:Sÿ
         01234ÿGD:>7:Lÿ7:67>=ÿ\=:=]D=B9ÿT7BBÿC@;[7>=ÿF@787F9BBEÿ:==>=>ÿG;;>ÿ9:>ÿ:D8@787;:ÿ9667689:F=ÿ9:>
         <=BCÿ@=<9R7B7898=ÿT98=@ÿ9:>ÿ69:78987;:ÿ7:G@968@DF8D@=ÿ7:ÿ[DB:=@9RB=ÿF;??D:787=6ÿ9:>ÿ98ÿ<=9B8<
         G9F7B787=6Sÿ38ÿT7BBÿ9B6;ÿC@;[7>=ÿ=66=:879Bÿ?=>7F9Bÿ9:>ÿ<EL7=:=ÿ6DCCB7=6ÿ8;ÿ^==CÿC=;CB=ÿ<=9B8<E
         9B;:L67>=ÿ6DCC;@8ÿ8;ÿ=:6D@=ÿ8<=ÿF;:87:D78Eÿ;Gÿ<=9B8<F9@=ÿ6=@[7F=6Jÿ9:>ÿC@;[7>=ÿ6C=F79B7]=>
         C@;8=F87;:ÿ6DCC;@8ÿ8;ÿ<=BCÿ69G=LD9@>ÿ\=:=]D=B9:6ÿG@;?ÿ[7;B=:F=ÿ9:>ÿ=_CB;78987;:Sÿ2F@;66
         A;B;?R79Jÿ̀FD9>;@Jÿ9:>ÿI=@DJÿ01234ÿGD:>7:LÿT7BBÿC@;[7>=ÿ<;8ÿ?=9B6JÿG;;>ÿ[;DF<=@6Jÿ9:>ÿ>7@=F8
         F96<ÿ9667689:F=ÿ8;ÿ\=:=]D=B9:ÿ?7L@9:86ÿ9:>ÿ@=GDL==6ÿ6;ÿ8<=EÿF9:ÿCD@F<96=ÿG;;>ÿ9:>ÿ;8<=@ÿD@L=:8
         :=F=66787=6ÿG@;?ÿB;F9Bÿ?9@^=86S
         a<=ÿ0:78=>ÿ1898=6ÿ@=?97:6ÿ8<=ÿB9@L=68ÿ67:LB=ÿ>;:;@ÿG;@ÿ8<=ÿ@=6C;:6=ÿ8;ÿ8<=ÿ\=:=]D=B9ÿ@=L7;:9B
         F@7676Sÿ17:F=ÿb76F9Bÿc=9@ÿdeWfJÿ8<=ÿ0:78=>ÿ1898=6ÿ<96ÿC@;[7>=>ÿ:=9@BEÿVdSfÿR7BB7;:ÿ7:ÿ8;89B
         <D?9:789@79:Jÿ>=[=B;C?=:8Jÿ=F;:;?7FJÿ9:>ÿ<=9B8<ÿ9667689:F=ÿG;@ÿ8<=ÿ\=:=]D=B9ÿ@=L7;:9BÿF@7676J
         7:FBD>7:Lÿ;[=@ÿVdSgÿR7BB7;:ÿ7:ÿ<D?9:789@79:ÿ9667689:F=ÿ9:>ÿ9CC@;_7?98=BEÿVghiÿ?7BB7;:ÿ7:
         >=[=B;C?=:8ÿ9667689:F=ÿG;@ÿ8<;6=ÿ7:ÿ:==>ÿ7:67>=ÿ\=:=]D=B9ÿ9:>ÿ9F@;66ÿ8<=ÿ@=L7;:S
         jD?9:789@79:ÿ97>ÿ76ÿF@787F9Bÿ8;ÿ=96=ÿC=;CB=k6ÿ6Dl=@7:LJÿRD8ÿ78ÿF9::;8ÿ9>>@=66ÿ8<=ÿD:>=@BE7:L
         F;:>787;:6ÿ8<98ÿF9D6=>ÿ\=:=]D=B9k6ÿC@;8@9F8=>ÿF@7676Sÿa<=ÿ0:78=>ÿ1898=6ÿ6DCC;@86ÿ\=:=]D=B9:mB=>
         :=L;87987;:6ÿ96ÿ8<=ÿR=68ÿC98<ÿ8;T9@>ÿ9ÿC=9F=GDBÿ@=68;@987;:ÿ;Gÿ>=?;F@9FEÿ9:>ÿGD:>9?=:89B
         G@==>;?6ÿ;Gÿ9BBÿ\=:=]D=B9:6Sÿn:BEÿ9ÿC=9F=GDBJÿC;B787F9Bÿ6;BD87;:ÿF9:ÿ9>>@=66ÿ8<=ÿF;@@DC87;:J
         C;B787F9Bÿ@=C@=667;:JÿG97B=>ÿC;B7F7=6Jÿ9:>ÿL@;66ÿ=F;:;?7Fÿ?76?9:9L=?=:8ÿ98ÿ8<=ÿ@;;8ÿ;Gÿ8<76ÿF@7676S
         b;@ÿ8<=ÿB98=68ÿDC>98=6ÿ;:ÿ01234k6ÿ<D?9:789@79:ÿ9667689:F=ÿG;@ÿ8<=ÿ\=:=]D=B9ÿ@=L7;:9BÿF@7676J
         FB7F^ÿ<=@=S
         opqpÿstuvwxpxwyzÿwz{|}wp~p
         ÿ}|ÿ|s~w|{uq|ÿ}|ÿ
          ÿÿo
         `689>;6ÿ0:7>;6ÿ9:D:F79ÿF967ÿVgfiÿ?7BB;:=6ÿ=:
         96768=:F79ÿ<D?9:789@79ÿ9>7F7;:9BÿC9@9ÿB96                                                    Venezuela AR_000184
 #711***++',1 *-$!1#-1#-44-4.44- --- -03-!--!--$-# ) 41/
         01234563ÿ6819:6;63ÿ042ÿ<6ÿ92=3=3ÿ15ÿ9>234ÿ15
01231405ÿ24740ÿ89Case 6:23-cv-00007
                         ÿÿÿDocument
                                         ÿ ÿ095-2
                                                       3ÿ9Filed
                                                                 ÿÿon
                                                                          03/24/23
                                                                              ÿ!inÿTXSD
                                                                                                ÿ"Page
                                                                                                           ÿ8 #ÿ$
                                                                                                                   $of
                                                                                                                  91 ÿ222
                                                                                                                        %ÿ ÿ&''ÿ()


         ?151@>1<6ÿAÿ<6ÿ21B=C5
         D43ÿE3:6;43ÿF5=;43Gÿ6ÿ:26HI3ÿ;1ÿ<6ÿJB159=6ÿ;1ÿE3:6;43ÿF5=;43ÿ0626ÿ1<ÿK136224<<4ÿL5:12569=456<G
         65>59=CÿM4Aÿ963=ÿNOPQÿR=<<4513ÿ6;=9=456<13ÿ0626ÿ63=3:159=6ÿM>R65=:62=6ÿ6;=9=456<ÿ0626ÿ<63
         01234563ÿ6819:6;63ÿ042ÿ<6ÿ92=3=3ÿ21B=456<ÿ;1ÿ?151@>1<6SÿE<ÿ943:4ÿM>R65=:62=4ÿ;1ÿ13:6ÿ92=3=3ÿ04<T:=96
         Aÿ1945CR=96ÿ15ÿ?151@>1<6ÿ3=B>1ÿ3=15;4ÿ:122=U<1SÿVW3ÿ;1ÿPGPÿR=<<4513ÿ;1ÿ01234563ÿ15ÿ?151@>1<6
         51913=:65ÿ63=3:159=6ÿM>R65=:62=6ÿ=5R1;=6:6ÿAÿRW3ÿ;1ÿQGXÿR=<<4513ÿ;1ÿH151@4<6543ÿM65ÿM>=;4ÿ;1ÿ3>
         06T3ÿ15ÿU>396ÿ;1ÿR1Y4213ÿ4042:>5=;6;13ÿAÿR1;=43ÿ;1ÿH=;6Gÿ<4ÿZ>1ÿM6ÿ;6;4ÿ<>B62ÿ6ÿ>56ÿ;1ÿ<63
         R6A4213ÿ92=3=3ÿ;1ÿR=B265:13ÿAÿ218>B=6;43ÿ;1<ÿR>5;4S
         D6ÿJ3=3:15:1ÿ;1<ÿJ;R=5=3:26;42ÿ;1ÿF[JLKGÿ[626Mÿ\M62<13GÿAÿ<6ÿ[>U31921:62=6ÿ;1ÿE3:6;4ÿJ;Y>5:6ÿ0626
         <6ÿ]8=9=56ÿ;1ÿ^4U<69=C5Gÿ_18>B=6;43ÿAÿV=B269=C5Gÿ̀65=51ÿaA551GÿM=9=1245ÿ1<ÿ65>59=4ÿ6<ÿR62B15ÿ;1
         <6ÿJ36RU<16ÿb15126<ÿ;1ÿ<63ÿc69=4513ÿF5=;63SÿK1ÿ945842R=;6;ÿ945ÿ<43ÿ94R024R=343ÿ;1ÿEESÿFFSÿ15
         H=2:>;ÿ;1ÿ<6ÿK19<6269=C5ÿ;1ÿD43ÿd5B1<13ÿ34U21ÿV=B269=C5ÿAÿ^24:199=C5Gÿ1<ÿ8=5659=6R=15:4
         M>R65=:62=4ÿ6;=9=456<GÿZ>1ÿ=59<>A1ÿRW3ÿ;1ÿNefgÿR=<<4513ÿ6ÿ:26HI3ÿ;1ÿF[JLKÿAÿRW3ÿ;1ÿNeXe
         R=<<4513ÿ6ÿ:26HI3ÿ;1<ÿK1062:6R15:4ÿ;1ÿE3:6;4ÿ;1ÿEESÿFFSGÿU2=5;62Wÿ>5ÿ604A4ÿ13159=6<ÿ0626ÿ<43
         H151@4<6543ÿH><5126U<13ÿ;15:24ÿ;1ÿ?151@>1<6ÿ63Tÿ94R4ÿ<6ÿ63=3:159=6ÿZ>1ÿ31ÿ51913=:6ÿ945ÿ>2B159=6
         0626ÿ<43ÿR=B265:13Gÿ<43ÿ218>B=6;43ÿAÿ<63ÿB15124363ÿ94R>5=;6;13ÿ;1ÿ694B=;6ÿ15ÿ:4;6ÿ<6ÿ21B=C5Sÿ
         D43ÿ845;43ÿ;1ÿF[JLKÿ;15:24ÿ;1ÿ?151@>1<6ÿ0240429=4562W5ÿ63=3:159=6ÿ6<=R15:62=6ÿAÿ5>:2=9=456<
         92T:=96R15:1ÿ5191362=6ÿAÿ6A>;62W5ÿ6ÿ21M6U=<=:62ÿ<6ÿ=582613:2>9:>26ÿ;1ÿ6B>6ÿAÿ36516R=15:4ÿ15
         94R>5=;6;13ÿH><5126U<13ÿAÿ15ÿ915:243ÿ;1ÿ36<>;Sÿh6RU=I5ÿ0240429=4562Wÿ3>R=5=3:243ÿRI;=943ÿAÿ;1
         M=B=151ÿ13159=6<13ÿ0626ÿR65:1512ÿ6ÿ<63ÿ01234563ÿ36<>;6U<13ÿY>5:4ÿ945ÿ604A4ÿ0626ÿB6265:=@62ÿ<6
         945:=5>=;6;ÿ;1ÿ<43ÿ312H=9=43ÿ;1ÿ6:159=C5ÿRI;=96ÿAÿU2=5;62Wÿ604A4ÿ;1ÿ024:199=C5ÿ13019=6<=@6;4
         0626ÿ6A>;62ÿ6ÿ024:1B12ÿ6ÿ<43ÿH151@4<6543ÿ;1ÿ<6ÿH=4<159=6ÿAÿ<6ÿ1i0<4:69=C5SÿE5ÿ\4<4RU=6GÿE9>6;42ÿA
         ^12jGÿ<43ÿ845;43ÿ;1ÿF[JLKÿ0240429=4562W5ÿ94R=;63ÿ96<=15:13Gÿ9>04513ÿ0626ÿ6<=R15:43ÿAÿ63=3:159=6
         ;=219:6ÿ15ÿ1819:=H4ÿ6ÿ<43ÿR=B265:13ÿAÿ218>B=6;43ÿH151@4<6543ÿ0626ÿZ>1ÿ0>1;65ÿ94R0262ÿ6<=R15:43
         Aÿ4:263ÿ51913=;6;13ÿ>2B15:13ÿ15ÿ<43ÿR1296;43ÿ<496<13S
         E3:6;43ÿF5=;43ÿ3=B>1ÿ3=15;4ÿ1<ÿR6A42ÿ;4565:1ÿ0626ÿ<6ÿ2130>13:6ÿ6ÿ<6ÿ92=3=3ÿ21B=456<ÿ;1ÿ?151@>1<6S
         K13;1ÿ1<ÿ6k4ÿ8=396<ÿlmePGÿE3:6;43ÿF5=;43ÿM6ÿU2=5;6;4ÿ963=ÿNlPmmÿR=<<4513ÿ15ÿ63=3:159=6
         M>R65=:62=6Gÿ;1ÿ;136224<<4ÿ1945CR=94ÿÿAÿ;1ÿ36<>;ÿ0626ÿ<6ÿ92=3=3ÿ21B=456<ÿ;1ÿ?151@>1<6SÿK1ÿ13:43
         lPmmÿR=<<4513GÿRW3ÿ;1ÿNlOmmÿR=<<4513ÿÿ345ÿ0626ÿ63=3:159=6ÿM>R65=:62=6ÿAÿ6024iÿNOnQÿR=<<4513ÿ15ÿ
         63=3:159=6ÿ;1ÿ;136224<<4ÿ0626ÿZ>=1513ÿ<4ÿ51913=:65ÿ;15:24ÿ;1ÿ?151@>1<6ÿAÿ15ÿ:4;6ÿ<6ÿ21B=C5S
         D6ÿ6A>;6ÿM>R65=:62=6ÿ13ÿ8>5;6R15:6<ÿ0626ÿ6<=H=62ÿ1<ÿ3>82=R=15:4ÿ;1ÿ<63ÿ01234563Gÿ0124ÿ54ÿ0>1;1
         6U42;62ÿ<63ÿ945;=9=4513ÿ3>UA6915:13ÿZ>1ÿ96>36245ÿ<6ÿ92=3=3ÿ024<45B6;6ÿ;1ÿ?151@>1<6SÿE3:6;43
         F5=;43ÿ604A6ÿ<63ÿ51B49=69=4513ÿ<=;126;63ÿ042ÿ?151@>1<6ÿ94R4ÿ1<ÿR1Y42ÿ96R=54ÿM69=6ÿ>56
         213:6>269=C5ÿ069T8=96ÿ;1ÿ<6ÿ;1R49269=6ÿAÿ<63ÿ<=U12:6;13ÿ8>5;6R15:6<13ÿ;1ÿ:4;43ÿ<43ÿH151@4<6543S
                                                                                                      Venezuela AR_000185
 #711***++',1 *-$!1#-1#-44-4.44- --- -03-!--!--$-# ) 01/
01231405ÿ24740ÿ89Case 6:23-cv-00007
                         ÿÿÿDocument
                                         ÿ ÿ095-2
                                                       3ÿ9Filed
                                                                 ÿÿon
                                                                          03/24/23
                                                                              ÿ!inÿTXSD
                                                                                                ÿ"Page
                                                                                                           ÿ8 #ÿ$
                                                                                                                   $of
                                                                                                                  92 ÿ222
                                                                                                                        %ÿ ÿ&''ÿ()
         1232ÿ567ÿ82359:;6ÿ<23=>:97ÿ<79=?:97ÿ<5@A@ÿ7B2CA7Cÿ37ÿ92CC5<9:;6Dÿ37ÿC@<C@8:;6ÿ<23=>:97Dÿ378ÿ<23=>:978
         ?733:A78ÿEÿ37ÿFC7G@ÿH737ÿF@8>:;6ÿ@926;H:97ÿ7ÿC7=IÿA@ÿ@8>7ÿ9C:8:8J
         K7C7ÿ2B>@6@Cÿ378ÿL3>:H78ÿ79>573:I79:26@8ÿ82BC@ÿ37ÿ78:8>@69:7ÿM5H76:>7C:7ÿA@ÿN1OPQÿ<7C7ÿ37ÿ9C:8:8
         C@F:2673ÿA@ÿR@6@I5@37DÿG:8:>@Jÿ
                                      1OSOTÿUTOSVW1 XOYPYWÿZ[YYW NY\Oÿ]^]]

                                        _`abc`dÿfg`hhÿ_`àbh`h
       iM@ÿN6:>@Aÿ1>7>@8ÿO662569@8ÿj2C@ÿ>M76 Z2C3AÿS7A:2ÿQ7Eÿ]^]oÿiM@H@ÿrS7A:2
       klmlÿj:33:26ÿ:6ÿOAA:>:2673ÿT5H76:>7C:76 76AÿK@79@sÿT:FM3:FM>8ÿPH<2C>769@ÿ2?
       76AÿQ@G@32<H@6>ÿO88:8>769@ÿ?2CÿK@2<3@ S7A:2ÿ:6ÿ125>Mÿ15A76
       O??@9>@AÿBEÿ>M@ÿn6F2:6FÿUC:8:8ÿ:6       p@BC57CEÿloDÿ]^]o
       R@6@I5@37ÿ76Aÿ>M@ÿS@F:26
       j7C9MÿlmDÿ]^]o                          N1OPQÿQ@@<@68ÿQ@H29C7>:9ÿK7C>6@C8M:<
                                               t:>Mÿ>M@ÿ\2G@C6H@6>ÿ76AÿK@2<3@ÿ2?
       NJ1Jÿ15<<2C>ÿiC7:68ÿK5B3:9ÿ1@9>2C       Y@<73
       O99256>:6Fÿ76AÿO5A:>:6FÿKC2?@88:26738 p@BC57CEÿmDÿ]^]o
       26ÿO99256>:6Fÿ1>76A7CA8ÿ76AÿPi
       p@BC57CEÿlqDÿ]^]o
      1TOSWÿiTP1ÿKO\W




                                                           p2332tÿN1OPQ



      uvwxyzÿ|x}xy~ÿyvÿ
      vxyv}xwv}ÿyyyvx                                                                        Venezuela AR_000186
 #711***++',1 *-$!1#-1#-44-4.44- --- -03-!--!--$-# ) /10
01231405ÿ24740ÿ89Case 6:23-cv-00007
                         ÿÿÿDocument
                                         ÿ ÿ095-2
                                                       3ÿ9Filed
                                                                 ÿÿon
                                                                          03/24/23
                                                                              ÿ!inÿTXSD
                                                                                                ÿ"Page
                                                                                                           ÿ8 #ÿ$
                                                                                                                   $of
                                                                                                                  93 ÿ222
                                                                                                                        %ÿ ÿ&''ÿ()
      0122ÿ4566789:;6<;ÿ=:5>ÿ?@
      @;7A<6BCD6ÿEFÿG222H
      IJKLMNL
      OPQLRÿTJUVR
      WXYZ[J\
      ]^QNRÿJ_ÿ̀KVaRNLJbÿcRKRbMd
      eJbfV
      YbNPQ\RV
      ghijklmÿgopilm
      qllrssitipium
      vwxy
      zx{q
      |oÿzvq}ÿqlu
      x~rÿwojrhru




                                                                                                      Venezuela AR_000187
 #711***++',1 *-$!1#-1#-44-4.44- --- -03-!--!--$-# ) /1/
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
TOTALNUMBEROFRACES
REPORTED
 Totalpopulation                   307,448                ±19,189           99,700       ±16,021           659,631         ±28,793
   Onerace                         42.9%                  ±2.8              46.8%        ±8.5              45.4%           ±2.0
   Tworaces                        55.9%                  ±2.8              50.2%        ±8.3              52.4%           ±1.9
   Threeraces                      1.2%                   ±0.8              2.8%         ±2.2              1.8%            ±0.5
   Fourormoreraces               0.0%                   ±0.1              0.3%         ±0.4              0.4%            ±0.2
SEXANDAGE
 Totalpopulation                   307,448                ±19,189           99,700       ±16,021           659,631         ±28,793
   Male                             47.3%                  ±1.7              42.5%        ±3.2              46.7%           ±1.0
   Female                           52.7%                  ±1.7              57.5%        ±3.2              53.3%           ±1.0
   Under5years                    4.5%                   ±1.3              6.7%         ±3.5              5.0%            ±0.7
   5to17years                    17.3%                  ±1.9              17.3%        ±4.1              17.1%           ±1.1
   18to24years                   8.5%                   ±0.9              7.7%         ±2.1              9.3%            ±0.7
   25to34years                   13.7%                  ±1.7              19.9%        ±3.9              15.7%           ±1.2
   35to44years                   19.4%                  ±1.8              14.9%        ±3.1              18.8%           ±1.2
   45to54years                   17.0%                  ±1.6              18.4%        ±3.1              16.5%           ±1.0
   55to64years                   10.3%                  ±1.4              10.0%        ±2.8              9.9%            ±0.9
   65to74years                   6.2%                   ±0.9              3.8%         ±1.8              5.2%            ±0.6
   75yearsandover                3.1%                   ±0.7              1.3%         ±0.7              2.5%            ±0.4
   Medianage(years)               38.3                   ±1.7              34.2         ±2.8              36.7            ±0.8
   18yearsandover                78.2%                  ±2.3              76.0%        ±4.6              77.8%           ±1.2
   21yearsandover                74.7%                  ±2.3              73.9%        ±4.5              74.3%           ±1.2
   62yearsandover                12.1%                  ±1.7              7.1%         ±2.2              10.1%           ±0.9
   65yearsandover                9.3%                   ±1.3              5.1%         ±2.0              7.7%            ±0.7
   Under18years                   67,162                 ±9,433            23,919       ±7,351            146,177         ±10,942
     Male                           49.6%                  ±4.4              36.7%        ±9.3              48.6%           ±2.9
     Female                         50.4%                  ±4.4              63.3%        ±9.3              51.4%           ±2.9


                                                                                                                                      Venezuela AR_000188
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 94 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          1
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
   18yearsandover                240,286                ±14,328           75,781       ±10,442           513,454         ±22,838
     Male                           46.6%                  ±1.6              44.4%        ±3.1              46.2%           ±1.0
     Female                         53.4%                  ±1.6              55.6%        ±3.1              53.8%           ±1.0
   18to34years                   68,098                 ±6,610            27,526       ±5,530            164,802         ±10,947
    Male                            47.1%                  ±3.8              43.3%        ±6.3              47.7%           ±2.3
    Female                          52.9%                  ±3.8              56.7%        ±6.3              52.3%           ±2.3
   35to64years                   143,726                ±10,128           43,185       ±6,778            297,977         ±15,157
    Male                            48.8%                  ±2.0              44.6%        ±4.7              46.8%           ±1.4
    Female                          51.2%                  ±2.0              55.4%        ±4.7              53.2%           ±1.4
   65yearsandover                28,462                 ±3,989            5,070        ±2,060            50,675          ±5,469
    Male                            34.3%                  ±4.1              48.1%        ±14.7             37.4%           ±3.4
    Female                          65.7%                  ±4.1              51.9%        ±14.7             62.6%           ±3.4
RELATIONSHIP
 Populationinhouseholds           306,771                ±19,178           99,253       ±16,008           655,507         ±28,780
   Householderorspouse            52.6%                  ±1.9              53.6%        ±2.9              53.0%           ±1.1
   Unmarriedpartner                2.7%                   ±0.7              3.4%         ±2.0              2.9%            ±0.5
   Child                            27.8%                  ±1.9              30.1%        ±4.2              28.2%           ±1.1
   Otherrelatives                  13.6%                  ±2.1              8.5%         ±2.8              11.8%           ±1.3
   Othernonrelatives               3.3%                   ±0.7              4.4%         ±3.0              4.1%            ±0.8
HOUSEHOLDSBYTYPE
 Households                         98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
   Familyhouseholds                83.3%                  ±2.5              78.4%        ±5.1              78.2%           ±1.9
    Withownchildrenofthe
    householderunder18years      44.4%                  ±3.8              41.3%        ±8.2              41.9%           ±2.4
   MarriedͲcouplefamily            58.8%                  ±3.9              62.3%        ±6.8              56.6%           ±2.5
    Withownchildrenofthe
    householderunder18years      33.5%                  ±3.9              32.6%        ±8.4              31.7%           ±2.4



                                                                                                                                      Venezuela AR_000189
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 95 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          2
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
  Femalehouseholder,nospouse
  present,family                   15.9%                  ±2.6              10.5%        ±4.2              14.2%           ±1.4
    Withownchildrenofthe
    householderunder18years      8.5%                   ±1.9              7.6%         ±4.2              8.3%            ±1.2
  Nonfamilyhouseholds              16.7%                  ±2.5              21.6%        ±5.1              21.8%           ±1.9
    Malehouseholder                6.8%                   ±1.5              10.0%        ±3.0              10.3%           ±1.3
     Livingalone                   4.3%                   ±1.2              6.5%         ±2.7              6.6%            ±1.0
     Notlivingalone               2.5%                   ±1.1              3.5%         ±1.6              3.7%            ±0.8
    Femalehouseholder              9.9%                   ±1.9              11.6%        ±4.5              11.5%           ±1.4
     Livingalone                   7.5%                   ±1.7              5.5%         ±2.2              8.0%            ±1.3
     Notlivingalone               2.3%                   ±0.8              6.1%         ±3.8              3.5%            ±0.8
  Averagehouseholdsize            3.01                   ±0.11             2.97         ±0.19             2.95            ±0.07
  Averagefamilysize               3.25                   ±0.11             3.32         ±0.20             3.29            ±0.06
MARITALSTATUS
 Population15yearsandover       251,845                ±14,761           79,537       ±11,060           539,589         ±23,112

   Nowmarried,exceptseparated    56.0%                  ±2.4              56.8%        ±4.6              54.0%           ±1.6
   Widowed                          3.0%                   ±0.7              1.3%         ±0.6              2.6%            ±0.4
   Divorced                         11.4%                  ±1.4              8.2%         ±2.5              10.3%           ±1.0
   Separated                        1.9%                   ±0.7              2.5%         ±1.2              1.9%            ±0.4
   Nevermarried                    27.7%                  ±2.1              31.2%        ±3.6              31.1%           ±1.4
  Male15yearsandover            117,548                ±8,245            34,454       ±5,767            250,218         ±11,789

   Nowmarried,exceptseparated    61.2%                  ±3.0              62.0%        ±5.7              57.3%           ±2.0
   Widowed                          0.7%                   ±0.6              0.4%         ±0.5              0.7%            ±0.4
   Divorced                         7.3%                   ±1.6              5.2%         ±2.8              6.8%            ±1.1
   Separated                        1.9%                   ±1.0              3.0%         ±1.7              2.0%            ±0.6
   Nevermarried                    28.9%                  ±2.8              29.4%        ±5.2              33.2%           ±2.2


                                                                                                                                      Venezuela AR_000190
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 96 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          3
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
  Female15yearsandover           134,297               ±8,351            45,083       ±6,392            289,371         ±13,414

   Nowmarried,exceptseparated     51.3%                 ±2.9              52.8%        ±5.2              51.2%           ±1.8
   Widowed                           5.1%                  ±1.3              2.1%         ±1.0              4.3%            ±0.8
   Divorced                          14.9%                 ±2.0              10.5%        ±3.9              13.4%           ±1.4
   Separated                         1.9%                  ±0.9              2.1%         ±1.5              1.8%            ±0.6
   Nevermarried                     26.8%                 ±2.8              32.7%        ±4.9              29.4%           ±1.6
SCHOOLENROLLMENT
 Population3yearsandover
 enrolledinschool                  74,563                ±8,448            28,121       ±6,862            170,841         ±11,987
   Nurseryschool,preschool         2.8%                  ±1.1              6.9%         ±5.5              4.8%            ±1.2
   Kindergarten                      4.7%                  ±1.6              7.3%         ±4.5              5.5%            ±1.2

   Elementaryschool(grades1Ͳ8) 45.1%                    ±4.8              37.6%        ±9.4              39.2%           ±2.5
   Highschool(grades9Ͳ12)          21.7%                ±3.4              17.9%        ±5.9              21.4%           ±2.2
   Collegeorgraduateschool         25.7%                ±4.0              30.3%        ±7.7              29.0%           ±2.4
   Male3yearsandoverenrolledin
   school                             36,342               ±4,578            10,919       ±3,688            82,524          ±7,150
     Percentenrolledin
     kindergartentograde12         73.5%                ±5.3              61.3%        ±13.3             69.3%           ±3.5
     Percentenrolledincollegeor
     graduateschool                  23.7%                ±5.1              33.4%        ±14.7             26.3%           ±3.5
   Female3yearsandoverenrolled
   inschool                          38,221               ±5,671            17,202       ±4,723            88,317          ±7,213
     Percentenrolledin
     kindergartentograde12         69.5%                ±5.2              63.6%        ±12.0             63.2%           ±3.2
     Percentenrolledincollegeor
     graduateschool                  27.6%                ±5.2              28.4%        ±10.8             31.6%           ±3.3


                                                                                                                                      Venezuela AR_000191
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 97 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          4
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
EDUCATIONALATTAINMENT
 Population25yearsandover        214,162               ±12,858           68,102       ±9,680            452,370         ±20,766

   Lessthanhighschooldiploma     5.2%                  ±1.0              7.8%         ±3.2              5.9%            ±0.7
   Highschoolgraduate(includes
   equivalency)                      14.7%                 ±2.3              15.3%        ±3.8              14.9%           ±1.3
   Somecollegeorassociate's
   degree                            26.5%                 ±2.2              16.0%        ±4.0              22.3%           ±1.5
   Bachelor'sdegree                 34.4%                 ±2.6              41.2%        ±4.7              35.8%           ±1.7

   Graduateorprofessionaldegree 19.2%                   ±2.2              19.7%        ±4.6              21.1%           ±1.5

   Highschoolgraduateorhigher    94.8%                 ±1.0              92.2%        ±3.2              94.1%           ±0.7
    Male,highschoolgraduateor
    higher                           95.3%                 ±1.3              90.8%        ±3.8              94.4%           ±1.0
    Female,highschoolgraduate
    orhigher                        94.4%                 ±1.3              93.2%        ±3.4              93.8%           ±0.9
   Bachelor'sdegreeorhigher       53.6%                 ±2.8              60.9%        ±5.3              56.9%           ±1.8
    Male,bachelor'sdegreeor
    higher                           53.2%                 ±3.4              56.3%        ±8.2              55.7%           ±2.6
    Female,bachelor'sdegreeor
    higher                           54.0%                 ±3.5              64.4%        ±5.8              58.0%           ±2.1
FERTILITY
  Women15to50years               89,909                ±6,174            34,671       ±5,526            203,422         ±10,098

   Women15to50yearswhohad
   abirthinthepast12months 5,578                     ±1,687            932          ±599              10,323          ±2,418



                                                                                                                                      Venezuela AR_000192
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 98 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          5
Table:ACSSPP1Y2021.S0201


                                         Florida                             Texas                          UnitedStates

                                         Venezuelan                          Venezuelan                     Venezuelan

Label                                    Estimate          MarginofError   Estimate     MarginofError   Estimate        MarginofError
     Unmarriedwomen15to50
     yearswhohadabirthinthe
     past12months                      1,350             ±937              N            N                 2,790           ±1,375
      Asapercentofallwomen
      withabirthinthepast12
      months                             24.2%             ±14.6             N            N                 27.0%           ±10.1

RESPONSIBILITYFOR
GRANDCHILDRENUNDER18YEARS
 Population30yearsandover 192,494                      ±12,076           60,024       ±9,181            402,749         ±19,390
   Grandparentslivingwith
   grandchild(ren)            5.3%                         ±1.4              0.8%         ±0.6              4.6%            ±0.8

     Grandparentsresponsiblefor
     grandchildrenasapercentage
     oflivingwithgrandchildren   7.3%                   ±5.6              N            N                 7.7%            ±4.3
VETERANSTATUS
 Civilianpopulation18yearsand
 over                               239,967                ±14,311           75,755       ±10,444           512,553         ±22,870
   Civilianveteran                 0.5%                   ±0.2              0.9%         ±0.6              0.7%            ±0.2
DISABILITYSTATUS

  Totalciviliannoninstitutionalized
  population                             306,942           ±19,164           99,399       ±16,050           657,874         ±28,801
    Withadisability                    4.9%              ±1.0              4.5%         ±1.7              5.3%            ±0.7
  Civiliannoninstitutionalized
  populationunder18years              67,162            ±9,433            23,919       ±7,351            146,132         ±10,948
    Withadisability                    2.8%              ±1.3              1.5%         ±1.6              3.1%            ±1.1


                                                                                                                                      Venezuela AR_000193
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 99 of 222




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                                          6
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
 Civiliannoninstitutionalized
 population18to64years           211,318               ±13,080           70,410       ±9,929            461,075         ±20,675
   Withadisability                 4.0%                  ±0.9              5.0%         ±2.2              4.5%            ±0.7
 Civiliannoninstitutionalized
 population65yearsandolder       28,462                ±3,989            5,070        ±2,060            50,667          ±5,471
   Withadisability                 16.7%                 ±5.4              11.7%        ±7.2              19.2%           ±4.0
RESIDENCE1YEARAGO
 Population1yearandover          305,456               ±19,107           99,289       ±15,913           655,783         ±28,619
   Samehouse                        79.7%                 ±2.4              73.4%        ±7.8              76.2%           ±2.0
   DifferenthouseintheU.S.       17.8%                 ±2.4              21.3%        ±7.6              19.9%           ±2.0
     Samecounty                     13.6%                 ±2.0              7.8%         ±4.2              11.7%           ±1.3
     Differentcounty                4.2%                  ±1.2              13.5%        ±7.4              8.2%            ±1.7
       Samestate                    2.9%                  ±1.0              9.1%         ±6.9              5.2%            ±1.5
       Differentstate               1.3%                  ±0.7              4.4%         ±4.3              3.0%            ±0.8
   Abroad                            2.5%                  ±0.6              5.3%         ±2.1              3.9%            ±0.7
PLACEOFBIRTH,CITIZENSHIP
STATUSANDYEAROFENTRY
 Native                              59,071                ±6,826            20,979       ±6,538            159,547         ±11,066
   Male                              48.6%                 ±4.0              38.3%        ±8.8              46.3%           ±2.4
   Female                            51.4%                 ±4.0              61.7%        ±8.8              53.7%           ±2.4
 Foreignborn                        248,377               ±17,018           78,721       ±12,327           500,084         ±23,039
   Male                              46.9%                 ±1.9              43.7%        ±3.5              46.8%           ±1.2
   Female                            53.1%                 ±1.9              56.3%        ±3.5              53.2%           ±1.2
   Foreignborn;naturalizedU.S.
   citizen                           87,763                ±8,460            27,276       ±7,055            173,911         ±12,651
     Male                            45.3%                 ±3.1              42.3%        ±5.9              44.5%           ±2.0
     Female                          54.7%                 ±3.1              57.7%        ±5.9              55.5%           ±2.0




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000194   7
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 100 of 222
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError


  Foreignborn;notaU.S.citizen   160,614               ±14,622           51,445       ±9,481            326,173         ±18,573
    Male                             47.8%                 ±2.4              44.4%        ±5.2              48.1%           ±1.6
    Female                           52.2%                 ±2.4              55.6%        ±5.2              51.9%           ±1.6
 Populationbornoutsidethe
 UnitedStates                       248,377               ±17,018           78,721       ±12,327           500,084         ±23,039
  Entered2010orlater              67.0%                 ±3.0              61.0%        ±7.1              64.2%           ±2.2
  Entered2000to2009               16.2%                 ±1.9              26.1%        ±6.2              17.8%           ±1.5
  Enteredbefore2000                16.8%                 ±2.0              12.9%        ±4.1              18.0%           ±1.3
WORLDREGIONOFBIRTHOF
FOREIGNBORN

 ForeignͲbornpopulationexcluding
 populationbornatsea             248,377                ±17,018           78,721       ±12,327           500,084         ±23,039
   Europe                           N                      N                 N            N                 0.3%            ±0.1
   Asia                             N                      N                 N            N                 0.1%            ±0.1
   Africa                           N                      N                 N            N                 0.1%            ±0.1
   Oceania                          N                      N                 N            N                 0.0%            ±0.1
   LatinAmerica                    N                      N                 N            N                 99.5%           ±0.2
   NorthernAmerica                 N                      N                 N            N                 0.1%            ±0.1
LANGUAGESPOKENATHOMEAND
ABILITYTOSPEAKENGLISH
 Population5yearsandover        293,538                ±18,566           92,989       ±13,469           626,400         ±27,572
   Englishonly                     6.8%                   ±1.2              7.5%         ±3.2              11.2%           ±1.0
   LanguageotherthanEnglish      93.2%                  ±1.2              92.5%        ±3.2              88.8%           ±1.0
     SpeakEnglishlessthan"very
     well"                          50.5%                  ±2.2              48.1%        ±6.0              45.1%           ±1.4
EMPLOYMENTSTATUS


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000195   8
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 101 of 222
Table:ACSSPP1Y2021.S0201


                                      Florida                                Texas                          UnitedStates

                                      Venezuelan                             Venezuelan                     Venezuelan

Label                                 Estimate             MarginofError   Estimate     MarginofError   Estimate        MarginofError
 Population16yearsandover         248,134              ±14,572           77,523       ±10,577           530,300         ±22,920
  Inlaborforce                      74.4%                ±2.2              71.2%        ±5.2              73.8%           ±1.6
    Civilianlaborforce              74.3%                ±2.2              71.2%        ±5.2              73.6%           ±1.6
      Employed                        70.5%                ±2.2              66.0%        ±5.1              69.0%           ±1.6
      Unemployed                      3.8%                 ±0.8              5.2%         ±2.2              4.6%            ±0.7
        UnemploymentRate             5.1%                 ±1.1              7.3%         ±3.0              6.3%            ±0.9
    ArmedForces                      0.1%                 ±0.2              0.0%         ±0.1              0.2%            ±0.1
  Notinlaborforce                  25.6%                ±2.2              28.8%        ±5.2              26.2%           ±1.6
 Females16yearsandover            132,636              ±8,157            43,551       ±6,172            284,523         ±13,310
  Inlaborforce                      66.1%                ±3.6              65.9%        ±6.8              67.0%           ±2.3
    Civilianlaborforce              66.1%                ±3.6              65.9%        ±6.8              67.0%           ±2.3
      Employed                        62.1%                ±3.8              61.2%        ±6.6              62.1%           ±2.6
      Unemployed                      4.0%                 ±1.0              4.7%         ±2.8              5.0%            ±0.9
        UnemploymentRate             6.1%                 ±1.5              7.1%         ±4.1              7.4%            ±1.4
COMMUTINGTOWORK
 Workers16yearsandover            170,934              ±11,005           49,463       ±7,056            357,772         ±16,811

  Car,truck,orvanͲdrovealone    63.2%                ±2.7              66.9%        ±6.6              61.2%           ±1.8
  Car,truck,orvanͲcarpooled      14.3%                ±2.0              12.0%        ±4.4              13.0%           ±1.2
  Publictransportation(excluding
  taxicab)                            1.1%                 ±0.6              1.3%         ±1.1              3.5%            ±0.8
  Walked                              1.6%                 ±1.0              1.7%         ±1.5              2.1%            ±0.6
  Othermeans                         2.0%                 ±0.7              4.6%         ±2.8              2.4%            ±0.6
  Workedfromhome                    17.8%                ±1.8              13.5%        ±4.0              17.8%           ±1.3
  Meantraveltimetowork
  (minutes)                           26.4                 ±1.0              26.8         ±2.5              26.8            ±0.8
OCCUPATION




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000196   9
                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 102 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
  Civilianemployedpopulation16
  yearsandover                    174,910                ±11,207           51,169       ±7,411            366,058         ±17,302
    Management,business,science,
    andartsoccupations            34.5%                  ±2.5              33.8%        ±6.1              37.5%           ±1.9
    Serviceoccupations             15.8%                  ±2.3              14.7%        ±5.0              15.2%           ±1.5
    Salesandofficeoccupations    24.0%                  ±2.5              23.9%        ±4.7              22.9%           ±1.4

   Naturalresources,construction,
   andmaintenanceoccupations       8.7%                  ±1.6              6.6%         ±2.6              7.9%            ±1.1

   Production,transportation,and
   materialmovingoccupations       17.0%                 ±2.4              21.0%        ±4.7              16.5%           ±1.6
  Malecivilianemployedpopulation
  16yearsandover                  92,557                ±7,155            24,522       ±3,966            189,458         ±9,836
   Management,business,science,
   andartsoccupations              35.0%                 ±3.4              39.6%        ±7.5              37.6%           ±2.4
   Serviceoccupations               12.3%                 ±2.8              6.5%         ±4.1              10.9%           ±1.8
   Salesandofficeoccupations      15.2%                 ±2.6              11.5%        ±4.7              16.4%           ±1.8

   Naturalresources,construction,
   andmaintenanceoccupations       15.8%                 ±2.9              13.5%        ±5.3              14.3%           ±2.0

   Production,transportation,and
   materialmovingoccupations      21.7%                  ±3.8              28.8%        ±8.0              20.8%           ±2.6
  Femalecivilianemployed
  population16yearsandover      82,353                 ±7,362            26,647       ±4,610            176,600         ±11,170
   Management,business,science,
   andartsoccupations             33.9%                  ±3.6              28.4%        ±7.6              37.4%           ±2.7


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000197 10
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 103 of 222
Table:ACSSPP1Y2021.S0201


                                      Florida                                Texas                          UnitedStates

                                      Venezuelan                             Venezuelan                     Venezuelan

Label                                 Estimate             MarginofError   Estimate     MarginofError   Estimate        MarginofError
   Serviceoccupations                19.8%                ±2.7              22.2%        ±7.5              19.8%           ±2.1
   Salesandofficeoccupations       33.8%                ±4.0              35.3%        ±7.8              29.9%           ±2.4

   Naturalresources,construction,
   andmaintenanceoccupations       0.6%                  ±0.5              0.3%         ±0.5              1.1%            ±0.4

    Production,transportation,and
    materialmovingoccupations         11.8%              ±2.4              13.8%        ±5.1              11.8%           ±1.6
INDUSTRY
  Civilianemployedpopulation16
  yearsandover                        174,910            ±11,207           51,169       ±7,411            366,058         ±17,302
    Agriculture,forestry,fishingand
    hunting,andmining                 0.3%               ±0.2              1.4%         ±0.9              0.5%            ±0.2
    Construction                        10.5%              ±1.8              7.3%         ±2.5              8.4%            ±1.1
    Manufacturing                       7.2%               ±1.2              12.4%        ±4.0              8.8%            ±1.1
    Wholesaletrade                     3.7%               ±1.0              2.8%         ±1.9              3.1%            ±0.6
    Retailtrade                        10.7%              ±1.8              11.9%        ±4.2              11.8%           ±1.2
    Transportationandwarehousing,
    andutilities                       13.0%              ±1.9              15.3%        ±3.5              11.9%           ±1.3
    Information                         1.5%               ±0.6              1.1%         ±1.3              2.1%            ±0.5

   Financeandinsurance,andreal
   estateandrentalandleasing    7.6%                   ±1.3              3.3%         ±1.8              6.4%            ±0.8

   Professional,scientific,and
   management,andadministrative
   andwastemanagementservices 14.7%                     ±1.8              12.9%        ±4.1              14.5%           ±1.2




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000198 11
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 104 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError


   Educationalservices,andhealth
   careandsocialassistance        13.5%                 ±1.9              16.3%        ±4.1              15.7%           ±1.4

   Arts,entertainment,and
   recreation,andaccommodation
   andfoodservices              11.8%                    ±2.0              10.4%        ±4.6              10.4%           ±1.2
   Otherservices(exceptpublic
   administration)                4.6%                     ±1.2              4.5%         ±2.1              4.9%            ±0.7
   Publicadministration          1.0%                     ±0.4              0.3%         ±0.3              1.5%            ±0.4
CLASSOFWORKER
 Civilianemployedpopulation16
 yearsandover                   174,910                  ±11,207           51,169       ±7,411            366,058         ±17,302

   Privatewageandsalaryworkers 83.0%                   ±1.9              80.1%        ±5.2              82.9%           ±1.5
   Governmentworkers              5.3%                    ±1.2              10.2%        ±3.5              7.3%            ±1.0

    SelfͲemployedworkersinown
    notincorporatedbusiness       11.2%                  ±2.0              9.7%         ±3.5              9.6%            ±1.2
    Unpaidfamilyworkers           0.4%                   ±0.3              0.0%         ±0.5              0.2%            ±0.1
INCOMEINTHEPAST12MONTHS
(IN2021INFLATIONͲADJUSTED
DOLLARS)
  Households                        98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
    Medianhouseholdincome
    (dollars)                       64,048                 ±5,273            63,866       ±11,177           66,615          ±3,622
    Withearnings                   93.1%                  ±1.7              89.1%        ±6.2              93.1%           ±1.3
      Meanearnings(dollars)       86,522                 ±7,813            94,313       ±9,726            91,395          ±4,423


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000199 12
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 105 of 222
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
   WithSocialSecurityincome       11.2%                 ±2.3              7.5%         ±3.7              9.5%            ±1.2
     MeanSocialSecurityincome
     (dollars)                       12,233                ±1,644            15,591       ±4,440            14,417          ±1,491
   WithSupplementalSecurity
   Income                            4.1%                  ±1.2              N            N                 3.6%            ±0.8
     MeanSupplementalSecurity
     Income(dollars)                9,214                 ±2,389            6,705        ±2,955            8,194           ±1,479
   Withcashpublicassistance
   income                            4.9%                  ±1.0              7.8%         ±4.2              5.5%            ±0.9
     Meancashpublicassistance
     income(dollars)                5,010                 ±1,385            6,120        ±2,122            5,834           ±1,393
   Withretirementincome            4.5%                  ±1.3              6.7%         ±3.7              6.7%            ±1.1
     Meanretirementincome
     (dollars)                       16,341                ±3,948            8,336        ±2,929            16,824          ±2,894

   WithFoodStamp/SNAPbenefits 10.8%                     ±2.3              7.4%         ±4.3              8.4%            ±1.3
  Families                       82,063                    ±5,349            24,911       ±4,020            167,310         ±8,434

    Medianfamilyincome(dollars)   66,388                ±4,450            75,183       ±26,615           71,465          ±5,696
     MarriedͲcouplefamily           70.6%                 ±3.9              79.5%        ±6.3              72.3%           ±2.4
    Medianincome(dollars)          75,047                ±5,412            91,109       ±22,712           81,663          ±3,538
     Malehouseholder,nospouse
     present,family                 10.3%                 ±2.7              7.1%         ±3.5              9.6%            ±1.7
    Medianincome(dollars)          49,028                ±11,230           46,855       ±29,759           49,939          ±4,368
     Femalehouseholder,no
     husbandpresent,family         19.0%                 ±3.0              13.4%        ±5.3              18.1%           ±1.8
    Medianincome(dollars)          47,494                ±5,693            15,802       ±9,614            45,224          ±4,664
  Individuals                        307,448               ±19,189           99,700       ±16,021           659,631         ±28,793


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000200 13
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 106 of 222
Table:ACSSPP1Y2021.S0201


                                     Florida                                 Texas                          UnitedStates

                                     Venezuelan                              Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
   Percapitaincome(dollars)        29,552               ±2,538            28,165       ±4,188            31,190          ±1,612
   WithearningsforfullͲtime,yearͲ
   roundworkers:
     Male                             68,150               ±5,878            20,787       ±3,702            140,577         ±8,664
     Female                           52,792               ±5,595            13,880       ±3,210            109,585         ±8,262

   Meanearnings(dollars)forfullͲ
   time,yearͲroundworkers:
     Male                             66,115               ±6,487            79,340       ±12,581           71,971          ±4,838
     Female                           49,572               ±9,588            40,874       ±5,842            51,434          ±4,969

   Medianearnings(dollars)fullͲ
   time,yearͲroundworkers:
     Male                            42,470                ±4,415            51,881       ±19,448           47,867          ±3,307
     Female                          35,883                ±2,828            33,063       ±5,048            37,832          ±2,630
HEALTHINSURANCECOVERAGE
 Civiliannoninstitutionalized
 population                          306,942               ±19,164           99,399       ±16,050           657,874         ±28,801

   Withprivatehealthinsurance     75.0%                 ±2.3              64.0%        ±7.4              70.6%           ±1.9
   Withpubliccoverage              16.2%                 ±1.9              17.8%        ±5.4              18.9%           ±1.4

   Nohealthinsurancecoverage      13.2%                 ±1.7              20.8%        ±4.0              15.2%           ±1.2

POVERTYRATESFORFAMILIESAND
PEOPLEFORWHOMPOVERTY
STATUSISDETERMINED
 Allfamilies                   8.8%                       ±2.7              19.9%        ±7.8              11.4%           ±2.1


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000201 14
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 107 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                                Estimate              MarginofError   Estimate     MarginofError   Estimate        MarginofError
   Withrelatedchildrenofthe
   householderunder18years        10.5%                 ±3.8              29.6%        ±13.0             13.4%           ±3.2

      Withrelatedchildrenofthe
      householderunder5yearsonly 14.4%                 ±8.7              79.2%        ±27.0             20.9%           ±10.4
   MarriedͲcouplefamily              7.3%                 ±2.7              12.9%        ±9.0              8.2%            ±2.1
      Withrelatedchildrenofthe
      householderunder18years      8.0%                 ±3.4              21.9%        ±15.4             9.1%            ±3.1
        Withrelatedchildrenofthe
        householderunder5years
        only                          13.1%                ±9.3              74.5%        ±37.3             18.0%           ±12.3
   Femalehouseholder,nospouse
   present,family                    16.5%                ±7.9              61.8%        ±21.6             23.3%           ±5.5
      Withrelatedchildrenofthe
      householderunder18years      22.1%                ±11.7             65.1%        ±27.7             31.0%           ±8.3
        Withrelatedchildrenofthe
        householderunder5years
        only                          34.8%                ±28.4             100.0%       ±35.7             52.0%           ±20.5
  Allpeople                          10.5%                ±2.1              19.1%        ±7.4              12.6%           ±1.9
   Under18years                     10.7%                ±4.2              27.2%        ±14.8             13.2%           ±3.6
      Relatedchildrenofthe
      householderunder18years      10.1%                ±4.1              27.2%        ±14.8             12.9%           ±3.6

      Relatedchildrenofthe
      householderunder5years      6.8%                  ±5.5              53.4%        ±33.7             16.7%           ±9.9
      Relatedchildrenofthe
      householder5to17years     10.9%                  ±4.8              16.7%        ±13.3             11.8%           ±3.3
   18yearsandover                10.4%                  ±2.0              16.5%        ±5.6              12.4%           ±1.7


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000202 15
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 108 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
    18to64years                  9.1%                   ±1.8              16.5%        ±5.8              11.9%           ±1.7
    65yearsandover               19.8%                  ±7.6              17.0%        ±11.9             16.9%           ±4.6
  Peopleinfamilies                8.3%                   ±2.3              19.0%        ±8.4              10.6%           ±2.0
  Unrelatedindividuals15years
  andover                          27.7%                  ±4.4              19.5%        ±9.0              25.1%           ±3.3
HOUSINGTENURE
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364

   OwnerͲoccupiedhousingunits     38.4%                  ±3.2              36.6%        ±7.2              38.3%           ±2.1

  RenterͲoccupiedhousingunits     61.6%                  ±3.2              63.4%        ±7.2              61.7%           ±2.1
  AveragehouseholdsizeofownerͲ
  occupiedunit                     3.10                   ±0.17             3.07         ±0.29             3.15            ±0.10
  AveragehouseholdsizeofrenterͲ
  occupiedunit                     2.95                   ±0.12             2.92         ±0.29             2.83            ±0.08
UNITSINSTRUCTURE
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
  1Ͳunit,detachedorattached      41.1%                  ±3.2              46.5%        ±7.1              43.1%           ±2.3
  2to4units                      7.8%                   ±2.1              7.4%         ±3.9              9.5%            ±1.4
  5ormoreunits                   50.4%                  ±3.3              45.7%        ±7.1              46.8%           ±2.4

   Mobilehome,boat,RV,van,etc. 0.7%                   ±0.5              0.4%         ±0.7              0.6%            ±0.3
YEARSTRUCTUREBUILT
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
   Built2020orlater              1.6%                   ±0.7              3.3%         ±3.0              2.4%            ±0.8
   Built2010to2019               23.2%                  ±3.5              40.1%        ±8.5              22.7%           ±2.3
   Built2000to2009               19.0%                  ±2.7              20.0%        ±5.9              17.1%           ±1.8
   Built1980to1999               32.2%                  ±3.0              20.9%        ±4.7              28.2%           ±1.8


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000203 16
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 109 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
   Built1960to1979               18.6%                  ±2.9              13.0%        ±3.4              18.0%           ±1.8
   Built1940to1959               4.5%                   ±1.1              1.8%         ±1.4              6.5%            ±1.0
   Built1939orearlier            0.9%                   ±0.6              0.9%         ±0.9              5.0%            ±0.9
VEHICLESAVAILABLE
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
   None                             4.3%                   ±1.4              3.9%         ±2.0              7.6%            ±1.3
   1ormore                        95.7%                  ±1.4              96.1%        ±2.0              92.4%           ±1.3
HOUSEHEATINGFUEL
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364
   Gas                              4.3%                   ±1.3              34.3%        ±7.1              28.7%           ±1.9
   Electricity                      87.3%                  ±2.2              62.6%        ±7.3              65.3%           ±2.2
   Allotherfuels                  0.5%                   ±0.4              2.4%         ±2.5              1.4%            ±0.5
   Nofuelused                     8.0%                   ±1.6              0.7%         ±0.8              4.6%            ±0.8
SELECTEDCHARACTERISTICS
 Occupiedhousingunits             98,491                 ±5,319            31,774       ±4,454            213,838         ±9,364

   Notelephoneserviceavailable   1.1%                   ±0.6              N            N                 1.0%            ±0.4
   1.01ormoreoccupantsper
   room                             10.1%                  ±2.2              17.1%        ±5.3              10.7%           ±1.6

SELECTEDMONTHLYOWNERCOSTS
ASAPERCENTAGEOFHOUSEHOLD
INCOMEINTHEPAST12MONTHS
  Housingunitswithamortgage
  (excludingunitswhereSMOC
  cannotbecomputed)            24,313                    ±3,632            9,824        ±2,397            60,426          ±5,828
    Lessthan30percent         57.4%                     ±6.1              79.5%        ±10.0             67.8%           ±4.2
    30percentormore           42.6%                     ±6.1              20.5%        ±10.0             32.2%           ±4.2


data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000204 17
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 110 of 222
Table:ACSSPP1Y2021.S0201


                                    Florida                                  Texas                          UnitedStates

                                    Venezuelan                               Venezuelan                     Venezuelan

Label                               Estimate               MarginofError   Estimate     MarginofError   Estimate        MarginofError
OWNERCHARACTERISTICS
 OwnerͲoccupiedhousingunits       37,824                 ±4,043            11,622       ±2,677            81,937          ±6,062
  Medianvalue(dollars)            344,400                ±20,816           322,000      ±29,942           344,700         ±12,690

   Medianselectedmonthlyowner
   costswithamortgage(dollars) 2,045                   ±135              2,063        ±307              2,035           ±91
   Medianselectedmonthlyowner
   costswithoutamortgage
   (dollars)                       764                     ±61               948          ±389              776             ±57
GROSSRENTASAPERCENTAGEOF
HOUSEHOLDINCOMEINTHEPAST
12MONTHS
 Occupiedunitspayingrent
 (excludingunitswhereGRAPI
 cannotbecomputed)               58,568                  ±4,306            17,213       ±3,082            124,624         ±6,488
   Lessthan30percent            38.8%                   ±5.0              47.9%        ±9.7              40.5%           ±3.7
   30percentormore              61.2%                   ±5.0              52.1%        ±9.7              59.5%           ±3.7
GROSSRENT
 Occupiedunitspayingrent        59,345                  ±4,259            19,709       ±3,683            128,505         ±6,836
   Mediangrossrent(dollars)     1,674                   ±52               1,329        ±126              1,583           ±42
COMPUTERSANDINTERNETUSE
 Totalhouseholds                  98,491                  ±5,319            31,774       ±4,454            213,838         ±9,364
   Withacomputer                 99.4%                   ±0.4              99.8%        ±0.4              99.1%           ±0.3
   WithabroadbandInternet
   subscription                    92.8%                   ±2.0              96.0%        ±2.4              94.4%           ±1.1




data.census.gov|MeasuringAmerica'sPeople,Places,andEconomy                                                                    Venezuela AR_000205 18
                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 111 of 222
Joint Brief on Mass Maritime Migration




                                                 Venezuela AR_000206
                                                      v.12
           UNCLASSIFIED//For Official Use Only
                                                                       Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 112 of 222
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 113 of 222




                                                                    Venezuela AR_000207
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 114 of 222




                                                                    Venezuela AR_000208
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 115 of 222




                                                                    Venezuela AR_000209
                                 DoD Support and Integration

• Use of Naval Station Guantanamo Bay (NSGB) prior to a Presidentially declared mass migration event
   ¾ Provide location for Migrant Operations Center (MOC)

   ¾ Provide services (meals, water, housing, transportation) on a reimbursable basis

• Use of Naval Station Guantanamo Bay (NSGB) following a Presidentially declared mass migration event
   ¾ Provide services (meals, water, housing, transportation) on a non-reimbursable basis

• Upon an approved Request for Assistance (RFA), DoD can provide support (naval forces) to USCG for
  the maritime interdiction of migrants.




                  DHS and DOS share the responsibility for migrant processing both
                    prior to and after a Presidentially declared mass migration.
                                                                                        Venezuela AR_000210
                                                                                             v.12        4
                                    UNCLASSIFIED//For Official Use Only
                                                                                                              Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 116 of 222
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 117 of 222




                                                                    Venezuela AR_000211
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 118 of 222




                                                                    Venezuela AR_000212
                                                                              6
                                                                              v.12
   DoD Migration Camp Capacities
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 119 of 222




                                                                    Venezuela AR_000213
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 120 of 222




                                                                    Venezuela AR_000214
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 121 of 222




                                                                    Venezuela AR_000215
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 122 of 222




                                                                    Venezuela AR_000216
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 123 of 222




                                                                    Venezuela AR_000217
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 124 of 222




                                                                    Venezuela AR_000218
          Scenario 2 – Partial Budgetary Support
If only partial funding is received, DHS will use a prioritized approach to ensure that the most critical needs to mitigate gaps resulting from DoD’s drawdown are met.
                                                              Critical Investments with Partial Budgetary Support



                                                                                         First priority
                                                    USBP
                                                                                         • Human capital is irreplaceable in border security functions.
                                                 Personnel                               • The DoD drawdown will have a heavier impact on USBP.
                                                     and                                 • Continued hiring and fulfillment of agents, officers, contractors,
                                             Support Positions                             and support personnel is vital to keep up with attrition rates
                                                                                           and maintain the manpower requirement.
                                                                                         • USBP is set to lose 1,254 soldiers currently assigned to border
                                      AMO Agents and Flight Hours                          missions under the FY 2023 RFA, compared to 51 soldiers
                                       OFO Officers and Specialists                        assigned to OFO and none to AMO.

                                                                                                       Second priority
                                                                                                       • Including COP, SAMSON and TAK.
                                Operation and Sustainment of Existing
                                            Technologies                                               • Additionally, DHS intends to use $55M, depending
                                                                                                         on the fully appropriated amount, to reimburse
                                                                                                         DoD for air support hours.
                                                                                                                     Third priority
                                                                                                                     • Emphasizing Integrated Surveillance
                   Procurement, Construction and Improvements of Technology                                            Towers (IST), Ground Sensor
                                                                                                                                       Venezuela
                                                                                                                       Technologies, and  Common AR_000219
                                                                                                                                                      Operating
                                                                                                                       Picture (COP).
                                                                                                                                                                   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 125 of 222
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 126 of 222




                Explanation of the Decision to Terminate the Migrant Protection Protocols

                                                             October 29, 2021
I.          Executive Summary ............................................................................................................. 2
II.         Background .......................................................................................................................... 3
      A.        MPP’s Statutory Basis and Implementation .................................................................... 5
      B.        Prior Evaluations of MPP ................................................................................................ 7
      C.        Litigation Regarding the Prior Implementation of MPP.................................................. 9
      D.     Suspension of New Enrollments and Phased Strategy for the Safe and Orderly Entry of
      Individuals Subjected to MPP................................................................................................... 10
      E.        Challenge to the Suspension and Termination............................................................... 10
III.        Evaluation of MPP ............................................................................................................. 11
      A.        Conditions for Migrants in Mexico................................................................................ 12
      B.        Non-Refoulement Concerns ........................................................................................... 14
      C.        Access to Counsel, Notice of Hearings, and Other Process Concerns .......................... 16
      D.        Impacts of MPP on Immigration Court Appearance Rates and Outcomes ................... 18
      E.        MPP and Recidivist Irregular Re-Entries ...................................................................... 21
      F.        Investments and Resources Required to Operate MPP.................................................. 22
      G.        Impact of MPP and its Termination on SWB Migration Flows .................................... 23
      H.        Addressing the Concerns of States and Border Communities ....................................... 24
      I.        Relationship between Implementation of MPP and Statutory Mandates ...................... 26
      J.        Impact on U.S.-Mexico Relationship............................................................................. 29
IV. The Biden-Harris Administration’s Affirmative Efforts to Enhance Migration
Management.................................................................................................................................. 30
      A.        Managing Flows............................................................................................................. 31
      B.        Managing Asylum Claims ............................................................................................. 34
           1.      Dedicated Docket ....................................................................................................... 34
           2.      Asylum Officer Rule .................................................................................................. 35
V.          Consideration of Alternatives to Terminating MPP........................................................... 36
VI.         Conclusion.......................................................................................................................... 38




                                                                                                                   Venezuela AR_000220
    Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 127 of 222




     I.     Executive Summary

       On February 2, 2021, President Biden issued an Executive Order directing the Secretary
of Homeland Security to “promptly review and determine whether to terminate or modify the
program known as the Migrant Protection Protocols.”1 After extensive review, the Secretary of
Homeland Security concluded that the Migrant Protection Protocols (MPP) should be terminated,
and on June 1, 2021, issued a memorandum to that effect.2 On August 13, 2021, however, the
U.S. District Court for the Northern District of Texas determined that the June 1, 2021,
memorandum was not issued in compliance with the Administrative Procedure Act (APA) and
caused DHS to violate 8 U.S.C. § 1225, vacated the memorandum, and remanded it to the
Department for further consideration. The court additionally ordered DHS to “enforce and
implement MPP in good faith” until certain conditions are satisfied, including that MPP be
“lawfully rescinded in compliance with the APA”—a ruling that the government is vigorously
appealing.

        Pursuant to the Texas court’s remand, and in continuing compliance with the President’s
direction in the Executive Order, the Secretary has considered anew whether MPP should be
maintained, terminated, or modified in a variety of different ways. After carefully considering
the arguments, evidence, and perspectives of those who support continuing to use MPP, those
who support terminating the program, and those who have argued for the use of MPP with
modifications, the Secretary has determined that MPP should be terminated. In reaching this
conclusion, the Secretary recognizes that MPP likely contributed to reduced migratory flows.
But it did so by imposing substantial and unjustifiable human costs on migrants who were
exposed to harm while waiting in Mexico. The Biden-Harris Administration, by contrast, is
pursuing a series of policies that will disincentivize irregular migration while incentivizing safe,
orderly, and humane pathways. These policies—including the ongoing efforts to reform our
asylum system and address the root causes of migration in the region—seek to tackle
longstanding problems that have plagued our immigration system for decades and achieve
systemic change.

          To reiterate what the President has stated previously, the United States is a nation with
borders and laws that must be enforced. It is also a nation of immigrants. This Administration
is, as a result, committed to the twin goals of securing our borders and offering protection to
those fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for
achieving either of these goals. Significant evidence indicates that individuals were subject to
extreme violence and insecurity at the hands of transnational criminal organizations that profited
from putting migrants in harms’ way while awaiting their court hearings in Mexico. It is
possible that some of these humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.


1
  Exec. Order No. 14010, Creating a Comprehensive Regional Framework to Address the Causes of Migration, to
Manage Migration Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).
2
  Memorandum from Alejandro N. Mayorkas, Sec’y of Homeland Security, Termination of the Migrant Protection
Protocols Program (June 1, 2021) [hereinafter June 1 Memo].

                                                     2

                                                                                    Venezuela AR_000221
    Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 128 of 222




Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

         Importantly, as the Secretary has emphasized, the management of migratory flows is a
shared responsibility among all countries in the hemisphere. MPP distracts from these regional
efforts, focusing resources and attention on this singular program rather than on the work that is
needed to implement broader, and more enduring, solutions. Efforts to implement MPP have
played a particularly outsized role in diplomatic engagements with Mexico, diverting attention
from more productive efforts to fight transnational criminal and smuggling networks and address
the root causes of migration.

        Notably, Mexico has made clear that it will not agree to accept those the United States
seeks to return to Mexico under MPP unless substantial improvements are made to the program.
But these much-needed efforts to enhance humanitarian protections for those placed in MPP are
resource-intensive, exacerbating one of the flaws of the program—the concentration of
resources, personnel, and aid efforts on the northern border of Mexico rather than on broader
regional assistance efforts that would more effectively and systemically tackle the problem of
irregular migration and protect our border. Moreover, the personnel required to adequately
screen MPP enrollees, potentially multiple times—to ensure they are not returned to persecution
or torture in Mexico, process them for court hearings, and manage their cases—pulls resources
from other priority efforts, including the ongoing efforts to implement effective, fair, and durable
asylum reforms that reduce adjudication delays and tackle the immigration court backlog.

       Having assessed the benefits and costs of the previous implementation of MPP as well as
how the program could potentially be improved, the Secretary has concluded that there are
inherent problems with the program—including the vulnerability of migrants to criminal
networks, and the challenges associated with accessing counsel and courts across an international
border—that resources cannot sufficiently fix. Others cannot be addressed without detracting
from other key Administration priorities. It is thus the Secretary’s judgment that the benefits of
MPP are far outweighed by the costs of the program, in whatever form.

         As a result, for the many reasons described in what follows, the Secretary in a
memorandum issued today entitled, “Termination of the Migrant Protection Protocols,” has
decided to terminate MPP.3 This determination will be implemented as soon as practicable after
a final judicial decision to vacate the Texas injunction that currently requires good-faith
enforcement of MPP.

     II.    Background

       On January 25, 2019, Secretary of Homeland Security Kirstjen Nielsen issued a
memorandum entitled “Policy Guidance for Implementation of the Migrant Protection
Protocols.” On January 20, 2021, Acting Secretary David Pekoske issued a memorandum
temporarily suspending new enrollments into the Migrant Protection Protocols (MPP) pending


3
 Memorandum from Alejandro Mayorkas, Sec’y of Homeland Sec., Termination of the Migrant Protection
Protocols (Oct. 29, 2021).

                                                    3

                                                                                   Venezuela AR_000222
    Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 129 of 222




further review.4 Two weeks later, on February 2, 2021, President Biden issued Executive Order
(EO) 14010, Creating a Comprehensive Regional Framework to Address the Causes of
Migration, to Manage Migration Throughout North and Central America, and to Provide Safe
and Orderly Processing of Asylum Seekers at the United States Border.5 In this Executive
Order, President Biden directed the Secretary of Homeland Security to “promptly review and
determine whether to terminate or modify the program known as the Migrant Protection
Protocols” and “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”6 In response, Secretary Mayorkas initiated a
comprehensive review of MPP. The Secretary, in conjunction with other agencies, also
implemented a phased process for the safe and orderly entry into the United States of thousands
of individuals who had been placed in MPP and certain of their immediate family members for
proceedings.7

        At the conclusion of his review, on June 1, 2021, Secretary Mayorkas issued a
memorandum announcing and explaining his determination that MPP should be terminated (the
“June 1 Memorandum”).8 On August 13, 2021, the U.S. District Court for the Northern District
of Texas determined that the June 1 Memorandum did not reflect reasoned decision-making and
thus was not issued in compliance with the Administrative Procedure Act (APA), and that the
memorandum caused the Department to violate detention provisions found in 8 U.S.C. § 1225.9
The court vacated the June 1 Memorandum in its entirety and remanded it to the Department of
Homeland Security (DHS) for further consideration.10 The court additionally ordered DHS to
“enforce and implement MPP in good faith” until certain conditions are satisfied, including that
MPP be “lawfully rescinded in compliance with the APA.”11 The government is complying with
that injunction while appealing the decision.

        Pursuant to the district court’s remand, and consistent with the President’s direction in
EO 14010, the Secretary has considered anew whether MPP should be maintained, terminated, or
modified. This memorandum sets forth the results of that analysis and the basis for the
Secretary’s decision to terminate MPP by way of a separate memorandum being issued today.
The Secretary’s memorandum immediately supersedes and rescinds the June 1 Memorandum, as
well as Secretary Nielsen’s January 25, 2019 memorandum and any other guidance or other
documents prepared by the Department to implement it. The Secretary’s decision to terminate


4
  Memorandum from David Pekoske, Acting Sec’y of Homeland Sec., Suspension of Enrollment in the Migrant
Protection Protocol Program (Jan. 20, 2021) [hereinafter MPP Suspension Memorandum].
5
  Exec. Order No. 14010, 86 Fed. Reg. 8267 (Feb. 2, 2021).
6
  Id. at 8270.
7
  See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
8
  See supra note 2.
9
  See Texas v. Biden, No. 2:21-cv-067, 2021 WL 3603341 (N.D. Tex. Aug. 13, 2021), appeal pending, No. 21-
10806 (5th Cir. filed Aug. 16, 2021).
10
   Id. at *27.
11
   Id. (emphasis in original).

                                                      4

                                                                                     Venezuela AR_000223
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 130 of 222




MPP is to be implemented as soon as practicable after a final judicial decision to vacate the
Texas injunction that currently requires good faith implementation and enforcement of MPP.

          A. MPP’s Statutory Basis and Implementation

        Enacted in 1996, Section 235(b)(2)(C) of the Immigration and Nationality Act (INA), 8
U.S.C. § 1225(b)(2)(C), grants DHS discretionary authority to return to Mexico or Canada
certain noncitizens who are arriving on land from those contiguous countries pending their
removal proceedings before an immigration judge under Section 240 of the INA, 8 U.S.C. §
1229a. Historically, DHS and the legacy Immigration and Naturalization Service (INS) used this
discretionary authority on a case-by-case basis to return certain Mexican and Canadian nationals
who were arriving at land border ports of entry; occasionally, the provision also was used for
third-country nationals under certain circumstances provided they did not have a fear of
persecution or torture related to return to Canada or Mexico.12 On December 20, 2018, the
Department announced a decision to initiate MPP—a novel programmatic implementation of
Section 235(b)(2)(C)—along the Southwest Border (SWB). That same day, Mexico announced
its independent decision to accept those returned to Mexico through the program—a key
precondition to implementation.13

        At the time of its initial announcement, DHS stated that the program was intended to: (1)
reduce unlawful migration and false claims of asylum; (2) ensure that migrants are not able to
“disappear” into the United States prior to a court decision; (3) focus attention on more quickly
assisting legitimate asylum seekers; (4) free up personnel and resources to better protect U.S.
territory and clear the backlog of unadjudicated asylum applications; and (5) offer protection to
vulnerable populations while they wait in Mexico for their removal proceedings.14

12
   Prior to MPP, DHS and the former INS primarily used Section 235(b)(2)(C) on an ad-hoc basis to return certain
Mexican and Canadian nationals who were arriving at land border ports of entry. CBP, for instance, invoked Section
235(b)(2)(C) to return certain Mexican nationals who were U.S. lawful permanent residents (LPRs) and whose
criminal histories potentially subjected them to removal, as well as LPRs who appeared to have abandoned their
permanent residence in the United States but were not willing to execute a Form I-407, Record of Abandonment of
Lawful Permanent Residence. At the Northern Border, CBP used Section 235(b)(2)(C) to return certain Canadian
nationals or those with status in Canada who, for instance, appear to be subject to a criminal ground of
inadmissibility. Although guidance is scant, DHS and the former INS also used Section 235(b)(2)(C), on a case-by-
case basis, for certain third country nationals even prior to MPP. For example, CBP issued field guidance in 2005
advising that a Cuban national arriving at a land border port of entry may “be returned to contiguous territory
pending section 240 proceedings . . . if: (1) the alien cannot demonstrate eligibility for the exercise of parole
discretion; (2) the alien has valid immigration status in Canada or Mexico; (3) Canadian or Mexican border officials
express a willingness to accept the returning alien; and (4) the alien’s claim of fear of persecution or torture does not
relate to Canada or Mexico.” Mem. from Jayson P. Ahern, Asst. Comm’r, Office of Field Ops., CBP, Treatment of
Cuban Asylum Seekers at Land Border Ports of Entry 2-3 (June 10, 2005). The INS also issued guidance in 1997
and 1998 contemplating the use of Section 235(b)(2)(C) only as a “last resort” and only when the individual does
not claim a fear of persecution related to Canada or Mexico. Mem. from Michael A. Pearson, Executive Assoc.
Comm’r, Office of Field Ops., INS, Detention Guidelines Effective October 9, 1998 3 (Oct. 7, 1998); Mem. from
Chris Sale, Deputy Comm’r, INS, Implementation of Expedited Removal 4 (Mar. 31, 1997) (same).
13
   Secretaría de Relaciones Exteriores, Position of Mexico on the Decision of the U.S. Government to Invoke Section
235(b)(2)(C) of its Immigration and Nationality Act (Dec. 20, 2018).
14
   Press Release, DHS, “Secretary Kirstjen M. Nielsen Announces Historic Action to Confront Illegal Immigration,”
Dec. 20, 2018, https://www.dhs.gov/news/2018/12/20/secretary-nielsen-announces-historic-action-confront-illegal-
immigration [hereinafter Nielsen Release].

                                                           5

                                                                                              Venezuela AR_000224
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 131 of 222




        On January 25, 2019, DHS issued policy guidance for implementing MPP,15 which was
augmented a few days later by operational guidance from U.S. Customs and Border Protection
(CBP), U.S. Immigration and Customs Enforcement (ICE), and U.S. Citizenship and
Immigration Services (USCIS).16 Under MPP, certain non-Mexican applicants for admission
who arrived on land at the SWB were placed in removal proceedings and returned to Mexico to
await their immigration court proceedings under Section 240 of the INA.17 For those enrolled in
MPP, DHS attempted to facilitate entry to and exit from the United States to attend their
immigration proceedings, which were prioritized on the non-detained docket by the Department
of Justice’s (DOJ) Executive Office for Immigration Review (EOIR).

        MPP was initially piloted at the San Ysidro port of entry and San Diego Immigration
Court. In July 2019, the program was expanded into Texas and as of January 2020, individuals
could be enrolled in MPP at locations across the SWB. Individuals returned to Mexico were
processed back into the United States to attend their removal proceedings at one of four
immigration court locations in California and Texas.18 It was initially anticipated that enrollees’
first hearings would be scheduled within 30-45 days, consistent with the goal of timely
adjudication of cases. But enrollment quickly outpaced EOIR’s capacity to hear cases. Over
time, capacity constraints meant that even initial hearings were scheduled many months after
enrollment. Large numbers of migrants ended up living in camps in Northern Mexico that were,
as well-documented in numerous reports and as described below, crowded, unsanitary, and beset
by violence.19

      Due to public health concerns brought on by the COVID-19 pandemic, EOIR paused
immigration court hearings for all non-detained individuals, including those enrolled in MPP, in
March 2020.20 MPP hearings never resumed prior to the program’s January 2021 suspension,



15
   Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec., Policy Guidance for Implementation of the
Migrant Protection Protocols (Jan. 25, 2019).
16
   Guidance documents are available at the archived MPP landing page under the MPP Guidance Documentation
heading: https://www.dhs.gov/archive/migrant-protection-protocols.
17
   Individuals who could be enrolled into MPP were, generally, individuals from Spanish-speaking countries and
Brazil.
18
   Individuals enrolled in MPP in the San Diego or El Paso jurisdictions attended hearings at the immigration courts
in San Diego or El Paso; individuals enrolled in MPP in San Antonio or Harlingen jurisdictions attended hearings at
the Immigration Hearing Facilities (IHFs) in Laredo or Brownsville, respectively.
19
   See infra Section III.A; see also Caitlin Dickerson, Inside the Refugee Camp on America’s Doorstep, N.Y. Times,
Oct. 23, 2020; Miriam Jordan, ‘I’m Kidnapped’: A Father’s Nightmare on the Border, N.Y. Times, Dec. 21, 2019;
Nomaan Merchant, Tents, stench, smoke: Health risks are gripping migrant camp, A.P. News, Nov. 14, 2019;
Human Rights Watch, Like I’m Drowning: Children and Families Sent to Harm by the US ‘Remain in Mexico’
Program, Jan. 6, 2021 (“As a result [of MPP], thousands of people are concentrated in dangerous Mexican border
towns indefinitely, living lives in limbo . . . . Migrant shelters in Ciudad Juárez and Tijuana quickly filled, and a
large shelter run by Mexican federal authorities in Ciudad Juárez also quickly hit capacity soon after it opened in
late 2019. In Matamoros, dangers in the city have led as many as 2,600 people to live in an informal camp on the
banks of the river marking the border between Mexico and the United States, a location prone to flooding.”).
20
   See Press Release, DHS, “Joint DHS/EOIR Statement of MPP Rescheduling,” Mar. 23, 2020,
https://www.dhs.gov/news/2020/03/23/joint-statement-mpp-rescheduling.

                                                          6

                                                                                           Venezuela AR_000225
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 132 of 222




but new enrollments into MPP continued during this period, albeit at significantly reduced
rates.21

        In total, between the initial implementation of MPP on January 25, 2019, and the
suspension of new enrollments that became effective on January 21, 2021,22 DHS returned to
Mexico approximately 68,000 individuals, according to DHS and EOIR data.23 During that same
period, CBP processed a total of 1.5 million SWB encounters, including approximately 1 million
encounters processed under Title 8 authorities (including the 68,000 processed through MPP)
and approximately 500,000 Title 42 expulsions.24

          B. Prior Evaluations of MPP

       Prior to the Secretary’s June 1, 2021, termination memorandum, the Department
produced two notable assessments of the program that reached divergent conclusions.

       In June 2019, as the Department prepared to expand MPP across the entire SWB, it
formed a committee of senior leaders from multiple components (known as the “Red Team”) to
conduct a “top-down review of MPP’s policies and implementation strategy and provide overall
recommendations to increase the effectiveness of the program.”25 The Red Team members were
chosen, in part, because they had “little to no involvement developing policy or with
implementing MPP,” thus helping to ensure an independent assessment.26 The report and
recommendations (the “Red Team Report”) was issued October 25, 2019, but not publicly
released.27 In preparing its report, the Red Team reviewed key MPP background documents,
conducted dozens of interviews, made site visits, and performed additional research.28 The Red
Team identified significant deficiencies in MPP and made multiple recommendations for
improving MPP, organized around five different areas: the need for standardization and clarity

21
   See U.S. Customs and Border Protection, “Migrant Protection Protocols FY2021,”
https://www,cbp.gov/newsroom/stats/migrant-protection-protocols; U.S. Customs and Border Protection, “Migrant
Protection Protocols FY2020,” https://www.cbp.gov/newsroom/stats/migrant-protection-protocols-fy-2020; see also
MPP Suspension Memorandum, supra note 4.
22
   MPP Suspension Memorandum, supra note 4.
23
   See “Migrant Protection Protocols Metrics and Measures,” Jan. 21, 2021,
https://www.dhs.gov/publication/metrics-and-measures.
24
   DHS Office of Immigration Statistics analysis of U.S. CBP administrative records. In March 2020, the U.S.
Centers for Disease Control and Prevention (CDC) issued a public health order under 42 U.S.C. §§ 265 and 268 to
prevent the spread of COVID-19 in CBP holding facilities and in the United States. 85 Fed. Reg. 16,559 (Mar. 24,
2020). The Order temporarily suspending the introduction of certain persons into the United States from countries
where a communicable disease exists. Id. In August 2021, CDC issued a new Order, which replaced, reaffirmed, and
superseded the previous Orders. See 86 Fed. Reg. 42,828 (Aug. 5, 2021).
25
   Memorandum from Kevin McAleenan, Acting Sec’y of Homeland Sec., Review of Migrant Protection Protocols
Policy and Implementation (June 12, 2019).
26
   Id. Working under the oversight of the Acting Deputy Secretary of Homeland Security, the Red Team was
composed of individuals from the Offices of Privacy, Management, Civil Rights and Civil Liberties, and the Coast
Guard.
27
   DHS Office of Operations Coordination, The Migrant Protection Protocols Red Team Report (Oct. 25, 2019)
[hereinafter Red Team Report].
28
   Id. at 4.

                                                       7

                                                                                        Venezuela AR_000226
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 133 of 222




with respect to information provided to migrants upon initial screening and processing; the need
for better access to counsel and better mechanisms for communication with counsel; the need to
ensure better non-refoulement protections;29 the need for safe housing and protections for those
returned to Mexico; and the need for administrative and logistical improvements, including the
establishment of measures of effectiveness and better mechanisms for the sharing of key
information between migrants and relevant government agencies. In December 2020—at a point
when new enrollments into MPP had already dropped significantly and only a month before the
program’s suspension—the Department issued supplementary policy and operational guidance
designed to address several of the Red Team’s recommendations.30

       Three days after the issuance of the Red Team Report, the Department released publicly a
separate review of MPP (the “October 2019 Assessment”), which offered a very different
assessment of the program.31 The October 2019 Assessment declared that MPP had
demonstrated operational effectiveness, including by helping to address “the ongoing crisis at the
southern border and restoring integrity to the immigration system.”32 The assessment noted that
apprehensions of noncitizens at and between ports of entry decreased from May through
September 2019; reported that rapid and substantial declines in apprehensions occurred in areas
where the greatest number of MPP-amenable noncitizens had been processed and returned to
Mexico through MPP; asserted that MPP was restoring integrity to the immigration system;
claimed that both the U.S. Government and the Government of Mexico (GOM) were
endeavoring to provide safety and security for migrants returned to Mexico; and stated that the

29
   Article 33 of the 1951 Convention Relating to the Status of Refugees provides that “[n]o Contracting State shall
expel or return (‘refouler’) a refugee in any manner whatsoever to the frontiers of territories where his life or
freedom would be threatened on account of his race, religion, nationality, membership of a particular social group or
political opinion.” Convention Relating to the Status of Refugees, done July 28, 1951, 19 U.S.T. 6259, 6276, 189
U.N.T.S. 150, 176. The United States is not a party to the 1951 Convention, but the United States is a party to the
1967 Protocol Relating to the Status of Refugees, done Jan. 31, 1967, 19 U.S.T. 6223, T.I.A.S. 6577, which
incorporates Article 33 of the 1951 Convention. The phrase “life or freedom would be threatened” is interpreted in
U.S. law as meaning that it is more likely than not that the individual would be persecuted. See, e.g., INS v. Stevic,
467 U.S. 407, 428 & n.22 (1984). Separately, Article 3 of the Convention Against Torture and Other Cruel, Inhuman
or Degrading Treatment or Punishment (CAT) provides, “No State Party shall expel, return (“refouler”) or extradite
a person to another State where there are substantial grounds for believing that he would be in danger of being
subjected to torture.” See Foreign Affairs Reform and Restructuring Act of 1998, Pub. L. No. 105-277, § 2242, 112
Stat. 2681, 2681-2822 (8 U.S.C. § 1231 note). Article 3 of the CAT likewise is understood in U.S. law as requiring a
“more likely than not” standard. See, e.g., Auguste v. Ridge, 395 F.3d 123, 149 (3d Cir. 2005) (citing Senate
Resolution, 136 Cong. Rec. S17,486, S17491-92 (daily ed. 1990)). These non-refoulement obligations are non-self-
executing, see, e.g., Khan v. Holder, 584 F.3d 773, 783 (9th Cir. 2009) (1967 Refugee Protocol); Al-Fara v.
Gonzales, 404 F.3d 733, 743 (3d Cir. 2005) (CAT), and are not specifically required by statute with respect to MPP
returns.
30
   The policy and operational guidance was published on an MPP website and took the form of a series of
memoranda that provided clarity on matters like access to counsel during the non-refoulement interview, the
importance of maintaining family unity, and more consistent application of the “known mental and physical health”
exclusion for enrollment in MPP. DHS, Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocols Guidance, Initial Document
Service (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocol Guidance, MPP Amenability (Dec. 7,
2020).
31
   DHS, “Assessment of the Migrant Protection Protocols (MPP),” Oct. 28, 2019,
https://www.dhs.gov/publication/assessment-migrant-protection-protocols-mpp [hereinafter Oct. 2019 Assessment].
32
   Id.

                                                          8

                                                                                            Venezuela AR_000227
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 134 of 222




screening protocols in place were appropriately assessing noncitizens’ fear of persecution or
torture in Mexico.

        The public October 2019 Assessment presented MPP as a resounding success, whereas
the internal Red Team Report raised serious concerns with the program. Notably, the October
2019 Assessment did not acknowledge or address any of the shortcomings identified by the Red
Team Report, despite the fact that the Assessment was released after the Red Team Report was
completed.

          C. Litigation Regarding the Prior Implementation of MPP

        MPP was challenged many times on multiple grounds in federal court and remains the
subject of ongoing litigation in several jurisdictions. Among other claims, litigants challenged
the program as an impermissible exercise of the underlying statutory authority; argued that MPP
caused DHS to return noncitizens to Mexico to face persecution, abuse, and other harms and that
its procedures inadequately implemented non-refoulement protections; argued that their right to
access counsel before and during non-refoulement interviews had been violated; contested the
return to Mexico pursuant to MPP of noncitizens with mental and physical disabilities; asserted
that the program had been implemented in violation of the APA; and contended that MPP’s
expansion across the SWB was unlawful because it led to the return of migrants to places that
were particularly dangerous.33 Both in the course of litigation and otherwise, litigants described,
and some courts credited, extreme violence and substantial hardships faced by those returned to
Mexico to await their immigration court proceedings, as well as substantial danger traveling to
and from ports of entry to those hearings. Litigants described being exposed to violent crime,
such as rape and kidnapping, as well as difficulty obtaining needed support and services in
Mexico, including adequate food and shelter.34 In addition, more than one hundred MPP
enrollees who received final orders of removal have petitioned the federal courts of appeal for
review of such orders on the grounds that various features of MPP, including limited access to




33
   See, e.g., Innovation Law Lab v. Wolf, 951 F.3d 1073 (9th Cir. 2020), vacated as moot, 5 F.4th 1099 (9th Cir.
2021); Bollat Vasquez v. Wolf, 520 F. Supp. 3d 94 (D. Mass. 2021); Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal.
2020); E.A.R.R. v. Dep’t of Homeland Sec., No. 3:20-cv-2146 (S.D. Cal. filed Nov. 2, 2020); Adrianza v. Trump,
505 F. Supp. 3d 164 (E.D.N.Y. 2020), dismissed, No. 1:20-cv-03919 (E.D.N.Y. Sept. 2, 2021); Nora v. Wolf, No.
20-993, 2020 WL 3469670 (D.D.C. June 25, 2020); Turcios v. Wolf, No. 1:20-cv-1982, 2020 WL 10788713 (S.D.
Tex. Oct. 16, 2020).
34
   For example, in Innovation Law Lab v. Wolf, the Ninth Circuit observed:
          The MPP has had serious adverse consequences for the individual plaintiffs. Plaintiffs presented evidence
          in the district court that they, as well as others returned to Mexico under the MPP, face targeted
          discrimination, physical violence, sexual assault, overwhelmed and corrupt law enforcement, lack of food
          and shelter, and practical obstacles to participation in court proceedings in the United States. The hardship
          and danger to individuals returned to Mexico under the MPP have been repeatedly confirmed by reliable
          news reports.
951 F.3d at 1078; see also Bollat Vasquez, 520 F. Supp. 3d at 111–12 (describing plaintiffs’ unrebutted descriptions
of rape, death threats, kidnapping risks, and insufficient food and shelter as supported by the U.S. State
Department's assignment to Tamaulipas of a “Level 4: Do Not Travel” warning “due to crime and kidnapping”).

                                                           9

                                                                                             Venezuela AR_000228
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 135 of 222




counsel and inability to access court hearings, prejudiced their ability to pursue relief in removal
proceedings.35

          D. Suspension of New Enrollments and Phased Strategy for the Safe and Orderly Entry
             of Individuals Subjected to MPP

       On January 20, 2021, Acting Secretary David Pekoske issued a memorandum suspending
new enrollments into MPP, effective January 21, 2021, pending further review of the program.36
The MPP Suspension Memorandum was followed by the President’s issuance of EO 14010 on
February 2, 2021, which, in addition to requiring the Secretary to review the program, directed
the Secretary to “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”37

        From February 19, 2021, until the effective date of the district court’s order on August
25, 2021, DHS implemented a phased process for the safe and orderly entry into the United
States of thousands of individuals who had been placed in MPP and remained outside the United
States.38 Certain individuals whose removal proceedings were pending before EOIR or whose
proceedings resulted in an in absentia order of removal or termination, and certain of their
immediate family members, were processed into the United States to continue their Section 240
removal proceedings.39 About 13,000 individuals were processed into the United States to
participate in Section 240 removal proceedings as a result of this process.40

          E. Challenge to the Suspension and Termination

        On April 13, 2021, the States of Missouri and Texas filed suit in the U.S. District Court
for the Northern District of Texas, challenging the suspension of new enrollments into MPP on
the grounds that the January 20, 2021, suspension memorandum violated the APA, 8 U.S.C.
§ 1225, the Constitution, and a purported agreement between Texas and the federal government.

35
   See, e.g., Hernandez Ortiz v. Garland, No. 20-71506 (9th Cir. filed Mar. 15, 2021) (describing repeated failed
attempts to contact legal service providers from within Mexico and ultimately agreeing to proceed pro se because
the alternative was to wait longer in Mexico at continued risk to the family’s safety); Del Toro v. Garland, No. 20-
60900 (5th Cir. filed Dec. 14, 2020) (explaining that MPP restricted access to counsel, which prevented the
individual from filing an update State Department country report on Cuba for his individual hearing); Del Carmen
Valle v. Garland, No. 20-72071 (9th Cir. filed July 16, 2020) (arguing that the individual’s “extreme distress and
vulnerability in Mexico, lack of access to counsel, and difficulty in preparing and presenting her asylum application”
as grounds for appeal).
36
   MPP Suspension Memorandum, supra note 4.
37
   Exec. Order No. 14010, 86 Fed. Reg. at 8270.
38
   See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
39
   Id.; Press Release, DHS, “DHS Announces Expanded Criteria for MPP-Enrolled Individuals Who Are Eligible for
Processing into the United States,” June 23, 2021, https://www.dhs.gov/news/2021/06/23/dhs-announces-expanded-
criteria-mpp-enrolled-individuals-who-are-eligible-processing.
40
   Data on the number of people permitted to enter the United States under this phased process, February 19-August
25, 2021, provided by the Department of State on October 24, 2021.

                                                         10

                                                                                            Venezuela AR_000229
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 136 of 222




Subsequent to the Secretary’s June 1, 2021, termination memorandum, Missouri and Texas
amended their complaint to challenge the June 1 Memorandum and filed a motion to enjoin the
memorandum.

         On August 13, 2021, the district court issued a nationwide permanent injunction requiring
DHS “to enforce and implement MPP in good faith” until certain conditions were satisfied.41
The district court determined that the June 1 Memorandum was arbitrary and capricious because,
according to the court, the Department ignored critical factors and reached unjustified
conclusions. In particular, the district court found that the June 1 Memorandum failed to
sufficiently account for several considerations, including the prior administration’s assessment of
the benefits of MPP; warnings allegedly made by career DHS personnel during the presidential
transition process that suspending MPP would lead to a surge of border crossers; the costs of
terminating MPP to the States as well as their reliance on MPP; the impact that terminating MPP
would have on the Department’s ability to comply with detention provisions in the INA, which
the court construed to require detention and to foreclose release based on detention capacity
concerns; and modifications to MPP short of termination that could similarly achieve the
Department’s goals.42 As a result, the district court enjoined the June 1 Memorandum in its
entirety and “remanded” it to the Department for further consideration.43 The district court
denied a request for a stay of the injunction pending appeal, and the U.S. Court of Appeals for
the Fifth Circuit and the Supreme Court of the United States also denied stays.44 As a result, the
district court’s order, as construed by the Fifth Circuit, went into effect at 12:01 a.m. on August
25, 2021.

        Since August, the Department has worked actively to reimplement MPP in good faith, as
required by the district court’s order.45 At the same time, pursuant to the district court’s order and
in continuing compliance with the President’s direction in EO 14010, the Secretary has
considered anew whether to maintain, terminate, or modify MPP in various ways.

      III.   Evaluation of MPP

       In considering whether to maintain, terminate, or modify MPP anew, the Department
considered, among other things, the decisions of the Texas district court, Fifth Circuit, and
Supreme Court; the decisions of multiple other courts in litigation challenging MPP or its
termination; the briefs and declarations filed in all such lawsuits pertaining to MPP; various
Departmental assessments of MPP, including both the Red Team Report and agency responses
and the October 2019 Assessment; a confidential December 2019 Rapid Protection Assessment
from the U.N. High Commissioner for Refugees (UNHCR) and publicly available sources of
information, including news reports and publicly available sources of information, pertaining to
conditions in Mexico; records and testimony from Congressional hearings on MPP and reports
41
   Texas, 2021 WL at 3603341, at *27 (emphasis in original).
42
   Id. at *17-22.
43
   Id. at * 27.
44
   See Biden v. Texas, No. 21A21, 2021 WL 3732667 (U.S. Aug. 24, 2021); Texas v. Biden, 10 F.4th 538 (5th Cir.
2021).
45
   See Declaration of Blas Nuñez-Neto, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021); Defendants’ First
Supplemental Notice of Compliance with Injunction, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021).

                                                       11

                                                                                         Venezuela AR_000230
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 137 of 222




by nongovernmental entities; and data regarding enrollments in MPP, encounters at the border,
and outcomes in removal proceedings conducted for MPP enrollees; and the impact of other
government programs and policies concerning migration and the southern border. In addition,
over the course of several months, the Secretary and his staff met with a broad array of internal
and external stakeholders with divergent views about MPP, including members of the DHS
workforce engaged in border management, state and local elected officials across the border
region, including from Texas, California, Arizona, and New Mexico, border sheriffs and other
law enforcement officials, representatives from multiple nonprofit organizations providing legal
access and humanitarian aid to noncitizens across the SWB, and dozens of Members of Congress
focused on border and immigration policy. The Secretary also assessed other migration-related
initiatives the Administration is undertaking or considering undertaking. And he examined the
considerations that the district court determined were insufficiently addressed in the June 1
Memorandum, including the view that MPP discouraged unlawful border crossings, decreased
the filing of non-meritorious asylum claims, and facilitated more timely relief for asylum
seekers, as well as predictions that termination of MPP would lead to a border surge, impose
undue costs on states, put a strain on U.S.-Mexico relations, and cause DHS to fail to comply
with its obligations under 8 U.S.C. § 1225.

       After carefully considering the arguments, evidence, and perspectives of those who
support resuming MPP, with or without modification, as well as those who support termination,
the Secretary has determined that MPP should be terminated. The following outlines the
considerations that informed the Secretary’s decision.

          A. Conditions for Migrants in Mexico

       In January 2019, the Department implemented MPP with the stated expectation that
vulnerable populations would get the protection they needed while they waited in Mexico during
the pendency of their removal proceedings.46 In practice, however, there were pervasive and
widespread reports of MPP enrollees being exposed to extreme violence and insecurity at the
hands of transnational criminal organizations that prey on vulnerable migrants as they waited in
Mexico for their immigration court hearings in the United States. These security concerns,
together with barriers many individuals faced in accessing stable and safe housing, health care
and other services, and sufficient food, made it challenging for some to remain in Mexico for the
duration of their proceedings. Notably, the United States has limited ability to fix these issues,
given that they relate to migrant living conditions and access to benefits in Mexico—an
independent sovereign nation.

         Concerns about migrants’ safety and security in Mexico, and the effect this had on their
ability to attend and effectively participate in court proceedings in the United States, have been
highlighted in internal Department documents, court filings, and a range of external studies and
press reports. In its internal evaluation of the program, the Department’s Red Team Report
emphasized the need for safe housing for vulnerable populations.47 The Ninth Circuit, in
affirming a district court ruling that enjoined implementation of MPP, determined that
46
   See Nielsen Release, supra note 14; see also Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec.,
Policy Guidance for Implementation of the Migrant Protection Protocols (Jan. 25, 2019).
47
   Red Team Report, supra note 27, at 7.

                                                      12

                                                                                      Venezuela AR_000231
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 138 of 222




“[u]ncontested evidence in the record establishes that non-Mexicans returned to Mexico under
the MPP risk substantial harm, even death, while they await adjudication of their applications for
asylum.”48 A Massachusetts district court similarly described the plaintiffs’ claims of extreme
violence and insecurity in Mexico and observed that “[t]heir personal accounts are unrebutted
and are supported by affidavits from employees of two nongovernmental organizations and the
U.S. State Department’s assignment to Tamaulipas of a ‘Level 4: Do Not Travel’ warning ‘due
to crime and kidnapping.’”49 The court further cited a Human Rights First report that included a
list of 1,544 allegations of serious harm (including homicide, rape, and kidnapping) faced by
individuals placed in MPP from January 2019 to February 2021.50

        Multiple other reports have similarly highlighted security and treatment concerns. A
December 2019 UNHCR Rapid Protection Assessment found that 81% of individuals and
families returned to Mexico under MPP did not feel safe in Mexico, and that 48% had been a
victim or witness of violence in Mexico.51 According to this assessment, children represented
about half (48%) of targets for physical violence, and about half (48%) of kidnapping victims.52
The organization Médecins Sans Frontières (Doctors Without Borders) noted that 75% of its
patients who were in Nuevo Laredo in October 2019 due to MPP reported having been
kidnapped.53 In 2019, a U.S. Commission on Civil Rights report similarly credited several news
and NGO reports in noting that “asylum seekers [awaiting proceedings in Mexico] have been
killed, women have been raped, and children have been kidnapped.”54 Similar accounts of
insecurity and violence were the subject of numerous press reports describing squalor and
violence in the “camps” where many MPP enrollees lived as they waited their court hearings.55
But as bad as conditions often were in the makeshift border camps, migrants gathered there
because the threat of violence and kidnapping in surrounding areas outside of the camps could be

48
   Innovation Law Lab, 951 F.3d at 1093.
49
   Bollat Vasquez, 520 F. Supp. 3d at 111-12 (issuing a preliminary injunction ordering the Department to return to
the United States seven plaintiffs who had been enrolled in MPP).
50
   Human Rights First, Delivered to Danger; Trump Administration sending asylum seekers and migrants to danger,
Feb. 19, 2021, https://www.humanrightsfirst.org/campaign/remain-mexico; see Bollat Vasquez, 520 F. Supp. 3d at
99 n.10 (citing a declaration by Kennji Kizuka, Senior Researcher and Policy Analyst at Human Rights First,
regarding an earlier version of this list explaining that “‘[a]s of December 15, 2020, Human Rights First has
identified 1,314 public reports of murder, torture, rape, kidnapping, and other violent assaults against asylum seekers
returned to Mexico under MPP’ and that ‘the security situation in Mexico, including in the state of Tamaulipas has
worsened’ with one of Mexico’s ‘most powerful and violent cartels’ reportedly increasing its activities in
Tamaulipas and migrants in Matamoros and Nuevo Laredo have been repeatedly targeted’”).
51
   UNHCR, Rapid Protection Assessment: MPP Returnees at the Northern Border of Mexico 15, Dec. 2019. The
UNHCR assessment, shared confidentially with the United States government, is cited here with the express
permission of UNHCR.
52
   According to the UNHCR survey, it did not take long for MPP enrollees to experience danger in Mexico. Just
over half of the individuals surveyed (51%) had been in Mexico for less than one month and more than nine-in-ten
had been in Mexico for less than three months. Id. at 7, 17.
53
   Médecins Sans Frontières, The devastating toll of ‘Remain in Mexico’ asylum policy one year later, Jan. 29, 2020,
https://www.msf.org/one-year-inhumane-remain-mexico-asylum-seeker-policy; cf. Emily Green, Trump’s Asylum
Policies Sent Him Back to Mexico. He was Kidnapped 5 Hours Later By a Cartel., Vice, Sept. 16, 2019.
54
   U.S. Commission on Civil Rights, Trauma at the Border; The Human Cost of Inhumane Immigration Policies,
Oct. 2019, https://www.usccr.gov/files/pubs/2019/10-24-Trauma-at-the-Border.pdf.
55
   See, e.g., Dickerson, supra note 19; Jordan, supra note 19; Merchant, supra note 19; This American Life, The Out
Crowd, Nov. 15, 2019, https://www.thisamericanlife.org/688/transcript.

                                                          13

                                                                                            Venezuela AR_000232
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 139 of 222




greater.56 Poor conditions and violence in the Matamoros camp also created an operational
challenge when migrants at the camp blocked traffic in both directions on the Gateway
International Bridge for hours as a sign of protest.57 The security and treatment of MPP
enrollees also been the subject of congressional oversight and investigation.58

         The adverse living conditions and violence experienced by migrants returned to Mexico
pursuant to MPP are of grave concern to the Secretary. The return of noncitizens to Mexico
under MPP is predicated, by statute, upon individuals’ ability to remain in Mexico during the
pendency of their removal proceedings.59 In practice, however, myriad problems faced by
noncitizens returned to Mexico impeded their ability to access those removal proceedings. As a
result, the Secretary has determined that the key predicate on which the statutory authority
underlying the program is built—that noncitizens stay in Mexico and continue to participate in
their removal proceedings—was upended by reality in too many cases. This is an intolerable
result that is inconsistent with this Administration’s values, which include ensuring the rights of
migrants to seek lawful protection from removal in a safe environment.

       Moreover, these are problems that cannot easily be fixed. Once migrants are returned to
Mexico—an independent sovereign nation—the United States’ ability to respond and provide
adequate conditions and safety is diminished.

          B. Non-Refoulement Concerns

        Concerns about the non-refoulement process under MPP as it was previously
implemented and the additional costs and resources that would be required to address those
concerns also weigh against continued reliance on MPP. As previously designed and
implemented, MPP’s non-refoulement screening process—used to assess whether individuals
would likely face persecution on account of a protected ground or torture in Mexico—was
limited in at least four respects.

       First, as originally implemented, individuals processed for MPP were not questioned by
CBP about their fear of persecution or torture in Mexico, but were instead required to
affirmatively articulate such a fear regarding return to Mexico—a sharp contrast to the approach



56
   See, e.g., María Verza and Fernanda Llano, Lawless Limbo Within Sight of America, Associated Press, Nov. 18,
2019; Delphine Schrank, Asylum seekers cling to hope, safety in camp at U.S.-Mexico Border, Reuters, Oct. 16,
2019, https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY.
57
   Adolfo Flores, “Asylum-Seekers Protesting Squalid Conditions Shut Down A US Border Crossing For 15 Hours,”
Buzzfeed, Oct. 11, 2019, https://www.buzzfeednews.com/article/adolfoflores/asylum-seekers-protesting-bridge-
close-matamoros-texas.
58
   See, e.g., Press Release, H. Comm. on the Judiciary, “Chairman Nadler Announces House Judiciary Investigation
into Trump Administration’s ‘Remain in Mexico’ Policy,” Jan. 14, 2020,
https://judiciary.house.gov/news/documentsingle.aspx?DocumentID=2397; Examining the Human Rights and Legal
Implications of DHS’s “Remain in Mexico” Policy: Hearing Before the H. Comm. on Homeland Sec., 116th Cong.
passim (2019).
59
   See 8 U.S.C. § 1225(b)(2)(C) (specifying that the Secretary may return a noncitizen to a contiguous territory
“pending a proceeding under [8 U.S.C. §] 1229a”).

                                                      14

                                                                                       Venezuela AR_000233
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 140 of 222




used in the expedited removal context, in which individuals are affirmatively asked standard
questions about fear of return to their home countries and the responses are recorded.60

         Second, rather than using a screening standard familiar to asylum officers (such as the
“significant possibility” standard used for credible fear interviews or the “reasonable possibility”
standard used for reasonable fear interviews to screen for possible withholding or deferral of
removal claims), non-refoulement screenings for MPP applied a more restrictive “more likely
than not” standard.61 Under this standard, noncitizens had to demonstrate to an asylum officer
that it was more likely than not that they would be persecuted or tortured if returned to Mexico in
order to avoid a return to Mexico—a higher substantive standard than they would ultimately
have had to establish to secure asylum and the same substantive standard they would have had to
establish to an immigration judge if they were ineligible for asylum but were seeking
withholding or deferral of removal under the INA or regulations implementing CAT.

         Third, the Department did not initially allow counsel to participate in the non-refoulement
interviews.62 This differs from how fear interviews are conducted during the expedited removal
process; in that context, noncitizens receive at least at 48-hour period to find and consult with a
legal representative.63 Eventually, and in part as response to a district court order, these
restrictions were eased.64



60
   See 8 C.F.R. § 235.3(b)(2). Importantly, even if migrants processed for MPP expressed a fear of repatriation to
their home country, they were never asked about any fear of being returned to Mexico. Assessing this feature of the
program, Judge Watford of the U.S. Court of Appeals for the Ninth Circuit stated in Innovation Law Lab that it was
“virtually guaranteed to result in some number of applicants being returned to Mexico in violation of the United
States’ non-refoulement obligations,” as many individuals returned under MPP who feared persecution or torture in
Mexico would “be unaware that their fear of persecution in Mexico is a relevant factor in determining whether they
may lawfully be returned to Mexico, and hence is information they should volunteer to an immigration officer.
Innovation Law Lab v. McAleenan, 924 F.3d 503, 511 (9th Cir. 2019) (Watford, J. concurring).
61
   Prior to MPP implementation, this standard had been used almost exclusively by immigration judges to adjudicate
statutory withholding of removal or withholding or deferral of removal under regulations implementing the
Convention Against Torture (CAT). See 8 C.F.R. §§ 208.16(a), (c)(4); 208.17(b)(1); 208.31(c); 1208.16(b);
1208.17(b). It was, as a result, not a standard that had previously been used by asylum officers in the screening
context, which resulted in additional, burdensome training and implementation requirements.
62
   U.S Citizenship and Immigration Services, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, PM-602-0169 3 (Jan. 28, 2019) (“DHS is currently
unable to provide access to counsel during the [non-refoulement] assessments given the limited capacity and
resources at ports-of-entry and Border Patrol stations as well as the need for the orderly and efficient processing of
individuals.”). This differs from how fear interviews are conducted during the expedited removal process; in that
context, noncitizens receive at least at 48-hour period to find and consult with a legal representative. See Form M-
444, Information about Credible Fear Interview (May 17, 2019).
63
   See Form M-444, Information about Credible Fear Interview (May 17, 2019).
64
   Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal. 2020). Previously retained counsel were permitted to participate in
non-refoulement interviews conducted at Immigration Hearing Facilities (IHFs) in Laredo and Brownsville as of
December 2019 and within the Ninth Circuit in January 2020. Supplemental guidance issued in December 2020
expanded this access to counsel to all MPP locations and required DHS to ensure the ability of retained counsel to
participate telephonically in USCIS’ MPP non-refoulement assessments, but only “where it does not delay the
interview, or is required by court order.” Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols, supra note 30, at 1-2.

                                                         15

                                                                                            Venezuela AR_000234
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 141 of 222




       Fourth, in practice, there were multiple challenges and inconsistencies in the
implementation of non-refoulement screenings. The Red Team Report emphasized the need for
standard operating procedures to ensure consistency and address problems such as the use of a
“pre-screening process” by CBP personnel at some locations that “preempt[ed] or prevent[ed]”
USCIS from ever having cases referred for a determination.65 The report additionally noted that
some CBP officials “pressure[d] USCIS to arrive at negative outcomes when interviewing
migrants on their claim of fear of persecution or torture.”66

       Moreover, throughout the use of MPP, more than 2,500 individuals raised fear claims at
multiple points in this process, leading to multiple screenings for those individuals during the
pendency of their cases.67 These kinds of unproductive, redundant screenings are a drain on
resources that may be more likely to occur in MPP as individuals are returned to Mexico
multiple times over the pendency of a single removal proceeding, often to unsafe conditions.

        For all these reasons, the Secretary has concluded that continuation of MPP in its prior
form is not advisable. These concerns likely could be addressed by policy changes that require
the affirmative asking, the use of a more appropriate screening standard that protects those who
face a reasonable or significant possibility of persecution or torture upon return to Mexico, the
opportunity for individuals to consult with counsel prior to screenings, and better training and
oversight. But making these changes would likely lengthen the screenings and require DHS to
devote additional asylum officers and detention space to these screenings, both of which are in
short supply, especially as a result of challenges related to the COVID-19 pandemic. New
procedures could lengthen the screening process. Such an approach would divert critical
personnel and resources from other Administration priorities, including ongoing efforts to build a
more durable, fair, and efficacious asylum system as discussed in greater detail in Section IV.
The additional burdens that would be required to implement a non-refoulement process
acceptable to the Department weigh against retention of MPP. Moreover, even if making these
changes better protected individuals from being returned to persecution or torture, it would not
protect people from generalized violence or other extreme hardships that have no nexus to
statutorily protected grounds, and that have been experienced by many returnees.

          C. Access to Counsel, Notice of Hearings, and Other Process Concerns

       Individuals in MPP faced multiple challenges accessing counsel and receiving sufficient
information about court hearings. First, there were several problems in communicating accurate
and up-to-date information to migrants about rescheduled court hearings. As noted in the Red
Team Report, some migrants in MPP had to give up their shelter space in Mexico when they
returned to the United States for their court hearings. As a result, they were unable to provide
the court an address for follow-up communications.68 To submit a change of address while in
Mexico, migrants had to print and mail a Change of Address Form, which posed logistical
challenges for individuals who lacked internet access and who could not readily print and mail

65
   Red Team Report, supra note 27, at 6.
66
   Id. at 4-5.
67
   Data on MPP Cases with Multiple Referrals, provided by USCIS on October 28, 2021.
68
   Red Team Report, supra note 27, at 7.

                                                     16

                                                                                       Venezuela AR_000235
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 142 of 222




documents internationally. This made it difficult to communicate updates regarding enrollees’
court cases and hearing dates.

        Second, MPP enrollees faced several barriers in accessing counsel both in the United
States and in Mexico. Although MPP enrollees were permitted to meet with counsel at hearing
locations prior to their hearings, these meetings were limited to a single hour before the court
hearing took place.69 Opportunities for attorneys to meet with their clients outside of those
organized at the hearing locations were limited due to, among other constraints, complications
associated with cross-border communication. Many migrants lacked access to a telephone with
international coverage or other forms of technology that could be used to communicate with
counsel. Some legal services organizations also adopted policies against visiting clients in
Mexico due to serious safety concerns.70 In addition, because hearings for the tens of thousands
of people enrolled in MPP were concentrated in a handful of courts along the border, demand for
legal assistance far outstripped supply.71

        These problems are of significant concern to the Secretary. Inadequate access to counsel
casts doubt on the reliability of removal proceeding. It also undermines the program’s overall
effectiveness at achieving final resolution of immigration proceedings; in several cases,
noncitizens challenged adverse immigration-judge decisions on the ground that they did not have
an adequate opportunity to identify and retain counsel, or to gather or present the evidence in
support of their claims.72 More broadly, access to counsel is critical to ensuring migrants receive
a full and fair hearing; this Administration recognizes the importance of access to counsel in civil
contexts, including in immigration proceedings, and considers fostering legal representation and
access to justice a priority.73

       Meanwhile, some of these flaws are exceedingly challenging to fix. While migrants
could be provided additional means to communicate from Mexico with counsel by video or
telephone, doing so requires a significant expenditure of resources to ensure that the appropriate
technology is available in Mexico. In-person consultations are significantly constrained by the

69
   See U.S. Immigration and Customs Enforcement, Migrant Protection Protocols Guidance 3 (Feb. 12, 2019). As
noted above, DHS also did not initially allow counsel to participate in non-refoulement interviews conducted by
USCIS.
70
   See Brief for the Laredo Project, et al. as Amici Curiae Supporting Respondents at 20-21, Wolf v. Innovation Law
Lab, No. 19-1212 (Jan. 22, 2021) (“The Laredo Project considered providing assistance across the border in Nuevo
Laredo, but determined that it was far too dangerous. When Laredo Project attorneys took an exploratory trip across
the border, the local pastor with whom they were scheduled to meet (who ran a shelter for migrants) was missing; he
had been kidnapped by cartel members, reportedly because he attempted to stop them from kidnapping Cuban
asylum seekers.”).
71
   Human Rights Watch, We Can’t Help You Here”; U.S. Returns of Asylum Seekers to Mexico, July 2, 2019,
https://www.hrw.org/report/2019/07/02/we-cant-help-you-here/us-returns-asylum-seekers-mexico (“[U]nder the
MPP, thousands of asylum seekers have been forcibly concentrated in El Paso and San Diego, overwhelming the
limited number of immigration attorneys who practice there.”).
72
   See supra note 35.
73
   White House, “FACT SHEET: President Biden to Sign Presidential Memorandum to Expand Access to Legal
Representation and the Courts,” May 18, 2021, https://www.whitehouse.gov/briefing-room/statements-
releases/2021/05/18/fact-sheet-president-biden-to-sign-presidential-memorandum-to-expand-access-to-legal-
representation-and-the-courts/.

                                                        17

                                                                                          Venezuela AR_000236
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 143 of 222




reality that migrants are in Mexico and space for meetings with counsel to take place at ports of
entry or upon their return to court is extremely limited. Providing migrants with additional time
to consult with attorneys would likely require them to spend a night in detention, which would
also place additional strain on CBP facilities that have consistently been operating over their
COVID restricted capacity. In fact, the holding areas in six out of nine Border Patrol Sectors are
over COVID-capacity as of October 27, 2021.74

          D. Impacts of MPP on Immigration Court Appearance Rates and Outcomes

        The Department’s October 2019 Assessment of MPP concluded that MPP was “restoring
integrity to the immigration system” by (1) providing bona fide asylum seekers the opportunity
to obtain relief in months, not years, and (2) eliminating the “perverse incentives” that reward
and encourage people with non-meritorious asylum claims to enter the United States.75 But upon
further consideration and examination, the facts tell a more complex story, thus undermining the
claimed benefits.

        MPP did result in some removal proceedings being completed more expeditiously than is
typical for non-detained cases. Overall, 41 percent of MPP cases resulted in a final enforcement
disposition as of June 30, 2021, versus 35 percent of comparable non-MPP cases.76 But the fact
that MPP may have resolved cases more quickly does not mean that the cases were resolved
fairly or accurately. The integrity of the nation’s immigration system should be assessed by
whether immigration proceedings achieve fair and just outcomes, both for individuals who merit
relief and those who do not. In the Secretary’s judgment, the data show that MPP generally failed
to meet that bar.

         Importantly, noncitizens in MPP were substantially more likely to receive in absentia
removal orders than comparable noncitizens who were not placed in MPP during the relevant
time period. Overall, of the 67,694 cases of individuals enrolled in MPP,77 21,818 were subject
to an in absentia order of removal at some point during their removal proceedings—32 percent
of all individuals enrolled in MPP.78 For comparable noncitizens who were not processed

74
   Data on holding area capacity by U.S. Border Patrol Sector, provided by CBP on October 28, 2021.
75
   Oct. 2019 Assessment, supra note 31, at 3, 6.
76
   For the purposes of this memorandum, comparable noncitizens or comparable non-MPP cases are defined as non-
Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and
January 20, 2021, were not enrolled in MPP and were not detained throughout the pendency of their proceedings.
Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is based on a comprehensive
person-level analysis of DHS and EOIR enforcement and adjudication records. See Marc Rosenblum and Hongwei
Zhang, Fiscal Year 2020 Enforcement Lifecycle Report (Dec. 2020) [hereinafter FY 2020 Enforcement Lifecycle
Report].
77
   Id. This is based on DHS’s Office of Immigration Statistics (OIS) analysis of MPP cases; this analysis excludes
345 cases originally identified as MPP enrollees in CBP data because the records are for unaccompanied children,
accompanied minors, or Mexican nationals, all of whom are ineligible for the program, or because the records could
not be matched to other administrative data.
78
   In his June 1 Memorandum, the Secretary referenced a 44% in absentia rate for this time period. The Department
has since updated its methodology for measuring in absentia rates in two important ways. First, the Department did
not count in absentia orders that were subject to subsequent motions to reopen or any other further action by DHS or


                                                        18

                                                                                          Venezuela AR_000237
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 144 of 222




through MPP during that same time period and who were also not detained for the duration of
their proceedings, the in absentia rate was 13 percent—about two-fifths the rate of the MPP
group.79

        Moreover, an additional 6,151 MPP cases were terminated by the immigration court.80
Courts generally issued such orders in MPP cases when a noncitizen failed to appear but the
immigration judge declined to issue an in absentia removal given concerns that the noncitizen
did not have proper notice of how to attend his or her hearing.81 Including these cases brings the
total number of cases of individuals in MPP that involved the issuance of an in absentia order of
removal or termination to 27,969 (41 percent of all MPP cases and nearly three-and-a-half times
higher than the in absentia rate for comparable noncitizens not enrolled in MPP).82

       The fact that in absentia removal order rates (and in absentia removal order rates plus
termination rates) were considerably higher for MPP cases than for comparable non-MPP cases
might not, by itself, indicate a problem with MPP. For instance, the October 2019 Assessment
concluded that MPP was incentivizing people without meritorious claims to voluntarily leave
Mexico and return home.83 That assessment pointed to the fact that out of more than 55,000
MPP enrollees (at that time), only 20,000 were sheltered in northern Mexico and an additional
900 had returned home through International Organization for Migration’s Assisted Voluntary
Return program.



DOJ, thus undercounting the total number of in absentia orders that had been issued. Second, the in absentia rate of
44 percent only included cases in which there was a final disposition, rather than the full universe of MPP cases
including those that were still pending, thus overstating the percentage. The updated numbers in this memorandum,
by contrast, take into account the total number of in absentia orders issued in MPP cases, irrespective of whether
there was a subsequent motion to reopen or other further action in the case, as well as the total number of MPP
cases, including both active cases and those with a final disposition. This analysis captures all in absentia orders and
compares them to the full set of MPP cases.
79
   Id.
80
   For individuals in removal proceedings under Section 240 of the INA who are not in MPP, termination of
proceedings is frequently reported by DHS OIS as a form of relief because it generally marks the end of efforts to
remove the noncitizen from the country. That situation is very different for noncitizens enrolled in MPP, who are
outside of the country during the pendency of removal proceedings and have no basis upon which to seek admission
to the United States once proceedings are terminated.
81
   Matter of Herrera-Vasquez, 27 I&N Dec. 825 (BIA 2020); Matter of Rodriguez-Rodriguez, 27 I&N Dec. 762
(BIA 2020).
82
   The district court in Texas v. Biden cited EOIR data indicating that in absentia rates in removal proceedings were
also quite high in 2015 and 2017—42% and 47% percent, respectively. 2021 WL 3603341, at *21. But there are
critical methodological differences between the ways in which these numbers are calculated and the in absentia rates
presented in this memorandum. As explained in note 77, supra, the data presented in this memorandum measure in
absentia rates as a share of the total number of cases. The EOIR data measures in absentia orders as a share of
completed cases only, which excludes cases that remain ongoing that are disproportionately likely to not result in
such orders. See Ingrid Eagley and Steven Shafer, Measuring In Absentia Removal in Immigration Court, American
Immigration Council, Jan. 2021, https://www.americanimmigrationcouncil.org/research/measuring-absentia-
removal-immigration-court. A recalculation of the 2015 and 2017 in absentia rates as a share of total cases referred
to EOIR in those years yields rates of 21 percent and 20 percent, respectively. This is one-half the in absentia and
termination rate found in MPP cases.
83
   Oct. 2019 Assessment, supra note 31, at 3.

                                                          19

                                                                                             Venezuela AR_000238
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 145 of 222




         Other reports suggest, however, that individuals abandoned claims or otherwise failed to
appear for proceedings because of insecurity in Mexico and inadequate notice about court
hearings.84 The difficulties that MPP enrollees faced in Mexico, including the threat of violence
and kidnapping, coupled with inadequate and unreliable access to food and shelter, likely
contributed to people placed in MPP choosing to forego further immigration court proceedings
regardless of whether their cases had merit. Indeed, a number of petitions for review filed in
federal courts of appeals by individuals in MPP who received in absentia removal orders explain
their failure to appear based on serious threats to their personal safety.85

        While individuals in MPP were more likely to receive in absentia removal orders than
comparable noncitizens not enrolled in MPP, they were also less likely to receive relief or
protection from removal. This was true even though the decision to place someone in MPP was
not linked to any assessment of the likely merits of the individual’s claim. DHS data reflect that
only 732 individuals enrolled in MPP out of 67,694 cases were granted relief or protection from
removal—a grant rate of just 1.1.86 For the comparable set of non-MPP cases from the same
time period, the relief-granted rate was nearly two-and-a-half times as high (2.7 percent).87

       The remarkably low 1.1 percent grant rate for MPP cases—the majority of which
involved individuals from the Northern Triangle countries of Central America—is notable also
because when MPP was first announced the Department observed that “approximately 9 out of
84
   See, e.g., Kevin Sieff, “They missed their U.S. court dates because they were kidnapped. Now they’re blocked
from applying for asylum.,” Washington Post, Apr. 24, 2021; Camilo Montoya-Galvez, “‘Leave me in a cell’: The
desperate pleas of asylum seekers inside El Paso’s immigration court,” CBS News, Aug. 11, 2019,
https://www.cbsnews.com/news/remain-in-mexico-the-desperate-pleas-of-asylum-seekers-in-el-paso-who-are-
subject-to-trumps-policy/.
85
   See, e.g., Tabera-Columbi v. Garland, No. 20-60978 (5th Cir. filed Oct. 26, 2020) (noting that MPP enrollee had
been sexually assaulted by the police and was in a hospital as a result on the morning of the hearing); Quinones
Rodriguez v. Garland, No. 20-61204 (5th Cir. filed Dec. 17, 2020) (describing an individual who did not attend the
MPP hearing because he was hiding from gangs who threatened to kidnap him on his way to the hearing); Miranda-
Cruz v. Garland, No. 21-60065 (5th Cir. filed Feb. 1, 2021) (describing a family that was kidnapped en route to an
MPP hearing and held for ransom); see also Hamed Aleaziz and Adolfo Flores, “They Missed Their US Asylum
Hearings Fearing the Cartel Would Kill Them. Now They’re Stuck in Mexico,” Buzzfeed, May 18, 2021.
86
   Relief or protection from removal is defined to include EOIR grants of asylum, grants of relief in non-asylum
removal proceedings, withholding of removal, or conditional grants; DHS grants of Special Immigrant Juvenile
(SIJ) status, lawful permanent residence, S, T, or U nonimmigrant status, and Temporary Protected Status (TPS); the
exercise of DHS prosecutorial discretion; and findings by DHS that the subject is a U.S. citizen or lawfully present
noncitizen not subject to removal. See FY 2020 Enforcement Lifecycle Report, supra, note 75.
87
   As discussed in note 79, this figure includes cases that were terminated. For those located in the United States,
termination ends removal proceedings and effectively allows the subject to remain in the United States until further
action is taken. The low relief-granted rates for both the MPP and comparable non-MPP cases are likely the result of
a number of different factors. During this period, a policy was implemented that barred asylum for individuals who
transited through third countries and decisions were issued that limited humanitarian protection claims based on
family membership and gender; these likely depressed grant rates. See Asylum Eligibility and Procedural
Modifications, 84 Fed. Reg. 33,829 (July 16, 2019); Matter of L-E-A-, 27 I&N Dec. 581 (A.G. 2019), vacated, 28
I&N Dec. 304 (A.G. 2021); Matter of A-B-, 27 I&N Dec. 316 (A.G. 2018), vacated, 28 I&N Dec. 307 (A.G. 2021).
Additionally, the period of time being analyzed is both brief and recent. OIS analysis indicates that relief-granted
rates tend to increase over the first three to four years after a case resulting from a credible or reasonable fear claim
is initiated in immigration court. None of this, however, explains the substantial discrepancy in outcomes between
MPP case and comparable non-MPP cases over the same time period. And none of this diminishes the statutory
obligation to fairly assess asylum applications with the goal of producing reliable adjudications.

                                                           20

                                                                                              Venezuela AR_000239
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 146 of 222




10 asylum claims from Northern Triangle countries are ultimately found non-meritorious by
federal immigration judges.”88 DHS does not have a record of the methodology used to generate
this “9 out of 10” statistic. To the contrary, an analysis of EOIR case outcomes for Northern
Triangle asylum-related claims originating in border encounters (i.e., all EOIR removal
proceedings originating with border encounters followed by credible fear or reasonable fear
claims) in the years leading up to MPP yields a relief-granted rate of about 29 percent—
significantly higher than the 10 percent reflected in Department’s January 2019 statement. That
relief-granted rate is more than 26 times the 1.1 percent grant rate observed for all forms of relief
or protection among MPP enrollees. These discrepancies strongly suggest that at least some
MPP enrollees with meritorious claims either abandoned or were unable to adequately present
their claims given the conditions faced by migrants in Mexico and barriers to legal access.89

        Based on the Department’s experience with MPP and informed by the data above, the
Secretary has determined that the program did not succeed in a sufficient number of cases at
achieving timely and reliable adjudication of migrants’ removal proceedings. Multiple features
of MPP, especially combined with the difficulties in accessing counsel and migrants’ living
experience in Mexico as described above, have led the Secretary to conclude that the program
deterred too many meritorious asylum claims at the expense of deterring non-meritorious claims.
Given the Administration’s values, commitments, and policy preferences, the Secretary has
concluded that this is an unacceptable result. Individuals who may have abandoned meritorious
protection claims should have been offered a meaningful opportunity to seek protection in the
United States. As stated above, the return-to-contiguous-territory authority at INA §
235(b)(2)(C) is predicated on the notion that individuals will be able to pursue their removal
proceedings from within Mexico; the fact that so many individuals enrolled in MPP were unable
to complete their proceedings due to their tenuous situation in Mexico undercuts a key
requirement of the statute. As a global leader in offering protection and resettlement to refugees,
the United States also has a moral obligation to fairly consider such claims. The Secretary is
committed to ensuring meritorious claims are heard, even if that means non-meritorious claims
end up being adjudicated as well.

          E. MPP and Recidivist Irregular Re-Entries

         As discussed below, CBP encounters along the SWB decreased dramatically over a
number of months in which MPP was fully operational across the SWB. But the data also show
that a significant share of individuals enrolled in MPP—33 percent as of June 30, 2021—were
subsequently encountered attempting to reenter the country without inspection, rather than
continuing to wait in Mexico for the resolution of their removal proceedings.90 This rate is more

88
   Nielsen Release, supra note 14.
89
   Indeed, that conclusion is not dissimilar to the one reached in the October 2019 Assessment, when the Department
found that “MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens to
assert claims for relief or protection, many of which may be meritless, as a means to enter the United States to live
and work during the pendency of multi-year immigration proceedings.” Oct. 2019 Assessment, supra note 31, at 6
(emphasis added). Implicit in this statement is an acknowledgment that some such claims do have merit.
90
   FY 2020 Enforcement Lifecycle Report, supra note 75. When the Department previously considered this issue in
June, 27 percent of MPP enrollees had been re-encountered by CBP subsequent to their enrollment in MPP (not


                                                         21

                                                                                           Venezuela AR_000240
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 147 of 222




than two-and-a-half times higher than the historical average for recidivism (defined as re-
encounters within 12 months of initial apprehension) of 14 percent for individuals processed
under Title 8 authorities.91 The high rate of repeat encounters undercuts one of MPP’s key
claimed advantages—namely its deterrent effect on would-be border crossers. Contrary to such
claims, the data show that MPP enrollees were much more likely try to cross the border after
being returned to Mexico than individuals who were removed from the country under other Title
8 authorities. Such re-encounters also impose significant additional work on frontline Border
Patrol agents, who had to encounter, track, and process MPP enrollees multiple times—resources
that could and should have been deployed to other objectives.

         F. Investments and Resources Required to Operate MPP

        MPP was, according to the December 2018 announcement, intended to reduce burdens on
border security personnel and resources to free them up to better protect the U.S. territory. It was
also intended to help clear the backlog of unadjudicated asylum claims. In reality, however,
backlogs in the Nation’s immigration courts and asylum offices grew significantly during the
period that MPP was in effect.92 In addition, MPP created substantial additional responsibilities
on Department personnel that detracted from other critically important mission sets. This played
out in numerous ways.

         First, each time an MPP enrollee returns to the United States to attend a court proceeding,
which could happen multiple times over the life of a case, DHS personnel are required to
conduct additional rounds of processing, including biographic and biometric collection, property
collection and return, and medical screenings. None of this is required for those in removal
proceedings in the United States. The labor-intensive process of bringing migrants back into the
United States for their court proceedings directly impacts staffing at the four U.S. ports of entry
where migrants re-entered, taking frontline personnel away from other key missions—such as
facilitating legal cross-border trade and travel.

         Second, in order to implement and operate MPP, the Department devoted significant
resources and personnel to building, managing, staffing, and securing specialized immigration
hearing facilities (IHFs) to support EOIR. During the period when MPP was operational during
the prior Administration, IHFs cost approximately $168 million to build and operate.93 As part
of its current efforts to comply the Texas court order and reimplement MPP in good faith, the
Department has procured new contracts for IHFs, at a cost of approximately $14.1 million to
build and $10.5 million per month to operate.94

counting encounters at POEs in connection with MPP). The increase since then reflects that individuals enrolled in
MPP continued to seek entry without inspection to the United States.
91
   DHS Office of Immigration Statistics data provided on 10/29/2021.
92
   Between January 2019 and January 2021—the period when MPP was operational—the number of pending
immigration court cases increased from 829,200 to 1,283,090 (a 55 percent increase). Data on pending caseload,
provided by EOIR on October 28, 2021. The backlog of pending affirmative asylum claims increased over the same
time period from 331,100 to 399,100. Data on the affirmative asylum backlog, USCIS Refugee, Asylum, and
International Operations Directorate on October 27, 2021.
93
   DHS Office of the Chief Financial Officer analysis.
94
   Nuñez-Neto Decl., supra note 45, at ¶ 15.

                                                        22

                                                                                         Venezuela AR_000241
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 148 of 222




        Third, adjudication of claims by individuals in MPP diverts asylum officers and
immigration judges from other key efforts designed, as described in Section IV.B, to more
effectively process cases and reduce backlogs. As initially implemented, MPP required the
training of asylum officers to learn the newly applied non-refoulement screening standards and
support an additional adjudicative caseload. Moreover, each time migrants came in and out of
the United States for court hearings, there was another opportunity to claim fear—and another
possible fear screening. Department data shows that in the short time that MPP was operational,
more than 2,500 individuals had repeat fear screenings.95

       Fourth, the program drew on the same limited resources that non-profits and
humanitarian organizations used to help other individuals in Mexico—thus focusing efforts on
northern Mexico and diverting resources and services away from other parts of Mexico and the
broader region.

       Each of these, and other investments or resources, divest resources from other critically
important Departmental missions and undercut the Department’s ability to pursue longer-term,
durable reform.

          G. Impact of MPP and its Termination on SWB Migration Flows

        In making his determination decision, the Secretary has presumed—as is likely—that
MPP contributed to a decrease in migration flows. From January through May 2019, when MPP
was used in a limited number of locations, encounters rose.96 But from June 2019, when DHS
announced that MPP would be fully implemented along the entire SWB, through September
2019, border encounters decreased rapidly, falling 64 percent in just three months. Border
encounters continued to decrease until April 2020. Beginning in May 2020, encounters once
again started rising.97 At that point, individuals continued to be enrolled into MPP, however, at
lower rates than previously; immigration court hearings for MPP enrollees were also suspended.

        The sharp decrease in SWB encounters during the months in which MPP was fully
operational is notable. Of course, correlation does not equal causation. And even at the height
of MPP’s implementation in August 2019, it was not the Department’s primary enforcement
tool; approximately 12,000 migrants were enrolled in MPP but more than 50,000 were processed
under other Title 8 authorities.98 In addition, beginning in April 2019, Mexico surged its own
enforcement, thus increasing their level of apprehensions and returns. This, coupled with a range
of other push and pull factors, both known and unknown, likely contributed to the decline in
encounters.99 The relevant data is simply insufficiently precise to make an exact estimate of the
extent to which MPP may have contributed to decreased flows at the southwest border.

95
   See supra note 66.
96
   U.S. Customs and Border Protection, “Southwest Land Border Encounters,”
https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.
97
   Id.
98
   DHS OIS analysis of U.S. CBP administrative records.
99
   See Congressional Research Service, Mexico’s Immigration Control Efforts (May 28, 2021).

                                                      23

                                                                                       Venezuela AR_000242
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 149 of 222




        That said, the Secretary has, nonetheless, evaluated MPP on the premise that it
contributed to decreased flows.100 Even so, the Secretary has concluded that this benefit cannot
be justified, particularly given the substantial and unjustifiable human costs on the migrants who
were exposed to harm while in Mexico, and the way in which MPP detracts from other regional
and domestic goals and policy initiatives that better align with this Administration’s values while
also serving to manage migratory flows, as described in Section IV.

         H. Addressing the Concerns of States and Border Communities

        In the course of litigation, plaintiffs have alleged that the Secretary’s June 1
Memorandum failed to consider the additional costs that States would allegedly incur as a result
of the decision to terminate MPP. Texas and Missouri, for example, argued—and the district
court found—that the termination of MPP could lead to an increased number of noncitizens
without proper documentation in their States, which might cause the States to incur additional
costs related to the costs of driver’s licenses, public education, state-funded healthcare, and law
enforcement and correctional costs.101 State-plaintiffs also alleged that terminating MPP led to
an increase in organized crime, human trafficking, and drug cartel activity, specifically with
respect to the illegal trafficking of fentanyl.102 And State-plaintiffs further claimed that they had
developed “reliance interests” dependent on the continued operation of MPP.

         The Secretary takes these concerns seriously. He has sought to understand and address
the impacts that Departmental policies and practices may have on communities and has
consulted with numerous state and local officials from across the SWB about the Department’s
border management strategy, including the decision to terminate MPP. The Secretary has, as a
result taken and will continue to take, steps designed to minimize adverse consequences of any
policy shifts on border states.

        Prior to the district court’s injunction, for example, the Department facilitated the safe
and orderly entry into the United States of about 13,000 individuals previously enrolled in MPP
for purposes of participating in their removal proceedings. Prior to doing so, however, the
Department ensured that these individuals received COVID-19 tests before crossing the border
and entering the United States. The Department also worked in close partnership with
nongovernmental organizations and local officials in border communities to connect migrants
with short-term supports that facilitated their onward movement to final destinations away from
the border.



100
    The district court faulted the Secretary for not taking into account alleged warnings to members of the Biden-
Harris transition team by career DHS officials that terminating MPP would cause a spike in border encounters.
Texas, 2021 WL 3603341, at *7. The Department is unaware of any such specific conversations, yet is aware of, and
has taken into account, similar concerns raised by others.
101
    See Texas, 2021 WL 3603341, at *9-10.
102
    First Amended Complaint at 2, 38-39, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. filed June 3, 2021); see also
Complaint, West Virginia v. Biden, No. 2:21-cv-22 (N.D. W.Va. filed Aug. 19, 2021); First Amended Complaint,
Arizona v. Mayorkas, No. 2:21-cv-617 (D. Ariz. filed July 12, 2021).

                                                       24

                                                                                        Venezuela AR_000243
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 150 of 222




        In addition, the Secretary has devoted extensive resources on efforts designed to stop
trafficking networks and protect border states from risks associated with criminal activity.
Shortly after assuming office, the Secretary directed FEMA to increase funding for SWB law
enforcement through FEMA’s Operation Stonegarden, a $90 million grant that supports law
enforcement partners, with more than 80% of such funds being been directed to SWB areas.
Multiple and significant narcotics seizures have resulted from this initiative.103 The Secretary
also directed DHS to work with GOM partners on joint law enforcement operations designed to
attack the smuggling and trafficking organizations. Operation Sentinel, which was launched in
April, is a key example of these efforts—a multifaceted counter-network operation focused on
identifying and taking law enforcement actions against transnational criminal organizations
involved in the facilitation of mass migration to the SWB of the United States. Working with the
GOM, DHS law enforcement has identified over 2,200 targets associated with transnational
criminal organizations and revoked multiple visas and Trusted Traveler memberships, blocked
bank accounts, and blocked certain entities from conducting business with the U.S.
government.104

         These efforts build on the Department’s longstanding partnership with state, local,
territorial, and tribal (SLTT) governments and law enforcement agencies, including many on the
SWB, to address transnational crime, including human smuggling and trafficking. ICE’s
Homeland Security Investigations, for example, operates 79 Border Enforcement Security Task
Forces nationwide, staffed by more than 700 State and Local law enforcement officers, that work
cooperatively to combat emerging and existing transnational criminal organizations. Operational
successes resulted in the seizure of 2,503 weapons, 215,301 pounds of narcotics, and
$104,742,957 in FY20.105 The ICE Criminal Apprehension Program also helps SLTT law
enforcement partners better identify, arrest, and remove priority noncitizens who have been
convicted of crimes in the United States and are incarcerated within federal, state, and local
prisons and jails. In FY21, ICE issued 65,940 immigration detainers to noncitizens booked in
jails or prisons.106 All such activities are ongoing.

        The Department also has carefully reviewed the available information and has not seen
any evidence that MPP had any effect on human trafficking and crime, including drug
trafficking. Seizures of narcotics, while not necessarily indicative of trafficking activity, are
nonetheless the best available data, and do not show any impact related to MPP’s
implementation. Seizure of narcotics between ports of entry have declined steadily from FY18
to FY21, including a decline of almost 40 percent since the point in time when MPP was fully
implemented, through FY21, a time MPP was largely not being implemented.107 These declines
have been driven by a substantial decrease in marijuana smuggling. Meanwhile, hard narcotics,
including cocaine, methamphetamine, heroin, and fentanyl, are historically smuggled through
ports of entry and thus have very little connection to MPP’s implementation. Seizure trends for

103
    FEMA data on Operation Stonegarden provided on Oct. 28, 2021.
104
    CBP data on Operational Sentinel, provided on Oct. 28, 2021.
105
    ICE data on Border Enforcement Security Task Forces, provided on Oct. 28, 2021.
106
    ICE data on the Criminal Apprehension Program, provided on Oct. 28, 2021.
107
    Analysis of CBP data on drug seizures by U.S. Border Patrol agents, https://www.cbp.gov/newsroom/stats/drug-
seizure-statistics.

                                                       25

                                                                                        Venezuela AR_000244
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 151 of 222




hard drugs at ports of entry have been mixed, with fentanyl and methamphetamine seizures
increasing substantially year on year since FY18, cocaine seizures remaining largely flat, and
heroin seizures substantially higher in FY19 and FY21 than in FY18 and FY20.108

         Meanwhile, the fact that some noncitizens might reside in the United States rather than
being returned to Mexico and thus access certain services or impose law enforcement costs is
not, in the Secretary’s view, a sufficiently sound reason to continue MPP. Federal immigration
policy virtually always affects the number of people living within the States. Notably, not all of
those burdens are borne by border States—many noncitizens proceed to interior States; others
are detained by the federal government. In this case, the Secretary has made the judgment that
any marginal costs that might have been inflicted on the States as a result of the termination of
MPP are outweighed by the other considerations and policy concerns; it is also the Secretary’s
view that the other policies and initiatives being pursued by this Administration will ultimately
yield better outcomes than MPP.

         Moreover, even after his many consultations, the Secretary is unaware of any State that
has materially taken any action in reliance on the continued implementation (or in response to
the prior termination) of MPP. State-plaintiffs in the litigation also have not identified any
specific actions they took in reliance on MPP.109 Moreover, any claimed reliance interest is
undermined by the fact that the program itself is discretionary, as are decisions to detain or
parole individuals into the country. No administration has ever done what State-plaintiffs in the
litigation argue is required here—detain or return to Mexico everyone that the Department
encounters along the border. States cannot have a reliance interest based on something that has
never previously been implemented. Notably, only 6.5 percent of noncitizens encountered along
the SWB and processed through Title 8 were enrolled in MPP during the period it was in place.
In no month when MPP was operating—including in August 2019, the month with the highest
number of MPP enrollments—were more than one-in-five noncitizens encountered at the SWB
and processed through Title 8 placed in MPP.110 The short time in which MPP was in place, as
well as the small percentage of noncitizens encountered along the SWB who were enrolled in
MPP while it was in operation, undercut any claimed reliance interest, as well as any claim
regarding significant burdens to the States.

          I. Relationship between Implementation of MPP and Statutory Mandates

        In enjoining the June 1 Memorandum, the district court faulted the Department for not
considering the impact terminating MPP would have on the Department’s ability to comply with
the detention requirements in 8 U.S.C. § 1225.111 In so doing, the district court accepted
plaintiffs’ argument that, pursuant to 8 U.S.C. § 1225, DHS has two options with regard to

108
    Id.
109
    The district court in Texas also discussed a purported “agreement” that the Department entered into with the State
of Texas and several other states in early January 2021. Texas, 2021 WL 3603341, at *6-7. As the Department has
explained in litigation, those documents were void ab initio and unenforceable. Any reliance on those documents is
therefore unreasonable. To the extent those documents were ever valid, the Department has since terminated them
and, in any event, Texas conceded in litigation that the “agreement” was no longer binding as of August 1, 2021.
110
    DHS OIS analysis of CBP administrative records.
111
    Texas, 2021 WL 3603341, at *21-23.

                                                         26

                                                                                            Venezuela AR_000245
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 152 of 222




noncitizens seeking asylum at the border: (1) mandatory detention or (2) return to a contiguous
territory.112 This is a clear misreading of the statute for all of the reasons explained at length by
the U.S. Government in the litigation—including a misreading of Section 1225 to effectively
mandate detention of all those who are not subject to the contiguous-territory-return provision of
8 U.S.C. § 1225(b)(2)(C) if the agency lacks detention capacity to detain all noncitizens not
otherwise subject to contiguous territory return. It is also completely at odds with the history of
immigration detention in this country, and the agency’s consistent and longstanding
interpretation of its statutory authorities. Section 1225(b)(2)(C) is discretionary, and nothing in
section 1225’s text or history suggests any relationship between Congress’s grant of return
authority and section 1225’s detention provisions.

        Section 1225 does not impose a near-universal detention mandate for all inadmissible
applicants for admission either as a general matter or conditionally where noncitizens are not
returned to a contiguous territory. Section 1225 “does not mean” that every noncitizen “must be
detained from the moment of apprehension until the completion of removal proceedings.”113 The
INA provides DHS with latitude for processing noncitizens beyond returns or detention. DHS
“may ... in [its] discretion” release a noncitizen placed in Section 1229a proceedings through
“parole,” pursuant to 8 U.S.C. § 1182(d)(5) “for urgent humanitarian reasons or significant
public benefit.”114

         Pursuant to Section 1182(d)(5)’s parole authority, Congress has expressly granted DHS
the broad authority to release applicants for admission from detention as an exercise of the
Department’s parole power. That power has been exercised for as long as the federal
government has been regulating immigration.115 Indeed, Congress enacted 8 U.S.C. §
1182(d)(5) as a “codification of the [prior] administrative practice.”116 And in the decades since,
immigration agencies have continued to broadly exercise their parole power to release certain
noncitizens from detention. Notably, the statute does not set any limit on the number of
individuals DHS can decide to release on parole. Nor does it provide that the agency cannot rely
on its limited resources and detention capacity to release noncitizens otherwise subject to
detention under section 1225. Rather, Congress simply required that parole decisions be made
on a case-by-case basis and that they be based on “urgent humanitarian reasons” or “significant
public benefit.”117 As the statute does not define those ambiguous terms, Congress left it to the

112
    Id. at *22.
113
    Matter of M-S-, 27 I&N Dec. 509, 516-517 (A.G. 2019); see Jennings v. Rodriguez, 138 S. Ct. 830, 837 (2018).
114
    8 U.S.C. § 1182(d)(5)(A); see 8 C.F.R. §§ 212.5(b), 235.3(c). Additionally, “pending a decision on whether the
alien is to be removed” and “[e]xcept as provided in [§ 1226(c)],” noncitizens present in the United States “may” be
released on “bond” or “conditional parole.” 8 U.S.C. § 1226(a)(2)(A)-(B).
115
    See, e.g., Nishimura Ekiu v. United States, 142 U.S. 651, 651, 661 (1892) (discussing release of noncitizen to
care of private organization); Kaplan v. Tod, 267 U.S. 228, 230 (1925) (same).
116
    Leng May Ma v. Barber, 357 U.S. 185, 188 (1958).
117
    In a section entitled “Limitation on the Use of Parole,” Congress amended the parole statute in 1996 to
recharacterize the permissible purposes of parole from “emergent reasons or for reasons deemed strictly in the
public interest” to “only on a case-by-case basis for urgent humanitarian reasons or significant public benefit.”
Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, Div. C, §§ 302, 602,
110 Stat 3009 (emphasis added). But it did not otherwise alter DHS’s parole authority and did not define these
manifestly ambiguous statutory terms. Accordingly, after the 1996 amendment to the parole statute, the agency


                                                         27

                                                                                           Venezuela AR_000246
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 153 of 222




agency to define them.118 In implementing section 1182(d)(5), the agency has long interpreted
the phrase “significant public benefit” to permit it to parole noncitizens “whose continued
detention is not in the public interest as determined by” specific agency officials.119 And in turn,
the agency has for decades viewed detention as not being in the “public interest” where, in light
of available detention resources, detention of a specific noncitizen would limit the agency’s
ability to detain another noncitizen whose release may pose a greater risk of flight or danger to
the community.120

         Moreover, no administration has ever interpreted or implemented 8 U.S.C § 1225, as the
district court in Texas has read it, to require the detention of virtually all inadmissible applicants
for admission, except for those returned to Mexico. The Department does not have—and has
never had under any prior administration—sufficient detention capacity to maintain in custody
every single person described in section 1225. In September 2021, for example, CBP
encountered approximately 192,000 individuals along the SWB.121 And as discussed above,
even in August 2019, when MPP enrollments were at their zenith, CBP encountered nearly
63,000 individuals along the SWB. Meanwhile, ICE Enforcement and Removal Operations
(ERO) is generally appropriated for approximately 34,000 detention beds nationwide with some
modest fluctuation from year to year.

        This variance between border crossings and detention capacity is not new and was in fact
the reality even when MPP was in place (see Appendix 1). From Fiscal Years 2013 to 2019,
nearly three-quarters of single adult and family unit members who were encountered at the SWB
were either never placed in or released from detention during the pendency of their
proceedings—more than 1.1 million (41 percent) were never booked into ICE detention and
nearly 900,000 (33 percent) were booked in for a period of time but released prior to the
conclusion of their removal proceedings.122 Even during the period that MPP was in effect from
late January 2019 to January 20, 2021, more than two-thirds of single adults and individuals in
family units encountered along the SWB and processed through non-MPP Title 8 authorities—
more than 650,000 individuals—were never detained or released from ICE custody during the



incorporated the new “case-by-case” requirement into its regulation, while also maintaining its longstanding
regulatory authority to release when “continued detention is not in the public interest,” 8 C.F.R. § 212.5(b)(5), which
remained consistent with the statute after the 1996 amendment. Inspection and Expedited Removal of Aliens;
Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum Procedures, 62 Fed. Reg. 10,312,
10,313 (Mar. 6, 1997).
118
    8 U.S.C § 1103(a)(1); Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837 (1984); cf., e.g., Ibragimov v. Gonzales, 476
F.3d 125, 137 n.17 (2d Cir. 2007) (deferring to another aspect of same parole regulation).
119
    8 C.F.R. § 212.5(b)(5).
120
    See, e.g., Interim Guidance for Implementation of Matter of M-S, 27 I&N Dec. 509 (A.G. 2019): Parole of Aliens
Who Entered Without Inspection, Were Subject to Expedited Removal, and Were Found to Have a Credible Fear of
Persecution or Torture; ICE Policy No. 11002.1, Parole of Arriving Aliens Found to Have a Credible Fear of
Persecution or Torture (Dec. 8, 2009); see also Jeanty v. Bulger, 204 F. Supp. 2d 1366, 1377-78 (S.D. Fla. 2002)
(referring to INS detention use policies, including parole policies, based on having to establish “priorities for the use
of limited detention space”), aff’d, 321 F.3d 1336 (11th Cir. 2003).
121
    Southwest Land Border Encounters, supra note 95.
122
    FY 2020 Enforcement Lifecycle Report, supra, note 75.

                                                          28

                                                                                              Venezuela AR_000247
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 154 of 222




duration of their proceedings; a full 42 percent (more than 415,000 individuals) were never
booked into ICE detention at all.123

         By interpreting Section 1225 to mandate either detention or return to Mexico, the court
essentially concluded that every single administration since 1997 has repeatedly and consistently
violated Section 1225, by exercising the parole authority to release noncitizens detained under
that authority, on a case-by-case basis, where detention of a specific noncitizen would limit the
agency’s ability to detain another noncitizen who release may pose a greater risk of flight or
danger to the community. There is no indication that Congress, in enacting Section 1225,
intended to require the Secretary to use the explicitly discretionary return authority found at 8
U.S.C. § 1225(b)(2)(C) for virtually any noncitizen the Department fails to detain because of
resource limitations.124 Rather, the decision to use the authority found in 8 U.S.C. §
1225(b)(2)(C) is entrusted to the Secretary’s discretion and to his discretion alone. Given these
clear statutory authorities, and DHS’s longstanding interpretation of the ambiguous parole
statute, the Secretary’s decision to terminate MPP creates no conflict with the detention
authorities in Section 1225.

          J. Impact on U.S.-Mexico Relationship

        Mexico is a sovereign nation. This means that the U.S. Government cannot return
individuals to Mexico without an independent decision by the GOM to accept their entry. It was
for good reason that MPP was put into effect only after the U.S. government had conducted
diplomatic engagement with GOM and after the GOM announced its independent decision to
accept returnees. The initiation of MPP required substantial diplomatic engagement in 2019; it
does in 2021 as well.125

        In deciding to accept returns of non-Mexican nationals under MPP, the GOM agrees to
shoulder the burden of receiving these individuals, facilitating legal status and shelter, and
accounting for their safety and security. Not only does this place a great deal of strain on the
GOM’s ability to provide services for its own citizens and lawful residents, it diverts Mexican
law enforcement resources from other missions that are important to the United States—

123
    Id. Indeed, when the last Administration created MPP, it expressly excluded from its coverage as a matter of
discretion certain noncitizens, including citizens or nationals of Mexico, returning lawful permanent residents
seeking admission, noncitizens with known physical or mental health issues, and other noncitizens. DHS, “Migrant
Protection Protocols (Trump Administration Archive),” https://www.dhs.gov/archive/migrant-protection-protocols-
trump-administration.
124
    Congress is aware that it would need to appropriate substantial additional funds to detain everyone potentially
subject to detention under Section 1225; yet, it has never done so. See 8 U.S.C. § 1368(b) (providing for bi-annual
reports to Congress on detention space, including estimates on “the amount of detention space that will be required”
during “the succeeding fiscal year”). Although Congress has amended Section 1225 since 1996, see Pub. L. 110-
229, 122 Stat. 754, 867 (2008), it has never amended Section 1225 to mandate the use of return authority when the
agency lacks resources to detain all applicants for admission or to override the agency’s longstanding interpretation
permitting the use of parole to address capacity limitations as a significant public benefit. See Lorillard v. Pons, 434
U.S. 575, 580 (1978) (“Congress is presumed to be aware of an administrative … interpretation of a statute and to
adopt that interpretation when it re-enacts a statute without change.”).
125
    Position of Mexico on the Decision of the U.S. Government to Invoke Section 235(b)(2)(C) of its Immigration and
Nationality Act, supra note 13.

                                                          29

                                                                                             Venezuela AR_000248
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 155 of 222




including addressing transnational organized crime networks and root causes of migration. Over
the past nearly three years, MPP has played an outsized role in its policy and operational
engagement with GOM, thus distracting from other diplomatic initiatives and programs
concerning migration flows. These engagements, which have increased substantially in tempo
and intensity since the court’s order, require enormous amounts of time to prepare for and
execute, and involve the same individuals at DHS and DOS who would otherwise be working on
advancing other key bilateral priorities.

         The Department is eager to expand the focus of the relationship with GOM to address
broader issues related to migration to and through Mexico. This includes implementing the
bilateral economic and security frameworks adopted in September and October 2021,
respectively;126 addressing the root causes of migration from Central America; improving
regional migration management; enhancing protection and asylum systems throughout North and
Central America; and expanding cooperative efforts to combat smuggling and trafficking
networks, and more. Terminating MPP will, over time, help to broaden the United States’
engagement with the GOM to address these critical efforts, which we expect will produce more
effective and sustainable results than what we achieved through MPP. It will also provide more
space and resources to address the many other bilateral issues that fall within DHS’s diverse
mission, such as countering transnational organized crime, cybersecurity, trade and travel
facilitation, cargo and port security, emergency management, biosurveillance, and much more.

      IV.   The Biden-Harris Administration’s Affirmative Efforts to Enhance Migration
            Management

        In December 2018, when DHS announced the start of MPP, the Department stated that
MPP was expected to provide numerous benefits for the immigration system, including reducing
false asylum claims, more quickly adjudicating meritorious asylum claims, clearing the backlog
of unadjudicated asylum applications, and, perhaps most importantly, stemming migration flows
across the SWB. All of these goals remain top priorities for the Department and Administration.
But the Secretary assesses that there are ways to advance these goals through means other than
MPP—through policies and practices that will more effectively and more humanely achieve the
stated goals than continuing to implement MPP as designed or in modified form.

        Not only has MPP failed to deliver many of its promised benefits, but the burden and
attention required to reimplement and maintain MPP will undermine the Department’s efforts to
address irregular migration and achieve lasting reform of the asylum system through other
means. As noted earlier, the Secretary is undertaking this review on the premise that MPP was
responsible for a share of the significant decrease in SWB encounters that occurred during many
months of MPP’s operations. However, MPP is not the only, and certainly not the preferred,
means of tackling irregular migration. To the contrary, the Department is currently pursuing a
range of other measures that it anticipates will disincentivize irregular migration in ways that are

126
   White House, “Joint Statement: U.S.-Mexico High-Level Security Dialogue,” Oct. 8, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/10/08/joint-statement-u-s-mexico-high-level-
security-dialogue/; White House, “Fact Sheet: U.S.-Mexico High-Level Economic Dialogue,” Sept. 9, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/09/09/fact-sheet-u-s-mexico-high-level-
economic-dialogue/.

                                                      30

                                                                                       Venezuela AR_000249
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 156 of 222




more consistent with this Administration’s values and enduring, including by addressing root
causes and building regional solutions. In addition, the Department is committed to channeling
migration through safe and orderly pathways and reforming our asylum adjudication system to
achieve more timely, fair, and efficient results,

        In July 2021, the Administration released a Blueprint describing its overarching
strategy—as well as the concrete steps that will be taken—to ensure a secure, humane, and well-
managed border, implement orderly and fair asylum processing, strengthen collaborative
migration management with regional partners, and invest in the root causes of migration in
Central America.127 The Administration, with DHS playing a critical role, has made significant
investments and taken substantial actions to move forward with its strategy.

          A. Managing Flows

       The current Administration is pursuing a comprehensive vision for managing migration
and facilitating safe, orderly, and legal pathways for individuals seeking protection or intending
to migrate.128 A key part of this vision involves disincentivizing unlawful entries by robustly
enforcing our laws at the land border while also ensuring the humane and lawful treatment of
those who do arrive in the United States. Doing so requires a concerted effort to address root
causes of migration, provide alternative protection solutions in the region, enhance lawful
pathways for migration to the United States, and streamline the fair adjudication of asylum
claims at the border—efforts that the Department has determined will be more effective at
reducing irregular migration than continuing to implement MPP.

        To disincentivize irregular migration, the Administration is pursuing a multi-pronged
approach. At our border, we are employing expedited removal to rapidly, but humanely, return
certain individuals and families that are encountered unlawfully crossing between POEs. Those
who do not express fear of persecution or torture, and who are nationals of countries that allow
electronic nationality verification (ENV), are returned to their countries within a few days of
being encountered. DHS is working closely with the Department of State to expand the use of
these ENV agreements throughout the hemisphere to more expeditiously facilitate removals of
individuals who do not claim a fear of persecution or torture. The Department additionally treats
any noncitizen who unlawfully entered the United States on or after November 1, 2020, as a
presumed border security enforcement and removal priority under current guidance,129 as well as
in guidance that will become effective on November 29, 2021.130


127
    White House, “Fact Sheet: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration
System,” July 27, 2021, https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-
biden-administration-blueprint-for-a-fair-orderly-and-humane-immigration-system/.
128
    EO 14010 directed the creation of a Root Causes Strategy and Collaborative Migration Management Strategy.
Published in July 2021, the strategies articulate a bold and comprehensive vision for managing migration throughout
the Western Hemisphere. Id.
129
    Memorandum from Tae D. Johnson, Acting Director, ICE, Interim Guidance: Civil Immigration Enforcement
and Removal Priorities (Feb. 18, 2021).
130
    Memorandum from Alejandro Mayorkas, Sec’y of Homeland Security, Guidelines for the Enforcement of Civil
Immigration Law (Sept. 30, 2021).

                                                        31

                                                                                          Venezuela AR_000250
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 157 of 222




        Recognizing that the management of migration is a shared responsibility among sending,
transiting, and receiving countries, the Administration is also working with our partner countries
across the region to manage migratory flows. As part of these efforts, the United States is
working bilaterally and multilaterally with countries across the Western Hemisphere, seeking to
encourage humane border enforcement and enhance legal pathways throughout the region. DHS
is also working closely with the Department of State to provide additional technical assistance,
mentoring, and resources to border and immigration authorities in the region, with the goal of
enhancing the capability and effectiveness of our partners’ efforts to identify and interdict
unlawful activity. As part of these efforts, the United States and Colombia co-hosted a regional
conference on migration in Colombia on October 20, 2021 that brought together foreign
ministries and immigration authorities from 17 partner nations across the hemisphere to directly
address recent trends in irregular migration in the region. During this conference, countries
committed to enhancing protection, combating human smuggling and trafficking, and expanding
humane enforcement efforts.

        The Department is also working bilaterally with countries across the region to build law
enforcement capacity, tackle transborder crime, and slow migratory flows. Beginning in April
2021, for example, DHS deployed dozens of CBP personnel to Guatemala to train and support
local law enforcement units and help enhance the security of Guatemalan border crossings,
checkpoints, and ports.131 And in October 2021, for example, the United States and Mexico
agreed on joint actions to prevent transborder crime, with a particular focus on reducing arms
trafficking, targeting illicit supply chains, and reducing human trafficking and smuggling.132
Such efforts build on the successes of Operation Sentinel, in which DHS is working with other
U.S. government agencies and the GOM to identify and impose meaningful sanctions on those
involved in human smuggling, including by freezing their assets, revoking their visas, and
curtailing their trade activities. DHS seeks to expand these efforts across the hemisphere, with
the GOM as a key partner. However, the senior U.S. and Mexican officials who would lead
these efforts are the same officials that have spent much of the past three months negotiating the
reimplementation of MPP—detracting from efforts to advance other key parts of the bilateral
relationship.

        The Administration is also expanding efforts to address root causes of migration and
enhance legal pathways for individuals who intend to migrate, as well as building and improving
asylum systems in other countries and scaling up protection efforts for at-risk groups. These
efforts reduce incentives to come to the United States to seek protection and, for those who still
choose to do so, reduce incentives to cross the border unlawfully. As part of these efforts, DHS
is working with Department of State to expand efforts to build and improve asylum systems in
other countries and scale up protection efforts for at-risk groups, thereby providing alternative
opportunities for individuals to seek protection without making the often-dangerous journey to
the SWB.

      The Department of State and DHS, for example, are working to stand up Migrant
Resource Centers (MRC) in key sending countries, including Guatemala, where individuals who

131
      CBP data on Guatemalan deployments provided on 10/29/2021.
132
      Joint Statement: U.S.-Mexico High-Level Security Dialogue, supra note 125.

                                                         32

                                                                                   Venezuela AR_000251
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 158 of 222




intend to migrate can apply for a visa or seek other available protection.133 The Department of
State established the first MRC in Guatemala this year, and is working with international
organizations to expand the MRCs to multiple locations and countries over the coming year. The
Administration is also working to continue to expand the legal pathways that are available for
individuals who apply at these facilities. We are also expanding refugee processing in Central
America—including through in-country processing in Northern Triangle countries—and are
helping international organizations and local non-governmental organizations identify and refer
individuals with urgent protection needs to the U.S. Refugee Admissions Program and
resettlement agencies in other countries.

         Additionally, on March 10, 2021, DHS, in close coordination with the Department of
State, restarted the Central American Minors (CAM) program to reunite eligible children from El
Salvador, Guatemala, and Honduras with parents who are lawfully present in the United States.
On June 15, 2021, the Departments expanded CAM eligibility to include certain U.S.-based
parents or legal guardians who have a pending asylum application or U visa petition filed before
May 15, 2021, thereby allowing them to file petitions on behalf of children who are nationals of
El Salvador, Guatemala, or Honduras for potential resettlement in the United States. This
important program provides an avenue for children to come to the United States that would not
otherwise be available, which in turn supports family unity and reduces the incentives for
unlawful entry. By restarting and expanding this safe, orderly, and lawful pathway through
which children may reunite with their parent or legal guardians in the United States, CAM
reduces the incentive for such vulnerable and often unaccompanied children to make the
dangerous journey to the United States border.134

        The Department also has expanded access to temporary work visas in the region, thereby
providing a lawful pathway to work temporarily in the United States for individuals who might
otherwise take the irregular and dangerous journey to the United States in search of economic
opportunities and cross the border unlawfully. To that end, on May 21, 2021, DHS published a
temporary final rule making available 6,000 H-2B supplemental visas for temporary non-
agricultural workers from Honduras, Guatemala, and El Salvador in FY21.135 The
Administration is also working to enhance access to H-2A visas for temporary agricultural
workers, for when there are insufficient qualified U.S. workers to fill these jobs. Departments
and agencies are engaged with the Northern Triangle governments, international organizations,
the private sector, civil society, labor unions, and worker rights organizations to promote this
program.


133
    Id.
134
    See “Joint Statement by the U.S. Department of Homeland Security and U.S. Department of State on the
Expansion of Access to the Central American Minors Program,” June 15, 2021,
https://www.dhs.gov/news/2021/06/15/joint-statement-us-department-homeland-security-and-us-department-state-
expansion. Under the expanded guidance, eligible minors may apply for refugee status if they are sponsored by a
parent or legal guardian in the United States who is in one of the categories: lawful permanent residence; temporary
protected status; parole; deferred action; deferred enforced departure; withholding of removal; or certain parents or
legal guardians who have a pending asylum application or a pending U visa petition filed before May 15, 2021.
135
    Exercise of Time-Limited Authority To Increase the Fiscal Year 2021 Numerical Limitation for the H–2B
Temporary Nonagricultural Worker Program and Portability Flexibility for H–2B Workers Seeking To Change
Employers, 86 Fed. Reg. 28,198 (May 25, 2021).

                                                         33

                                                                                            Venezuela AR_000252
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 159 of 222




         These efforts, all of which have only recently been initiated, require diplomatic
engagement and investment of resources. They will take some time to achieve substantial
results. Once fully operational, they will provide legal and regular pathways for individuals
seeking protection and opportunity to work in the United States, thus reducing the need for
unlawful crossings and reducing the appeal of exploitative smugglers. By incentivizing
migration through lawful channels, and disincentivizing the use of unlawful channels, these
initiatives achieve several key goals of MPP, but in a more humane way that matches the
Administration’s values.

         B. Managing Asylum Claims

        The Department also is taking a number of different steps to better manage asylum claims
that will allow the United States to more humanely, and fairly, achieve some of MPP’s stated
benefits: reducing false asylum claims, more quickly adjudicating meritorious asylum claims,
and clearing the backlog of unadjudicated asylum applications.

                1. Dedicated Docket

        In May 2021, DHS and DOJ jointly announced a new Dedicated Docket, designed to
expeditiously and fairly conduct removal proceedings for families who enter the United States
between ports of entry at the SWB.136 With a goal that immigration judges will generally
complete cases on the Dedicated Docket within 300 days, the process is intended to significantly
decrease the length of time for adjudication of such noncitizens’ cases, while also providing fair
hearings for families seeking asylum and other forms of relief or protection from removal.
Dedicated Dockets have been established in 11 cities (Boston, Denver, Detroit, El Paso, Los
Angeles, Miami, Newark, New York City, San Diego, San Francisco, and Seattle) chosen
because they are common destination cities for migrants and have robust communities of legal
service providers. Once fully up and running, it is expected to adjudicate approximately 80,000
cases each year.

        The Dedicated Docket serves multiple goals: It provides a mechanism for the more
efficient adjudication of claims. It ensures compliance with court proceedings through use of
case management services provided through ICE’s Alternatives to Detention (ATD) program.137
It promotes efficiency and fairness in those proceedings through robust access to legal
orientation for families on the docket (including group and individual legal orientations and
friend-of-the-court services for unrepresented individuals). And, as MPP was designed to do, it
discourages non-meritorious claims by dramatically reducing the amount of time that a
noncitizen may remain in the United States while his or her claims for relief or protection are
adjudicated.



136
    Press Release, DHS, “DHS and DOJ Announce Dedicated Docket Process for More Efficient Immigration
Hearings,” May 28, 2021, https://www.dhs.gov/news/2021/05/28/dhs-and-doj-announce-dedicated-docket-process-
more-efficient-immigration-hearings.
137
    ICE Enforcement and Removal Operations (ERO), “Alternatives to Detention Program,”
https://www.ice.gov/detain/detention-management.

                                                    34

                                                                                    Venezuela AR_000253
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 160 of 222




       Moreover, it is expected to achieve these goals in ways that avoid the pitfalls associated
with MPP. Unlike MPP, which was plagued with high in absentia rates, the Dedicated Docket is
designed, via the use of ATD and case management services, to ensure high appearance rates and
contribute to the proper functioning of our immigration system. As of October 25, 2021, EOIR
had conducted nearly 12,000 initial hearings for individuals in Dedicated Docket cases, just 4.5
percent of which had ended in issuance of an in absentia order of removal.138 ICE data reflect a
98.9% attendance rate at all hearings for individuals enrolled into ATD from the SWB from
FY14 to FY21.139

        Two immigration court locations currently hearing Dedicated Docket cases—El Paso and
San Diego—are slated for use as part of the court-ordered reimplementation of MPP because of
their proximity to ports of entry along the border. To staff MPP cases, EOIR will have to either
divert judges from existing initiatives such as the Dedicated Docket—which will prolong those
cases and undermine the effort—or reassign other immigration judges handling other non-
detained cases, which will exacerbate the 1.4 million case backlog that already exists. It is the
Department’s reasoned decision—working in close partnership with EOIR—that the limited pool
of asylum officers and immigration judges are best spent supporting the Dedicated Docket and
other initiatives that achieve the goals of timely and fair adjudications.

                 2. Asylum Officer Rule

       On August 20, 2021, DHS and DOJ promulgated a Notice of Proposed Rulemaking
(NPRM) for the so-called “Asylum Officer Rule,” which seeks to address systemic problems
with the asylum system in an enduring way consistent with the Administration’s values.
Specifically, it amends the procedures for credible fear screenings and consideration of asylum,
withholding of removal, and CAT, so as to streamline the asylum process and address the current
backlogs in the system.140 The comment period of this NPRM recently closed, and DHS and
DOJ are currently reviewing the comments received and working on a final rule.

         The proposed rule addresses the fact that the number of asylum and related protection
claims at the SWB has increased dramatically over the years, that the system has not been able to
keep pace, and that large immigration court backlogs and lengthy adjudicated delays are the
result.141 As stated in the NPRM, the proposed rule also evidences this Administration’s
recognition that “[a] system that takes years to reach a result is simply not a functional one. It
delays justice and certainty for those who need protection, and it encourages abuse by those who
will not qualify for protection and smugglers who exploit the delay for profit.”142 The Asylum
Officer Rule thus responds to the very same concerns identified by the last Administration when


138
    Data on the number of initial hearings for individuals on Dedicate Docket, provided by EOIR on Oct. 25, 2021.
139
    Data from ICE ERO Custody Management Division FY14, 15, 16, 17, 18, 19, 20, and 21 through Aug. 31, 2021
FAMU BP Apprehensions-Subsequently Enrolled into ATD, ISAP IV EOIR Court Appearance Rates FY14 &
FY15 & FY16 & FY17 & FY18 & FY19 & FY20 & FY21 through Aug. 31, 2021.
140
    Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT
Protection Claims by Asylum Officers, 86 Fed. Reg. 46,906 (Aug. 20, 2021).
141
    Id. at 46,907.
142
    Id.

                                                       35

                                                                                         Venezuela AR_000254
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 161 of 222




it adopted MPP—and to a number of the concerns relied upon by the Texas court—but tackles
them in a transformative and systemic way, while holding true to our laws and values.

        To support the more expeditious and fair adjudication of claims, the proposed rule would
transfer from immigration judges to USCIS asylum officers the initial responsibility for
adjudicating asylum and related protection claims made by noncitizens who are encountered at
or near the border and who are placed into expedited removal proceedings. Individuals who
establish a credible fear of persecution or torture following an initial screening interview would
have their applications referred to USCIS, rather than the immigration court, for further
consideration of their claim. The initial credible fear interview would serve as the basis for the
individual’s asylum application, thereby introducing a key efficiency into the process.

        Allowing cases with positive credible-fear findings to remain within USCIS for the full
asylum merits adjudication, rather than being shifted to immigration judge-review, will capitalize
on the investment of time and expertise developed during the screening interview and allow
cases to be resolved more quickly. This will, in turn, employ limited asylum officer and
immigration court resources more efficiently, reduce asylum backlogs, and protect against
further expansions of the already large immigration court backlog. As currently drafted, the
NPRM is also designed to include key procedural safeguards—including the ability to appeal, be
represented by counsel, and present additional evidence as necessary to ensure due process,
respect for human dignity, and equity. Once implemented, the Asylum Officer Rule is expected
to represent a transformative and lasting shift in asylum claim processing that will ensure rapid
and fair processing in a way that delivers appropriate outcomes and realistically keeps pace with
the workflow.

        Achieving the rule’s objectives will require substantial investment in resources, training,
and personnel; to fully implement this new process, USCIS will need to quadruple the current
asylum officer corps.143 Importantly, these are the same asylum officers needed to conduct non-
refoulement interviews for MPP. Restarting MPP will likely undercut the ability to implement
this new rule as designed.

       It is the Department’s reasoned view that these limited resources are better expended on
implementing both the Dedicated Docket and the Asylum Officer Rule. Like MPP, both the
Dedicated Docket and the Asylum Officer Rule are designed to render timely decisions and
discourage non-meritorious claims. Unlike MPP, however, they do so without subjecting
vulnerable individuals to increased risk in Mexico and without creating the inevitable barriers to
accessing counsel that exist for those returned to Mexico.

       V.        Consideration of Alternatives to Terminating MPP

       The Department has considered the following as alternatives to terminating MPP: First,
implementing MPP in the same manner as the prior Administration. Second, implementing with
modifications designed to address some of the access-to-counsel, safety, and other humanitarian
considerations, consistent with demands from the GOM. (These modifications are currently

143
      Id. at 46,933.

                                                 36

                                                                              Venezuela AR_000255
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 162 of 222




being planned pursuant to the court’s order to implement MPP in good faith.) Third,
implementing a significantly modified programmatic use of the Section 235(b)(2)(C) authority,
as described below.

         Reimplementation of MPP in the same manner as the prior Administration is not
currently an available option. As has been described in court filings, the United States cannot
unilaterally implement MPP without the independent agreement of the GOM to accept those who
the United States seeks to return. In ongoing discussions with the GOM, the GOM has made
clear it would agree to accept such returns only if certain changes were implemented, including
(i) measures to ensure that cases are generally adjudicated within six months, thus limiting the
amount of time individuals are waiting in Mexico; (ii) clear means of communicating to MPP
enrollees accurate information about the time and date of their hearings; (iii) improved access to
counsel; and (iv) better screenings to protect particularly vulnerable individuals from being
returned to Mexico. Each of these changes would, as a result, need to be made in any
reimplementation. Unless the GOM significantly changes its position, resuming the program as
it existed previously is simply not possible in the foreseeable future as a matter of international
diplomacy.

         Moreover, the Secretary has his own independent and significant concerns about the prior
implementation of MPP, including concerns about the safety and security of those returned to
Mexico, deficiencies in the non-refoulement interview process, barriers to access to counsel, and
the ways in which reimplementation of MPP would divert from other Administration goals and
result in significant burdens for the Department that would limit DHS’s opportunities to make
other needed reforms consistent with this Administration’s policy priorities. In light of these
concerns, the Secretary has decided not to resume MPP in precisely the same form as it
previously existed, even if were a viable option.

         As an alternative, the Secretary considered a modified implementation and enforcement
plan, in the manner that the Administration is planning to start doing in the coming weeks—
pending an independent decision by the GOM to facilitate returns—in order to comply with the
district court’s order. As the Department moves to reimplement, it is making changes to account
for GOM’s concerns—changes which are designed to better protect individuals returned to
Mexico and ensure, among other things, timely and accurate notice about court hearings. In
addition, the Department is evaluating what changes could be made to address the issues raised
in the Red Team Report, to include changes announced by the December 2020 supplementary
guidance to better ensure family unity, access to counsel during non-refoulement interviews, and
assessment of vulnerability. In addition, in the near term, the Department will need to put in
place robust COVID-19 mitigation measures to safeguard DHS personnel, the public, and the
migrants themselves from the spread of the pandemic.

         The Secretary has carefully considered whether these changes would sufficiently address
his concerns regarding MPP to such an extent that he would support reimplementation of a
modified MPP in lieu of termination. But ultimately he has concluded that, while helpful, they
fail to address the fundamental problems with MPP—which is that it puts an international barrier
between migrants and their counsel and relevant immigration court where their proceedings are
pending and it places their security and safety in the hands of a sovereign nation, over which the

                                                37

                                                                             Venezuela AR_000256
  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 163 of 222




United States does not exercise control. Further, the reimplementation of MPP diverts resources
from key priorities that designed to address the same policy goals more effectively and in a more
humane way, including this Administration’s landmark efforts to transform our asylum system
and address the root causes of migration.

        A third alternative still would be to attempt to do even more to address the humanitarian
and other concerns associated with MPP, thus designing a programmatic use of the Section
235(b)(2)(C) authority that aggressively tackles the humanitarian concern and is more fully
aligned with the Administration’s broader vision for migration management. It is doubtful that
DHS could adequately address these problems, given Mexican territorial sovereignty. At best,
any such effort would require the provision of significant U.S. foreign assistance to counterparts
operating in Mexico to assist with housing, transportation to and from court hearings, and other
protections to address safety and security concerns. Attempting to do so would divert enormous
Department of State resources away from the Administration’s signature policy goals—to
address the root causes and develop regional solutions for enforcing against irregular migration
while providing regional approaches to lawful pathways. Meanwhile, the fundamental flaws
with MPP remain.

        After careful consideration, and for all the reasons laid out in his termination memo and
this explanatory document, the Secretary has concluded that there are inherent problems with the
program that no amount of resources can sufficiently fix, and others that cannot be sufficiently
addressed without detracting from key Administration priorities and more enduring solutions.

   VI.     Conclusion

        In sum, continuation of MPP—even in a significantly modified format—is inconsistent
with the current policy approach of this Administration. Rather than forcing individuals to return
to Mexico to await court hearings, this Administration is pursuing a range of other policies and
rulemaking efforts—including regional approaches to addressing the root causes of migration
and a reform of the asylum system—to better achieve the key goals of securing the border,
reducing migratory flows, timely and fairly adjudicating asylum claims, and reducing the asylum
backlog. Many of these efforts are currently underway and will bear fruit over time; the
resources needed to implement MPP will detract from these efforts.

        It is squarely within the authority of the Secretary of Homeland Security to decide to
pursue the immigration policies and practices that he believes are most effective, and to decide
not to exercise the discretion granted him by Congress in Section 235(b)(2)(C) of the INA to
continue MPP. The Secretary reserves the prerogative to exercise this discretionary authority if
circumstances—and the factors that led to this conclusion—change. Until such time, the
Secretary has determined that MPP is incompatible with his goals for managing migratory flows
at the border, and doing so in a humane way, consistent with the Administration’s values.




                                                38

                                                                             Venezuela AR_000257
 Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 164 of 222




Appendix 1: Encounters by Detention, Fiscal Years 2013-2021

                      Total           Continuous         Booked out prior to
   Fiscal Year      Encounters         detention           final outcome          Never detained
            2013       287,535        114,673    40%          76,776    27%          96,086 33%
            2014       338,650        113,005    33%        102,371     30%         123,274 36%
            2015       296,856        105,425    36%          82,221    28%         109,210 37%
            2016       373,506        105,295    28%        131,147     35%         137,064 37%

            2017        292,102        73,809     25%        106,405      36%        111,888 38%

            2018        360,574        93,449     26%        149,183      41%        117,942 33%
            2019        762,912       100,700     13%        246,099      32%        416,113 55%

            2020        312,794        61,751     20%          37,981     12%        213,062 68%

          2021          665,158        27,402      4%          62,744      9%        575,012      86%
     2013-2019        2,712,135       706,356     26%        894,202      33%      1,111,577      41%
     2013-2021        3,690,087       795,509     22%        994,927      27%      1,899,651      51%
 Non-MPP Cases          991,012       323,425     33%         251023      25%        416,564      42%
 Note: Non-MPP cases are defined as single adults and family units encountered between Jan. 25,
 2019, and Jan. 20, 2021, and not enrolled in MPP and not expelled under Title 42.

 Source: Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is
 based on a comprehensive person-level analysis of DHS and EOIR enforcement and adjudication
 records. See Marc Rosenblum and Hongwei Zhang, Fiscal Year 2020 Enforcement Lifecycle Report
 (Dec. 2020).




                                                                         Venezuela AR_000258
Table 21.
PERSONS NATURALIZED BY REGION AND COUNTRY OF BIRTH: FISCAL YEARS 2011 TO 2020

Region and country of birth      2011      2012      2013      2014      2015      2016      2017      2018      2019      2020
REGION
 Total                         694,193   757,434   779,929   653,416   730,259   753,060   707,265   761,901   843,593   628,254
Africa                          69,738    74,775    71,872    62,175    71,492    72,338    61,851    64,934    84,990    66,436
Asia                           249,940   257,035   275,700   233,163   261,374   271,733   255,306   275,621   327,273   246,099
Europe                          82,209    82,714    80,333    71,325    78,074    74,344    65,141    71,436    81,040    57,403
North America                  217,750   261,673   271,807   222,547   247,492   259,845   258,371   277,592   276,910   204,250
Oceania                          3,734     3,886     3,849     3,399     3,811     3,953     3,327     3,792     4,308     3,392
South America                   70,485    76,992    76,167    60,665    67,927    70,821    63,063    67,892    68,678    50,441
Unknown                            337       359       201       142        89        26       206       634       394       233
COUNTRY
 Total                         694,193   757,434   779,929   653,416   730,259   753,060   707,265   761,901   843,593   628,254
Afghanistan                      1,998     1,758     2,074     1,853     1,589     1,444     1,414     1,569     2,794     4,025
Albania                          4,267     3,615     3,538     3,131     3,237     2,813     2,169     2,203     2,778     2,308
Algeria                            773       891       841       928       943     1,035       949       918     1,235     1,063
American Samoa                     205       180       265       187       296       285       216       182       279       177
Angola                             162       166       143       145       132       131       125       147       136        94
Anguilla                            38        30        26        18        31        16        20        34        25        19
Antigua and Barbuda                386       390       366       358       381       383       311       356       386       265
Argentina                        3,870     3,909     4,177     3,683     3,886     4,015     3,486     3,977     3,956     2,884
Armenia                          3,965     3,285     3,203     2,488     2,874     2,516     1,994     2,085     2,327     1,852
Aruba                               40        27        42        28        37        28        32        33        54        37
Australia                        1,291     1,312     1,296     1,159     1,379     1,389     1,235     1,545     1,838     1,436
Austria                            271       241       248       223       207       221       177       238       214       160
Azerbaijan                       1,153       958       786       585       568       574       483       512       597       451
Bahamas                            609       647       681       545       570       590       481       590       640       481
Bahrain                             80        93        76        90        79        80        77        86       116        79
Bangladesh                       7,325     8,417     9,571     7,475     9,750     9,949     8,629     7,797     9,067     6,883
Barbados                           648       687       683       550       646       651       645       555       625       399
Belarus                          1,814     1,896     1,797     1,437     1,710     1,518     1,313     1,393     1,730     1,302
Belgium                            525       522       513       408       505       514       493       520       575       430
Belize                             742       817       966       773       851       870       810       859       950       669
Benin                              183       210       206       229       310       317       309       249       343       297
Bermuda                             58        65        59        67        66        61        65        70        64        52
Bhutan                              55        42       275     2,639     4,562     5,563     5,557     6,180     6,920     4,536
Bolivia                          1,446     2,063     1,961     1,527     1,689     1,862     1,806     1,575     1,679     1,208
Bosnia and Herzegovina           4,259     4,904     3,662     2,509     3,304     2,257     1,780     1,805     1,709     1,059
Botswana                             9        11        29        24        28        29        27        38        41        34
Brazil                          10,251     9,884     9,565     8,625    10,516    10,268     9,701    10,538    10,451     8,323
Brunei                              11        17        11        15        13        10        11        15        26        19
Bulgaria                         3,103     2,964     2,646     2,226     2,336     2,086     1,887     1,825     2,251     1,656
Burkina Faso                       163       166       230       235       307       322       303       347       426       376
Burma                            2,321     2,384     3,489     4,225     6,045     6,956     6,825     7,858    11,674     9,181
Burundi                            168       209       379       415       437       406       266       284       394       280
Cabo Verde                         974     1,037     1,014       979     1,054     1,207     1,355     1,429     1,316       930
Cambodia                         4,589     6,189     4,161     2,866     2,878     2,756     2,184     2,467     2,877     2,405
Cameroon                         2,172     2,459     2,541     2,120     3,170     3,088     2,416     2,319     3,197     2,873
Canada                           9,318     9,077     8,690     8,385     9,492     9,346     7,829     9,379    11,059     8,423
Cayman Islands                      15        29        17        13        30        20        23        23        35        20
Central African Republic            34        56        54        44        52        80        61        73       120        82
Chad                                50        69        64        74        84       105        78        72        90        56
                                                                                                                                                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 165 of 222




                                                                                                                                   Venezuela AR_000259
Chile                         1,527    1,586    1,649    1,435    1,486    1,666    1,620    1,752    1,784    1,329
China, People's Republic     32,864   31,868   35,387   30,284   31,241   35,794   37,674   39,600   39,490   26,110
Colombia                     22,693   23,972   22,196   16,478   17,207   18,601   16,184   17,564   17,126   12,768
Congo, Democratic Republic      908    1,173    1,250    1,246    1,490    1,707    1,437    1,776    2,877    2,482
Congo, Republic                 345      381      402      438      473      395      322      316      351      191
Costa Rica                    1,511    1,597    1,661    1,461    1,633    1,862    1,720    1,860    1,859    1,394
Cote d'Ivoire                   694      868      958      910    1,078    1,127      907      908    1,206    1,012
Croatia                         569      725      561      428      563      438      351      371      412      271
Cuba                         21,071   31,244   30,482   24,092   25,770   32,101   25,961   32,089   36,246   31,369
Curacao                           -        -        -       11       17       13       16       20       30       28
Cyprus                          115       92      112      112      107      105       84      125      115       81
Czechia                         485      477      562      565      733      692      595      644      600      426
Czechoslovakia (former)         310      291      232      303      371      344      251      260      325      206
Denmark                         124      133      127      129      243    1,193      769      650      656      508
Djibouti                         22       26       39       26       26       52       48       65       96       94
Dominica                        594      597      642      520      653      610      539      612      740      391
Dominican Republic           20,508   33,351   39,590   23,775   26,665   31,320   29,734   22,970   23,101   18,675
Ecuador                       6,929    8,783    9,470    6,952    7,664    8,568    7,748    7,996    7,731    5,204
Egypt                         5,848    6,191    6,213    5,094    5,693    5,696    5,154    6,549    8,311    6,336
El Salvador                  13,834   16,685   18,401   15,598   16,930   17,213   16,941   17,300   18,260   12,606
Equatorial Guinea                 9       19       14       12       14       18        8        9       15       18
Eritrea                         985    1,059    1,145    1,045    1,494    1,797    1,424    1,457    1,951    1,597
Estonia                         217      234      213      183      208      183      157      190      210      157
Eswatini                         15       10       15        7       12        8       16       13       25        D
Ethiopia                      8,519    8,803    8,323    7,002    8,312    8,725    7,370    6,769    9,065    7,385
Fiji                          1,118    1,134    1,003      770      850      996      841      875      778      624
Finland                         344      329      300      274      301      303      279      283      343      250
France                        2,527    2,358    2,534    2,589    2,784    2,841    2,812    2,854    3,315    2,553
French Polynesia                 14       15        8       20       14       18       14       13       18       15
Gabon                            53       80       72       63       89       83       67       81      113       87
Gambia                          505      556      573      510      685      724      586      650      729      610
Georgia                       1,253    1,271    1,205      898    1,027      988      889      751      973      709
Germany                       4,461    4,192    4,066    4,375    4,380    4,329    3,879    4,284    4,745    3,162
Ghana                         4,690    5,344    5,105    5,108    6,033    6,411    5,777    6,047    6,936    4,973
Greece                          844      867      938      780      867    1,013      945    1,074    1,137      828
Grenada                         528      683      717      544      664      658      629      463      640      478
Guatemala                     7,285    8,797    9,530    8,549    9,344    9,764    9,131    9,566    8,948    6,421
Guinea                          575      787      958      908      999    1,077      957      924    1,069      771
Guinea-Bissau                    29       30       24       27       29       20       25       28       23       20
Guyana                        5,413    6,201    6,295    4,327    5,162    5,284    4,527    4,625    5,089    3,631
Haiti                        14,191   19,114   23,480   13,676   14,053   15,276   12,794   14,389   14,308   10,865
Honduras                      3,980    5,294    5,462    4,433    5,039    5,819    5,310    5,645    6,353    5,150
Hong Kong                     2,184    1,980    2,093    1,801    1,716    1,662    1,623    1,768    1,924    1,545
Hungary                         953    1,014      984      891      941      934      729      922      983      754
Iceland                          76       97       75       70       88       88       83       69      101       69
India                        45,985   42,928   49,897   37,854   42,213   46,188   50,802   52,194   64,631   48,109
Indonesia                     2,345    2,123    2,190    1,568    1,743    1,641    1,566    1,807    2,093    1,359
Iran                          9,286    9,627   11,623    9,620   10,344    9,507    8,324    8,409   11,310    8,828
Iraq                          3,360    3,523    7,771   12,377   14,899   12,130    7,875   12,448   18,366   12,321
Ireland                       1,171    1,239    1,295    1,413    1,375    1,383    1,405    1,621    1,698    1,179
Israel                        3,153    2,859    3,466    3,015    3,182    3,071    2,466    2,743    3,265    2,363
Italy                         2,231    2,234    2,355    2,313    2,760    2,692    2,501    2,920    3,244    2,324
Jamaica                      14,591   15,531   16,442   13,547   16,566   16,772   15,087   17,213   18,010   13,465
Japan                         1,744    1,663    1,837    1,635    1,858    1,758    1,713    1,869    1,969    1,584
                                                                                                                                             Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 166 of 222




                                                                                                                       Venezuela AR_000260
Jordan                           2,345     2,436    2,816    2,427     2,461     2,552     2,239     2,630     3,430    2,607
Kazakhstan                         891     1,040      909      789       819       760       729       823     1,147      803
Kenya                            3,621     4,170    4,257    3,885     4,738     4,834     4,348     4,302     5,329    4,186
Korea, North                        13        19       27       24        23        16        15        30        25       17
Korea, South                    12,664    13,790   15,786   13,587    14,230    14,347    14,643    16,031    16,298   11,350
Kosovo                             465       510      487      392       547       530       410       451       597      482
Kuwait                             869       820      920      791       819       790       677       789     1,111      840
Kyrgyzstan                         440       420      395      305       418       408       412       483       534      411
Laos                             5,452     7,027    3,932    2,564     2,042     1,999     1,726     2,027     2,303    1,704
Latvia                             401       392      364      366       392       356       306       315       365      241
Lebanon                          3,127     2,914    3,002    2,528     2,463     2,284     2,081     2,339     2,683    1,715
Lesotho                             11         7       10        8        11         9         8         9        18        7
Liberia                          3,794     4,322    3,923    3,035     3,042     3,022     2,421     2,752     3,334    2,429
Libya                              180       195      206      228       193       210       207       308       447      309
Lithuania                          973       938      933      744       752       626       584       699       885      529
Luxembourg                          18        23       16       34        20        18        14        20        23       20
Macau                               86       106       97      102       109       101        70        79        92       61
Madagascar                          44        37       50       50        65        75        61        53        63       47
Malawi                              86        85       83       76        91        95        84       114       120       91
Malaysia                         1,137     1,150    1,169    1,052     1,113     1,189     1,170     1,388     1,406      942
Mali                               274       288      332      352       405       456       391       398       446      390
Malta                               54        44       59       40        50        43        47        51        49       37
Marshall Islands                    32        21       17       20        22        27        16        21        15       13
Mauritania                         405       495      520      376       355       323       288       252       319      188
Mauritius                           64        57       67       69        60        63        65        70        67       55
Mexico                          94,783   102,181   99,385   94,889   105,958   103,550   118,559   131,977   122,286   84,081
Micronesia, Federated States        74        73       96       62        85        67        53        34        39       26
Moldova                          1,398     1,602    1,594    1,279     1,681     1,689     1,442     1,680     2,010    1,494
Mongolia                           242       286      347      335       324       437       416       468       541      426
Montenegro                         205       227      231      202       209       222       187       205       254      162
Montserrat                          63        51       65       47        43        45        45        52        50       37
Morocco                          3,656     3,872    3,768    3,538     3,805     3,684     2,943     2,644     3,142    2,462
Mozambique                          49        48       51       34        43        51        38        43        63       32
Namibia                             29        42       40       31        42        33        27        29        61       39
Nepal                            2,235     2,448    2,711    2,888     4,225     5,004     4,509     5,352     7,409    5,793
Netherlands                        778       919      786      665       778       829       699       851       953      667
Netherlands Antilles (former)       60        76       82       43        35        45        42        48        56       48
New Zealand                        480       563      482      453       514       565       468       577       668      577
Nicaragua                        5,092     5,870    5,064    3,775     3,951     4,663     4,181     4,277     4,346    3,474
Niger                              124       143      167      161       180       140       126       110       143      112
Nigeria                          9,344     9,322    9,545    8,667    10,363     9,520     7,652     8,459    11,360    8,929
North Macedonia                    578       635      665      625       611       704       582       669       800      577
Norway                              90        87       80       92        80        93        60        93       111      270
Oman                                37        48       39       41        47        58        30        44        68       66
Pakistan                        10,655    11,150   12,948   11,210    11,912    11,729    10,166    10,414    13,079    9,975
Palau                               68        72       64       50        44        43        32        28        32       23
Panama                           1,340     1,532    1,598    1,277     1,412     1,458     1,266     1,308     1,361      989
Papua New Guinea                    17        16       20        7        21        19        13        17        19       20
Paraguay                           289       338      331      256       338       396       343       401       387      278
Peru                            10,266    11,814   11,782    9,572    10,701    11,319    10,014    10,043     9,899    6,910
Philippines                     42,520    44,958   43,489   34,591    40,815    41,285    36,828    38,816    43,668   33,417
Poland                           8,844     8,715    8,697    8,304     7,886     7,198     5,840     6,370     6,973    4,653
Portugal                         1,426     1,607    1,585    1,587     1,690     1,665     1,807     2,031     1,712    1,081
Qatar                              101       101      107       69        75        98        95        92       105      120
                                                                                                                                                      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 167 of 222




                                                                                                                                Venezuela AR_000261
Romania                             4,314    4,253    4,050    3,267    3,478    3,379    2,986    3,104    3,627    2,320
Russia                              8,257    8,154    8,222    6,824    6,552    6,067    5,534    6,225    7,628    5,360
Rwanda                                265      285      374      302      300      369      267      343      466      410
Saint Kitts and Nevis                 306      319      315      270      360      345      317      281      335      211
Saint Lucia                           600      724      856      635      775      791      697      604      758      574
Saint Vincent and the Grenadines      416      511      574      405      467      500      507      401      528      363
Samoa                                 172      178      206      181      213      192      164      168      239      159
Saudi Arabia                          814      779      927      795      796      869      872      990    1,313      998
Senegal                               752      790      869      806      974      969      882      848      956      742
Serbia                                 85      109      117      276      522      532      476      596      829      569
Serbia and Montenegro (former)      2,185    2,012    1,830    1,338    1,297    1,164      820      805      820      494
Seychelles                             19        8       15        9        7       17        5       11        D       13
Sierra Leone                        1,831    1,861    1,613    1,406    1,692    1,662    1,328    1,177    1,604    1,319
Singapore                             311      293      263      258      285      308      279      332      359      255
Sint Maarten                            -        -        -        7       17       33       21       22        D        D
Slovakia                              421      401      413      317      443      428      384      394      432      275
Slovenia                               57       64       58       52       61       63       52       57       68       68
Somalia                             7,971    9,286    6,875    4,097    3,691    3,998    3,774    3,979    6,915    5,684
South Africa                        2,566    2,294    2,283    2,083    2,538    2,197    1,901    2,262    2,967    2,084
South Sudan                             -       81      139      132      131      101       74      109      146      101
Soviet Union (former)               2,812    2,610    2,807    2,334    2,372    2,268    2,123    2,252    2,280    1,589
Spain                               1,253    1,242    1,367    1,326    1,414    1,515    1,469    1,674    1,945    1,517
Sri Lanka                           1,334    1,146    1,258    1,104    1,246    1,497    1,364    1,480    1,609    1,140
Sudan                               2,444    2,291    1,924    1,482    1,740    1,776    1,348    1,611    2,527    1,753
Suriname                              194      189      160      127      183      164      143      176      170       91
Sweden                                872      798      783      724      885      795      708      797      936      731
Switzerland                           427      427      452      388      411      375      333      436      488      365
Syria                               1,981    1,814    2,196    1,832    2,004    2,043    1,789    2,475    3,364    2,455
Taiwan                              5,065    4,573    5,255    4,326    4,420    4,043    4,151    4,576    4,821    3,422
Tajikistan                            155      142      168      146      156      212      222      261      364      251
Tanzania                              516      543      647      525      553      639      547      561      731      530
Thailand                            5,299    6,585    5,544    4,805    5,213    5,211    4,672    5,324    6,678    5,572
Togo                                1,523    1,448    1,380    1,141    1,171    1,099      907      893    1,054      927
Tonga                                 251      306      371      473      352      337      262      319      354      300
Trinidad and Tobago                 5,014    5,596    5,784    4,147    4,869    4,867    4,504    4,378    4,592    3,027
Tunisia                               377      345      362      310      314      352      344      306      393      295
Turkey                              3,100    3,329    3,390    2,925    3,150    3,201    3,108    3,275    3,289    2,305
Turkmenistan                          146      136      160      110      153      102      109      117      203      122
Turks and Caicos Islands               36       49       47       26       33       31       26       40       28       28
Uganda                                838      820      763      724      817      823      742      703      922      727
Ukraine                             8,489    9,459    8,624    6,984    8,926    8,374    6,644    6,990    8,019    5,444
United Arab Emirates                  425      431      499      435      443      473      475      542      730      545
United Kingdom                      9,246    9,145    9,459    8,906   10,095    9,562    9,049   10,530   12,195    8,842
United States                          45       60       55       31       75       95       84      122      174      163
Uruguay                               751      849      933      812      902    1,044    1,028    1,073    1,088      822
Uzbekistan                          2,463    3,071    2,482    1,725    1,660    1,685    1,498    1,532    1,950    1,482
Venezuela                           6,856    7,404    7,648    6,871    8,192    7,633    6,463    8,172    9,317    6,993
Vietnam                            20,922   23,490   24,277   18,837   21,976   24,848   19,323   21,082   25,646   22,705
Virgin Islands, British                48       41       45       49       59       46       42       54       59       45
Yemen                               1,320    1,452    1,355    1,160    1,284    1,490    1,445    1,544    2,509    2,158
Zambia                                337      338      352      318      370      404      401      402      501      340
Zimbabwe                              715      691      658      734      852      843      675      709      810      559
All other countries1                   45       40       41       41       41       42       38       42       63       50
Unknown                               337      359      201      142       89       26      206      634      394      233
                                                                                                                                                   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 168 of 222




                                                                                                                             Venezuela AR_000262
D Data withheld to limit disclosure.
- Represents zero.
1
  Includes countries with fewer than 10 naturalizations per year.
Note: Based on N-400 data for persons aged 18 and over.
Source: U.S. Department of Homeland Security.
                                                                                          Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 169 of 222




                                                                    Venezuela AR_000263
UNCLASSIFIED // FOR OFFICIAL USE ONLY                                                                                                                                                                                        23 September    2022
                                                                                                                                                                                                                                     23 September
                                                                                                                                           Since previous report, 792 supporter applications were filed on behalf of Ukrainian U4U
                                                                                                                                           parolees. Since March 24th, a total of 152,660 Ukrainians have entered the United States,
                                                                                                                                                                                                                                         2022
    Uniting for Ukraine                                                                                                                    including 58,356 U4U parolees and 0 unaccompanied children.


                     I-134 Data Transmitted From USCIS to CBP                                                         Approval/Denial Status Sent to USCIS Approved Ukrainian Citizens Schedule Travel                                                    Travel Status Checked For Arriving Ukrainians




                                                                                                                            MyUSCIS



               U4U SUPPORTER APPLICATIONS                                                              U4U USCIS ACCOUNTS                                                        TRAVEL AUTHORIZATIONS                                                          U4U ARRIVALS AT POES
180,000
                                                          133,711                                                                     96,797                                                                          94,306                                                                        58,356
160,000
                                               Cumulative applications                                                                       Cumulative                                                       Cumulative approvals                                                            Cumulative parolees
140,000                                          +792 since previous report                                                     beneficiary accounts                                                         +564 since previous report                                                   +605 since previous report
120,000                                114,078                                                                              +594 since previous report
                                                                                                                      96,797                                                                       94,306
100,000                                                                                                                                                                                                                                                                                                                     0
 80,000                                                                                                                                                                                                                                                                                 Cumulative UC parolees
                                                                                                                                                                                                                                                            58,356                           + 0 since previous report
 60,000
                                                                                                                                                                                                                 35,950                                                                   Port of Entry Parole Grants
 40,000
                                                                                                                                                                                                                                                                                                    Air         57,908
 20,000                    9,240                      7,500                                                                                                                                                                                                                                       Land           445
                                                                                                            0                                                                           142                                    2,124                                                               Sea         0 3
       0
                                                                                                 Pending                 Approvals/Confirmations                    Denials/Non-Confirmations                    Active approvals
     OTHER ADMISSIONS &                                                                                                                                                                                                                                                                        152,660
     HUMANITARIAN RELIEF                                                                                                                                                                                                                                                                        Total Entries Since
                                                                                                                                                                                                                                                                                                       March 24th
                                                                                                                                                                                                                                                                                       +1,042 since previous report

                 TPS APPLICATIONS                                                                          EAD APPLICATIONS                                                           ADMISSIONS & NON-U4U PAROLE
                        S I NC E A P R . 19TH                                                                     S I NC E M A R . 2 4TH                                                                      S I NC E M A R . 2 4TH
  180,000                                                                                 180,000
                                                                                                                                                                                                                                                                                                     24,469
  160,000                                     24,452                                      160,000                                   50,853                                                                                                                                                          Admissions
                                                                                                                                                                                             Im migr an ts
                                                                                                                                                                                                                                                                                            +166 since previous report
  140,000                          Cumulative applications                                140,000                       Cumulative applications
  120,000                                                                                 120,000                                                                                                                                                                                                    45,966
                                      +87 since previous report                                                           +558 since previous report
                                                                                                                                                                                       Non immigrants                                                                                               Admissions
  100,000                                                                                 100,000                                                                                                                                                                                           +247 since previous report

   80,000                                                                                  80,000                                                                                                                                                                                                    22,936
                                                                                                                                                                                   Traditional P ar olees                                                                                              Entries
   60,000                                                                                  60,000                                                                                                                                                                                             +5 since previous report
                                                                                                                                                                                                                                                                                                                            Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 170 of 222




   40,000          19,863                                                                  40,000                                                     24,123                                                                                                                                           933
                                                                                                                                                                                                Refu gees
                                                                                                             16,495                                                                                                                                                                                 Admissions
   20,000                                                                                  20,000                                10,235
                                       4,551               38                                                                                                                                                                                                                                +19 since previous report
           0                                                                                       0                                                                                                         0                   40,000                 80,000                 120,000                160,000
                                                                                           TPS Applicants             Traditional Parolees            U4U Parolees                                               B1/B2                   Other                     Total
                                                                                                                                                                                                                                                             Venezuela AR_000264
 Notes: Report data are person-level (i.e., exclude duplicate entry records). U4U supporter application denials data include expired applications and exclude administrative closures. Active approvals include unexpired approvals for beneficiaries who remain outside the United States (and are therefore eligible to
 enter in the future). As of 9/22/22, 100% of Ukrainians with approved U4U travel authorizations arriving at POEs have entered the United States as parolees. TPS application denials data include withdrawn applications. Non-U4U admission and parole data exclude returning LPRs, crew members, inadmissible
 Ukrainians, and unknown classes of admission. Data validity times: 6:35 AM for U4U parole application and my USCIS account data; 6:12 AM for travel authorization, U4U entries, and other Ukrainian admissions data; 6:43 AM for TPS applications data valid; and 9:00 AM for EAD applications data.                                                                1
UNCLASSIFIED // FOR OFFICIAL USE ONLY                                                                                                                                                                                                                     23 September 2022
                                                                                                                                                                                                                                                               23 September
                                                                                                                                                                                                                                                                   2022
  Uniting for Ukraine


                                                     I-134 Supporters by Top Metro Areas                                                                                                U4U Entries by Top POEs
                                     Metro Area                                                                          Total            % of Total                         Port of Entry                                Total            % of Total
                                     New York-Newark-Jersey City, NY-NJ-PA                                              22,220                17%                            JFK                                         12,369                21%
                                     Chicago-Naperville-Elgin, IL-IN-WI                                                 16,997                13%                            ORD                                         11,207                19%
                                     Seattle-Tacoma-Bellevue, WA                                                         7,244                 5%                            EWR                                          5,736                10%
                                     Philadelphia-Camden-Wilmington, PA-NJ-DE-MD                                         6,046                 5%                            SEA                                          3,967                 7%
                                     Los Angeles-Long Beach-Anaheim, CA                                                  4,579                 3%                            LAX                                          3,178                 5%
                                     Sacramento-Roseville-Folsom, CA                                                     3,861                 3%                            MIA                                          3,128                 5%
                                     Miami-Fort Lauderdale-Pompano Beach, FL                                             3,529                 3%                            SFO                                          2,462                 4%
                                     Portland-Vancouver-Hillsboro, OR-WA                                                 3,249                 2%                            ATL                                          2,324                 4%
                                     Detroit-Warren-Dearborn, MI                                                         2,983                 2%                            IAD                                          1,662                 3%
                                     Cleveland-Elyria, OH                                                                2,966                 2%                            BOS                                          1,596                 3%
                                     Washington-Arlington-Alexandria, DC-VA-MD-WV                                        2,587                 2%                            Other                                       10,727                18%
                                     San Francisco-Oakland-Berkeley, CA                                                  1,974                 1%                            Total                                       58,356                N/A
                                     Non-CBSA                                                                            1,896                 1%
                                     Atlanta-Sandy Springs-Alpharetta, GA                                                1,779                 1%
                                     Boston-Cambridge-Newton, MA-NH                                                      1,634                 1%
                                     Other                                                                               50,167                38%
                                     Total                                                                             133,711                N/A


                                                                                                                  U4U Parolees by Age & Sex
                                       12,000

                                       10,000                                                                                                 9,558                                                                   Female                    Male
                                                               8,327 8,587
                                                                                                      7,925
                                        8,000
                                                                                                                                                      6,018                          6,322
                                        6,000
                                                                                                              4,507
                                        4,000                                                                                                                                                                                3,172
                                                                                                                                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 171 of 222




                                                                                                                                                                                             2,360
                                        2,000                                                                                                                                                                                        1,575


                                              0
                                                                   0-17                                   18-30                                   31-44                                  45-60                               61 and over
                                                                                                                                                                                                                                        Venezuela AR_000265
          Notes: Age group 0-17 contains 3 parolees whose gender is unknown. Age group 31-44 contains 2 parolees whose gender is unknown. Data validity times: 6:35 AM for I-134 supporters by top metro areas; 6:12 AM for U4U entries by POE and U4U Parolees by age & sex.                                            2
                                                          UNCLAS//FOUO

                            Homeland Security Task Force Southeast
                                          Operation Vigilant Sentry Phases
                                Prevent, Deter, and Respond to Illegal and Unsafe Maritime Migration
                                                                                                                             Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 172 of 222




Ref: OPERATION VIGILANT SENTRY Rev 5 dated 13 July 2021                                                Venezuela AR_000266
                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 173 of 222




                                                                                                                             Venezuela AR_000267
               Homeland Security Task Force Southeast
UNCLAS//FOUO
    Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 174 of 222
                                 CHNV DISPLACEMENT DATA (2018 -2021)




Figure 1. USAID Data Library Query: IDPs (2018-2021) 1

Cuba
Displacement to other countries
     x   2018: 32,091 displaced 2
         Top Destinations: 22% Brazil (7,168), 19.3 % Uruguay (6,198), 10.3 % Chile (3,307), 9.1%
         Peru (2,930) 3
     x   2019: 62,600 displaced 4
         Top Destinations: 23.6 % Brazil (14,798), 19.8% Uruguay (12,396), 12.2% United States
         (7,664), 11.3% Mexico (7,071). 5
     x   2020: 71,100 displaced 6
         Top Destinations: 22.1% Brazil (15,751), 17.3% United States (12,342), 14.5 % Mexico
         (10,325) 12.8% Uruguay (9,135). 7
     x   2021: 83,100 displaced 8
         Top Destinations: 32.5% Mexico (27,047), 25% United States (20,729), 19.3 % Brazil
         (16,061), 12.4% Uruguay (10,341). 9



1
  'New Displacement' refers to the number of new cases or incidents of displacement recorded over the specified
year, rather than the number of people displaced. This is done because people may have been displaced more
than once. See IDEA: QUERY (usaid.gov)
2
  UNHCR: Global Trends 2018.
3
  OCHA Cuba - Data on forcibly displaced populations and stateless persons
4
  Cuba - Data on forcibly displaced populations and stateless persons
5
  OCHA Cuba - Data on forcibly displaced populations and stateless persons
6
  Cuba - Data on forcibly displaced populations and stateless persons
7
  OCHA Cuba - Data on forcibly displaced populations and stateless persons
8
  Cuba - Data on forcibly displaced populations and stateless persons
9
  OCHA Cuba - Data on forcibly displaced populations and stateless persons



                                                                                        Venezuela AR_000268
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 175 of 222
                              CHNV DISPLACEMENT DATA (2018 -2021)


U.S. Population
      x   Based on 2021 American Community Survey Data, there are approximately 2,400,152 people of
          Cuban ancestry residing in the United States. 10 This population primarily resides in Florida.
              o Florida (1,541,559)
                       Within this population, 565,059 individuals are native, and 976,500 are foreign
                          born.
              o Texas (123,565)
              o California (103,500)
              o New Jersey (94,260)
              o New York (83,771). 11
      x   In FY 2020, 31,369 Cubans naturalized; a majority of these individuals reside in Florida. 12
      x   As of August 2022, there are more than 500,000 Cubans who are lawful permanent residents.
              o More than 400,000 Cubans eligible to naturalize; they reside primarily in Florida. 13

Haiti
Internally Displaced Persons (IDPs)
      x   According to UNHCR data, Haitian IDPs have increased over the past 3 years.
             o 2019: 2,100
             o 2020: 7,900
             o 2021: 17,000. 14



      x   Due to continued violence 13,600 people displaced from Port-au-Prince Metropolitan area,
          increasing number of IDPs to an estimated 17,000 people from August 2020 to June 23, 2021. 15
               o Bel’Air: 1,242
               o Tabarre Issa: 2,160
               o Toussaint Brave: 413
               o Carrefour (Sports Centre): 1,115
               o Delmas 2 (Salvation Army): 500
               o Delmas 2 (Ecole Komite): 1,000
               o Eglise St. Yves: 1,000
               o Delmas 103: 500
               o Saint Martin/Delmas 2: 4,000
               o Others: 5,110 (estimates within host families and other departments) 16
      x   In the first two weeks of June 2021, approximately 10,000 people were internally displaced in
          Haiti. 17

10
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
11
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
12
   U.S. Department of Homeland Security, Office of Immigration Statistics.
13
   USCIS Eligible to Naturalize Dashboard.
14
   United Nations High Commissioner for Refugees (UNHCR) (2019). UNHCR Statistical Online
Population Database. UNHCR Refugee Statistics
15
   OCHA Haiti: Displacements due to gang violence in Port au Prince Situation Report No.3, June 23, 2021; Refugees
and internally displaced persons - The World Factbook (cia.gov)
16
   OCHA Haiti: Displacements due to gang violence in Port au Prince Situation Report No.3, June 23, 2021
17
   OCHA Haiti: Displacements due to gang violence in Port-au-Prince Situation Report No. 2, June 14, 2021



                                                                                         Venezuela AR_000269
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 176 of 222
                              CHNV DISPLACEMENT DATA (2018 -2021)


              o    8,500 of these IDPs were women and children internally displaced due to gang
                   violence. 18
      x   August 14, 2021: 7.2 magnitude earthquake leads to 19,000 IDPs and 40,000 displaced persons. 19
              o Conditions for Haitians who were displaced due to August 2021 earthquake as well as
                   Haitians who were displaced due to gang-related violence in the Port-au-Prince
                   Metropolitan area “have significantly deteriorated, especially for 6,830 households living
                   in makeshift [IDP] sites [in Haiti].” 20
      x   Gang violence has led to internal displacement of thousands of Haitian families who have left the
          Port-au-Prince metropolitan area (Bel-air, Bas-Delmas, Centre-Ville, Martissant, Cité Soleil,
          Croix-des-Bouquets and Tabarre) from the October 2020 to 2022. 21
              o “Thousands of households, including children, have been forced to flee these areas for
                   their safety, many are being accommodated in host families who themselves are having to
                   stretch their means to support additional family, and others have had to move to
                   provincial towns.” 22
      x   April to May 2022: approximately 16,800 individuals internally displaced as violence from
          organized crime increased in Port-au-Prince and surrounding area. 23
      x   May to June 2022: 1000 individuals internally displaced as insecurity persists. 24
      x   9,000 Haitians were displaced from Croix-des-Bouquets, Tabarre and Cité Soleil as they fled
          gang violence. 25

Displacement to other countries
      x   2018 total: 68,511 displaced 26
      x   From 2019-2022, the number of Haitians who fled to other countries increased.
             o 2019: 92,400 displaced
                  Top Destinations:
             o 2020: 105,900 displaced
                  Top Destinations:
             o 2021: 165,000 displaced 27
                  Top Destinations: 42% Mexico (69,877), 32% United States (53,028), 23.5% Brazil
                  (38,717) 28




18
   Haiti: about 8,500 women and children displaced by ‘urban guerrilla’ in two weeks (unicef.org)
19
   United Nations Economic and Social Council: Report of the Ad Hoc Advisory Group on Haiti, April 18, 2022.
20
   United Nations Office for the Coordination of Humanitarian Affairs, “Haiti: Impact of social unrest on the
humanitarian situation Flash Update #1,” September 22, 2022.
21
   UNICEF Haiti Humanitarian Situation Report, Mid-Year 2022.
22
   UNICEF Haiti Humanitarian Situation Report #1 (Mid-Year 2022)
23
   USAID BHA - Haiti Complex Emergency Fact Sheet #6
24
   USAID BHA - Haiti Complex Emergency Fact Sheet #6
25
   Voices of The Displaced | UNICEF
26
   UNHCR: Global Trends 2018.
27
   Haiti - Data on forcibly displaced populations and stateless persons - Humanitarian Data Exchange (humdata.org)
28
   “Demographics and locations of forcibly displaced persons originating from Haiti,” United Nations Office for the
Coordination of Humanitarian Affairs, Humanitarian Data Exchange, accessed September 24, 2022,
https://data.humdata.org/dataset/9c29bda6-7653-4c7e-9268-66d27457ab85/resource/70efe5e6-85ac-4cf1-a18f-
4c0d0ce3e4cb/download/demographics_originating_hti.csv



                                                                                         Venezuela AR_000270
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 177 of 222
                                CHNV DISPLACEMENT DATA (2018 -2021)




Figure 2. Displacements from Haiti (2012-2021) 29




U.S. Population
      x   Based on 2021 American Community Survey Data, there are approximately 1,054,233 people of
          Haitian ancestry residing in the United States. 30 This population primarily resides in Florida and
          New York.
              o Florida (479,714)
              o New York (180,710).
              o Massachusetts (78,510)
              o New Jersey (68,558) 31
      x   In FY 2020, 10,865 Haitians naturalized; most of these individuals reside in Florida, New York,
          and Massachusetts. 32
      x   As of August 2022, there are more than 200,000 Haitians who are lawful permanent residents.
              o More than 138,000 Haitians are eligible to naturalize; they reside primarily in Florida,
                  New York, Massachusetts, and New Jersey. 33


Nicaragua
Displacement to other countries
“Restrictions on civic space and persecution of perceived opponents, in addition to the worsening socio-
economic situation, have led to an increase in the number of people leaving Nicaragua for the United
States, from 5,450 people intercepted at the border in all of 2020, to 84,055 in the first six months of



29
   Haiti - Data on forcibly displaced populations and stateless persons - Humanitarian Data Exchange (humdata.org)
30
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
31
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
32
   U.S. Department of Homeland Security, Office of Immigration Statistics.
33
   USCIS Eligible to Naturalize Dashboard.



                                                                                         Venezuela AR_000271
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 178 of 222
                              CHNV DISPLACEMENT DATA (2018 -2021)


2022. The number of refugees and asylum seekers in Costa Rica had reached over 150,000 people as of
March 2022.” 34

      x   2018: 33,942 displaced 35
          Top Destinations: 68% Costa Rica (23,162), 10.2% Panama (3,464), 10% United States
          (3,393), 4.1% Spain (1,395) 36
      x   2019: 71,200 displaced 37
          Top Destinations: 63% Costa Rica (44,883), 11% Panama (7,728), 9% Spain (6,327), 10.3%
          United States (7,350) 38
      x   2020: 70,800 displaced 39
          Top Destinations: 60% Costa Rica (42,511), 14.3 % United States (10,127), 8.2% Panama
          (5,841), 9.8% Spain (6,943) 40
      x   2021: 175,100 displaced 41
          Top Destinations: 81% Costa Rica (141,301), 16% Mexico (28,006), 8% United States
          (13,845), 4% Guatemala (7,065) 42
      x   2022:

U.S. Population
      x   Based on 2021 American Community Survey Data, there are approximately 457,005 people of
          Nicaraguan ancestry residing in the United States. 43 This population primarily resides in Florida
          and California. 44
              o Florida (166,933)
              o California (118,963)
      x   In FY 2020, 3,474 Nicaraguans naturalized; most of these individuals reside in Florida. 45
      x   As of August 2022, there are more than 30,000 Nicaraguans who are lawful permanent
          residents.
              o Almost 20,000 Nicaraguans are eligible to naturalize; they reside primarily in Florida,
                  California, Texas, and New York. 46


34
   Human rights situation in Nicaragua - Report of the United Nations High Commissioner for Human Rights
(A/HRC/51/42) (Unofficial English Translation)
35
   UNHCR: Global Trends 2018.
36
   Nicaragua - Data on forcibly displaced populations and stateless persons - Demographics and locations of
forcibly displaced persons originating from Nicaragua - Humanitarian Data Exchange (humdata.org)
37
   Nicaragua - Data on forcibly displaced populations and stateless persons
38
   Nicaragua - Data on forcibly displaced populations and stateless persons - Demographics and locations of
forcibly displaced persons originating from Nicaragua - Humanitarian Data Exchange (humdata.org)
39
   Nicaragua - Data on forcibly displaced populations and stateless persons
40
   Nicaragua - Data on forcibly displaced populations and stateless persons - Demographics and locations of
forcibly displaced persons originating from Nicaragua - Humanitarian Data Exchange (humdata.org)
41
   Nicaragua - Data on forcibly displaced populations and stateless persons
42
   Nicaragua - Data on forcibly displaced populations and stateless persons - Demographics and locations of
forcibly displaced persons originating from Nicaragua - Humanitarian Data Exchange (humdata.org); See also
UNHCR - Number of displaced Nicaraguans in Costa Rica doubles in less than a year.
43
   Census Bureau Tables
44
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
45
   U.S. Department of Homeland Security, Office of Immigration Statistics.
46
   USCIS Eligible to Naturalize Dashboard.



                                                                                        Venezuela AR_000272
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 179 of 222
                              CHNV DISPLACEMENT DATA (2018 -2021)




Venezuela
Displacements to other countries
x     By the end of 2018, more than 3 million Venezuelans fled to the Latin America and the Caribbean
      region. 47
x     For the first time, asylum claims from Venezuelans dominated the global asylum statistics with
      341,800 new asylum claims in 2018, accounting for more than 1 in 5 claims submitted. 48
          o Most asylum claims made in Peru (190,500), Brazil (61,600), and United States (27,500) 49



      x   2018: 3,078,226 displaced 50
          Top Destinations: 38% Columbia (1,174,375), 21% Peru (656,274), 9.4% Chile (288,233),
          8.5% Ecuador (262,572), 4% Argentina (128,183). 51
      x   2019: 4.5 million displaced 52
      x   2020: 4.9 million displaced 53
          According to UNHCR, Venezuela was the third largest country of internationally displaced
          persons in 2020, with more than 90,000 refugees, almost 800,000 asylum-seekers and more than
          3.5 million Venezuelans displaced abroad that year. 54
      x   2021: 5.6 million displaced 55
          Top Destinations: Peru, Ecuador, Chile, Colombia, United States. 56
          Refugees: 199,000; Asylum seekers: 971,000 57
          Total Venezuelans displaced internationally in 2021: 4.4 million 58
          Among refugees and Venezuelans displaced abroad in 2021:
             o   72 percent lived in countries neighboring their countries of origin. 59

47
   UNHCR: Global Trends 2018.
48
   UNHCR: Global Trends 2018.
49
   UNHCR: Global Trends 2018.
50
   UNHCR: Global Trends 2018.
51
   Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations and stateless persons - Demographics
and locations of forcibly displaced persons originating from Venezuela (Bolivarian Republic of) - Humanitarian Data
Exchange (humdata.org)
52
   Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations and stateless persons - Humanitarian
Data Exchange (humdata.org)
53
   Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations and stateless persons - Humanitarian
Data Exchange (humdata.org)
54
   United Nations Department of Economic and Social Affairs, Population Division (2020). International Migration
2020 Highlights (ST/ESA/SER.A/452).
55
   Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations and stateless persons - Humanitarian
Data Exchange (humdata.org)
56
   Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations and stateless persons - Demographics
and locations of forcibly displaced persons originating from Venezuela (Bolivarian Republic of) - Humanitarian Data
Exchange (humdata.org)
57
   UNHCR Venezuela Situation
58
   Refugee Statistics | USA for UNHCR (unrefugees.org)
59
   UNHCR: Global displacement hits another record, capping decade-long rising trend (unrefugees.org); UNHCR
Global Trends: Forced Displacement in 2021.



                                                                                          Venezuela AR_000273
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 180 of 222
                                 CHNV DISPLACEMENT DATA (2018 -2021)


              o    Colombia hosted 1.8 million Venezuelans displaced abroad.
              o    Globally, there were 6.1 million Venezuelan refugees, asylum seekers and migrants
                   combined in 2021 (reported through the Coordination Platform for Refugees and
                   Migrants from Venezuela). 60




Figure 3. Total Venezuelans Displaced Across Borders in millions (2012-2021). 61

      x   2022:
          “[As of] May 2022, more than 6.1 million Venezuelans were living outside of Venezuela,
          according to R4V, led by the International Organization for Migration (IOM) and UNHCR.” 62
              o Out of almost 6 million displaced Venezuelans, 4.8 million lived in the Latin America
                  Caribbean region as of September 2021. 63

U.S. Population
      x   Based on 2021 American Community Survey Data, there are approximately 659,631 people of
          Venezuelan ancestry residing in the United States. 64 Top destinations for Venezuelans are
          Florida and Texas.
              o Florida (307,448)
              o Texas (99,700) 65


60
   UNHCR: Global displacement hits another record, capping decade-long rising trend (unrefugees.org)
61
   OCHA Humanitarian Data Exchange, Venezuela (Bolivarian Republic of) - Data on forcibly displaced populations
and stateless persons.
62
   USAID: Venezuela Regional Crisis – Complex Emergency, June 14, 2022.
63
   UNHCR Venezuela Situation - Response in the Americas (May - September 2021).
64
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table
65
   S0201: SELECTED POPULATION PROFILE... - Census Bureau Table



                                                                                        Venezuela AR_000274
     Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 181 of 222
                                 CHNV DISPLACEMENT DATA (2018 -2021)


       x   In FY 2020, 6,993 Venezuelans naturalized; most of these individuals reside in Florida. 66
       x   As of August 2022, there are more than 120,000 Venezuelans who are lawful permanent
           residents.
               o More than 70,000 Venezuelans are eligible to naturalize; they reside primarily in Florida,
                   Texas, and New York. 67




66
     U.S. Department of Homeland Security, Office of Immigration Statistics.
67
     USCIS Eligible to Naturalize Dashboard.



                                                                                    Venezuela AR_000275
               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 182 of 222



JJQ=H#HKS/ALKNP
                 JUNE 2022
                             U.S. Naturalizations: 2021
                             SEAN LEONG



                             1DA J=PQN=HEV=PEKJ LNK?AOO ?KJBANO 20 ?EPEVAJODEL QLKJ =LLHE?=JPO SDK D=RA BQHłHHA@ PDA
                             NAMQENAIAJPO AOP=>HEODA@ EJ PDA &IIECN=PEKJ =J@ +=PEKJ=HEPU ?P Ġ&+  BPAN J=PQN=HEV=PEKJ 
                             BKNAECJ>KNJ?EPEVAJOAJFKU=HIKOP=HHPDAO=IA>AJAłPO NECDPO =J@NAOLKJOE>EHEPEAOPD=PPDA20
                               KJOPEPQPEKJCERAOPK20?EPEVAJO=P>ENPD EJ?HQ@EJCPDANECDPPKRKPA1DA2021 U.S. Naturalizations
                             Annual Flow Report  =QPDKNA@ >U PDA ,Bł?A KB &IIECN=PEKJ 0P=PEOPE?O Ġ,&0  EJ PDA !AL=NPIAJP KB
                             %KIAH=J@0A?QNEPUĠ!%0 LNAOAJPOEJBKNI=PEKJKJPDAJQI>AN=J@?D=N=?PANEOPE?OKB=LLHE?=JPO
                             =CA@UA=NO=J@KRANSDKJ=PQN=HEVA@@QNEJC 

                             SUMMARY
                             1DAJQI>ANKB20J=PQN=HEV=PEKJONKOAPK LANOKJOEJ QLLAN?AJPBNKI EJ
                             Ġ1=>HA Ġ#ECQNA =J@QLLAN?AJPBNKIPDA=RAN=CAKB 1DAOQOLAJOEKJKBEJLANOKJJ=PQ
                             N=HEV=PEKJOANRE?AOBNKI*=N?D PK'QJA PKDAHLOHKSPDAOLNA=@KB ,3&!?KJPNE>QPA@PKPDA
                             HKSANJQI>ANKBJ=PQN=HEV=PEKJOEJĠ#ECQNA 1DAJQI>ANKB=LLHE?=PEKJOBKN?EPEVAJODELEJ@A?NA=OA@
                             PK BNKI =LLHE?=PEKJOEJ=J@S=O@KSJBNKIPDA=RAN=CAKB 
                             = LLHE?=PEKJO1DAJQI>ANKBJ=PQN=HEV=PEKJO@KAOJKPI=P?DPDAJQI>ANKB=LLHE?=PEKJO@QAPKLNAREKQOHU
                             Figure 1.
                             Persons Naturalized by Month: Fiscal Years 2019 to 2021


                                             120


                                             100


                                              80
                                 Thousands




                                              60


                                              40


                                              20


                                               0
                                                Oct-18   Jan-19      Apr-19        Jul-19       Oct-19        Jan-20        Apr-20        Jul-20        Oct-20       Jan-21        Apr-21         Jul-21 Sep-21

                                                                                                                   Quarter/Fiscal Year


                             SRurce'+SOIÀceRI,PPLJratLRnStatLVtLcV



                             1
                                ,QWKLVUHSRUW´\HDUVµUHIHUWRÀVFDO\HDUVZKLFKUXQIURP2FWREHU1WR6HSWHPEHU1XPEHUVLQWKHWH[WRIWKLVUHSRUWDUHURXQGHGWRWKHQHDUHVWWKRXVDQGSOHDVHUHIHUWRGDWD
                                  WDEOHVIRUSUHFLVHÀJXUHV
                             2
                                7KLVUHSRUWGRHVQRWLQFOXGHGDWDRQFKLOGUHQDFTXLULQJFLWL]HQVKLSEDVHGXSRQWKHFLWL]HQVKLSVWDWXVRIDSDUHQW7KHFKLOGRID86FLWL]HQSDUHQWPD\DFTXLUHFLWL]HQVKLSXVLQJ
                                  WKH1 QDWXUDOL]DWLRQ RUWKH1. H[SHGLWHGQDWXUDOL]DWLRQ EXWWKH\DUHQRWUHTXLUHGWRGRVRDQGPRVWGRQRW7KHUHIRUHQDWXUDOL]DWLRQVGHVFULEHGLQWKLVUHSRUW
                                  REWDLQHGIURP1UHFRUGVDQGOLPLWHGWRDSSOLFDQWVZKRDUH1\HDUVRIDJHRUROGHUGRQRWUHSUHVHQWDFRPSOHWHFRXQWRISHUVRQVZKRREWDLQHGFLWL]HQVKLSVWDWXVGXULQJWKH
                                  UHSRUWLQJ\HDU
                             
                                1DWXUDOL]DWLRQQXPEHUVUHÁHFWFKDQJHVLQWKHQXPEHUVRIQDWXUDOL]DWLRQDSSOLFDWLRQVUHFHLYHGDVZHOODVWKHQXPEHUSURFHVVHGZKLFKPD\EHDIIHFWHGE\DSSOLFDWLRQVSHQGLQJ
                                 IURPSUHYLRXV\HDUVDQGDYDLODEOHUHVRXUFHV$VDUHVXOWFDXWLRQVKRXOGEHH[HUFLVHGLQGUDZLQJFRQFOXVLRQVIURPWKHVHGDWDDERXWWUHQGVLQWKHXQGHUO\LQJGHPDQGWRQDWXUDOL]H
                                  $YHUDJHQDWXUDOL]DWLRQWRWDOVRYHUDSHULRGRI\HDUVSURYLGHDPRUHDFFXUDWHLQGLFDWLRQRIORQJWHUPWUHQGVLQQDWXUDOL]DWLRQ




                                                                                                                                                   ,Bł?AKB&IIECN=PEKJ0P=PEOPE?O
                                                                                                                                                           OFFICE OF STRATEGY, POLICY, AND PLANS

                                                                                                                                                                 Venezuela AR_000276
                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 183 of 222
Figure 2.
Persons Naturalized: Fiscal Years 1909 to 2021


                1,200


                1,000


                 800
    Thousands




                 600


                 400


                 200


                    0
                     1909 1913 1917 1921 1925 1929 1933 1937 1941 1945 1949 1953 1957 1961 1965 1969 1973 1977 1981 1985 1989 1993 1997 2001 2005 2009 2013 2017 2021

                                                                                        Fiscal Years


SRurce '+S OIÀce RI ,PPLJratLRn StatLVtLcV



Figure 3.                                                                                       =@FQ@E?=PA@=LLHE?=PEKJO @AJE=HO =J@@AH=UOEJ=LLHE?=PEKJLNK
Applications for U.S. Citizenship: Fiscal Year 2021                                             ?AOOEJCĠ#ECQNA  1DAHA=@EJC?KQJPNEAOKB>ENPDKBJASHU
                                                                                                J=PQN=HEVA@?EPEVAJOBKNSANA*ATE?KĠ  &J@E=
                                                                                                Ġ  PDA-DEHELLEJAOĠ   Q>=Ġ  =J@PDA
                                        Applications Approved
                                        (Millitary Status not Reported)                         -AKLHAO/ALQ>HE?KB DEJ=Ġ DEJ= Ġ  Ġ1=>HA 1DAPKL
                                        12,294                                                  PDNAAOP=PAOKBNAOE@AJ?AKBLANOKJOJ=PQN=HEVEJCSANA =HEBKNJE=
                                                                  Applications Denied
                  Applications Approved
                                                                  85,170                        Ġ  #HKNE@=Ġ  =J@+AS6KNGĠ  Ġ1=>HA 
                (Military Naturalizations)
                                    4,462
                                                                                                THE NATURALIZATION PROCESS AND REQUIREMENTS
                                                                                                1K>A?KJOE@ANA@BKNJ=PQN=HEV=PEKJ =J=LLHE?=JPIQOPIAAP&+
                                                                                                NAMQENAIAJPO=J@BEHAOQ?D@K?QIAJP=PEKJKJ=#KNI+ 
                                                                                                Application for Naturalization20 EPEVAJODEL=J@&IIECN=PEKJ
                                                                                                0ANRE?AOĠ20 &0 NAREASOPDA=LLHE?=PEKJ=J@EJPANREASO=HH=LLHE
                                                                                                ?=JPOPK@APANIEJAPDAENAHECE>EHEPUPKJ=PQN=HEVA#KHHKSEJC
                                                                                                =LLNKR=H 20 &0O?DA@QHAO=LLHE?=JPOBKN=NAMQENA@K=PD?ANAIKJU
                                                                                                >ABKNA=FQ@CAKN20 &0KBBE?E=H
                                        Petitions Approved (Civilian Naturalizations)           $AJAN=HHU PKJ=PQN=HEVA =LLHE?=JPOIQOP>A=PHA=OPUA=NOKB=CA 
                                                         797,105
                                                                                                AOP=>HEODPD=PPDAUD=RA>AAJH=SBQHHU=@IEPPA@PKPDA2JEPA@0P=PAO
                                                                                                BKNLANI=JAJPNAOE@AJ?A=PPDAPEIAKBBEHEJCPDAJ=PQN=HEV=PEKJ
                                                                                                =LLHE?=PEKJ =J@D=RANAOE@A@?KJPEJQKQOHUEJPDA2JEPA@0P=PAOBKN
                                                                                                =PHA=OPUA=NO=O=H=SBQHLANI=JAJPNAOE@AJPĠ)-/ EIIA@E=PAHU
                                                                                                LNA?A@EJCPDA@=PAKBBEHEJCPDA=LLHE?=PEKJ=J@QLPKPDAPEIAKB
                                                                                                =@IEOOEKJPK?EPEVAJODEL1DA=LLHE?=JPCAJAN=HHUIQOP>ALDUOE
                               Petitions Approved (Civilian Naturalizations)                    ?=HHULNAOAJPEJPDA2JEPA@0P=PAOBKN=PHA=OPIKJPDOKQPKBPDA
                                                                                                UA=NOEIIA@E=PAHULNA?A@EJCPDA@=PAKBBEHEJCPDA=LLHE?=PEKJ
                               Applications Approved (Military Naturalizations)
                                                                                                =J@IQOPD=RAHERA@SEPDEJPDAOP=PAKN@EOPNE?PSEPDFQNEO@E?PEKJ
                               Applications Approved (Millitary Status not Reported)            KRANPDA=LLHE?=JPOLH=?AKBNAOE@AJ?ABKN=PHA=OP@=UOLNEKNPK

                               Applications Denied                                              4
                                                                                                   See2021Yearbook of Immigration Statistics7aEle20ApplLcatLRnVIRr1aturalL]atLRn)LleG3erVRnV
                                                                                                    1aturalL]eGanGApplLcatLRnVIRr1aturalL]atLRn'enLeG
                                                                                                5
                                                                                                   &ertaLnperPanentreVLGentVZKRareParrLeGtR8ScLtL]enVanGZLtKeYLGenceRIcRntLnuRuV
                                                                                                    reVLGenc\areelLJLEleIRrnaturalL]atLRnaIter\earVLnVteaGRItKenRrPall\reTuLreG5\earVaV
Source D+S OIÀce oI ,PPiJration Statistics
                                                                                                    aperPanentreVLGentappl\LnJIRrcLtL]enVKLp,naGGLtLRncertaLnperVRnVZLtKTualLI\LnJPLlLtar\
                                                                                                    VerYLcePa\EeelLJLEletRappl\IRrnaturalL]atLRnZLtKRutan\perLRGRIcRntLnuRuVreVLGenceLntKe
                                                                                                    8nLteGStateV)RrPRreLnIRrPatLRnpleaVeYLVLtKttpVZZZuVcLVJRYPLlLtar\naturalL]atLRn-
                                                                                                     tKrRuJK-PLlLtar\-VerYLceanGKttpVZZZuVcLVJRYuV-cLtL]enVKLpcLtL]enVKLp-tKrRuJK-naturalL]atLRn
                                                                                                     IRr cLtL]enVKLp tKrRuJK PLlLtar\ VerYLce anG naturalL]atLRn reVpectLYel\




2

                                                                                                                                                  Venezuela AR_000277
                   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 184 of 222
PDA@=PAKBBEHEJC@@EPEKJ=HNAMQENAIAJPOBKN=LLHE?=JPOEJ?HQ@A                                             ?D=JCAO20 &0S=OL=NPE?QH=NHU=BBA?PA@>UPDA ,3&!L=J
PDA=>EHEPUPKOLA=G NA=@ =J@SNEPAEJPDA"JCHEODH=JCQ=CAĢ                                                 @AIE?EJ>A?=QOAPDA=CAJ?UEOBAABQJ@A@=J@ATLANEAJ?A@
GJKSHA@CAKB20$KRANJIAJP=J@EPODEOPKNUĢ=PP=?DIAJPPKPDA                                                =>Q@CAPODKNPB=HHBKHHKSEJCPDAOQOLAJOEKJKBEJLANOKJOANRE?AO
LNEJ?ELHAOKBPDA20 KJOPEPQPEKJĢ =J@>AEJCKBCKK@IKN=H                                                 =J@PDANA@Q?PEKJKBSKNH@SE@APN=RAH0LAJ@EJCNA@Q?PEKJO
?D=N=?PAN0LA?E=HLNKREOEKJOKBJ=PQN=HEV=PEKJH=SCAJAN=HHU                                                  EIL=?PA@=HH20 &0KLAN=PEKJO EJ?HQ@EJCJ=PQN=HEV=PEKJO
ATAILPOLKQOAOKB20?EPEVAJOAILHKUA@=>NK=@=J@LANOKJO
SEPDMQ=HEBUEJCIEHEP=NUOANRE?AEJPDA20NIA@#KN?AOBNKI                                                 Region and Leading Countries of Birth
OKIAKBPDAOANAMQENAIAJPO                                                                                     2JPEHPDAA=NHUO LANOKJOJ=PQN=HEVEJCSANALNA@KIEJ=PAHU
                                                                                                                BNKI"QNKLAOE=KRANPKKG"QNKLA=OPDAHA=@EJCNACEKJKBKNE
TRENDS AND CHARACTERISTICS OF                                                                                   CEJBKNJASHUJ=PQN=HEVA@?EPEVAJOBKHHKSEJCEJ?NA=OA@OE=J
PERSONS NATURALIZING                                                                                            EIIECN=PEKJLQNOQ=JPPKPDA=IAJ@IAJPOPKPDA&+
                                                                                                                ,PDANB=?PKNOEJ?HQ@APDA=NNER=HKBH=NCAJQI>ANOKB&J@K?DEJAOA
Historical Trend
                                                                                                                NABQCAAOEJPDAO=HKJCSEPD=L=PPANJKBDECDANPD=J=RAN
1DA=RAN=CAJQI>ANKBLANOKJOJ=PQN=HEVEJCEJ?NA=OA@BNKIBASAN                                                =CAJ=PQN=HEV=PEKJN=PAO=IKJCOE=JEIIECN=JPOOE=D=O
PD=J LANUA=N@QNEJCPDAO=J@OPK                                                     ?KJPEJQA@PK>APDAHA=@EJCNACEKJKBKNECEJEJNA?AJP@A?=@AO
LANUA=N@QNEJCPDAO  @QNEJCPDAO                                                     Ġ#ECQNA =J@EO?HKOAHUBKHHKSA@>UPDA+KNPDIANE?=JNACEKJ
@QNEJCPDAO =J@ LANUA=N>APSAAJ=J@                                                   #NKIPK PDAJQI>ANKBJ=PQN=HEV=PEKJOR=NEA@BNKI
Ġ#ECQNA 4DEHA=JJQ=HJ=PQN=HEV=PEKJN=PAOD=RACN=@Q=HHU                                                   PDAOANACEKJO PDKQCDPDAENNAOLA?PERALNKLKNPEKJONAI=EJA@
EJ?NA=OA@ ODKNPPANIJ=PQN=HEV=PEKJN=PAOOEJ?APDAIE@O                                                 OEIEH=NPKNA?AJPUA=NO =NE>>A=JJ=PQN=HEV=PEKJOEJ?NA=OA@>U
D=RAR=NEA@OQ>OP=JPE=HHU@QAPK@UJ=IE?ONAH=PA@PKAHA?PEKJUA=NO                                            PDAH=NCAOPLNKLKNPEKJPKLAN?AJP BKHHKSA@>ULANOKJOBNKI
20 &0BAAEJ?NA=OAO =J@LNKLKOA@HACEOH=PERAKN=?PQ=HOP=PQPKNU                                              0KQPDIANE?=SEPDLAN?AJP =J@ AJPN=HIANE?=SEPD
                                                                                                                LAN?AJPĠ1=>HA 1DANA?KRANUPKIKNAJKNI=HHARAHOKB

                                                                                                                7
                                                                                                                    Since 1990 tKe nuPEers oI naturalizations Zere notaEly KiJKer tKan tKe lonJ-terP trend in 1996,
                                                                                                                    1999, and 2008 and dePonstrated sPaller spiNes in 1994, 2006, and 2019 ()iJure 2) Several
                                                                                                                    oI tKese spiNes coincided ZitK announcePents oI upcoPinJ 8SC,S Iee increases (includinJ in
                                                                                                                    1998, 2007, 2010, and 2016) as KiJKer sKares oI eliJiEle /PRs naturalized in advance oI rate
6
    On July 19, 2019, 8SC,S announced plans to revise tKe naturalization civics test On                            increases andor ZitK election years, as eliJiEle /PRs opted to oEtain citizensKip in tiPe to
    DecePEer 1, 2020, 8SC,S iPplePented tKe 2020 civics test Eut aIter deterPininJ tKe 2020                         participate in national elections ,n AuJust 2020, 8SC,S proposed Iee increases Eut a laZsuit
    civics test·s developPent and iPplePentation ´Pay inadvertently create potential Earriers to tKe                ElocNed iPplePentation days EeIore tKey Zould Kave Jone into eIIect on OctoEer 2, 2020 On
    naturalization process,µ reverted to tKe 2008 version oI tKe civics test startinJ on MarcK 1, 2021             DecePEer 28, 2020, tKe )ederal *overnPent voluntarily Poved to disPiss its appeal, endinJ tKe
    Applicants Kad tKe option to taNe eitKer e[aP until tKe 2020 test Zas pKased out on April 19, 2021             Iee increases alonJ ZitK tKe IorP and policy cKanJes tKat Zere included in tKe proposed rule




Figure 4.
Percent of Total Persons Naturalized by Region of Birth (Select Years prior to 2006 and 2016 to 2021)

                                                                                                                                                                                       Oceana
                     Africa                                       Asia                                    Europe                                    North America                          South America

        2021          9.3                                         36.3                                       9.5                                        35.4                                      8.9

        2020          10.6                                               39.2                                          9.1                                     32.5                                8.0

        2019          10.1                                              38.8                                         9.6                                   32.8                                    8.1

        2018         8.5                                         36.2                                     9.4                                            36.5                                     8.9

        2017          8.7                                        36.1                                     9.2                                            36.5                                     8.9

        2016          9.6                                          36.1                                      9.9                                        34.5                                      9.4

        2006        7.2                                         37.5                                            14.4                                       31.7                                    8.5

        1996 2.6                             29.8                                   10.2                                                     48.5                                                  8.1

        1986 2.2                                                 49.6                                                          14.7                                   26.6                           6.0

        1976 2.3                                33.3                                                            31.6                                                    27.5                            4.6

        1966                 13.9                                                             60.6                                                                             20.3                      2.5


                     Africa           Asia             Europe              North America           Oceania                 South America



Note Oceania has an averaJe value of 0.5 percent over the last 5-year period. Africa had a value of 0.5 percent in 1966.
Source D+S OfÀce of ,mmiJration Statistics




                                                                                                                                                                                                                      3

                                                                                                                                                                  Venezuela AR_000278
                   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 185 of 222
J=PQN=HEV=PEKJOĠ=BPANPDA@NKLEJJ=PQN=H                         Table 1.
EV=PEKJOPDAHKSAOPOEJ?A AT?AA@A@                              Persons Naturalized by Region and Country of Birth: Fiscal Years 2019 to 2021
PDKOAKB >QPS=OQJARAJ=?NKOONACEKJO                           (Countries ranNed Ey 2021 persons naturalized)
1DAPKP=HJQI>ANOKBJASHUJ=PQN=HEVA@?EPE                                                                                  2019                    2020                  2021
VAJOBNKI+KNPDIANE?= 0KQPDIANE?= =J@                              Region and country of birth                    Number      Percent     Number      Percent   Number      Percent
,?A=JE=AT?AA@A@PDAEN?KQJPO=J@OE=                              REGION
BNE?= =J@"QNKLAOJQI>ANOKBJ=PQN=HEV=                                7otal. . . . . . . . . . . . . . . . . .      843,593      100.0      628,254      100.0    813,861      100.0
PEKJOSANAHAOO                                                        Africa . . . . . . . . . . . . . . . . . . .    85,014       10.1       66,450       10.6     76,009         9.3
                                                                          Asia . . . . . . . . . . . . . . . . . . . .   327,434       38.8      246,215       39.2    295,224       36.3
IKJCPDAPKL?KQJPNEAOKB>ENPDBKNLAN                              Europe. . . . . . . . . . . . . . . . . .       81,051         9.6      57,410         9.1    77,084         9.5
OKJOJ=PQN=HEVEJCEJ *ATE?KS=OPDA                                North America . . . . . . . . . . .            276,969       32.8      204,269       32.5    288,431       35.4
HA=@EJC?KQJPNUĠLAN?AJPKBPDAPKP=H BKH                               CariEEean . . . . . . . . . . . . .         101,342       12.0       80,888       12.9    120,601       14.8
HKSA@>U&J@E=ĠLAN?AJP PDA-DEHELLEJAO                                Central America . . . . . . . .              42,085         5.0      30,704         4.9    43,379         5.3
ĠLAN?AJP  Q>=ĠLAN?AJP =J@ DEJ=                                  Other North America. . . . .                133,542       15.8       92,677       14.8    124,451       15.3
ĠLAN?AJP Ġ1=>HA 1DAPKLBERA?KQJPNEAO                          Oceania. . . . . . . . . . . . . . . . .         4,311         0.5       3,393         0.5     4,304         0.5
KB >ENPD BKN LANOKJO J=PQN=HEVEJC SANA                              South America . . . . . . . . . . .             68,687         8.1      50,442         8.0    72,701         8.9
QJ?D=JCA@BNKI1DAPKL?KQJPNEAOKB                             8nNnoZn. . . . . . . . . . . . . . . .            127              -       75            -      108            -

KNECEJ=??KQJPA@BKNLAN?AJPKB=HHJ=PQN=HEV                         COUNTRY
EJC?EPEVAJOEJ AOOAJPE=HHUQJ?D=JCA@                               7otal . . . . . . . . . . . . . . . . . .     843,593      100.0      628,254      100.0    813,861      100.0
                                                                          Me[ico. . . . . . . . . . . . . . . . . .      122,305       14.5       84,090       13.4    113,269       13.9
BNKI1DAH=NCAOPJQIANE?EJ?NA=OAEJJ=P
                                                                          ,ndia . . . . . . . . . . . . . . . . . . .     64,638         7.7      48,111         7.7    57,043         7.0
QN=HEV=PEKJO>APSAAJ=J@K??QNNA@
                                                                          Philippines . . . . . . . . . . . . . .         43,675         5.2      33,422         5.3    48,478         6.0
=IKJCEIIECN=JPO>KNJEJ*ATE?KĠ                                   CuEa . . . . . . . . . . . . . . . . . . .      36,253         4.3      31,371         5.0    47,919         5.9
  Q>=Ġ  PDA-DEHELLEJAOĠ  PDA                              China, People s RepuElic . . .                  39,492         4.7      26,111         4.2    29,227         3.6
!KIEJE?=J /ALQ>HE? Ġ   =J@ &J@E=                                 Dominican RepuElic. . . . . . .                 23,105         2.7      18,675         3.0    28,103         3.5
Ġ  1DAH=NCAOPLAN?AJP=CAEJ?NA=OAEJJ=P                          9ietnam. . . . . . . . . . . . . . . . .        25,652         3.0      22,707         3.6    24,224         3.0
QN=HEV=PEKJO >APSAAJ  =J@  S=O                              Jamaica. . . . . . . . . . . . . . . . .        18,019         2.1      13,466         2.1    20,716         2.5
ATLANEAJ?A@>UEIIECN=JPO>KNJEJ'=I=E?=Ġ                            El Salvador . . . . . . . . . . . . . .         18,263         2.2      12,606         2.0    18,340         2.3
LAN?AJP  Q>=ĠLAN?AJP PDA!KIEJE?=J                                 ColomEia. . . . . . . . . . . . . . . .         17,128         2.0      12,768         2.0    17,539         2.2
/ALQ>HE?ĠLAN?AJP N=VEHĠLAN?AJP =J@                            .orea, South. . . . . . . . . . . . .           16,299         1.9      11,350         1.8    14,996         1.8
                                                                          +aiti. . . . . . . . . . . . . . . . . . . .    14,314         1.7      10,867         1.7    14,882         1.8
=JCH=@AODĠLAN?AJP 
                                                                          %razil . . . . . . . . . . . . . . . . . . .    10,451         1.2       8,323         1.3    12,448         1.5
Leading States and Metropolitan Areas                                     PaNistan . . . . . . . . . . . . . . . .        13,080         1.6       9,975         1.6    12,377         1.5
of Residence                                                              8nited .inJdom . . . . . . . . . .              12,195         1.4       8,842         1.4    11,407         1.4
                                                                          Canada . . . . . . . . . . . . . . . . .        11,061         1.3       8,423         1.3    10,928         1.3
&J  LAKLHA KNLAN?AJPKB=HH                            NiJeria. . . . . . . . . . . . . . . . . .      11,364         1.3       8,930         1.4    10,921         1.3
LANOKJO J=PQN=HEVEJC  NAOE@A@ EJ  OP=PAO                         Iran . . . . . . . . . . . . . . . . . . . .    11,311         1.3       8,830         1.4    10,798         1.3
  =HEBKNJE=S=ODKIAPKPDAH=NCAOPJQI>ANKB                            9enezuela . . . . . . . . . . . . . . .          9,317         1.1       6,993         1.1    10,215         1.3
LANOKJOJ=PQN=HEVEJCSEPD ĠLAN?AJP                            %anJladesh. . . . . . . . . . . . . .            9,069         1.1       6,883         1.1    10,110         1.2
KBPDAPKP=H QLBNKI EJĢ#HKNE@=                           All other countries . . . . . . . .            316,602       37.5      235,511       37.5    289,921       35.6
BKHHKSA@SEPD ĠLAN?AJP QLBNKI                              - )iJure rounds to 0.0.
                                                                         Source D+S OfÀce of ImmiJration Statistics.
 EJĢ=J@+AS6KNGSEPD Ġ
LAN?AJP QLBNKI EJĠ1=>HA                               Table 2.
1DAH=NCAOPLAN?AJP=CAEJ?NA=OAO=IKJCOP=PAOKB                        Persons Naturalized by State of Residence: Fiscal Years 2019 to 2021
NAOE@AJ?AKBJASHUJ=PQN=HEVA@?EPEVAJO>APSAAJ                         (States ranNed Ey 2021 persons naturalized)
=J@K??QNNA@EJ+AS'ANOAUĠLAN
                                                                                                                              2019                    2020                  2021
?AJP +AS6KNGĠLAN?AJP  =HEBKNJE=Ġ
                                                                          State of residence                             Number      Percent     Number      Percent   Number      Percent
LAN?AJP =J@-AJJOUHR=JE=ĠLAN?AJP SDEHA
                                                                           7otal. . . . . . . . . . . . . . . . . .      843,593      100.0      628,254      100.0    813,861      100.0
*=NUH=J@S=O=>KQPPDAO=IAEJ=O                             California . . . . . . . . . . . . . . .       148,765       17.6      112,738       17.9    171,863       21.1
&J LAN?AJPKB=HHJASHUJ=PQN=HEVA@?EPE                        )lorida . . . . . . . . . . . . . . . . . .     96,149       11.4       78,641       12.5    109,235       13.4
VAJOHERA@EJIAPNKLKHEP=J=NA=OĠ1=>HA                            NeZ <orN. . . . . . . . . . . . . . . .         85,444       10.1       56,273         9.0    89,989       11.1
1DAHA=@EJCIAPNKLKHEP=J=NA=OSANA+AS6KNG                             7e[as. . . . . . . . . . . . . . . . . . .      97,675       11.6       66,942       10.7     77,025         9.5
+AS=NG'ANOAU EPU +6+'- SEPD                                NeZ Jersey . . . . . . . . . . . . . .          36,661         4.3      22,185         3.5    39,953         4.9
LANOKJO Ġ LAN?AJP KB PDA PKP=H  QL BNKI                         Massachusetts. . . . . . . . . . .              22,894         2.7      20,367         3.2    24,085         3.0
  EJ Ģ )KO JCAHAO)KJC A=?D                              Illinois . . . . . . . . . . . . . . . . . .    30,472         3.6      19,835         3.2    22,684         2.8
J=DAEI  SEPD LANOKJOĠLAN?AJP                             9irJinia . . . . . . . . . . . . . . . . .      23,345         2.8      17,360         2.8    20,732         2.5
                                                                          Maryland. . . . . . . . . . . . . . . .         19,349         2.3      19,878         3.2    19,797         2.4
                                                                          Pennsylvania . . . . . . . . . . . .            21,014         2.5      12,925         2.1    19,693         2.4
8
    7he most current Core-%ased Statistical Area (C%SA) deÀnitions are
    availaEle from OM% at httpsZZZ.census.JovproJrams-surveys        Other . . . . . . . . . . . . . . . . . .      261,825       31.0      201,110       32.0    218,805       26.9
    metro-micro.html.                                                     Includes unNnoZn, 8.S. territories, and 8.S. armed forces posts.
                                                                         Source D+S OfÀce of ImmiJration Statistics.



4

                                                                                                                                                   Venezuela AR_000279
                      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 186 of 222
Table 3.
Persons Naturalized by Core Based Statistical Area (CBSA) of Residence: Fiscal Years 2019 to 2021
(C%SA ranNed Ey 2021 persons naturalized)

                                                                                                                                                                    2019                        2020                        2021
 Metropolitan area of residence                                                                                                                                Number        Percent       Number        Percent       Number        Percent
   7otal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   843,593        100.0        628,254        100.0        813,861        100.0
 NeZ <orN-NeZarN-Jersey City, N<-NJ-PA . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           107,964         12.8         68,933         11.0        116,201         14.3
 /os AnJeles-/onJ %each-Anaheim, CA . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             56,850           6.7        43,381           6.9        80,727           9.9
 Miami-)ort /auderdale-Pompano %each, )/ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  60,590           7.2        52,921           8.4        68,880           8.5
 :ashinJton-ArlinJton-Ale[andria, DC-9A-MD-:9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    30,808           3.7        26,306           4.2        30,089           3.7
 Dallas-)ort :orth-ArlinJton, 7; . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    30,521           3.6        22,371           3.6        26,151           3.2
 +ouston-7he :oodlands-SuJar /and, 7; . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               33,826           4.0        21,462           3.4        24,369           3.0
 San )rancisco-OaNland-%erNeley, CA . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           20,903           2.5        23,479           3.7        21,909           2.7
 ChicaJo-Naperville-ElJin, I/-IN-:I . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     29,049           3.4        18,588           3.0        21,729           2.7
 %oston-CamEridJe-NeZton, MA-N+ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             17,786           2.1        15,817           2.5        19,015           2.3
 Riverside-San %ernardino-Ontario, CA . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           11,330           1.3         8,015           1.3        16,645           2.0
 Other, includinJ unNnoZn . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  443,966         52.6        326,981         52.0        388,146         47.7
Notes Metropolitan areas deÀned Eased on the 2020 update of Core %ased Statistical Areas (C%SAs) deÀnitions. As a result, numEers for previous years may differ from previously puElished ÀJures.
Source D+S OfÀce of ImmiJration Statistics.



QLBNKI LANOKJOEJĢ=J@*E=IE                                                                    Table 4.
#KNP )=Q@AN@=HA4AOP -=HI A=?D  #) SEPD                                                                Persons Naturalized by Sex: Fiscal Years 2019 to 2021
 LANOKJOĠLAN?AJP QLBNKI 
                                                                                                                                                                     2019                        2020                       2021
LANOKJOEJ1DAHA=@EJCIAPNKLKHEP=J=NA=O
                                                                                                                Sex                                             Number       Percent        Number       Percent        Number       Percent
KBNAOE@AJ?AS=OH=NCAHUPDAO=IA=OEJ >QP
/ERANOE@A0=JANJ=N@EJK,JP=NEK  NALH=?A@                                                                    7otal . . . . . . . . . . . . . . . . . .    843,593         100.0       628,254         100.0       813,861         100.0
PH=JP=0=J@U0LNEJCOHLD=NAPP= $EJPDAPKL                                                                )emale . . . . . . . . . . . . . . . . .       464,561          55.1       348,333          55.4       456,025          56.0
BKN1DAH=NCAOPJQIANE?EJ?NA=OAEJ                                                                   Male . . . . . . . . . . . . . . . . . . .     378,793          44.9       279,832          44.5       357,768          44.0
                                                                                                                8nNnoZn . . . . . . . . . . . . . . . .            239                 -        89                 -        68                 -
=IKJCOP=PAOKBNAOE@AJ?ABKNJASHUJ=PQN=HEVA@
                                                                                                              - )iJure rounds to 0.0.
?EPEVAJOK??QNNA@EJ+AS6KNG+AS=NG'ANOAU                                                                  Source D+S OfÀce of ImmiJration Statistics.
 EPU +6+'-Ġ  =J@)KOJCAHAO)KJC
A=?DJ=DAEI  Ġ  AT?AA@EJCPDAEN                                                                   Table 5.
JQI>ANO>KPDJQIANE?=HHU=J@EJPDAEN                                                                   Persons Naturalized by Age: Fiscal Years 2019 to 2021
LAN?AJP=CAONAH=PERAPKPDAPKP=H1DAH=NCAOPLAN
                                                                                                                                                                     2019                        2020                       2021
?AJP=CAEJ?NA=OAO=IKJCOP=PAOKBNAOE@AJ?ABKN
                                                                                                                Age                                             Number       Percent        Number       Percent        Number       Percent
JASHUJ=PQN=HEVA@?EPEVAJO>APSAAJ=J@
=IKJCIAPNKLKHEP=J=NA=OK??QNNA@EJ                                                                       7otal . . . . . . . . . . . . . . . . . .     843,593         100.0       628,254         100.0       813,861         100.0
                                                                                                                18 to 24 years . . . . . . . . . . .            69,013           8.2        51,421           8.2        60,056           7.4
/ERANOE@A0=JANJ=N@EJK,JP=NEK  ĠLAN
                                                                                                                25 to 34 years . . . . . . . . . . .           196,412          23.3       149,900          23.9       190,634          23.4
?AJP )KOJCAHAO)KJCA=?DJ=DAEI  Ġ
                                                                                                                35 to 44 years . . . . . . . . . . .           229,217          27.2       171,844          27.4       225,886          27.8
LAN?AJP =J@+AS6KNG+AS=NG'ANOAU EPU                                                                       45 to 54 years . . . . . . . . . . .           157,821          18.7       115,667          18.4       156,454          19.2
+6+'-ĠLAN?AJP SDEHA0=J#N=J?EO?K                                                                      55 to 64 years . . . . . . . . . . .           107,926          12.8        80,548          12.8       109,131          13.4
,=GH=J@ANGAHAU   O=S = @A?NA=OA KB                                                                     65 years and over . . . . . . . .                83,204           9.9       58,874           9.4        71,700           8.8
LAN?AJP                                                                                                     8nNnoZn . . . . . . . . . . . . . . . .                  -             -             -             -             -             -
                                                                                                                Median aJe (years) . . . . . . .                    41             ;            41             ;            41             ;
Sex, Age, and Marital Status
                                                                                                              ; Not applicaEle.
+=PQN=HEV=PEKJLNKLKNPEKJO>UOAT =CA =J@                                                                  - )iJure rounds to 0.0 or 0.
                                                                                                              Source D+S OfÀce of ImmiJration Statistics.
I=NEP=HOP=PQOR=NEA@KJHURANUOHECDPHU>APSAAJ
=J@Ġ1=>HAO  =J@ NAOLA?                                                                    Table 6.
PERAHU &J BAI=HAO=??KQJPA@BKNPDA                                                                  Persons Naturalized by Marital Status: Fiscal Years 2019 to 2021
I=FKNEPUKBJ=PQN=HEV=PEKJO=PLAN?AJPKB=HH
                                                                                                                                                                     2019                        2020                       2021
LANOKJOJ=PQN=HEVEJC AOOAJPE=HHUQJ?D=JCA@
                                                                                                                Marital status                                  Number       Percent        Number       Percent        Number       Percent
BNKIĠ#ECQNA #EBPUKJALAN?AJPKB
JASHUJ=PQN=HEVA@=@QHPOSANA=CAOPK                                                                     7otal . . . . . . . . . . . . . . . . . .     843,593         100.0       628,254         100.0       813,861         100.0
U A = N O  = H I K O P  Q J ? D = J C A @  B N K I                                                    Married . . . . . . . . . . . . . . . . .      543,672          64.4       411,725          65.5       543,627          66.8
                                                                                                                SinJle . . . . . . . . . . . . . . . . . .     177,418          21.0       131,044          20.9       164,532          20.2
1SAJPUPSKLAN?AJPSANA=CAOUA=NO=J@
                                                                                                                Other . . . . . . . . . . . . . . . . . .      122,503          14.5        85,485          13.6       105,702          13.0
KH@AN PDAO=IA=OEJ =J@LAN?AJP
                                                                                                               Includes persons Zho Zere divorced, separated, ZidoZed, or of unNnoZn marital status.
                                                                                                              Source D+S OfÀce of ImmiJration Statistics.




                                                                                                                                                                                                                                                   5

                                                                                                                                                                                             Venezuela AR_000280
                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 187 of 222
SANA=CAOPKUA=NO =OHECDP@A?NA=OABNKIĠ#ECQNA                                            Figure 5.
1DAIA@E=J=CAKBPDKOAJ=PQN=HEVEJCEJS=O QJ?D=JCA@                                              Naturalizations by Age and Sex: Fiscal Year 2021
BNKI+A=NHULAN?AJPKBEJ@ERE@Q=HOJ=PQN=HEVEJCSANA
I=NNEA@EJ QLBNKILAN?AJPEJ =J@LAN?AJP
                                                                                                                                               Male                        Female
SANAOEJCHA =OHECDP@A?NA=OABNKIĠ1=>HA 
                                                                                                                                                        75 years & over
Years in Immigrant Status
                                                                                                                                                        65 to 74 years
-ANOKJOJ=PQN=HEVEJCEJOLAJP=IA@E=JKBUA=NOEJ)-/OP=                                                                                      60 to 64 years
PQO>ABKNA>A?KIEJC20?EPEVAJO @KSJBNKIUA=NOEJ
                                                                                                                                                        55 to 59 years
Ġ1=>HA &IIECN=JPO>KNJEJBNE?=OLAJPPDAHA=OPJQI>ANKB
UA=NOEJ)-/OP=PQOĠUA=NO BKHHKSA@>UEIIECN=JPOBNKIOE=                                                                                         50 to 54 years

ĠUA=NO 0KQPDIANE?=ĠUA=NO "QNKLAĠUA=NO +KNPD                                                                                               45 to 49 years
IANE?=ĠUA=NO =J@,?A=JE=ĠUA=NO PDAKN@ANEJCH=NCAHU
                                                                                                                                                        40 to 44 years
QJ?D=JCA@KRANPDAH=OP@A?=@A"QNKLA +KNPDIANE?= =J@
                                                                                                                                                        35 to 39 years
,?A=JE=D=@PDAENPEIAOLAJPEJ)-/OP=PQO@A?HEJA NARANOEJC
UA=NOHKJCPNAJ@OKBEJ?NA=OEJCPEIAOLAJPEJ)-/OP=PQO                                                                                              30 to 34 years

                                                                                                                                                        25 to 29 years
DATA
                                                                                                                                                        20 to 24 years
1DEONALKNPEO>=OA@KJ@=P=BNKI20 &0=@IEJEOPN=PERANA?KN@OKB                                                                        Petitions Approved
                                                                                                                                                     18 to 19 (Civilian
                                                                                                                                                              years Naturalizations)
JAS20?EPEVAJOSDKJ=PQN=HEVA@EJ1DAOANA?KN@O?KJOEOP                                                                                         797,105
                                                                                                                  70,000         35,000             0                     0         35,000      70,000
KBEJBKNI=PEKJP=GAJBNKI#KNI+ =LLHE?=PEKJO OQ?D=OPDA
@=PA=J@?KQJPNUKB>ENPD OAT I=NEP=HOP=PQO =J@OP=PAKBNAOE                                                               44%                                                 56%
@AJ?A1DA"HA?PNKJE?&IIECN=PEKJ0UOPAIĠ")&0 LNKRE@A@OHECDPHU                                                  of persons naturalized in                                of persons naturalized in
                                                                                                                  Fiscal Year 2021 were male                              Fiscal Year 2021 were female
IKNAPD=JLAN?AJPKBPDA@=P=SDEHAPDA AJPN=H&J@AT0UOPAI
LNKRE@A@LAN?AJP
                                                                                                             Source D+S OfÀce of ImmiJration Statistics.

FOR MORE INFORMATION
#KNIKNAEJBKNI=PEKJ=>KQPEIIECN=PEKJ=J@EIIECN=PEKJOP=PEOPE?O 
REOEPPDA,&0SA>L=CA=PDPPLġSSS@DOCKREIIECN=PEKJOP=PEOPE?O
9
   7his report e[cludes data on children acTuirinJ citizenship Eased on the citizenship of a parent see
   footnote 2.
10
   A laZful permanent resident Eecomes a naturalized 8.S. citizen only after the oath ceremony date.



Table 7.
Median Years in Lawful Permanent Resident Status for Persons Naturalized by Region of Birth and Year of Naturalization:
Fiscal Years 2012 to 2021

                                                                                                                           Fiscal Year
    Region of birth                                             2012      2013             2014            2015         2016              2017              2018          2019         2020        2021
      7otal . . . . . . . . . . . . . . . . . . . . . . . .        7          7                7              7              7               8                 8               8          7               7
    Africa . . . . . . . . . . . . . . . . . . . . . . . . .       5          5                6              6              6               6                 6               6          6               6
    Asia. . . . . . . . . . . . . . . . . . . . . . . . . . .      6          6                6              6              6               6                 7               7          6               7
    Europe . . . . . . . . . . . . . . . . . . . . . . . .         7          7                8              9              9               9                 9               9          8               8
    North America . . . . . . . . . . . . . . . . . .             10         10               10             10             10              11                11              11         10               9
     CariEEean . . . . . . . . . . . . . . . . . . . .             9          9                9              9              9              10                 9               9          8               7
     Central America. . . . . . . . . . . . . . . .               10         10               10             10             10              11                11              11         10              10
     Other North America . . . . . . . . . . . .                  11         11               12             11             11              14                15              13         13              11
    Oceania . . . . . . . . . . . . . . . . . . . . . . .          8          8                9              9             10              10                10              10         10               9
    South America. . . . . . . . . . . . . . . . . .               6          6                7              7              7               8                 8               8          7               7
Note E[cludes persons Zho Zere not reTuired to Ee laZful permanent residents prior to naturalization.
Source D+S OfÀce of ImmiJration Statistics.




6

                                                                                                                                                              Venezuela AR_000281
                                           USBP encounters of Venezuela nationals
Average encounters 10/5 - 10/11/22   1,137 1-Oct          1240
Average encounters 10/18 - 10/24       170 2-Oct          1510
Average encounters 11/28 - 12/4         86 3-Oct          1366
                                           4-Oct          1260
                                           5-Oct          1139
                                           6-Oct          1174
                                           7-Oct          1083
                                           8-Oct          1006
                                           9-Oct          1202
                                           10-Oct         1224
                                           11-Oct         1128
                                           12-Oct           796
                                           13-Oct         1256
                                           14-Oct         1056
                                           15-Oct           834
                                           16-Oct           484
                                           17-Oct           298
                                           18-Oct           187
                                           19-Oct           158
                                           20-Oct           159
                                           21-Oct           132
                                           22-Oct           145
                                           23-Oct           160
                                           24-Oct           247
                                           25-Oct           296
                                           26-Oct           415
                                           27-Oct           301
                                           28-Oct           408
                                           29-Oct           405
                                           30-Oct           331
                                           31-Oct           430
                                           1-Nov            412
                                           2-Nov            331
                                           3-Nov            305
                                           4-Nov            348
                                           5-Nov            250
                                           6-Nov            239
                                           7-Nov            265
                                           8-Nov            260
                                           9-Nov            262
                                           10-Nov           262
                                           11-Nov           338
                                           12-Nov           192
                                           13-Nov           197
                                           14-Nov           158
                                           15-Nov           168
                                                                                                          Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 188 of 222




                                           16-Nov           490
                                           17-Nov         1074


                                                                                    Venezuela AR_000282
18-Nov           210
19-Nov            90
20-Nov           116
21-Nov            84
22-Nov           126
23-Nov            80
24-Nov            60
25-Nov            51
26-Nov            55
27-Nov            75
28-Nov            66
29-Nov            83
30-Nov            86
1-Dec            102
2-Dec             95
3-Dec             79
4-Dec             93
Oct persist
Nov and Dec Data pulled from UIP on 12/5/2022
                                                                      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 189 of 222




                                                Venezuela AR_000283
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 190 of 222




                                                                             Venezuela AR_000284
Total daily SWB encounters                               Total Monthly SWB Encounters

               Mexico    NCA       Other     Total                    Mexico   NCA      Other   Total      Average in 30 days ending 12/13/22    8,281
    1/1/2022         724       405     1,625     2,754     Oct-21       66,049   51,036   47,752 164,837     Average in 30 days ending 4/1/22   7,227
    1/2/2022         766       569     1,832     3,167     Nov-21       63,846   50,238   60,761 174,845           Average in November 2021     5,828
    1/3/2022       1,214       775     1,470     3,459     Dec-21       51,475   48,024   79,754 179,253
    1/4/2022       1,371       927     1,211     3,509      Jan-22      60,341   31,677   62,856 154,874
    1/5/2022       1,513       872     1,467     3,852     Feb-22       71,850   39,436   54,724 166,010
    1/6/2022       1,573       949     1,712     4,234     Mar-22       88,132   46,008   88,434 222,574
    1/7/2022       1,658       770     1,604     4,032     Apr-22       82,568   43,999 109,218 235,785
    1/8/2022       1,528       697     1,561     3,786     May-22       77,454   50,178 113,505 241,137
    1/9/2022       1,534       601     1,381     3,516      Jun-22      66,730   57,948   83,156 207,834
   1/10/2022       1,833       697     1,465     3,995       Jul-22     55,692   48,504   95,966 200,162
   1/11/2022       2,164       856     1,247     4,267     Aug-22       60,772   38,575 104,740 204,087
   1/12/2022       2,063       923     1,646     4,632     Sep-22       63,431   35,995 128,121 227,547
   1/13/2022       2,031     1,129     1,945     5,105     Oct-22       65,788   34,851 130,039 230,678
   1/14/2022       2,015       931     1,741     4,687
   1/15/2022       2,083     1,010     2,027     5,120
   1/16/2022       1,889       791     2,668     5,348
   1/17/2022       2,264     1,046     2,567     5,877
   1/18/2022       2,495     1,613     2,970     7,078
   1/19/2022       2,372     1,483     2,555     6,410
   1/20/2022       2,251     1,199     2,826     6,276
   1/21/2022       2,166     1,187     2,577     5,930
   1/22/2022       2,062     1,136     2,867     6,065
   1/23/2022       1,742     1,016     2,553     5,311
   1/24/2022       2,255     1,249     2,628     6,132
   1/25/2022       2,473     1,360     2,203     6,036
   1/26/2022       2,395     1,294     1,994     5,683
   1/27/2022       2,588     1,557     2,304     6,449
   1/28/2022       2,547     1,173     2,274     5,994
   1/29/2022       2,299     1,307     2,222     5,828
   1/30/2022       2,087       918     1,952     4,957
   1/31/2022       2,386     1,237     1,762     5,385
    2/1/2022       2,475     1,391     2,024     5,890
    2/2/2022       2,836     1,651     2,039     6,526
    2/3/2022       2,506     1,436     1,823     5,765
    2/4/2022       2,079     1,156     1,642     4,877
    2/5/2022       1,945     1,429     1,760     5,134
    2/6/2022       2,009     1,115     2,023     5,147
    2/7/2022       2,314     1,231     1,672     5,217
    2/8/2022       2,650     1,707     1,767     6,124
    2/9/2022       2,576     1,675     1,710     5,961
   2/10/2022       2,782     1,469     1,579     5,830
   2/11/2022       2,573     1,661     2,280     6,514
   2/12/2022       2,400     1,684     1,973     6,057
                                                                                                                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 191 of 222




                                                                                                                                                         Venezuela AR_000285
2/13/2022   2,167   1,134   1,934   5,235
2/14/2022   2,390   1,184   2,346   5,920
2/15/2022   2,893   1,526   1,638   6,057
2/16/2022   2,961   1,713   1,830   6,504
2/17/2022   2,925   1,484   1,993   6,402
2/18/2022   2,958   1,339   2,257   6,554
2/19/2022   2,261   1,243   2,065   5,569
2/20/2022   2,347   1,144   2,078   5,569
2/21/2022   2,702   1,219   1,673   5,594
2/22/2022   3,064   1,619   2,015   6,698
2/23/2022   2,895   1,556   1,610   6,061
2/24/2022   2,840   1,531   2,460   6,831
2/25/2022   2,795   1,365   2,087   6,247
2/26/2022   2,480   1,364   2,210   6,054
2/27/2022   2,398   1,097   2,044   5,539
2/28/2022   2,629   1,313   2,192   6,134
 3/1/2022   3,057   1,805   2,276   7,138
 3/2/2022   3,061   1,663   2,408   7,132
 3/3/2022   2,957   1,482   2,417   6,856
 3/4/2022   2,961   1,384   2,711   7,056
 3/5/2022   2,675   1,352   2,968   6,995
 3/6/2022   2,155   1,107   2,593   5,855
 3/7/2022   2,527   1,347   2,544   6,418
 3/8/2022   3,431   1,725   2,782   7,938
 3/9/2022   3,227   1,697   2,413   7,337
3/10/2022   3,209   1,445   1,991   6,645
3/11/2022   3,275   1,665   2,768   7,708
3/12/2022   2,534   1,415   2,727   6,676
3/13/2022   2,150   1,091   3,193   6,434
3/14/2022   2,850   1,343   2,599   6,792
3/15/2022   2,759   1,516   2,858   7,133
3/16/2022   2,803   1,444   3,016   7,263
3/17/2022   3,020   1,497   2,897   7,414
3/18/2022   2,754   1,450   3,098   7,302
3/19/2022   2,619   1,135   2,986   6,740
3/20/2022   2,202     954   3,529   6,685
3/21/2022   2,444   1,386   3,466   7,296
3/22/2022   3,125   1,728   3,156   8,009
3/23/2022   2,887   1,546   2,805   7,238
3/24/2022   2,924   1,755   2,948   7,627
3/25/2022   2,975   1,510   2,760   7,245
3/26/2022   2,579   1,519   2,810   6,908
3/27/2022   2,399   1,190   3,320   6,909
3/28/2022   2,880   1,491   2,634   7,005
3/29/2022   3,010   1,669   2,928   7,607
3/30/2022   3,216   1,893   3,682   8,791
3/31/2022   3,467   1,804   3,151   8,422
                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 192 of 222




                                            Venezuela AR_000286
 4/1/2022   3,218   1,694   3,584   8,496
 4/2/2022   2,783   1,640   3,668   8,091
 4/3/2022   2,509   1,388   3,633   7,530
 4/4/2022   2,769   1,548   3,501   7,818
 4/5/2022   3,416   1,898   3,651   8,965
 4/6/2022   3,057   1,599   3,905   8,561
 4/7/2022   3,195   1,462   3,671   8,328
 4/8/2022   3,090   1,581   4,491   9,162
 4/9/2022   2,834   1,469   3,943   8,246
4/10/2022   2,422   1,300   4,150   7,872
4/11/2022   2,816   1,590   4,529   8,935
4/12/2022   3,077   1,659   4,192   8,928
4/13/2022   3,098   1,871   4,298   9,267
4/14/2022   3,054   1,753   4,132   8,939
4/15/2022   2,761   1,774   4,368   8,903
4/16/2022   2,006   1,286   3,453   6,745
4/17/2022   1,638     851   3,249   5,738
4/18/2022   1,869   1,151   3,027   6,047
4/19/2022   2,641   1,671   3,532   7,844
4/20/2022   3,153   1,451   3,052   7,656
4/21/2022   2,947   1,556   3,113   7,616
4/22/2022   2,815   1,305   3,213   7,333
4/23/2022   2,467   1,191   3,249   6,907
4/24/2022   2,150   1,079   3,191   6,420
4/25/2022   2,411   1,099   3,734   7,244
4/26/2022   3,229   1,424   3,067   7,720
4/27/2022   2,691   1,376   3,193   7,260
4/28/2022   3,047   1,544   2,928   7,519
4/29/2022   2,914   1,403   3,915   8,232
4/30/2022   2,491   1,386   3,586   7,463
 5/1/2022   2,246     955   3,395   6,596
 5/2/2022   2,593   1,295   3,293   7,181
 5/3/2022   3,060   1,535   3,277   7,872
 5/4/2022   2,693   1,494   2,952   7,139
 5/5/2022   2,938   1,553   3,530   8,021
 5/6/2022   2,904   1,755   3,591   8,250
 5/7/2022   2,490   1,315   4,265   8,070
 5/8/2022   1,978   1,295   3,611   6,884
 5/9/2022   2,614   1,867   3,546   8,027
5/10/2022   2,552   1,449   2,856   6,857
5/11/2022   2,553   1,697   3,895   8,145
5/12/2022   2,702   1,815   4,267   8,784
5/13/2022   2,880   1,487   4,180   8,547
5/14/2022   2,273   1,547   4,364   8,184
5/15/2022   2,073   1,091   4,171   7,335
5/16/2022   2,402   1,470   3,625   7,497
5/17/2022   3,016   1,981   4,016   9,013
                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 193 of 222




                                            Venezuela AR_000287
5/18/2022   2,809   1,649   3,912   8,370
5/19/2022   2,921   1,922   4,043   8,886
5/20/2022   2,796   1,380   4,682   8,858
5/21/2022   2,337   1,731   4,595   8,663
5/22/2022   2,043   1,262   4,101   7,406
5/23/2022   2,234   1,759   3,111   7,104
5/24/2022   2,574   2,177   3,807   8,558
5/25/2022   2,333   1,863   3,738   7,934
5/26/2022   2,574   1,926   3,241   7,741
5/27/2022   2,309   1,671   3,603   7,583
5/28/2022   2,131   1,744   3,427   7,302
5/29/2022   1,920   1,316   3,198   6,434
5/30/2022   2,071   1,721   2,985   6,777
5/31/2022   2,435   2,456   2,228   7,119
 6/1/2022   2,571   1,900   2,615   7,086
 6/2/2022   2,364   1,911   2,417   6,692
 6/3/2022   2,622   1,769   2,676   7,067
 6/4/2022   1,863   1,671   2,821   6,355
 6/5/2022   1,656   1,657   2,565   5,878
 6/6/2022   2,422   2,074   2,380   6,876
 6/7/2022   2,553   2,028   2,707   7,288
 6/8/2022   2,634   2,258   2,088   6,980
 6/9/2022   2,551   2,173   2,493   7,217
6/10/2022   2,595   1,741   2,370   6,706
6/11/2022   1,995   1,586   2,874   6,455
6/12/2022   1,952   1,468   2,999   6,419
6/13/2022   1,892   1,876   2,115   5,883
6/14/2022   2,361   2,272   2,572   7,205
6/15/2022   2,451   2,274   3,299   8,024
6/16/2022   2,537   1,980   3,091   7,608
6/17/2022   2,319   2,006   2,723   7,048
6/18/2022   1,963   1,705   3,503   7,171
6/19/2022   1,654   1,594   3,436   6,684
6/20/2022   1,782   1,616   2,842   6,240
6/21/2022   2,558   2,104   3,380   8,042
6/22/2022   2,499   2,217   2,839   7,555
6/23/2022   2,129   2,089   2,908   7,126
6/24/2022   2,278   2,162   3,005   7,445
6/25/2022   1,961   1,646   2,753   6,360
6/26/2022   1,714   1,698   2,497   5,909
6/27/2022   2,064   2,025   2,719   6,808
6/28/2022   2,253   2,165   2,466   6,884
6/29/2022   2,377   2,204   2,696   7,277
6/30/2022   2,160   2,079   3,307   7,546
 7/1/2022   1,870   1,690   2,994   6,554
 7/2/2022   1,900   1,783   3,441   7,124
 7/3/2022   1,701   1,322   2,991   6,014
                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 194 of 222




                                            Venezuela AR_000288
 7/4/2022   1,993    1,782    3,101    6,876
 7/5/2022   2,126    1,876    3,239    7,241
 7/6/2022   2,130    1,958    3,605    7,693
 7/7/2022   1,796    1,711    3,383    6,890
 7/8/2022   1,867    1,572    3,089    6,528
 7/9/2022   1,579    1,526    3,515    6,620
7/10/2022   1,488    1,469    3,381    6,338
7/11/2022   1,703    1,729    2,965    6,397
7/12/2022   2,052    1,837    3,923    7,812
7/13/2022   2,056    1,744    3,735    7,535
7/14/2022   1,930    1,849    3,173    6,952
7/15/2022   1,768    1,631    2,672    6,071
7/16/2022   1,609    1,557    3,678    6,844
7/17/2022   1,579    1,199    3,104    5,882
7/18/2022   1,475    1,566    2,950    5,991
7/19/2022   1,966    1,971    3,442    7,379
7/20/2022   1,941    1,516    2,908    6,365
7/21/2022   1,709    1,553    3,574    6,836
7/22/2022   1,933    1,400    3,033    6,366
7/23/2022   1,464    1,168    3,141    5,773
7/24/2022   1,539    1,235    2,762    5,536
7/25/2022   1,586    1,415    2,293    5,294
7/26/2022   2,031    1,602    2,855    6,488
7/27/2022   1,942    1,554    2,690    6,186
7/28/2022   1,867    1,528    2,676    6,071
7/29/2022   1,773    1,214    2,473    5,460
7/30/2022   1,798    1,250    2,589    5,637
7/31/2022   1,521    1,297    2,591    5,409
 8/1/2022    1,532    1,290    2,354    5,176
 8/2/2022    1,927    1,658    2,820    6,405
 8/3/2022    2,003    1,409    2,739    6,151
 8/4/2022    1,900    1,508    2,269    5,677
 8/5/2022    2,056    1,440    2,828    6,324
 8/6/2022    1,859    1,233    3,113    6,205
 8/7/2022    1,728      995    3,037    5,760
 8/8/2022    1,922    1,256    2,889    6,067
 8/9/2022    2,400    1,467    3,348    7,215
8/10/2022    2,192    1,235    3,759    7,186
8/11/2022    2,182    1,479    3,156    6,817
8/12/2022    1,731    1,129    3,596    6,456
8/13/2022    1,887    1,180    2,919    5,986
8/14/2022    1,667      945    3,443    6,055
8/15/2022    1,651    1,164    3,498    6,313
8/16/2022    1,900    1,363    3,129    6,392
8/17/2022    2,151    1,482    3,663    7,296
8/18/2022    2,096    1,232    3,449    6,777
8/19/2022    2,032    1,130    3,740    6,902
                                                                      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 195 of 222




                                                Venezuela AR_000289
8/20/2022   1,811   1,137   4,020   6,968
8/21/2022   1,740     986   3,686   6,412
8/22/2022   1,806   1,040   4,061   6,907
8/23/2022   2,090   1,172   3,992   7,254
8/24/2022   2,200   1,451   3,608   7,259
8/25/2022   2,242   1,253   3,787   7,282
8/26/2022   2,079   1,228   3,355   6,662
8/27/2022   1,857   1,208   3,915   6,980
8/28/2022   1,662   1,010   4,288   6,960
8/29/2022   1,978   1,275   3,967   7,220
8/30/2022   2,361   1,234   3,196   6,791
8/31/2022   2,130     986   3,116   6,232
 9/1/2022   2,203   1,186   3,838   7,227
 9/2/2022   2,348   1,039   4,319   7,706
 9/3/2022   1,756     999   4,921   7,676
 9/4/2022   1,543     668   3,372   5,583
 9/5/2022   1,607     979   4,546   7,132
 9/6/2022   2,097   1,271   4,047   7,415
 9/7/2022   2,209   1,363   4,540   8,112
 9/8/2022   2,147   1,341   4,860   8,348
 9/9/2022   2,232   1,171   4,590   7,993
9/10/2022   1,912   1,061   4,356   7,329
9/11/2022   1,732   1,118   4,452   7,302
9/12/2022   1,843   1,060   4,621   7,524
9/13/2022   2,379   1,393   4,827   8,599
9/14/2022   2,263   1,231   4,795   8,289
9/15/2022   2,491   1,372   3,701   7,564
9/16/2022   1,851   1,127   4,405   7,383
9/17/2022   1,546   1,214   4,511   7,271
9/18/2022   1,641     968   4,134   6,743
9/19/2022   1,925   1,184   3,296   6,405
9/20/2022   2,432   1,420   4,014   7,866
9/21/2022   2,384   1,392   3,955   7,731
9/22/2022   2,272   1,245   4,082   7,599
9/23/2022   2,213   1,399   4,081   7,693
9/24/2022   1,910   1,017   4,436   7,363
9/25/2022   1,992   1,071   4,122   7,185
9/26/2022   2,427   1,197   4,086   7,710
9/27/2022   2,541   1,379   4,182   8,102
9/28/2022   2,435   1,408   4,139   7,982
9/29/2022   2,501   1,490   4,429   8,420
9/30/2022   2,599   1,232   4,464   8,295
10/1/2022   1,877   1,047   4,409   7,333
10/2/2022   1,815     885   4,988   7,688
10/3/2022   2,044   1,063   4,408   7,515
10/4/2022   2,574   1,319   4,607   8,500
10/5/2022   2,505   1,397   5,003   8,905
                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 196 of 222




                                            Venezuela AR_000290
 10/6/2022   2,515   1,422   4,577   8,514
 10/7/2022   2,336   1,259   4,357   7,952
 10/8/2022   2,040   1,250   4,641   7,931
 10/9/2022   1,822   1,098   4,638   7,558
10/10/2022   1,903   1,078   4,328   7,309
10/11/2022   2,273   1,290   4,257   7,820
10/12/2022   2,285   1,080   3,922   7,287
10/13/2022   2,107   1,325   4,740   8,172
10/14/2022   1,929   1,100   4,437   7,466
10/15/2022   1,826   1,046   3,818   6,690
10/16/2022   1,816     748   3,592   6,156
10/17/2022   1,974   1,078   3,442   6,494
10/18/2022   2,513   1,405   2,930   6,848
10/19/2022   2,237   1,217   3,605   7,059
10/20/2022   2,435   1,270   3,667   7,372
10/21/2022   2,372   1,065   4,018   7,455
10/22/2022   2,079   1,079   3,760   6,918
10/23/2022   1,857     876   4,147   6,880
10/24/2022   2,084   1,054   3,575   6,713
10/25/2022   2,582   1,322   4,235   8,139
10/26/2022   2,438   1,179   4,002   7,619
10/27/2022   2,314   1,138   4,464   7,916
10/28/2022   2,231     972   4,529   7,732
10/29/2022   1,979   1,098   4,908   7,985
10/30/2022   1,491     906   4,093   6,490
10/31/2022   1,968     945   3,965   6,878
 11/1/2022   2,032   1,170   4,606   7,808
 11/2/2022   2,100   1,182   4,958   8,240
 11/3/2022   1,983   1,094   3,950   7,027
 11/4/2022   2,086   1,097   4,607   7,790
 11/5/2022   1,836   1,138   4,007   6,981
 11/6/2022   1,619     910   5,331   7,860
 11/7/2022   2,044   1,127   4,216   7,387
 11/8/2022   2,466   1,354   4,585   8,405
 11/9/2022   2,215   1,038   4,296   7,549
11/10/2022   2,162   1,226   4,695   8,083
11/11/2022   2,291   1,123   5,048   8,462
11/12/2022   1,930   1,109   4,441   7,480
11/13/2022   1,638     916   4,529   7,083
11/14/2022   2,088   1,066   4,732   7,886 Production
11/15/2022   2469    1142    4,525   8136 UIP
11/16/2022   2345    1213    4,635   8193
11/17/2022   2234    1268    6,063   9565
11/18/2022   2068    1126    4,696   7890
11/19/2022   1805    1004    5,082   7891
11/20/2022   1501      859   4,565   6925
11/21/2022   1775    1020    5,179   7974
                                                                              Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 197 of 222




                                                        Venezuela AR_000291
  11/22/2022         1958          1221   4,762   7941
  11/23/2022         1802          1077   4643    7522
  11/24/2022         1851          1257   4251    7359
  11/25/2022         1761           831   4566    7158
  11/26/2022         1632           925   5461    8018
  11/27/2022         1505           861   4746    7112
  11/28/2022         1796          1186   4747    7729
  11/29/2022         2092          1263   4322    7677
  11/30/2022         1931          1216   6068    9215
   12/1/2022         2218          1203   5092    8513
   12/2/2022         1901          1236   6500    9637
   12/3/2022         1492           951   5471    7914
   12/4/2022         1344           914   5700    7958
   12/5/2022         1888          1142   5280    8310
   12/6/2022         1887          1085   5411    8383
   12/7/2022         1971          1181   6170    9322
   12/8/2022         1914          1422   5949    9285
   12/9/2022         1875          1023   6505    9403
  12/10/2022         1487          1100   6571    9158
  12/11/2022         1381          1186   6260    8827
  12/12/2022         1501           934   6279    8714
  12/13/2022         1738          1234   5830    8802

Source: OIS pull of UIP 12/14/22
                                                                               Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 198 of 222




                                                         Venezuela AR_000292
      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 199 of 222


Persons Naturalized During Fiscal Year 2020
by Region/Country of Birth and Selected Characteristics

Region/Country: Venezuela

Characteristic                                                  Total      Female     Male
Total                                                             6,993      3,969     3,024

Age
 Under 18 years                                                       -          -         -
 18 to 24 years                                                     634        336       298
 25 to 34 years                                                   1,545        838       707
 35 to 44 years                                                   1,822      1,046       776
 45 to 54 years                                                   1,500        848       652
 55 to 64 years                                                     875        511       364
 65 years and over                                                  617        390       227
 Unknown                                                              -          -         -

Marital status
 Married                                                          4,502      2,534     1,968
 Single                                                           1,324        654       670
 Other                                                            1,101        741       360
 Unknown                                                             66         40        26

Occupation
 Management, professional, and related occupations                1,212        659       553
 Service occupations                                                206        129        77
 Sales and office occupations                                       287        201        86
 Farming, fishing, and forestry occupations                           D          D         D
 Construction, extraction, maintenance and repair occupations        81         24        57
 Production, transportation, and material moving occupations        169         42       127
 Military                                                            18          D         D
 No occupation/not working outside home                               D          D         D
  Homemakers                                                           -          -         -
  Students or children                                                D           -        D
  Retirees                                                            D           -        D
  Unemployed                                                          D          D         D
 Unknown                                                          5,012      2,908     2,104

Leading states/territories of residence
 Arizona                                                             49         29        20
 California                                                         228        137        91
 Colorado                                                            56         40        16
 Florida                                                          3,935      2,246     1,689
 Georgia                                                            201        113        88
 Illinois                                                            66         41        25
 Maryland                                                            81         48        33


                                                                              Venezuela AR_000293
      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 200 of 222


  Massachusetts                                           94      58       36
  Minnesota                                               34      16       18
  Nevada                                                  33      18       15
  New Jersey                                             115      67       48
  New York                                               207     107      100
  North Carolina                                         121      71       50
  Ohio                                                    49      24       25
  Pennsylvania                                            65      32       33
  Tennessee                                               53      27       26
  Texas                                                  811     448      363
  Virginia                                                93      56       37
  Washington                                              40      22       18
  Other                                                  588     326      262
  Unknown                                                 74      43       31
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security.




                                                                Venezuela AR_000294
    Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 201 of 222




Unknown
       -



       -
       -
       -
       -
       -
       -
       -
       -



       -
       -
       -
       -



       -
       -
       -
       -
       -
       -
       -
       -
       -
       -
       -
       -
       -



       -
       -
       -
       -
       -
       -
       -


                                                              Venezuela AR_000295
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 202 of 222


  -
  -
  -
  -
  -
  -
  -
  -
  -
  -
  -
  -
  -
  -




                                                          Venezuela AR_000296
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                              8 December 2022
                                                                                                                                                                                                                                                                           8 December
                                                                                                                                               A total of 119 Venezuelans were encountered at the Southwest Border yesterday and 125
                                                                                                                                               Venezuelans were expelled under Title 42 authority. Since October 18th, 18,487
                                                                                                                                                                                                                                                                              2022
      Daily Venezuela Report                                                                                                                   confirmed applications have been filed on behalf of Venezuelan beneficiaries,
                                                                                                                                               and a total of  7,641 beneficiaries have entered the United States.
       VENEZUELA ENCOUNTERS YESTERDAY                                                                                                          VENEZUELAN ENCOUNTERS, RELEASES AND
                                                                                                                                               EXPULSIONS



                                                                                                                                          2,000
                                                   119                                                                54                  1,800
            Total Venezuelan Encounters:                                                 Venezuela Encounters:
                                                                                                                                          1,600
                                Southwest Border                                                        El Paso Sector
                              +35 since previous day                                           +14 since previous day                     1,400

                                                                                                                                          1,200

                                                                                                                                          1,000
                                                 125                                                                  84
                                                                                                                                            800
             Total Venezuelan Expulsions:                                                 Venezuela Expulsions:
                                Southwest Border                                                        El Paso Sector                      600

                              +76 since previous day                                           +53 since previous day                       400

                                                                                                                                            200

                                                          9                                                                0                   0

                 Total Venezuelan Releases:                                                   Venezuela Releases:
                                Southwest Border                                                        El Paso Sector
                                                                                                                                                                                                 Encounters             Releases            T42 Expulsions
                                 -3 since previous day                                            -3 since previous day



       PROCESS FOR VENEZUELANS




                   SUPPORTER APPLICATIONS                                                      BENEFICIARY MATERIALS                                                          BENEFICIARY TRAVEL                                            BENEFICIARY PAROLEES AT POES
                         CONFIRMED                                                                  COMPLETED                                                                  AUTHORIZATIONS



                                  18,487                                                                    15,538                                                                     14,565                                                                       7,641
                            Cumulative confirmed                                                   Cumulative submissions                                                        Cumulative approvals                                                    Cumulative beneficiaries
                                                                                                                                                                                                                                                                                                                 Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 203 of 222




                               applications                                                             completed                                                                +77 since previous report                                                 +239 since previous report
                            +68 since previous report                                                 +94 since previous report


                                                                                                                                                                                                                                                   Venezuela AR_000297
Encounter and release data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/8/2022 6:00 AM. 72 e[Sulsion data based on manual count Srovided by field oSerators.£ SuSSorter aSSlication data come from US&,S and are valid as of 12/08/2022 8:39 AM. Data on
submissions completed, approvals, and parolees come from OFO and are valid as of 12/8/2022 7:04 AM. All fiJures are based on preliminary data pulled from live systems and subMect to cKanJe as reportinJ matures. All fiJures are based on D+S Office of ,mmiJration Statistics analysis of preliminary data.                                           1
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                    8 December 2022
                                                                                                                                                                                                                                                                                 8 December
                                                                                                                                                                                                                                                                                    2022
    Venezuelan Encounters
     VENEZUELAN ENCOUNTERS, RELEASES, AND
     T42 EXPULSIONS
                                                                                                                                Encounters              Releases            T42 Expulsions
                                                                 Single Adults                                                                                                                                        Family Unit ,ndividuals
1,200                                                                                                                                                            1,200

1,000                                                                                                                                                            1,000

  800                                                                                                                                                               800

  600                                                                                                                                                               600

  400                                                                                                                                                               400

  200                                                                                                                                                               200

      0                                                                                                                                                                0




                                                                                                                                                                       All
Venezuelans                        Encounters                    Total in Custody                                     Bookouts                                                                      Encounters                       Total in Custody                                    Bookouts
                                                                                                                                                                   Nationalties
                                                                                                                                Transfer                                                                                                                                                           Transfer
      Sector                 SA           FM          UC           SA          FM           UC         T42         Release       to ICE Other                              Sector               SA           FM          UC           SA          FM           UC          T42       Release        to ICE Other
El Paso                       20          33            1         153           99           1           84            0              2             0             El Paso                      1,277        625          106        2,688        1,494        163          416           997             2             120
Del Rio                       17          21            0          15           21           0           21            0              0             0             Del Rio                      1,521        509           59        1,452         492          97          282         1,090            33              51
Yuma                           3           5            0           4           12           0            8            2              0             0             Yuma                          603         378           22        1,220         732          21            8           587            24               24
Other                         12           7            0          26            5           0           12            7              2             0             Other                        1,968        516          260        4,829        1,866        260          724         2,709           203             679
Total                         52          66            1         198          137           1          125            9              4             0             Total                        5,369       2,028         447       10,189        4,584        541         1,430        5,383           262             874

                                                                                                                                                                      CUMULATIVE SOUTHWEST BORDER COUNTS
                Venezuelan Expulsions by                                                 Venezuelan Expulsions by                                                     SINCE OCTOBER 12

                    Departure Port                                                          Originating Sector
                                     SA                     FM                                                SA                    FM
       San Ysidro                    32                      2                  El Paso                       36                     48
       1ogales                        9                      0                  Del Rio                       18                      3
                                                                                                                                                                                    15,961                                                   13,478                                                   5,590
       El Paso                        1                      0                  Yuma                           6                      2                               Cumulative Venezuelan                                     Cumulative Venezuelan                                  Cumulative Venezuelan
                                                                                                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 204 of 222




       Eagle Pass                    18                      3                  RGV                            3                      0                                                   Encounters                                                 Expulsions                                                Releases
       BroZnsville                   13                     48                  Other                          9                      0                                    +119 since previous day                                   +125 since previous day                                   +9 since previous day
       Total                         73                     53                  Total                         72                     53

                                                                                                                                                                                                                                                         Venezuela AR_000298
Releases include parole-ATD, releases by &BP ZitK a 1otice to Appear (1TA), and transfers to ,&E for release at tKe border ZitK an 1TA. Transfers to ,&E include people placed in expedited removal and otKers placed in removal proceedinJs and transferred to ,&E for a custody determination. Encounter, total in
custody, and T8 book-out data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/8/2022 6:00 AM. T42 expulsion data based on manual count provided by field operators. All figures are based on preliminary data pulled from live systems and are subject to change as
reporting matures. All figures are based on D+S Office of ,mmigration Statistics analysis of preliminary data.                                                                                                                                                                                                                                                 2
 UNCLASSIFIED
  UNCLASSIFIED////FOR
                   FOROFFICIAL
                       OFFICIALUSE
                                USEONLY
                                    ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                      8 December 2022
                                                                                                                                                                                                                                                                                    8 December
                                                                                                                                                                                                                                                                                       2022
      Process for Venezuelans                                                                                       SINCE OCTOBER 18, 2022

                       Form I-134 Data Transmitted From USCIS to CBP                                                   Approval/Denial Status Sent to USCIS Approved Beneficiaries Schedule Travel                                                                        Travel Status Checked For Arrivals




                   SUPPORTER APPLICATIONS                                                         BENEFICIARY MATERIALS                                                             BENEFICIARY TRAVEL                                              BENEFICIARY PAROLEES AT POES
24,000                   CONFIRMED                                                                     COMPLETED                                                                     AUTHORIZATIONS                                                   BY TOP 3 COUNTRIES OF EMBARKATION




                          18,487
                                                         18,487                                                                        15,538                                                                    14,565                                                                             7,641
18,000                                        Cumulative confirmed                                                    Cumulative submissions                                                          Cumulative approvals                                                     Cumulative beneficiaries
                                                                applications                           15,538                                  completed                                              +77 since previous report                                                   +239 since previous report
                                                                                                                                                                                    14,565
                                              +68 since previous report                                                     +94 since previous report

12,000




 6,000

                                        2,197                                                                                                                                                                                                                     2,458                                 2,338
                                                                                                                                                                                                                                                                               1,711
                                                                                                                                                                                                   640                                                                                     1,134
                                                                                                                        0            0                                                                          333
       0
                   &onfirmations    1on-                                                                                                                                          Approved       Denied      Pending                                           &olombia Venezuela Mexico                 Other
                                &onfirmations
        ADMISSIONS &
        ARRIVALS



                                   SUPPORTER LOCATIONS                                                                                                    BENEFICIARY LOCATIONS                                                                            ARRIVALS BY AGE AND SEX
                                BY TOP 5 STATES OF RESIDENCE                                                                                                       BY TOP 5 COUNTRIES
   24,000                                                                                                                   24,000



   18,000                                                                                                                   18,000                                                                                                                                     Female           3,883
                                                                                                                                                                                                                                                   3,758               Male
                                                                                                                                             12,920
   12,000                                                                                                                   12,000                                                                                                                                                              939
                                                                                                                                                                                                                                                                                                                 1,396
                     7,358                                                                                                                                                                                                                                                                           0-17
    6,000                                                                                                                    6,000                                                                                                                                                                   18-30
                                                                                                                                                                                                                                                                                                                        Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 205 of 222




                                          2,614
                                                                                                                                                                                                                                                                                                     31-61
                                                                                                                                                                   1,409                933
                                                                                                                                                                                                                                                                                   3,176             61+
                                                                762                 679                 656                                                                                                  870                 581                                                                                2,130
           0                                                                                                                       0
                     Florida              Texas              Georgia               Utah             1eZ York                                Venezuela             Mexico                &hile            &olombia               Peru
                                                                                                                                                                                                                                                           Venezuela AR_000299
 1otes: Report data are person-level (i.e., exclude duplicate entry records). Data on confirmed applications, supporter locations, and beneficiary locations come from US&,S and are valid as of 12/08/2022 8:39 AM. Beneficiary location data exclude persons listing U.S. addresses. Data on submissions completed,
 approvals, and parolees come from OFO and are valid as of 12/8/2022 7:04 AM. Travel authorization approvals include authorizations that have been canceled after the traveler s arrival. Arrivals by country of embarkation estimated based on &BP·s analysis of flight data. All figures are based on preliminary
 data pulled from live systems and subject to change as reporting matures. All figures are based on D+S Office of ,mmigration Statistics analysis of preliminary data. &umulative supporter and beneficiary data are since October 18, 2022.                                                                                                                    3
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                               12 December  2022
                                                                                                                                                                                                                                                                            12 December
                                                                                                                                                A total of 159 Venezuelans were encountered at the Southwest Border yesterday and 150
                                                                                                                                                Venezuelans were expelled under Title 42 authority. Since October 18th, 18,606
                                                                                                                                                                                                                                                                                2022
      Daily Venezuela Report                                                                                                                    confirmed applications have been filed on behalf of Venezuelan beneficiaries,
                                                                                                                                                and a total of  8,465 beneficiaries have entered the United States.
       VENEZUELA ENCOUNTERS YESTERDAY                                                                                                          VENEZUELAN ENCOUNTERS, RELEASES AND
                                                                                                                                               EXPULSIONS



                                                                                                                                          2,000
                                                 159                                                               103                    1,800
            Total Venezuelan Encounters:                                                 Venezuela Encounters:
                                                                                                                                          1,600
                                Southwest Border                                                         El Paso Sector
                              +55 since previous day                                           +32 since previous day                     1,400

                                                                                                                                          1,200

                                                                                                                                          1,000
                                                 150                                                                113
                                                                                                                                            800
             Total Venezuelan Expulsions:                                                  Venezuela Expulsions:
                                Southwest Border                                                         El Paso Sector                     600

                              +94 since previous day                                           +72 since previous day                       400

                                                                                                                                            200

                                                          4                                                                 0                   0

                 Total Venezuelan Releases:                                                    Venezuela Releases:
                                Southwest Border                                                         El Paso Sector
                                                                                                                                                                                                  Encounters             Releases           T42 Expulsions
                                +3 since previous day                                            +0 since previous day



       PROCESS FOR VENEZUELANS




                   SUPPORTER APPLICATIONS                                                      BENEFICIARY MATERIALS                                                           BENEFICIARY TRAVEL                                            BENEFICIARY PAROLEES AT POES
                         CONFIRMED                                                                  COMPLETED                                                                   AUTHORIZATIONS



                                  18,606                                                                    15,726                                                                      14,767                                                                      8,465
                            Cumulative confirmed                                                    Cumulative submissions                                                        Cumulative approvals                                                    Cumulative beneficiaries
                                                                                                                                                                                                                                                                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 206 of 222




                               applications                                                              completed                                                                +42 since previous report                                                +160 since previous report
                            +50 since previous report                                                 +18 since previous report


                                                                                                                                                                                                                                                    Venezuela AR_000300
Encounter and release data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/12/2022 6:00 AM. 7H[SXOVLRQGDWDEDVHGRQPDQXDOFRXQWSURYLGHGE\ILHOGRSHUDWRUV£6XSSRUWHUDSSOLFDWLRQGDWDFRPHIURP86&,6DQGDUHYDOLGDVRI 12/12/2022 8:27 AM. Data on
submissions completed, approvals, and parolees come from OFO and are valid as of 12/12/2022 7:15 AM. $OOILJXUHVDUHEDVHGRQSUHOLPLQDU\GDWDSXOOHGIURPOLYHV\VWHPVDQGVXEMHFWWRFKDQJHDVUHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD                                           1
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                    12 December  2022
                                                                                                                                                                                                                                                                                 12 December
                                                                                                                                                                                                                                                                                     2022
    Venezuelan Encounters
     VENEZUELAN ENCOUNTERS, RELEASES, AND
     T42 EXPULSIONS
                                                                                                                                Encounters              Releases            T42 Expulsions
                                                                 Single Adults                                                                                                                                        )DPLO\8QLW,QGLYLGXDOV
1,200                                                                                                                                                            1,200

1,000                                                                                                                                                            1,000

  800                                                                                                                                                               800

  600                                                                                                                                                               600

  400                                                                                                                                                               400

  200                                                                                                                                                               200

      0                                                                                                                                                                0




                                                                                                                                                                       All
Venezuelans                        Encounters                    Total in Custody                                     Bookouts                                                                      Encounters                       Total in Custody                                    Bookouts
                                                                                                                                                                   Nationalties
                                                                                                                                Transfer                                                                                                                                                           Transfer
      Sector                 SA           FM          UC           SA          FM           UC         T42         Release       to ICE Other                              Sector               SA           FM          UC           SA          FM           UC          T42       Release        to ICE Other
El Paso                       31          72            0         160          121           2          113            0              0             3             El Paso                      1,238       1,022         136        2,407        2,618        252          345         1,219            34               71
Del Rio                        4          33            0           7           33           0           13            0              0             0             Del Rio                      1,035        367           41        1,900         555         101          194           929             0               47
Yuma                           3           6            0           5            8           0           11            0              0             3             Yuma                          731         359           28        1,303         748          36           11           420            36               28
Other                          8           2            0          14            6           0           13            4              1             0             Other                        1,776        461          414        5,401        2,063        517          452         2,413           108             550
Total                         46          113           0         186          168           2          150            4              1             6             Total                        4,780       2,209         619       11,011        5,984        906         1,002        4,981           178             696

                                                                                                                                                                      CUMULATIVE SOUTHWEST BORDER COUNTS
                Venezuelan Expulsions by                                                 Venezuelan Expulsions by                                                     SINCE OCTOBER 12

                    Departure Port                                                          Originating Sector
                                     SA                     FM                                                SA                    FM
       San Ysidro                    89                      5                  El Paso                       81                     32
       1RJDOHV                        9                      0                  Del Rio                        9                      4
                                                                                                                                                                                   16,369                                                     13,816                                                    5,614
       El Paso                        0                      0                  Yuma                           8                      3                               Cumulative Venezuelan                                     Cumulative Venezuelan                                  Cumulative Venezuelan
                                                                                                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 207 of 222




       Eagle Pass                     9                      4                  RGV                            0                      0                                                   Encounters                                                 Expulsions                                                Releases
       %URZQVYLOOH                    0                     34                  Other                          9                      4                                    +159 since previous day                                   +150 since previous day                                   +4 since previous day
       Total                        107                     43                  Total                         107                    43

                                                                                                                                                                                                                                                         Venezuela AR_000301
5HOHDVHVLQFOXGHSDUROH$7'UHOHDVHVE\&%3ZLWKD1RWLFHWR$SSHDU 17$ DQGWUDQVIHUVWR,&(IRUUHOHDVHDWWKHERUGHUZLWKDQ17$7UDQVIHUVWR,&(LQFOXGHSHRSOHSODFHGLQH[SHGLWHGUHPRYDODQGRWKHUVSODFHGLQUHPRYDOSURFHHGLQJVDQGWUDQVIHUUHGWR,&(IRUDFXVWRG\GHWHUPLQDWLRQ(QFRXQWHUWRWDOLQ
custody, and T8 book-out data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/12/2022 6:00 AM. T42 expulsion data based on manual count provided by field operators. All figures are based on preliminary data pulled from live systems and are subject to change as
UHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD                                                                                                                                                                                                                                                 2
 UNCLASSIFIED
  UNCLASSIFIED////FOR
                   FOROFFICIAL
                       OFFICIALUSE
                                USEONLY
                                    ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                       12 December  2022
                                                                                                                                                                                                                                                                                     12 December
                                                                                                                                                                                                                                                                                         2022
      Process for Venezuelans                                                                                        SINCE OCTOBER 18, 2022

                       Form I-134 Data Transmitted From USCIS to CBP                                                   Approval/Denial Status Sent to USCIS Approved Beneficiaries Schedule Travel                                                                         Travel Status Checked For Arrivals




                   SUPPORTER APPLICATIONS                                                         BENEFICIARY MATERIALS                                                              BENEFICIARY TRAVEL                                              BENEFICIARY PAROLEES AT POES
24,000                   CONFIRMED                                                                     COMPLETED                                                                      AUTHORIZATIONS                                                   BY TOP 3 COUNTRIES OF EMBARKATION




                          18,606
                                                         18,606                                                                         15,726                                                                    14,767                                                                           8,465
18,000                                        Cumulative confirmed                                                    Cumulative submissions                                                           Cumulative approvals                                                     Cumulative beneficiaries
                                                                                                       15,726
                                                                 applications                                                                   completed                           14,767             +42 since previous report                                                   +160 since previous report
                                              +50 since previous report                                                     +18 since previous report

12,000




 6,000
                                                                                                                                                                                                                                                                  2,799                                  2,560
                                        2,226                                                                                                                                                                                                                                   1,897
                                                                                                                                                                                                                                                                                            1,209
                                                                                                                                                                                                    643          316
                                                                                                                        0            0
       0
                   &RQILUPDWLRQV    1RQ-                                                                                                                                           Approved       Denied      Pending                                           &RORPELD Venezuela Mexico                 Other
                                &RQILUPDWLRQV
        ADMISSIONS &
        ARRIVALS



                                   SUPPORTER LOCATIONS                                                                                                    BENEFICIARY LOCATIONS                                                                            ARRIVALS BY AGE AND SEX
                                BY TOP 5 STATES OF RESIDENCE                                                                                                       BY TOP 5 COUNTRIES
   24,000                                                                                                                   24,000



   18,000                                                                                                                   18,000                                                                                                                                      Female           4,330
                                                                                                                                                                                                                                                    4,135               Male
                                                                                                                                              12,944
   12,000                                                                                                                   12,000                                                                                                                                                              1,066
                                                                                                                                                                                                                                                                                                                  1,577
                      7,390                                                                                                                                                                                                                                                                           0-17
     6,000                                                                                                                    6,000                                                                                                                                                                   18-30
                                                                                                                                                                                                                                                                                                                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 208 of 222




                                          2,630                                                                                                                                                                                                                                                       31-61
                                                                                                                                                                   1,466                 933                 871                                                                    3,518             61+
                                                                766                 686                 661                                                                                                                       586                                                                                2,304
           0                                                                                                                        0
                     Florida              Texas              Georgia                Utah             1HZ<RUN                               Venezuela             Mexico                &KLOH             &RORPELD               Peru
                                                                                                                                                                                                                                                            Venezuela AR_000302
 1RWHV5HSRUWGDWDDUHSHUVRQOHYHO LHH[FOXGHGXSOLFDWHHQWU\UHFRUGV 'DWDRQFRQILUPHGDSSOLFDWLRQVVXSSRUWHUORFDWLRQVDQGEHQHILFLDU\ORFDWLRQVFRPHIURP86&,6DQGDUHYDOLGDVRI 12/12/2022 8:27 AM. Beneficiary location data exclude persons listing U.S. addresses. Data on submissions completed,
 approvals, and parolees come from OFO and are valid as of 12/12/2022 7:15 AM. 7UDYHODXWKRUL]DWLRQDSSURYDOVLQFOXGHDXWKRUL]DWLRQVWKDWKDYHEHHQFDQFHOHGDIWHUWKHWUDYHOHU VDUULYDO$UULYDOVE\FRXQWU\RIHPEDUNDWLRQHVWLPDWHGEDVHGRQ&%3·VDQDO\VLVRIIOLJKWGDWD$OOILJXUHVDUHEDVHGRQSUHOLPLQDU\
 GDWDSXOOHGIURPOLYHV\VWHPVDQGVXEMHFWWRFKDQJHDVUHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD&XPXODWLYHVXSSRUWHUDQGEHQHILFLDU\GDWDDUHVLQFH2FWREHU                                                                                                                    3
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                               27 December  2022
                                                                                                                                                                                                                                                                            27 December
                                                                                                                                                    A total of 178 Venezuelans were encountered at the Southwest Border yesterday 385
                                                                                                                                                    Venezuelans were expelled under Title 42 authority. Since October 18th, 19,665
                                                                                                                                                                                                                                                                                2022
      Daily Venezuela Report                                                                                                                        confirmed applications have been filed on behalf of Venezuelan beneficiaries,
                                                                                                                                                    and a total of  10,692 beneficiaries have entered the United States.
       USBP VENEZUELA ENCOUNTERS YESTERDAY                                                                                                     VENEZUELAN ENCOUNTERS, RELEASES AND
                                                                                                                                               EXPULSIONS



                                                                                                                                          2,000
                                                  178                                                              145                    1,800
            Total Venezuelan Encounters:                                                 Venezuela Encounters:
                                                                                                                                          1,600
                                Southwest Border                                                         El Paso Sector
                                 -1 since previous day                                         +61 since previous day                     1,400

                                                                                                                                          1,200

                                                                                                                                          1,000
                                                385                                                                163
                                                                                                                                            800
             Total Venezuelan Expulsions:                                                  Venezuela Expulsions:
                                Southwest Border                                                         El Paso Sector                     600

                            +286 since previous day                                            +97 since previous day                       400

                                                                                                                                            200

                                                       16                                                                    1                  0

                 Total Venezuelan Releases:                                                    Venezuela Releases:
                                Southwest Border                                                         El Paso Sector
                                                                                                                                                                                                  Encounters             Releases           T42 Expulsions
                              +11 since previous day                                              -1 since previous day



       PROCESS FOR VENEZUELANS




                   SUPPORTER APPLICATIONS                                                      BENEFICIARY MATERIALS                                                           BENEFICIARY TRAVEL                                            BENEFICIARY PAROLEES AT POES
                         CONFIRMED                                                                  COMPLETED                                                                   AUTHORIZATIONS



                                  19,665                                                                     16,747                                                                     15,766                                                                    10,692
                            Cumulative confirmed                                                    Cumulative submissions                                                        Cumulative approvals                                                    Cumulative beneficiaries
                                                                                                                                                                                                                                                                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 209 of 222




                               applications                                                              completed                                                               +106 since previous report                                                +313 since previous report
                           +113 since previous report                                                +140 since previous report


                                                                                                                                                                                                                                                    Venezuela AR_000303
Encounter and release data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/27/2022 6:00 AM. 7H[SXOVLRQGDWDEDVHGRQPDQXDOFRXQWSURYLGHGE\ILHOGRSHUDWRUV£6XSSRUWHUDSSOLFDWLRQGDWDFRPHIURP86&,6DQGDUHYDOLGDVRI 12/27/2022 8:32 AM. Data on
submissions completed, approvals, and parolees come from OFO and are valid as of 12/27/2022 7:01 AM. $OOILJXUHVDUHEDVHGRQSUHOLPLQDU\GDWDSXOOHGIURPOLYHV\VWHPVDQGVXEMHFWWRFKDQJHDVUHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD                                           1
UNCLASSIFIED
 UNCLASSIFIED////FOR
                  FOROFFICIAL
                      OFFICIALUSE
                               USEONLY
                                   ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                    27 December  2022
                                                                                                                                                                                                                                                                                 27 December
                                                                                                                                                                                                                                                                                     2022
    Venezuelan Encounters
     VENEZUELAN ENCOUNTERS, RELEASES, AND
     T42 EXPULSIONS
                                                                                                                                Encounters              Releases            T42 Expulsions
                                                                 Single Adults                                                                                                                                        )DPLO\8QLW,QGLYLGXDOV
1,200                                                                                                                                                            1,200

1,000                                                                                                                                                            1,000

  800                                                                                                                                                               800

  600                                                                                                                                                               600

  400                                                                                                                                                               400

  200                                                                                                                                                               200

      0                                                                                                                                                                0




                                                                                                                                                                       All
Venezuelans                        Encounters                     Total in Custody                                    Bookouts                                                                      Encounters                       Total in Custody                                    Bookouts
                                                                                                                                                                   Nationalties
                                                                                                                                Transfer                                                                                                                                                           Transfer
      Sector                 SA           FM          UC           SA          FM           UC         T42         Release       to ICE Other                              Sector               SA           FM          UC           SA          FM           UC          T42       Release        to ICE Other
El Paso                       93          52            0         184          115           1          163            1              4             2             El Paso                       756         462           70         880          670         104          260           558           108               76
Del Rio                        4           4            1          54            5           1           68            1              0             2             Del Rio                       667         185           20         814          287          65          173         1,628            86              47
Yuma                           1           6            0           3            6           0            2            2              0             1             Yuma                          525         450           17         845          649          29            2           662            35               17
Other                          9           8            0         288          320           0          152           12              0             3             Other                        1,055        433           99        4,701        1,901        115          398         2,640           194             204
Total                        107          70            1         529          446           2          385           16              4             8             Total                        3,003       1,530         206        7,240        3,507        313          833         5,488           423             344

                                                                                                                                                                      CUMULATIVE SOUTHWEST BORDER COUNTS
                Venezuelan Expulsions by                                                 Venezuelan Expulsions by                                                     SINCE OCTOBER 12

                    Departure Port                                                          Originating Sector
                                     SA                     FM                                                SA                    FM
       San Ysidro                     3                      0                  El Paso                       145                    18
       1RJDOHV                       78                      0                  Del Rio                       41                     27
                                                                                                                                                                                   19,804                                                   16,392                                                    5,844
       El Paso                        0                      0                  Yuma                           2                      0                               Cumulative Venezuelan                                     Cumulative Venezuelan                                  Cumulative Venezuelan
                                                                                                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 210 of 222




       Eagle Pass                    80                     27                  RGV                           42                     93                                                   Encounters                                                 Expulsions                                                Releases
       %URZQVYLOOH                   86                     111                 Other                         17                      0                                    +178 since previous day                                   +385 since previous day                                 +16 since previous day
       Total                        247                     138                 Total                         247                   138

                                                                                                                                                                                                                                                         Venezuela AR_000304
5HOHDVHVLQFOXGHSDUROH$7'UHOHDVHVE\&%3ZLWKD1RWLFHWR$SSHDU 17$ DQGWUDQVIHUVWR,&(IRUUHOHDVHDWWKHERUGHUZLWKDQ17$7UDQVIHUVWR,&(LQFOXGHSHRSOHSODFHGLQH[SHGLWHGUHPRYDODQGRWKHUVSODFHGLQUHPRYDOSURFHHGLQJVDQGWUDQVIHUUHGWR,&(IRUDFXVWRG\GHWHUPLQDWLRQ(QFRXQWHUWRWDOLQ
custody, and T8 book-out data for yesterday come from USBP (and are limited to USBP encounters) and are valid as of 12/27/2022 6:00 AM. T42 expulsion data based on manual count provided by field operators. All figures are based on preliminary data pulled from live systems and are subject to change as
UHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD                                                                                                                                                                                                                                                 2
 UNCLASSIFIED
  UNCLASSIFIED////FOR
                   FOROFFICIAL
                       OFFICIALUSE
                                USEONLY
                                    ONLY// NOT FOR FURTHER DISSEMINATION                                                                                                                                                                                                       27 December  2022
                                                                                                                                                                                                                                                                                     27 December
                                                                                                                                                                                                                                                                                         2022
      Process for Venezuelans                                                                                        SINCE OCTOBER 18, 2022

                       Form I-134 Data Transmitted From USCIS to CBP                                                   Approval/Denial Status Sent to USCIS Approved Beneficiaries Schedule Travel                                                                         Travel Status Checked For Arrivals




                   SUPPORTER APPLICATIONS                                                         BENEFICIARY MATERIALS                                                              BENEFICIARY TRAVEL                                              BENEFICIARY PAROLEES AT POES
24,000                   CONFIRMED                                                                     COMPLETED                                                                      AUTHORIZATIONS                                                   BY TOP 3 COUNTRIES OF EMBARKATION


                          19,665                         19,665                                                                         16,747                                                                    15,766                                                                       10,692
18,000                                        Cumulative confirmed                                     16,747         Cumulative submissions                                                           Cumulative approvals                                                     Cumulative beneficiaries
                                                                                                                                                                                    15,766
                                                                 applications                                                                   completed                                            +106 since previous report                                                    +313 since previous report
                                             +113 since previous report                                                  +140 since previous report

12,000




 6,000
                                                                                                                                                                                                                                                                  3,669                                  3,162
                                        2,365                                                                                                                                                                                                                                   2,368
                                                                                                                                                                                                                                                                                            1,493
                                                                                                                                                                                                    642          339
                                                                                                                        0            0
       0
                   &RQILUPDWLRQV    1RQ-                                                                                                                                           Approved       Denied      Pending                                           &RORPELD Venezuela Mexico                 Other
                                &RQILUPDWLRQV
        ADMISSIONS &
        ARRIVALS



                                   SUPPORTER LOCATIONS                                                                                                    BENEFICIARY LOCATIONS                                                                            ARRIVALS BY AGE AND SEX
                                BY TOP 5 STATES OF RESIDENCE                                                                                                       BY TOP 5 COUNTRIES
   24,000                                                                                                                   24,000



   18,000                                                                                                                   18,000                                                                                                                                      Female           5,507
                                                                                                                                                                                                                                                    5,185               Male
                                                                                                                                              13,361

   12,000                                                                                                                   12,000                                                                                                                                                              1,332
                                                                                                                                                                                                                                                                                                                  2,116
                      7,774
                                                                                                                                                                                                                                                                                                      0-17
     6,000                                                                                                                    6,000                                                                                                                                                                   18-30
                                                                                                                                                                                                                                                                                                                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 211 of 222




                                          2,759                                                                                                                                                                                                                                                       31-61
                                                                                                                                                                   1,719                                                                                                            4,477             61+
                                                                796                 755                 695                                                                              979                 916                  617                                                                                2,767
           0                                                                                                                        0
                     Florida              Texas              Georgia                Utah             1HZ<RUN                               Venezuela             Mexico                &KLOH             &RORPELD               Peru
                                                                                                                                                                                                                                                            Venezuela AR_000305
 1RWHV5HSRUWGDWDDUHSHUVRQOHYHO LHH[FOXGHGXSOLFDWHHQWU\UHFRUGV 'DWDRQFRQILUPHGDSSOLFDWLRQVVXSSRUWHUORFDWLRQVDQGEHQHILFLDU\ORFDWLRQVFRPHIURP86&,6DQGDUHYDOLGDVRI 12/27/2022 8:32 AM. Beneficiary location data exclude persons listing U.S. addresses. Data on submissions completed,
 approvals, and parolees come from OFO and are valid as of 12/27/2022 7:01 AM. 7UDYHODXWKRUL]DWLRQDSSURYDOVLQFOXGHDXWKRUL]DWLRQVWKDWKDYHEHHQFDQFHOHGDIWHUWKHWUDYHOHU VDUULYDO$UULYDOVE\FRXQWU\RIHPEDUNDWLRQHVWLPDWHGEDVHGRQ&%3·VDQDO\VLVRIIOLJKWGDWD$OOILJXUHVDUHEDVHGRQSUHOLPLQDU\
 GDWDSXOOHGIURPOLYHV\VWHPVDQGVXEMHFWWRFKDQJHDVUHSRUWLQJPDWXUHV$OOILJXUHVDUHEDVHGRQ'+62IILFHRI,PPLJUDWLRQ6WDWLVWLFVDQDO\VLVRISUHOLPLQDU\GDWD&XPXODWLYHVXSSRUWHUDQGEHQHILFLDU\GDWDDUHVLQFH2FWREHU                                                                                                                    3
USBPEncountersatSouthwestBorderbySector,FY1960ͲAugust2022
FY         BigBend DelRio        ElCentro ElPaso      Laredo     RGV        SanDiego Tucson     Yuma      Total
     1960         732       3,023       1,839      3,630       1,024     5,515       3,371     1,255       633    21,022
     1961         954       3,458       1,878      3,540       1,172     6,713       2,279     1,178       573    21,745
     1962       1,431       3,250       1,426      3,304       1,274      5,569      3,091     1,247       511     21,103
     1963       2,026       4,417       1,690      3,813       1,753      9,992      3,768     1,466       719     29,644
     1964       3,146       4,489       2,640      4,486       2,168      9,173      4,521     1,200       696     32,519
     1965       3,973       4,292       5,344      6,355       2,310      8,057      6,558     1,480     1,651     40,020
     1966       6,592       6,845       6,916     10,119       3,658      8,706    13,362      2,392     4,050     62,640
     1967       7,049       7,906       6,974     13,656       4,178      9,029    17,844      3,068     4,269     73,973
     1968       8,834       9,576       8,358     19,408       5,715    10,093      24,116     4,537     6,004     96,641
     1969      11,973     12,991        9,195     31,159       8,129    14,076     33,311      8,301     8,833 137,968
     1970      16,770     18,711       12,028     43,640      11,569    20,708     50,663     14,222    13,469 201,780
     1971      22,026     25,780       14,292     57,796      17,665    28,281     59,375     23,548    15,228 263,991
     1972      20,269     31,110       15,327     78,168      21,781    29,338     73,115     32,272    19,946 321,326
     1973      22,378     42,232       23,125     82,386      23,854    37,092 128,889        44,824    36,286 441,066
     1974      23,291     44,098       26,143 112,432         30,061    38,668 196,981        50,108    49,824 571,606
     1975      20,472     32,008       27,217     99,000      26,199    31,300 185,499        39,941    50,628 512,264
     1976      19,846     32,988       32,327 114,886         24,665    38,839 266,709        34,641    42,598 607,499
     1977      22,239     42,322       38,421 145,059         27,289    38,704 337,195        33,295    48,669 733,193
     1978      23,501     54,098       42,118 174,010         36,627    45,201 325,557        34,991    53,338 789,441
     1979      20,116     50,262       55,532 149,722         50,666    41,915 337,930        37,075    52,580 795,798
     1980      15,602     50,762       57,009 127,488         39,167    35,012 285,984        33,668    45,862 690,554
     1981      17,584     50,455       59,774 146,872         36,910    32,809 326,836        33,085    45,483 749,808
     1982      20,268     48,753       55,440 152,882         40,385    32,533 314,979        32,344    48,236 745,820
     1983      20,829     83,733       71,897 205,944         65,279    57,706 429,121        35,870    63,595 1,033,974
     1984      22,196     87,058       68,563 212,652         87,059    66,860 407,828        46,283    59,777 1,058,276
     1985      23,667     99,280       71,519 240,350 114,931           82,826 427,772        55,269    67,737 1,183,351
     1986      23,796 123,952          95,186 312,892 143,685 121,783 629,656                 71,675    93,219 1,615,844
     1987       9,586     64,934       55,291 231,994         74,139    71,038 500,327        47,481    67,277 1,122,067
     1988       6,209     59,403       41,179 182,566         69,912    60,294 431,592        48,683    42,723 942,561
     1989       5,560     46,786       27,524 168,105         75,292    79,650 366,757        51,445    31,387 852,506      1800000
     1990       7,180     41,373       28,708 223,219         89,052    97,018 473,323        53,061    36,387 1,049,321
                                                                                                                            1600000
     1991       8,764     38,554       30,450 211,775         72,293    87,319 540,347        59,728    28,646 1,077,876
     1992      13,819     33,414       29,852 248,642         72,449    85,889 565,581        71,036    24,892 1,145,574    1400000

     1993      15,486     42,289       30,058 285,781         82,348 109,048 531,689          92,639    23,548 1,212,886    1200000
     1994      13,494     50,036       27,654     79,688      73,142 124,251 450,152 139,473            21,211 979,101      1000000
     1995      11,552     76,490       37,317 110,971         93,305 169,101 524,231 227,529            20,894 1,271,390
                                                                                                                             800000
     1996      13,214 121,137          66,873 145,929 131,841 210,553 483,815 305,348                   28,310 1,507,020
     1997      12,692 113,280 146,210 124,376 141,893 243,793 283,889 272,397                           30,177 1,368,707     600000
     1998      14,509 131,058 226,695 125,035 103,433 204,257 248,092 387,406                           76,195 1,516,680     400000
     1999      14,952 156,653 225,279 110,857 114,004 169,151 182,267 470,449                           93,388 1,537,000     200000
     2000      13,689 157,178 238,126 115,696 108,973 133,243 151,681 616,346 108,747 1,643,679
                                                                                                                                 0
     2001      12,087 104,875 172,852 112,857                 87,068 107,844 110,075 449,675            78,385 1,235,718




                                                                                                                                      1970
                                                                                                                                      1972
                                                                                                                                             1974
                                                                                                                                             1976
                                                                                                                                             1978
                                                                                                                                                    1980
                                                                                                                                                    1982
                                                                                                                                                           1984
                                                                                                                                                           1986
                                                                                                                                                           1988
                                                                                                                                                                  1990
                                                                                                                                                                  1992
                                                                                                                                                                         1994
                                                                                                                                                                         1996
                                                                                                                                                                         1998
                                                                                                                                                                                2000
                                                                                                                                                                                2002
                                                                                                                                                                                       2004
                                                                                                                                                                                       2006
                                                                                                                                                                                              2008
                                                                                                                                                                                              2010
                                                                                                                                                                                              2012
                                                                                                                                                                                                     2014
                                                                                                                                                                                                     2016




     2002      11,392     66,985 108,273          94,154      82,095    89,927 100,681 333,648          42,654 929,809
     2003      10,319     50,145       92,099     88,816      70,521    77,749 111,515 347,263          56,638 905,065
     2004      10,530     53,794       74,467 104,399         74,706    92,947 138,608 491,771          98,060 1,139,282
     2005      10,536     68,506       55,722 122,679         75,346 134,186 126,904 439,079 138,438 1,171,396
     2006       7,520     42,636       61,465 122,256         74,840 110,528 142,104 392,074 118,549 1,071,972
     2007       5,536     22,920       55,883     75,464      56,714    73,430 152,460 378,239          37,992 858,638
     2008       5,391     20,761       40,961     30,312      43,658    75,473 162,390 317,696           8,363 705,005
     2009       6,360     17,082       33,521     14,999      40,569    60,989 118,721 241,673           6,951 540,865
     2010       5,288     14,694       32,562     12,251      35,287    59,766     68,565 212,202        7,116 447,731
     2011       4,036     16,144       30,191     10,345      36,053    59,243     42,447 123,285        5,833 327,577
     2012       3,964     21,720       23,916      9,678      44,872    97,762     28,461 120,000        6,500 356,873
     2013        3684      23510        16306     11154       50749    154453       27496    120939      6106     414397
     2014        4096      24255        14511     12339       44049    256392       29911     87915      5902     479370
     2015        5031      19013        12820     14495       35888    147257       26290     63397      7142     331333
     2016        6366      23078        19448     25634       36562    186830       31891     64891     14170     408870
     2017        6002      13476        18633     25193       25460    137562       26086     38657     12847     303916
     2018        8045      15833        29230     31561       32641    162262       38591     52172     26244     396579
     2019        9637      57269        35138    182143       38378    339135       58049     63490     68269     851508
     2020        8627      40342        27487     54396       51425      90203      53277     66074      8804     400635
     2021       37266    259294         59231    193918      112241    549077      142459    191232    114488 1659206
    2022*       30684    428556         64221    258766      100495    440423      160312    230235    284078 1997770
Note FY2022datalimitedtofirst11monthsofthefiscalyear.
Source FY1960ͲFY2012fromUSBorderPatrol;FY2013ͲFY2021fromOISPersistDataset.
                                                                                                                                                                                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 212 of 222




                                                                                                                                                                                                            Venezuela AR_000306
                                                              USBP Nationwide Apprehensions by Country of Birth
                                                                      FY2000 FY2016 D through une
                                                                              Da a nc udes Depo ab e A ens On y
                                     DataSou ce E D Unoff c al)FY00ͲFY09asof2/20/15,FY10ͲFY15asofEndofYea Dates,FY16TDasof7/15/16


                                     2         2          2    2    2          2    4    2          2         2    7    2         2    9    2         2         2    2    2         2    4    2         2      T       RowLabels         Mex co              NTr angle             Other         GrandTotal
AFGHANISTAN                               45        34         21        11         20        19         9         3        12         6        11         4        11          5         4        5           29      2013          265409        64%      137548        33%    11440       3%      414397
ALBANIA                                  143       216        169       118        121       191        85        23        27        39        45        52        55        310       303       42           67      2014          226770        47%      237860        50%    14740       3%      479370
ALGERIA                                   12         7         12         6         11        11         5         1         3         7         6         1         2          3         3        2            2      2015          186017        56%      133528        40%    11788       4%     331333
ANDORRA                                    2                                                                                                                                                                           2016          190760        47%      199401        49%    18709       5%     408870
ANGOLA                                     7        8          8         4          2         4                    1         3         4         2         5         4         2         5         1               1   2017          127938        42%      162891        54%    13087       4%     303916
ANGUILLA                                            1                               3                                                                                                                                  2018          152257        38%      223604        56%    20718       5%     396579
ANTIGUA BARBUDA                           2         4           2         1                   2          2         4         2         1         2         3         2         1                   2                   2019          166458        20%      607774        71%    77276       9%     851508
ARABIANPENINSULA                                               1         1                                                                                                                                            2020          253104        63%      103816        26%    43715      11%     400635
ARGENTINA                                13        55         192       259        152       159        123       79        64        75         62       51        41        38        45        25           16      2021          608037        37%      683894        41%   367275      22%    1659206
ARMENIA                                  14        19          29        19         13        13          6        8        23         9          7        7         1                   1         5                   2022          682737        34%      487525        24%   827508      41%    1997770
ARUBA                                                                                                                                  1          1                                                                    Note FY2022datal m tedtof st11monthsofFY.
AUSTRALIA                                15        17         20        30         11         9          3         6         4         5          4         5        3         7         3         4               1   Sou ce OISPe s stDataset
AUSTRIA                                   4         2          1         3          5         2                    1         2         1          1         4                            2
AZERBAIJAN                                          1          2                    1         2          3         1                   2          1         3                  1         3         4
BAHAMAS                                  25        12         65        80         24        19          9        15        22        14         18        25       32        44        51        41           29
BAHRAIN                                   1         1          5         1                    1                                        1          1         1        1
BANGLADESH                               28        23         34        98         38        55         23        36         22       61        122        85       99        233       294       307         467
BARBADOS                                  2         1          3         5          2         5          5         1          1        4          5         5        3          1         1         2
BELARUS                                             3          7         6          8         9          2         4          3        3          7         8        1          1         1         2           1
BELGIUM                                   4         2          3         8          6         2          5         1          1                             3        1          1         9         2           8
BELIZE                                   41        37         41        42         46        42         46        52         65       57        53         53       49         48        75        30          29
BENIN                                                          1         1          2                              2          3                  3          1                             2         1
BERMUDA                                                        1         2                               2                    2        1         2          1        2                                             1
BHUTAN                                                         1                                                   1          4        2                    2                                      1
BOLIVIA                                  16        34         44       66          139       231        199       91         76       52        66         43       28        50         40       50           22
BOSNIAͲHERZEGOVINA                        5         3          7        2            3                    2        3          4        2         2          3        2         3          3        3
BOTSWANA                                                                1                     3                               3                             1                             1                      3
BRAZIL                               1,122      3 202    3 126      5,243       8 879    31 036      1 462    1 209         977       799       810       477       310       357       649   1,343          2,219
BRITISHVIRGIN SLANDS                                       3          1                                                                                   1
BRUNEI                                                                                                    1
BULGARIA                                  73       106        37        28         44         27         30        17        19        21        12        22       16         2         6         5               6
BURKINAFASO                               1         1                   1          2          2          3         1         2         3         5         2                  1                   2               5
BURMA                                      3         5         18       11          7          2          6        11        14         6        11         1         1        2         1         3
BURUNDI                                    3         1          1                   1          1          6         1         1         5         1         2         1                                         1
CAMBODIA                                   3         5          5       7          13         13         11         3         5         9        12         5         2         4         2         2           3
CAMEROON                                   5        11          7       7           3          8          7         5         7        20        17        13         4         1         7         2           2
CANADA                                   756       733        830   1,224       1 306        874        758       469       515       420       610       340       371       188       270       260          95
CAPEVERDE                                                                                     2          1         3         3         1         2         1         1
CAYMANISLANDS                            1                              1                                                                                            1                                            1
CENTRALAFRICANREPUBLIC                                                                                          1                                                             1       1
CHAD                                                         1                      1                    2        2         4         1                     1                   3       1
CH LE                                  281         195     103         99          75        86         82       64        61        46        38          49        16        18      19        10             17
CHINA,PEOPLESREPUBLICOF             288         448     616        562       1 133     2 207      2 193      827       844     1 500     1 162         938       962       968   1 702     1,327          1,856
COLOMBIA                               306         361     341        386         351       435        319      475       435       434       526         353       281       470     269       315            236
CONGO                                    8           9       8          2           2         3          4       15         9         5         9           6         4         4       1                        5
COSTAR CA                             169         252     213        371         444     1 218        553      191       178       174       184         100       157       136     146        97             64
CROATIA                                  5           3       3          7           3         1          2        2         2                               5                   5       1         2
CUBA                                 1,711         820   1 403      1,416       1 396     3 260      4,021    4 295     3 353         920       717       959       609       632   1 063     1,157          1,386
CYPRUS                                   1                                                                                  1
CZECHREPUBLIC                          53         30         68       60          50        13         12     14          18 7     20     11      8      3      5      1                                          7
CZECHOSLOVAKIA                           8         14         17       20          15         4          3      9           9 4      5      4      3             1      1
DEMREPOFTHECONGO                                1          3        2                     1          3                  4 4      1      1      1                                                               1
DENMARK                                   1                    5        4           4         3          1                    1             2      2             1      1
DJIBOUTI                                            3                   1                                1             2                    1
DOMIN CA                                31         16        7          7           3         7          5      3     12     11      3      5             6             1
DOMIN CANREPUBL C                   1,902      2 393    1 196      2,060       2 037     1 415      1,030    564    824    866  1 329    848  1 048    775    829    667                                      724
ECUADOR                              1,007      1 457      661        522         690     1 350      1,145    956  1 572 1 313 1 774 1 265 2 289 4 034 4 827 2 602                                           2,107
EGYPT                                   27         86       48         25          31        15          7      9     16     15      8     20     10     18     18      4                                        4
ELSALVADOR                          6,844      8 476    7 061      9,744      17 050    39 349     41,426 14 145 12 713 11 690 13 745 10 893 22 173 37 153 66 642 43 568                                   50,843
EQUATORIALGUINEA                       17          2                   1           2                    1             1      3             1                    1                                               1
ERITREA                                  1          5          2        9          19         68        65     76    165    157    137     15      1      2      9      5                                        1
ESTONIA                                  3          2          3        5           5         11         1      4      4      3      1      4                    1      2
ETH OPIA                                15         14         14       11          45        149       218     58     75    103     64     23      6      2      7      5                                          6
F JI                                     9          5          8        8           3          5         2             6             1      1             3      3      4
FINLAND                                  1          1          3                               2                                     1      1      1                                                            1
FRANCE                                  19         20         39        43         44         27        13      8     16     12     15     10      8     22     27     12                                      26
FRENCHPOLYNESIA                                                                               1                1
GABON                                                1         1                               3         1      2      2      8      1      2             1      1                                              1
GAMBIA                                     3         1         6        10          6          5         4      5      8      7      7     11      3      3      5      1                                       1
GEORGIA                                   20        26        22        17          5          4         9      5     21     37     11      9      9     14     18     10                                      12
GERMANY                                   39        45        42        50         27         25        27     12     15     21     21     15      8     19     22      9                                      32
GHANA                                      6        11        18        24         30         28        26     32     45     46     36     50      4      9     16      9                                       4
GREECE                                     7         6        16        13         10          4         7      3      7      7      4      2      3      1      2      2                                       4
GRENADA                                    4         5         4         3          9          2         1      4      2      8      1      6             3      2      1
GUADELOUPE                               306        54        15         5          1          3                1      3             1                           1      1
GUAM                                                                                                                   1                                         1
GUATEMALA                            4,389      4 963    6 002  7,818          11 722    22 691     20,018 17,421 16 450 15 628 18 529 19 158 35 203 54 741 81 179 57 225                                   52,187
GUINEA                                   5          9        7      7               8         7          4      8     18      4      9     12             3      1
GUINEAͲBISSAU                            2          2               1               1
GUYANA                                  14         13       31     38              32        38         24     29     22     21     19     23      8     13     12     13                                       12
HAITI                                  452        401      231    344             181       315        426    316    230    212    424    114    175    785  1 028    379                                      130
HONDURAS                             8,764      8 556    9 307 14 615          24 506    52 772     28,754 22,950 19 373 14 665 13 619 12 219 30 963 46 894 91 487 33 891                                   35,765
HONGKONG                                5         22       26      5              10        10                 5      2      5      1      2      1             2
HUNGARY                                 26         40       40     38              27        14         10      9      9     18     18     14     10      7      4      4                                          8
 CELAND                                                                                                         3      1
INDIA                                    324       327        367       328        398       314       191    193    185    204  1 225 2 584     646  1 071 1 530 2 579                                      2,943
INDONESIA                                 24        24         52        47         29        25        13     34     26     35     15      8     10      3      8      7                                        8
 RAN                                      57        65         40        39         26        35        32     22     16     17     16     27     12      6      5     13                                        9
 RAQ                                      23        10         15        20         23        32        18     15     10     18     18      5      6      6      7      8                                        9
 RELAND                                    9        14         29        19         14         9        14      7     12     12     14     10      9      8     11      3                                       30
 SRAEL                                    42        50         90       100         84        75        29     40     38     48     37     46     16     13     22     23                                        6
ITALY                                     11        13         25        20         23        21        15      6     20     12     14     30     26     48     63     33                                      135
IVORYCOAST                                3         3          7         9         11         5         5      7      8      2     14      5      2      4      1      1                                        1
JAMA CA                                   87       117        259       276        220       197       117    123    161    178    249    179    126    115     90     59                                       44
JAPAN                                     16        27         19        32         14        18         8      6      9     11      7     10      4      5      6      6
 ORDAN                                    28        20         42        23         21        22        15     12     14      7     14     14      7      7     10      9                                      11
KAZAKHSTAN                                 4         7          6         7          3         5         4      7      3      3      9     10      7      2             5                                       4
KENYA                                      7         8         30        51         35        31        23     20     26     18     23     19      8      8      5     10                                       8
KOREA                                    140       145        120       133        108        76        33     18     28      9      4     10      4      2      4      9                                       2
KOSOVO                                                                                                                        8      4     11      3      3      2      3                                      15
KUWAIT                                     8       11         12        15           9        7          4      7      5      8      3      4      2      5      4      6                                       2
KYRGYZSTAN                                          3          1         3                    2          3             1      4      2      5      4             4      3                                       1
LAOS                                     20        25         17        16         24        14         12      8     11      9     12     11      9      4      1      2
LATVIA                                    2         2          9         6         12         3          6      3      3      2      5      3      2      2      5      1                                          1
LEBANON                                  29        50         47        30         34        15         13     15     15     12     11      9      5      8     12      5                                          6
L BERIA                                             2          7         8         10         4         11      9      7      6      4      6      1             7      2                                          3
L BYA                                     2                    2         1          1         1          2      2             1      4      3      4                    1                                          1
LITHUANIA                                47        32         21        23         14        21         13      8     14      7      8      4      3      7      1      2                                          1
LUXEMBOURG                                                                                    1
MACAU                                     5         4          1                                                                                 1
MACEDONIA                                57        25         37        29         28        31         24         8        11        18         8         8         1         5         7         8               7
MADAGASCAR                                                     3         1          1
MALAWI                                    2                    2         1          3         2                    2                             3         1         1                   1
MALAYSIA                                 32         8         31        14         15        14          8         3         7         2        14         8         4         5                   4
MALDIVES                                                                 1
MALI                                      5         5          6        12          7         8          4         7         6         3         7         5         2         1         1         1               2
MALTA                                     1                    1                              1                                                            1
MARIANA SLANDS,NORTHERN                27
MARSHALLISLANDS                                    1                         1                                                        3         1
MARTINIQUE                                          2
MAURITANIA                                          3               1         6         2                3       3       3       3       2       3
MAURITIUS                                           1                                                            1               1               1       1       1
MEXICO                            1,557 757 1,219 196 917 535 882 032 1,084 707 1,023,658          980,862 808,568 661 691 503 145 404 130 285 991 265 716 267 626 229 062 187 984                      148,288
M CRONESIA,FEDERATEDSTATESOF           2         5       1       3                                                                    1                               1
MOLDOVA                                   1         5       4       7         3         6               14       3      18      20      19      29       9       8      13      17                                 3
MONACO                                    1                 1
MONGOLIA                                  3         4       9       7        17        10                6                   3         8        13         8         9                   7         6               2
                                                                                                                                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 213 of 222




MONTENEGRO                                                                                                                                                 1                   1                                   1
MONTSERRAT                                          1                    1                                                             1                   2
MOROCCO                                  12        29         36        31         11        16          9        11        16        12          7       10         3         1         6         1               2
MOZAMBIQUE                                                     3                    1                    1                   1                    1
NAMIBIA                                                                  1                    1                                                   1        1                    1                   1
NEPAL                                     9         7          11        7         23         9         27         5        44        56        147       82        149       349       466       409         418
NETHERLANDS                               5         5           5       15         14         5          7         7         6         3          2        4          3         2         4         4           2
NETHERLANDSANT LLES                                            1        2                    1          1                                        1                                       1
NEWCALEDONIA                                                   1        1




                                                                                                                                                                                                                                                                                                                Venezuela AR_000307
          2000       2001      2002      2003      2004      2005      2006      2007      2008      2009      2010      2011      2012      2013        Final or Most Current Outcomes, Total SW Border Encounters by Fear Claims
TotalEnco 1,566,421 1,231 412 930,341 906,734 1,140,247 1,269 230 1,168,309 954,396 792,409 619,113 527,413 401,058 426 105 489,612                                                                                                                                                                                                 TOTAL
CFCases
Complet                                                                                                                                                                                            MOST CURRENT OUTCOMES
ed
(APSO)        10,107    13,232    10,198     6,480     8,230     9 695     5,659     5,770     5,749     6 615    11,030    14,405    18 625    43,219                                                                                                                           2013         2014        2015         2016         2017         2018         2019        2020         2021        2022Q3
   CFFo   9,320   12,381      9 253     5,554     7,436     8 414     3,467     3,328     3,413     3 798     7,208     9,996    12 218    32,811    Total Encounters1                                                                                                  477,459      544,668     403,473      505,086      385,192      497,699      957,155      448,731 1,725,223        1,710,734
   CFNo     133      171        222       168       159       193       760     1,213     1,086     1 439     1,925     1,722     2 313     4,281    Processed for Expedited Removal                                                                                     236 330      229 389      180 679      228 019     160 397      21 808       223 291       91 765       8 707         8 513
   Close     654      680        723       758       635     1 088     1,432     1,229     1,250     1 378     1,897     2,687     4 094     6,127     No fear cla m                                                                                                      197 061      17 897       130 85       130 298      89 1 7      11 822       121 50        66 035       15 055        29 389
               92%      94%        91%       86%       90%       87%       61%       58%       59%       57%       65%       69%       66%       76%        No Fear Cla m - conf rmed removal or return                                                                      187 507      165 138      129 198      127 236      86 205      109 29       117 7 9       62 059       10 313        18 661
                 1%       1%         1%        1%        1%        1%        0%       1%        1%        1%        2%        4%        4%        9%      Cred b e Fear Cla ms (CBP CF d spos t on and/or has APSO cases)                                                     38 981       5 230        50 0 3       97 575      71 121       99 825      101 73        25 705       69 635        55 119
                                                                                                                                                                                                                                                                                  8%          10%          12%          19%         18%          20%          11%           6%            %            3%
                                                                                                                                                                                                                                                                                 16%          2 %          28%           3%           %           6%           6%          28%          82%           65%
                                                                                                                                                          Cr d b e Fear C a ms (APSO cases Only)                                                                              36 026        8 670        6 39        92 709      68 711       95 660       98 279       23 955        8 10         29 139
                                                                                                                                                            Pos t ve fear determ nat ons                                                                                      30 800       3 997        33 90        73 56       53 509       7 531        70 967        8 9         33 53         17 0 7
                                                                                                                                                            Negat ve fear determ nat ons                                                                                       26 1         9 086        7 517        9 388       7 301        9 13        17 70        12 10        13 216         9 639
                                                                                                                                                             Negat ve fear determ nat ons appealed to EOIR                                                                     2 380        72 0         6 235        7 593       5 868        67          1 307         9 75        12 778         9 056
                                                                                                                                                               Negat ve fear determ nat ons vacated by EOIR                                                                      225        1 258        1 227        1 995       1 37         1 273        3 866        3 172        3 92          2 113
                                                                                                                                                               Negat ve fear determ nat ons upheld by EOIR                                                                     2 155        5 982        5 008        5 598          31        5 71        10 1          6 582        9 286         69 3
                                                                                                                                                            Case closures                                                                                                      2 585          587          973        9 757       7 901       11 995        9 608        3 051        1 660         2 53
                                                                                                                                                             Case closures referred to EOIR                                                                                      965        15 3         1 810          639       3 839        6 585        3 310          950          821           780
                                                                                                                                                             Case closures not referred to EOIR                                                                                1 620        30           3 163        5 118         062        5 10         6 298        2 101          839         1 673
                                                                                                                                                            Non-Referra s to EOIR                                                                                              6 991       16 32        13 102       17 377      12 336       17 36        23 591       13 089       31 788        35 179
                                                                                                                                                             Executed Removal Orders                                                                                             222       10 609        8 977       11 889       9 627       12 008       18 83         8 690        60 8          2 290
                                                                                                                                                            Total Referrals to EOIR (Includes closed cases vacated negat ve dec s ons and pos t ve dec s ons)
                                                                                                                                                                                                                                                                              31 990       37 798       36 9 1       80 198      58 785       82 389       78 1 3       12 616       37 8 7        19 9 0
                                                                                                                                                          EOIR cases started                                                                                                  31 667       37 367       36 611       78 515      56 965       77 06        71 706       11 772       30 723        13 362
                                                                                                                                                           St ll n EOIR Proceed ngs                                                                                           12 205       12 966       12 573       30 216      26 329       38 995       37 686        8 080       25 9 7        10 557
                                                                                                                                                           EOIR Cases comp eted                                                                                               19 398       2 310        23 978        80 0       30 3 0       37 153       31 523        3 235        1 972           552
                                                                                                                                                             Asy um Granted or other EOIR Rel ef from Removal                                                                  56 3         7 181        7 590       13 0 9       8 887       12 535       13 17         1 522           98            78
                                                                                                                                                                Grants of rel ef other favorab e-to-nonc t zen judgements appealed to BIA                                        273          515          532          961         686          572           66           90           15             3
                                                                                                                                                             Removal Orders                                                                                                   13 755       17 129       16 388       3 991       21 53        2 618        18 3 9        1 713        1 7              7
                                                                                                                                                                 EOIR Removal Orders other favorab e-to-OPLA judgements appea ed to BIA                                        2 635           59        5 610       12 961       6 376        5 83         3 651          509          166            25
                                                                                                                                                                Executed Removal Orders                                                                                        3 982        5 3          5 003        7 158       6 007        7 207       10 705          729          303           110
                                                                                                                                                                 Total appea s to BIA (sum of rows 25 and 27)                                                                  2 908          97         61 2        13 922       7 062        6 055          117          599          181            28

                                                                                                                                                         Notes Resu tsbasedonsou cedataasofJune30,2022andOISEnfo cementL fecyclemethodologyasofMay31,2021.Encounte s ncludeUSBPapp ehens onsandOFO nadm ss b l tydete m nat onsontheSouthwestBo de byyea ofencounte .Table seventͲbased,sononc t zensencounte edonmu t pleoccas onsappea  nthetablemu t plet mes.
                                                                                                                                                         Source DHS Off ce of Imm grat on Stat st cs Enforcement L fecycle
                                                                                                                                                         1ExcludesAccompan edM no s(AM),andOFOadm n st at vecases nclud ng,c ewmembe s,pa olee,andw thd awals.Totalexclus onsmadeup5.3pe centoftotalencounte sbetweenFY2013andFY2022Q3.

                                                                                                                                                         Final or Most Current Outcomes, Total SW Border Encounters by Fear Claims
                                                                                                                                                                                                   MOST CURRENT OUTCOMES
                                                                                                                                                                                                                                                                                                                                     TOTAL
                                                                                                                                                                                                                                                                                 2013         2014        2015         2016         2017         2018         2019        2020         2021        2022Q3
                                                                                                                                                         Total Encounters1                                                                                                  100.0%       100.0%       100.0%       100.0%      100.0%       100.0%       100.0%       100.0%       100.0%        100.0%
                                                                                                                                                         Processed for Expedited Removal (ER) as a Percent of Total Encounters                                                  9 5%         2 1%           8%         5 1%         1 6%        3 2%        23 3%        20 %            9%            9%
                                                                                                                                                          No fear cla m as a Percent of ER                                                                                     83 %         76 2%        72 2%        57 1%        55 6%       53 5%        5 %          72 0%        17 8%         3 8%
                                                                                                                                                            No Fear Cla m - conf rmed removal or return as a Percent of No Fear Cla m                                          95 2%        9 %          99 0%        97 7%        96 7%       95 2%        97 0%        9 0%         68 5%         63 5%
                                                                                                                                                          Cred b e Fear Cla ms (CBP CF d spos t on and/or has APSO c ock- n) as a Percent of ER                                16 5%        23 6%        27 7%         2 8%           3%        6 5%         5 6%        28 0%        82 2%         65 2%
                                                                                                                                                          Cr d b e Fear C a ms (APSO clock-in On y) as a P rcent f ER                                                          15 2%        21 2%        25 7%         0 7%         2 8%          5%           0%        26 1%        57 1%         3 5%
                                                                                                                                                            Pos t ve fear determ nat ons as a percent of Cred ble Fear C a ms                                                  85 5%        71 9%        73 1%        79 3%        77 9%       77 9%        72 2%        35 5%        69 3%         58 5%
                                                                                                                                                            Negat ve fear determ nat ons as a percent of Cred ble Fear C a ms                                                   7 3%        18 7%        16 2%        10 1%        10 6%        9 5%        18 0%        51 8%        27 3%         33 1%
                                                                                                                                                             Negat ve fear determ nat ons appealed to EOIR as a percent of negat ve fear                                       90 1%        79 7%        82 9%        80 9%        80 %        73 8%        80 8%        78 6%        96 7%         9 0%
                                                                                                                                                               Negat ve fear determ nat ons vacated by EOIR as a percent of appea ed negat ve fear                              9 5%        17 %         19 7%        26 3%        2 5%        18 9%        27 0%        32 5%        27 3%         23 3%
                                                                                                                                                               Negat ve fear determ nat ons upheld by EOIR as a percent of appealed negat ve fear                              90 5%        82 6%        80 3%        73 7%        75 5%       81 1%        73 0%        67 5%        72 7%         76 7%
                                                                                                                                                            Case closures as a percent of Cred ble Fear C a ms                                                                  7 2%         9 %         10 7%        10 5%        11 5%       12 5%         9 8%        12 7%         3 %           8 %
                                                                                                                                                             Case closures referred to EOIR as a percent of case c osures                                                      37 3%        33 6%        36 %          7 5%         8 6%       5 9%         3 5%         31 1%         9 5%         31 8%
                                                                                                                                                             Case closures not referred to EOIR as a percent of case closures                                                  62 7%        66 %         63 6%        52 5%        51 %         5 1%        65 5%        68 9%        50 5%         68 2%
                                                                                                                                                            Non-Referra s to EOIR as a percent of fear cla ms                                                                  17 9%        30 3%        26 2%        17 8%        17 3%       17 5%        23 2%        50 9%         5 6%         63 8%
                                                                                                                                                             Executed Removal Orders as a percent of non-referrals to EOIR                                                     60 %         6 6%         68 5%        68 %         78 0%       68 9%        79 8%        66 %         19 0%          6 5%
                                                                                                                                                            Total Referrals to EOIR (Includes closed cases vacated negat ve dec s ons and pos t ve dec s ons) as a
                                                                                                                                                            percent of fear cla ms                                                                                             82 1%        69 7%        73 8%        82 2%        82 7%       82 5%        76 8%         9 1%        5 %           36 2%
                                                                                                                                                          EOIR cases started as a percent referrals to EOIR                                                                    99 0%        98 9%        99 1%        97 9%        96 9%       9 0%         91 8%        93 3%        81 2%         67 0%
                                                                                                                                                           St ll n EOIR Proceed ngs as a percent of EOIR cases                                                                 38 5%        3 7%         3 3%         38 5%         6 2%       50 %         52 6%        68 6%        8 5%          79 0%
                                                                                                                                                           EOIR Cases comp eted as a percent of EOIR cases                                                                     61 3%        65 1%        65 5%        61 2%        53 3%        8 0%           0%        27 5%         6 %             1%
                                                                                                                                                             Asy um Granted or other EOIR Rel ef from Removal                                                                  29 1%        29 5%        31 7%        27 2%        29 3%       33 7%         1 8%         7 0%        25 3%         1 1%
                                                                                                                                                                Grants of rel ef other favorable-to-nonc t zen judgements appealed to BIA as a percent of rel ef                  8%         7 2%         7 0%         7 %          7 7%          6%         3 5%         5 9%         3 0%          3 8%
                                                                                                                                                             Removal Orders as a percent of EOIR cases                                                                         70 9%        70 5%        68 3%        72 8%        70 7%       66 3%        58 2%        53 0%        7 7%          85 9%
                                                                                                                                                                 EOIR Removal Orders other favorab e-to-OPLA judgements appea ed to BIA as a percent of removal order          19 2%        26 0%        3 2%         37 0%        29 7%       22 3%        19 9%        29 7%        11 3%          5 3%
                                                                                                                                                                Executed Removal Orders as a percent of removal orders                                                         28 9%        31 8%        30 5%        20 5%        28 0%       29 3%        58 3%         2 6%        20 6%         23 2%

                                                                                                                                                         Notes Resu tsbasedonsou cedataasofJune30,2022andOISEnfo cementL fecyclemethodologyasofMay31,2021.Encounte s ncludeUSBPapp ehens onsandOFO nadm ss b l tydete m nat onsontheSouthwestBo de byyea ofencounte .Table seventͲbased,sononc t zensencounte edonmu t pleoccas onsappea  nthetablemu t plet mes.
                                                                                                                                                         Sou ce DHSOff ceofImm g at onStat st csEnfo cementL fecycle.
                                                                                                                                                         1ExcludesAccompan edM no s(AM),andOFOadm n st at vecases nclud ng,c ewmembe s,pa olee,andw thd awals.Totalexclus onsmadeup5.3pe centoftotalencounte sbetweenFY2013andFY2022Q3.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 214 of 222




                                                                                                                                                                                                                                                                                                                                                                                                                             Venezuela AR_000308
                                            Cuba       Haiti    Nicaragua    Venezuela     CHNV     AllOther( Total     AllOther
             OctͲ20                 10             467      569          162           114     1312     37987       39299      39185
             NovͲ20                 11             528       96          255           151     1030     36782       37812      37661
             DecͲ20                 12             849      227          386           173     1635     35413       37048      36875
             JanͲ21                 1             1047     1610          299           257     3213     38898       42111      41854
             FebͲ21                 2             2746      713          537           859     4855     54863       59718      58859
             MarͲ21                 3             4708     2610         1730         2497     11545 104975         116520     114023
             AprͲ21                 4             2968     1013         2873         5797     12651 104849         117500     111703
             MayͲ21                 5             2508     2411         4206         7177     16302     94698      111000     103823
             JunͲ21                 6             2931     5310         7177         7382     22800     99960      122760     115378
             JulͲ21                 7             3462     5137        13219         6031     27849 125771         153620     147589
             AugͲ21                 8             4410     6671         9506         6199     26786 128902         155688     149489
             SepͲ21                 9             4728    17121         7006        10691     39546 101607         141153     130462
           2021Total                            31352    43488        47356        47328 169524 964705 1134229 1086901
           MarchͲSeptaverage
Source:OISPersistDataset;UniqueEncounterspivottablefilteredforuniqueencounters+OFOAdminencountersatSWB.
                                                                                                                                                 Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 215 of 222




                                                                                                                           Venezuela AR_000309
             CNHV              Mexico              NCA                            Other           Venezuela Other
2014Ͳ2019    32,794   180,254   264,702    25,468       1666    459404
2020         15,895   187,354   80,685   24,874       2543    363731
2021         169,524    322,804   488,871    153,030       47328    433667
2022         605,208    407,026   372,453    377,505      152443    208482
                                                                                                                                                                                  1.2

            CHNV               Mexico          N.CentralAmerica Other                      Venezuela Other                                                                        1
2014Ͳ2019               7%                 36%               53%                          5%       0.36%    99.64%        88%
2020                    5%                 61%               26%                          8%       0.69%    99.31%        87%                                                     0.8
2021                   15%                 28%               43%                         13%       9.84%    90.16%        72%
2022                   34%                 23%               21%                         21%      42.24%    57.76%        44%                                                     0.6

                                                                                                                                                                                  0.4


  Datathrough8/31/22fromOISPersist8/31/22uniqueencounterspivottable.Sept.2022datafromUIPpulled10/6/22and                                                       0.2

                                      deflatedbyuniqueencounterratioforFY2022.
                                                                                                                                                                                    0
                                                                                                                                                                                                                          1

                                                                                                                                                                                                      Series1   Series2       Series3   Series4




UniqueencountersthroughAugust2022
SumofcountColumnLabels
RowLabels Brazil        Chile         Colombia                                   Ecuador     India       Other       Peru      Romania Russia       Ukraine    Venezuela Cuba      Haiti        Nicaragua ElSalvador Guatemala Honduras Mexico GrandTotal
2014                 566            43                                 319               4753        1323        6786       934      871          44         45         74   17556           470     1775          64491    71182    88651 2E+05    461070
2015                1371            25                                 401               2575        2143        7616       518      434         109        131        155   31062           336     1001          41608    54603    32371 2E+05    366274
2016                4499            46                                 472               2913        2524       10129       661     2547         137        206        321   41609          6365     1343          76952    80604    56685 2E+05    480995
2017                4596            50                                 275               1568        2311        7888       549     1165         196        170        387   15512          9161     1097          54556    71259    51025 1E+05    360925
2018                5783            27                                 305               1537        6187        9071       667      592         523        161        661     7020          307     3502          35383   125209    85140 2E+05    456068
2019               19236           318                                 592              12430        4954       14153       897      312         888        264       7518   32385          3041    14108          89173   257261   252058 2E+05    893976
2020                6785           653                                 324               7453         940        7566       350      275         435         93       2543     7312         4433     1607          12917    37261    30507 2E+05    308808
2021               54912          6150                                5581              60447        2437       12377      2437     4016        4014        659      47328   31352         43488    47356          67902   197015   223954 3E+05 1134229
2022               49740          6229                              109084              17006       13144       59653     41935     5628       18927     25248      152443 187858          44566 139446            60509   149363   138005 4E+05 1594037
GrandTotal      147488          13541                              117353             110682       35963      135239     48948    15840       25273     26977      211430 371666         112167 211235           503491  1043757   958396 2E+06 6056382
                                                                                                                                                                 0.1494619
                                                                                                                                                                 0.3289215
                                                                                                                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 216 of 222




                                                                                                                                                                                                                                          Venezuela AR_000310
UniqueEncountersfromOISpersist
RowLabels                     Brazil       Chile      Colombia   Cuba        Ecuador     ElSalvadorGuatemalaHaiti      Honduras India      Mexico   Nicaragua Other     Peru      Romania Russia     Ukraine Venezuela GrandTotal             CHNV             Allother(Non Venezuela                AllOther
2013                                    276         25        473       13760       3969      35084     45902        847    42840       2952   223475      1353     5197        788      627        50        18       59  377695                 16 019 361 676  59 377 636
2014                                    566         43        319       17556       4753      64491     71182        470    88651       1323   201187      1775     6786        934      871        44        45       74  461070                 19 875 441 195  74 460 996
2015                                   1371         25        401       31062       2575       41608    54603        336    32371       2143   189815      1001     7616        518      434       109       131      155  366274                 32 554 333 720  155 366 119
2016                                   4499         46        472       41609       2913       76952    80604       6365    56685       2524   192982      1343    10129        661     2547       137       206      321  480995                 49 638 431 357  321 480 674
2017                                   4596         50        275       15512       1568       54556    71259       9161    51025       2311   139160      1097     7888        549     1165       196       170      387  360925                 26 157 334 768  387 360 538
2018                                   5783         27        305        7020       1537       35383   125209        307    85140       6187   173993      3502     9071        667      592       523       161      661  456068                 11 490 444 578  661 455 407
2019                                  19236        318        592       32385      12430      89173    257261       3041   252058       4954   184388     14108    14153        897      312       888       264     7518  893976                 57 052 836 924  7 518 886 458
2020                                   6785        653        324        7312       7453       12917    37261       4433    30507        940   187354      1607     7566        350      275       435        93     2543  308808                 15 895 292 913  2 543 306 265        CHNV
2021                                  54912       6150       5581       31352      60447       67902   197015     43488    223954       2437   322804     47356    12377       2437     4016     4014        659    47328 1134229                 169 524 964 705  47 328 1 086 901                 257%    20%   Seeformulas
2022                                  49740       6229     109084      187858      17006      60509    149363     44566    138005     13144    375253    139446    59653      41935     5628   18927      25248    152443 1594037                 524 313 1 069 724 152 443 1 441 594                 Venezuela
September1Ͳ302022fromUIP           1732        528      13801       26186       5377        6218    15258       5175    14224       2021    63025     18200    10154       8233      276     2606         49    33810  226873                 83 371 143 502  33 810 193 063             293%    45%
UniqueEncountersratiofromO          96%        94%        98%         96%         91%        67%      69%        91%      70%        81%      50%       96%       99%       99%      98%      99%      100%       99%     74%                                                                99.05%
Projected9/22UniqueEncount          1665        494      13533       25262       4898        4145    10541       4723     9890       1631    31773     17421    10015       8137      272     2572         49    33489  168156                 d                   #VALUE!        33 489
2022fullyearprojection             51405       6723     122617      213120      21904      64654    159904     49289    147895     14775    407026    156867    69668      50072     5900   21499      25297    185932 1762193                 605 208 1 156 985 185 932 1 576 261




                            
                                                                                                                                                                                                                         CNHV        Allother   Total
                                                                                                                                                                                                             FY22         605 208 1 156 985 1 762 193
                                                                                                                                                                                                             FY21         169 524 964 705 1 134 229        3.570044965
                                                                                                                                                                                                             FY14Ͳ19aver 32 794 470 424 503 218      18.45466095

                                                                                                                                                                                                   Shareofchangefrom21 0.693804 0.3061957
                                                                                                                                                                                                Shareofchangefrom14Ͳ19 0.454667 0.5453334

                                                                                                                                                                                                                          435 684 192 280 627 964
                                                                                                                                                                                                                                                                                                                                                                   Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 217 of 222




                                                                                                                                                                                                                                                                                                                               Venezuela AR_000311
            Uniqueencounters
            Cuba             Haiti            Nicaragua          Venezuela Sum
      2014 1,463 39 148 6 1,656
      2015 2,589 28 83 13 2,713
      2016 3,467 530 112 27 4,137
      2017 1,293 763 91 32 2,180
      2018 585 26 292 55 958
      2019 2,699 253 1,176 627 4,754
      2020 609 369 134 212 1,325
    OctͲ20 467 569 162 114 1,312
   NovͲ20 528 96 255 151 1,030
   DecͲ20 849 227 386 173 1,635
    JanͲ21 1,047 1,610 299 257 3,213
   FebͲ21 2,746 713 537 859 4,855
   MarͲ21 4,708 2,610 1,730 2,497 11,545
   AprͲ21 2,968 1,013 2,873 5,797 12,651
   MayͲ21 2,508 2,411 4,206 7,177 16,302
    JunͲ21 2,931 5,310 7,177 7,382 22,800
     JulͲ21 3,462 5,137 13,219 6,031 27,849
   AugͲ21 4,410 6,671 9,506 6,199 26,786
   SepͲ21 4,728 17,121 7,006 10,691 39,546
   OctͲ21 5,821 869 9,011 13,266 28,967
   NovͲ21 6,551 995 13,131 20,191 40,868
   DecͲ21 7,934 6,939 14,439 24,652 53,964
    JanͲ22 9,641 3,233 11,173 22,596 46,643
   FebͲ22 16,405 1,795 12,973 3,016 34,189
   MarͲ22 31,411 2,054 15,431 4,014 52,910
   AprͲ22 34,296 5,420 12,184 4,057 55,957
   MayͲ22 21,827 9,755 17,644 5,033 54,259
    JunͲ22 15,513 3,580 10,502 13,099 42,694
     JulͲ22 19,595 4,555 11,610 17,389 53,149
   AugͲ22 18,864 5,371 11,348 25,130 60,713 Mexico       Gtm       Hnd          SLV
9/2022est 25,262 4,723 17,421 33,489 80,895 31,773 10,541 9,890 4,145
9/1Ͳ30/22              26186            5175             18200              33810 83,371
UniqueEnc               96%             91%                96%                99%
                                                                                                                                                                  Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 218 of 222




                                                                                                                                            Venezuela AR_000312
Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 219 of 222




                                                                             Venezuela AR_000313
            CNHV          Mexico       NCA                   Other           Venezuela Other
2014Ͳ2019   32,794   180,254   264,702     25,468       1666 459404                                            1.2
2020        15,895   187,354   80,685   24,874       2543 363731
2021        169,524    322,804   488,871     153,030       47328 433667                                             1
2022        605,208    407,026   372,453     377,505      152443 208482
                                                                                                                                          0.8
            CHNV          Mexico   N.CentralAme Other                   Venezuela   Other
                                                                                                                                          0.6
2014Ͳ2019           7%         36%            53%                    5%         0.36%   99.64%   88%
2020                5%         61%            26%                    8%         0.69%   99.31%   87%                                      0.4
2021               15%         28%            43%                   13%         9.84%   90.16%   72%
2022               34%         23%            21%                   21%        42.24%   57.76%   44%                                      0.2

                                                                                                                                           0
                                                                                                                                                                                   1
    Datathrough8/31/22fromOISPersist8/31/22unique                                                                                                      Series1   Series2       Series3   Series4
encounterspivottable.Sept.2022datafromUIPpulled10/6/22
     anddeflatedbyuniqueencounterratioforFY2022.




UniqueencountersthroughAugust2022
Sumofcou ColumnLabels
RowLabels Brazil      Chile      Colombia      Ecuador     India       Other    Peru      Romania Russia       Ukraine    Venezuela Cuba      Haiti        Nicaragua ElSalvador Guatemala Honduras Mexico GrandTotal
2014               566         43           319        4753        1323     6786       934      871          44         45         74   17556           470     1775          64491    71182    88651 2E+05    461070
2015              1371         25           401        2575        2143     7616       518      434         109        131        155   31062           336     1001          41608    54603    32371 2E+05    366274
2016              4499         46           472        2913        2524    10129       661     2547         137        206        321   41609          6365     1343          76952    80604    56685 2E+05    480995
2017              4596         50           275        1568        2311     7888       549     1165         196        170        387   15512          9161     1097          54556    71259    51025 1E+05    360925
2018              5783         27           305        1537        6187     9071       667      592         523        161        661     7020          307     3502          35383   125209    85140 2E+05    456068
2019           19236          318           592       12430        4954    14153       897      312         888        264       7518   32385          3041    14108          89173   257261   252058 2E+05    893976
2020              6785        653           324        7453         940     7566       350      275         435         93       2543     7312         4433     1607          12917    37261    30507 2E+05    308808
2021           54912         6150          5581       60447        2437    12377      2437     4016        4014        659      47328   31352         43488    47356          67902   197015   223954 3E+05 1134229
2022           49740         6229       109084        17006       13144    59653     41935     5628       18927      25248     152443  187858         44566 139446            60509   149363   138005 4E+05 1594037
GrandTota    147488        13541       117353       110682       35963 135239       48948    15840       25273      26977     211430  371666        112167 211235           503491  1043757   958396 2E+06 6056382
                                                                                                                            0.1494619
                                                                                                                            0.3289215
                                                                                                                                                                                                                           Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 220 of 222




                                                                                                                                                                                                     Venezuela AR_000314
                                         Venezuela                                       Venezuela                        Monthly
                                  Unique       Total                                     Unique       Total               Unique    Total
FY2022Projection                    185,932      188,547                       2022*       185,932            188,547      15,494    15,712
Increaseover2021                           4           4                        2021        47,328             48,678       3,944     4,057
Increaseover2020                          73          68                        2020          2,543             2,787         212       232
Increaseover2019                          25          25                        2019          7,518             7,677         627       640
Increaseover2018                         281         275                        2018            661               686          55        57
Increaseover2017                         480         477                        2017            387               395          32        33
Increaseover2016                         579         578                        2016            321               326          27        27
Increaseover2015                       1,200       1,157                        2015            155               163          13        14
Increaseover2014                       2,513       2,417                        2014             74                78           6         7
Increaseover2014Ͳ2019average            122         121                  a                   1,519             1,554         127       130




                                  ElSalvador Guatemala India      Mexico   Nicaragua GrandTotal
                                         35084     45902      2952   223475        1353    377695
                                         64491     71182      1323   201187        1775    461070
                                         41608     54603      2143   189815        1001    366274
                                         76952     80604      2524   192982        1343    480995
                                         54556     71259      2311   139160        1097    360925
                                         35383    125209      6187   173993        3502    456068
                                         89173    257261      4954   184388       14108    893976
                                         12917     37261       940   187354        1607    308808
                                         67902    197015      2437   322804       47356   1134229
                                         60509    149363    13144    375253      139446   1594037
                                          6218     15258      2021    63025       18200    226873
                                           67%       69%       81%      50%         96%       74%
                                          4145     10541      1631    31773       17421    168156
                                         64654    159904    14775    407026      156867   1762193          55.4%
                                                                                     3.3
                                                                                   97.6           Mexican+NACSept# 

                          2014
                          2015                                                           CNHV         Allother
                          2016                                                              #REF!           #REF!
                          2017                                                              #REF!           #REF!
                          2018                                                              #REF!           #REF!
                          2019
                          2020                                                              #REF!             #REF!
                        20ͲOct                                                              #REF!             #REF!
                       20ͲNov
                       20ͲDec                                                               #REF!             #REF!
                        21ͲJan
                        21ͲFeb                                                           Total       Mexican+NAC
                       21ͲMar                                                                3019308      #REF!
                        21ͲApr                                                           Total       Mexican       CNHV            %            Other%
                       21ͲMay                                                                1762193         407026 #REF!              #REF!      #REF!
                        21ͲJun
                         21ͲJul
                       21ͲAug
                        21ͲSep
                        21ͲOct
                       21ͲNov
                       21ͲDec
                        22ͲJan
                        22ͲFeb
                       22ͲMar
                        22ͲApr
                       22ͲMay
                        22ͲJun
                         22ͲJul
                       22ͲAug
                        22ͲSep
ProjectionFY2022
                                                                                                                                                                                Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 221 of 222




                                                                                                                                                          Venezuela AR_000315
            TotalEncounters               T42expulsions              T8removals                    T8returns                   Totaldepartures Deparaturesasshareofencounters
Cuba        194,727    4,620    53   110   4,783  2.5%
Haiti       48,826   12,159      1,495      161   13,815  28.3%
Nicaragua   145,684    4,159    2,439      292   6,890  4.7%
Venezuela   153,905    988   454    429   1,871  1.2%
                                                                                                                                                                                    Cuba         2.5%
                                                                                                                                                                                    Haiti       28.3%
                                           AlldatafromOISPersistdatasetas                                                                                                    Nicaragua    4.7%
                                                       of8/31/22.                                                                                                                  Venezuela    1.2%
                                                                                                                                                                                                        Case 6:23-cv-00007 Document 95-2 Filed on 03/24/23 in TXSD Page 222 of 222




                                                                                                                                                                             Venezuela AR_000316
